Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-7 Filed:
                               Subject   to 07/24/19
                                             Further1 of 117. PageID #: 213895
                                                      Confidentiality      Review

     1                    UNITED STATES DISTRICT COURT
     2                 FOR THE NORTHERN DISTRICT OF OHIO
     3                            EASTERN DIVISION
     4

     5    -----------------------------x
     6    IN RE: NATIONAL PRESCRIPTION             ) Case No.
     7    OPIATE LITIGATION                        ) 1:17-MD-2804
     8    APPLIES TO ALL CASES                     ) Hon. Dan A. Polster
     9    -----------------------------x
    10

    11           HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    12                        CONFIDENTIALITY REVIEW
    13            VIDEOTAPED DEPOSITION OF VICTOR BORELLI
                               BALTIMORE, MARYLAND
    14

                         THURSDAY, NOVEMBER 29, 2018
    15

                                    9:01 A.M.
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    24    Reported by: Leslie A. Todd

   Golkow Litigation Services                                        Page 1 (1)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-7 Filed:
                               Subject   to 07/24/19
                                             Further2 of 117. PageID #: 213896
                                                      Confidentiality      Review
                                                           Page 2                                                    Page 4
    1    Deposition of VICTOR BORELLI, held at the                   1 APPEARANCES (Continued):
    2 offices of:                                                    2
    3                                                                3 ON BEHALF OF MALLINCKRODT PHARMACEUTICALS AND THE
    4                                                                4 WITNESS:
    5          SILVERMAN THOMPSON SLUTKIN WHITE LLP                  5    ROCKY C TSAI, ESQUIRE

    6          201 North Charles Street                              6    CASSANDRA A LARUSSA, ESQUIRE

    7          26th Floor                                            7    ROPES & GRAY, LLP

    8          Baltimore, Maryland 21201                             8    Three Embarcadero Center

    9                                                                9    San Francisco, California 94111-4006

   10                                                               10    (415) 315-6300

   11                                                               11
   12                                                               12 ON BEHALF OF McKESSON CORPORATION:
   13    Pursuant to notice, before Leslie Anne Todd,               13    ALEJANDRO BARRIENTOS, ESQUIRE

   14 Court Reporter and Notary Public in and for the               14    COVINGTON & BURLING, LLP

   15 State of Maryland, who officiated in administering            15    One CityCenter

   16 the oath to the witness.                                      16    850 Tenth Street, N W

   17                                                               17    Washington, D C 20001-4956

   18                                                               18    (202) 662-5598

   19                                                               19
   20                                                               20
   21                                                               21
   22                                                               22
   23                                                               23
   24                                                               24

                                                           Page 3                                                    Page 5
    1               APPEARANCES                                      1 APPEARANCES (Continued):
    2                                                                2
    3 ON BEHALF OF PLAINTIFFS:                                       3 ON BEHALF OF DEFENDANT WALMART:
    4     DEREK W. LOESER, ESQUIRE                                   4    LAURA JANE DURFEE, ESQUIRE
    5     ALISON S. GAFFNEY, ESQUIRE                                 5    JONES DAY
    6     DEAN KAWAMOTO, ESQUIRE                                     6    2727 North Harwood Street
    7     KELLER ROHRBACK LLP                                        7    Dallas, Texas 78201-1515
    8     1201 Third Avenue                                          8    (214) 220-3939
    9     Suite 3200                                                 9
   10     Seattle, Washington 98101-3052                            10 ON BEHALF OF DEFENDANT CARDINAL HEALTH:
   11     (206) 623-1900                                            11    JOSHUA D. TULLY, ESQUIRE
   12                                                               12    WILLIAMS & CONNOLLY, LLP
   13 ON BEHALF OF TENNESSEE PLAINTIFFS:                            13    725 Twelfth Street, N.W.
   14     TRICIA HERZFELD, ESQUIRE                                  14    Washington, D.C. 20005
   15     BRANSTETTER, STRANCH & JENNINGS, PLLC                     15    (202) 434-5000
   16     223 Rosa L. Parks Avenue                                  16
   17     Suite 200                                                 17 ON BEHALF OF ENDO PHARMACEUTICALS, INC. and
   18     Nashville, Tennessee 37203                                18   ENDO HEALTH SOLUTIONS, INC.:
   19     (615) 254-8801                                            19    MICHAEL S. BULLERMAN, ESQUIRE (Telephonically)
   20                                                               20    ARNOLD & PORTER KAYE SCHOLER, LLP
   21                                                               21    70 West Madison Street
   22                                                               22    Suite 4200
   23                                                               23    Chicago, Illinois 60602-4231
   24                                                               24    (312) 583-2300

   Golkow Litigation Services                                                                               Page 2 (2 - 5)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-7 Filed:
                               Subject   to 07/24/19
                                             Further3 of 117. PageID #: 213897
                                                      Confidentiality      Review
                                                          Page 6                                                      Page 8
    1   APPEARANCES (Continued):                                    1          E X H I B I T S (Continued)
    2                                                               2           (Attached to transcript)
    3   ON BEHALF OF AMERISOURCEBERGEN:                             3   BORELLI-MALLINCKRODT                         PAGE
    4     RYAN K. BLAKE, ESQUIRE (Telephonically)                   4   No. 7 E-mail re Sunrise Reports, and
    5     REED SMITH, LLP                                           5         attached documents, Bates
    6     Three Logan Square                                        6         MNK-T1_0000448872 to 0000448873         107
    7     1717 Arch Street, Suite 3100                              7   No. 8 Spreadsheet, Bates MNK-T1_0000264291 113
    8     Philadelphia, Pennsylvania 19103                          8   No. 9 Spreadsheet, Bates MNK-T1_0000264291 121
    9     (215) 851-8100                                            9   No. 10 Spreadsheet, Bates MNK-T1_0000264291 124
   10                                                              10   No. 11 Spreadsheet, Bates MNK-T1_0000264292 137
   11   ALSO PRESENT:                                              11   No. 12 E-mail string re Florida medication
   12     JASON TILLY, ESQUIRE (Mallinckrodt                       12         coming into Tennessee, Bates
   13      Pharmaceuticals)                                        13         MNK-T1_0000562326 to 0000562329         144
   14     DANIEL HOLMSTOCK, Videographer                           14   No. 13 E-mail string re Pete Kleissle, Oxy
   15                                                              15         Investigation, Bates MNK-T1_
   16                                                              16         0000290175 to 00002901777          152
   17                                                              17   No. 14 E-mail re FW: Sunrise Chargeback
   18                                                              18         Summary, Bates MNK-T1_0000290041 156
   19                                                              19   No. 15 Document entitled "From Worksheet
   20                                                              20         'RS0304117 Cognos' (MNK-T1_
   21                                                              21         0000264291) Sunrise Sales of
   22                                                              22         Oxycodone HCL 15mg & 30mg Tabs"         159
   23                                                              23
   24                                                              24

                                                          Page 7                                                      Page 9
    1             CONTENTS                                          1          E X H I B I T S (Continued)
    2 EXAMINATION OF VICTOR BORELLI                         PAGE    2           (Attached to transcript)
    3     By Mr. Loeser                      16                     3   BORELLI-MALLINCKRODT                          PAGE
    4     By Ms. Herzfeld                    373                    4   No. 16 Article entitled "Florida Physician
    5                                                               5         Gets 4 Years in Prison for
    6                                                               6         Operating Pill Mill"            167
    7                                                               7   No. 17 DEA press release entitled "DEA To
    8             EXHIBITS                                          8         Doctor, 'You've Been Served'"       172
    9          (Attached to transcript)                             9   No. 18 Article entitled "'Pill Mill' Doctor
   10 BORELLI-MALLINCKRODT                           PAGE          10         Charged with Trafficking Oxycodone" 176
   11 No. 1     Plaintiff's Notice of Oral                         11   No. 19 E-mail string re Oxycodone
   12         Videotaped Deposition of Victor                      12         Chargeback Customer, Bates
   13         Borelli and Requests for Production                  13         MNK-T1_0000459263 to 0000459265 181
   14         of Documents                   19                    14   No. 20 E-mail string re Sun Lake, Bates
   15 No. 2     Document entitled "Retail Generic                  15         MNK-T1_0000384160 to 0000384162 184
   16         Incentive Plan Earnings by Sales                     16   No. 21 E-mail string re Oxycodone
   17         Rep," Bates MNK-T1_0000315995          45            17         Mallinckrodt, Bates MNK-T1_0000560613
   18 No. 3     E-mail string re Final numbers for                 18         to 00000560614                  186
   19         FY 11, Bates MNK-T1_0002735515 to                    19   No. 22 E-mail re Oxycodone FL Update,
   20         0002735516                     53                    20         Bates MNK-T1_0000368646 to
   21 No. 4     Spreadsheet, Bates MNK-T1_0000562520 57            21         0000368649                    190
   22 No. 5     Spreadsheet, Bates MNK-T1_0000559531 62            22   No. 23 E-mail re [blank], Bates
   23 No. 6     Spreadsheet, Bates MNK-T1_00002739814 66           23         MNK-T1_0000384265                   197
   24                                                              24


   Golkow Litigation Services                                                                      Page 3 (6 - 9)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-7 Filed:
                               Subject   to 07/24/19
                                             Further4 of 117. PageID #: 213898
                                                      Confidentiality      Review
                                                       Page 10                                                    Page 12
    1          E X H I B I T S (Continued)                        1          E X H I B I T S (Continued)
    2           (Attached to transcript)                          2           (Attached to transcript)
    3   BORELLI-MALLINCKRODT                           PAGE       3   BORELLI-MALLINCKRODT                         PAGE
    4   No. 24 Article entitled "Inside Broward                   4   No. 39 E-mail string re KeySource
    5         County's pill mills," by Scott                      5         Oxycodone Sales, Bates
    6         Hiaasen, April 5, 2009           199                6         MNK-T1_0000384462 to 0000384463 293
    7   No. 25 E-mail string FW: [RxNews] Rx Drug                 7   No. 40 E-mail string re Pain Clinics,
    8         Abuse Epidemic, Bates MNK-T1_                       8         Bates MNK-T1_0000559259 to
    9         0000290150 to 0000290151             202            9         0000559261                  302
   10   No. 26 E-mail string re [RxNews] Grand Jury              10   No. 41 E-mail string re Chargeback
   11         wants to crack down on pill mills,                 11         Quantity on Oxycodone 30mg, Bates
   12         Ft. Lauderdale, Florida, Bates                     12         MNK-T1_0000559412 to 0000559413 315
   13         MNK-T1_0000386857 to 0000386860 208                13   No. 42 E-mail string re KMI business
   14   No. 27 E-mail string re FW: [RxNews]                     14         review, Bates MNK-T1_0000559994 to
   15         OxyContin, Bates MNK-T1_00006450936                15         0000559995                  317
   16         to 00006450937                  216                16   No. 43 E-mail string re FW: Oxycodone 30mg
   17   No. 28 E-mail string re Assured Pharmacies,              17         Masters/Mallinckrodt, Bates
   18         Bates MNK-T1_0000384546 to 0000384548228           18         MNK-T1_0000559925                 326
   19   No. 29 Spreadsheet, Bates MNK-T1_0000264293 231          19   No. 44 Article entitled "Analysis: Meet the
   20   No. 30 E-mail re Oxy, Bates MNK-T1_                      20         Opioid wholesales who became
   21         0000384679                     233                 21         middlemen for the heroin epidemic,"
   22   No. 31 E-mail string re Oxy 30, Bates                    22         by David Holthaus, August 21, 2017 328
   23         MNK-T1_0000559532 to 0000559533 235                23
   24                                                            24

                                                   Page 11                                                       Page 13
    1           E X H I B I T S (Continued)                       1          E X H I B I T S (Continued)
    2           (Attached to transcript)                          2           (Attached to transcript)
    3   BORELLI-MALLINCKRODT                         PAGE         3   BORELLI-MALLINCKRODT                        PAGE
    4   No. 32 E-mail string re Oxycodone 15 mg                   4   No. 45 E-mail string re Oxy 15 mg & 30 mg,
    5         tabs, Bates MNK-T1_0000562387 to                    5         Bates MNK-T1_0000565624 to
    6         0000562390                   236                    6         0000565625                  339
    7   No. 33 E-mail re Oxy 15 mg, Bates                         7   No. 46 E-mail string re Oxy 15 mg & 30 mg,
    8         MNK-T1_0000505952                 243               8         Bates MNK-T1_0000384266 to
    9   No. 34 E-mail string re Guess who called                  9         0000384268                  342
   10         today..., Bates MNK-T1_0000560900                  10   No. 47 E-mail string re 2 things, Bates
   11         to 0000460901                 250                  11         MNK-T1_0000562727 to 0000562728 345
   12   No. 35 E-mail string re oxy 30 ml                        12   No. 48 E-mail string re Sunrise Follow-up,
   13         KeySource PO#0016437, Bates                        13         Bates MNK-T1_0000459331 to
   14         MNK-T1_0000560227 to 0000560230         255        14         0000459332                  349
   15   No. 36 E-mail string re Oxycodone Sales in               15   No. 49 E-mail string re Oxy monthly usage,
   16         Florida - Summary, Bates MNK-T1_                   16         Bates MNK-T1_0000562701 to
   17         0000558886 to 0000558887           260             17         0000562704                  351
   18   No. 37 E-mail string re Item #853001,                    18   No. 50 E-mail re Masters oxy 30, Bates
   19         Bates MNK-T1_0000265732 to                         19         MNK-T1_0000565518                 356
   20         0000265734                   277                   20   No. 51 Map of the United States         379
   21   No. 38 E-mail string re Oxycodone Sales in               21   No. 52 E-mail re Shipment Report for
   22         Florida - Summary, Bates                           22         Sunrise, Bates MNK-TNSTA01122627 to
   23         MNK-T1_0000559457 to 0000559459         282        23         01122628                   398
   24                                                            24


   Golkow Litigation Services                                                                Page 4 (10 - 13)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-7 Filed:
                               Subject   to 07/24/19
                                             Further5 of 117. PageID #: 213899
                                                      Confidentiality      Review
                                                Page 14                                                           Page 16
    1          E X H I B I T S (Continued)                        1           MS. GAFFNEY: Alison Gaffney for the
    2           (Attached to transcript)                          2   plaintiff, from Keller Rohrback.
    3   BORELLI-MALLINCKRODT                     PAGE             3           MR. KAWAMOTO: Dean Kawamoto, also for
    4   No. 53 E-mail re Shipment Report for                      4   the plaintiffs, Keller Rohrback.
    5         Sunrise, Bates MNK-TNSTA01118235 to                 5           MR. BARRIENTOS: Alejandro Barrientos
    6         01118236                    399                     6   from Covington & Burling for McKesson.
    7   No. 54 Booking Report for Lynn Averill,                   7           MS. DURFEE: Laura Jane Durfee for
    8         05/28/15                   416                      8   Walmart.
    9   No. 55 E-mail string re Florida sales,                    9           MS. HERZFELD: Tricia Herzfeld for
   10         Bates MNK-TNSTA01178893 to                         10   plaintiffs.
   11         01178894                    436                    11           MR. TULLY: Joshua Tully from Williams &
   12   No. 56 E-mail string re Sunrise meeting                  12   Connolly, on behalf of Cardinal Health.
   13         Bates MNK-T1_0000276988 to                         13           MR. LOESER: Go ahead.
   14         0000276989                   441                   14           MR. TILLY: Jason Tilly, Mallinckrodt
   15   No. 57 E-mail string re DEA License                      15   Pharmaceuticals.
   16         Suspension per NAM, KeySource                      16           MS. LaRUSSA: Cassandra LaRussa, of
   17         Medical, Bates MNK-T1_0000561580 to                17   Ropes & Gray, representing the witness and
   18         0000561582                   444                   18   Mallinckrodt.
   19                                                            19           MR. TSAI: Good morning. Rocky Tsai,
   20                                                            20   Ropes & Gray, representing the witness and
   21                                                            21   Mallinckrodt.
   22                                                            22               DIRECT EXAMINATION
   23                                                            23   BY MR. LOESER:
   24                                                            24       Q Good morning, Mr. Borelli. If you could

                                                       Page 15                                                   Page 17
    1              PROCEEDINGS                                    1   please state your full name and spell your last
    2               -------------------                           2   name for the record.
    3           THE VIDEOGRAPHER: We are now on the               3       A Victor Borelli, B-O-R --
    4   record. My name is Daniel Holmstock. I'm the              4          MR. BULLERMAN: This is Michael
    5   videographer for Golkow Litigation Services.              5   Bullerman, from Arnold & Porter, on behalf of the
    6   Today's date is November 29th, 2018. The time on          6   Endo Pharma defendants on the phone.
    7   the video screen is 9:01 a.m.                             7          MR. LOESER: Okay. Anybody else on the
    8           This video deposition is being held at            8   phone?
    9   the law offices of Silverman Thompson in                  9          MR. BLAKE: Ryan Blake with Reed Smith
   10   Baltimore, Maryland, in the matter of In Re:             10   on behalf of AmerisourceBergen.
   11   National Prescription Opioid Litigation, pending         11          THE WITNESS: Victor Borelli.
   12   before the United States District Court for the          12   B-O-R-E-L-L-I.
   13   Northern District of Ohio, Eastern Division.             13   BY MR. LOESER:
   14           Our deponent today is Mr. Victor                 14       Q And, Mr. Borelli, you understand that
   15   Borelli.                                                 15   you're under oath?
   16           Counsel will be noted on the                     16       A I do.
   17   stenographic record.                                     17       Q And you're required to tell the truth in
   18           The court reporter is Leslie A. Todd,            18   these proceedings?
   19   who will now administer the oath to the witness.         19       A (The witness nods.)
   20                 VICTOR BORELLI,                            20       Q Are you taking any medication or is
   21         and having been first duly sworn,                  21   there any other reason why you could not testify
   22       was examined and testified as follows:               22   truthfully and accurately today?
   23           MR. LOESER: Derek Loeser for the                 23       A No. No medicine.
   24   plaintiffs, from Keller Rohrback.                        24       Q Have you had your deposition taken

   Golkow Litigation Services                                                                Page 5 (14 - 17)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-7 Filed:
                               Subject   to 07/24/19
                                             Further6 of 117. PageID #: 213900
                                                      Confidentiality      Review
                                                  Page 18                                                   Page 20
    1   before?                                               1   Schedule A."
    2        A Never.                                         2           Do you see that paragraph?
    3        Q I'll go over a few ground rules. I'm           3       A I do.
    4   going to be asking you questions, and you will be     4       Q Could you please turn to Schedule A,
    5   answering them. It's important that we not speak      5   which is the next page in that document. And go
    6   at the same time. So if you could please wait for     6   to page 4.
    7   me to finish my question before answering, and        7           The first request on page 4 is for a
    8   I'll do the same with your answers before asking      8   copy of your current resume or CV. Have you
    9   another question.                                     9   provided that to your counsel for production?
   10            Does that sound fair?                       10       A I don't believe I have yet.
   11        A Yes.                                          11       Q If you could look at the second request,
   12        Q If you don't understand a question,           12   which is for all documents, including electronic
   13   please say so, and I'll attempt to rephrase the      13   data and e-mail in your possession related in any
   14   question.                                            14   way to any defendants' manufacture, marketing
   15            Are you represented by counsel here         15   sale, distribution, suspicious order monitoring
   16   today?                                               16   and lobbying efforts in connection with its opioid
   17        A I am.                                         17   business, have you searched for those documents
   18        Q And who is that counsel?                      18   and provided them to your counsel?
   19        A Ropes & Gray.                                 19       A I didn't have any.
   20        Q And did you select Ropes & Gray or were       20       Q You didn't have any documents in your
   21   you selected by Ropes & Gray?                        21   possession that related in any way to your work
   22            MR. TSAI: Object to the form.               22   for Mallinckrodt?
   23            Go ahead.                                   23       A That's right.
   24            THE WITNESS: Selected by.                   24       Q And did you destroy all those documents
                                                  Page 19                                                   Page 21
    1           MR. LOESER: I'm going to mark the first       1   or did you never have any?
    2   exhibit as Exhibit 1 today.                           2       A I never had any.
    3           Please hand that to the witness.              3       Q Did you search your personal e-mail for
    4           (Borelli Exhibit No. 1 was marked             4   any communications relating to your work?
    5           for identification.)                          5       A I didn't do any work through personal
    6   BY MR. LOESER:                                        6   e-mail. It was all through Mallinckrodt or
    7       Q Mr. Borelli, you've been handed what's          7   Covidien e-mail.
    8   been marked as Exhibit 1, which is the notice of      8       Q So none of your customers ever contacted
    9   your deposition today.                                9   you on your personal e-mail?
   10           Have you seen this document before?          10       A I don't believe so.
   11       A I'm not sure. I don't think so.                11       Q Or text messages?
   12       Q So the first time you've seen your             12       A I did use my phone. I'm a salesperson
   13   deposition notice is right now as it's been          13   so I traveled quite a bit, so I did use my phone.
   14   presented to you?                                    14       Q And did you text with your customers
   15       A I may have seen it, but it -- I get a          15   when you were a Mallinckrodt salesperson?
   16   lot of paperwork. I may have seen it before, but     16       A I believe I did.
   17   it doesn't look so familiar.                         17       Q Have you changed your phone service
   18       Q Okay. If you could please look at the          18   since that time?
   19   bottom of the first page of that notice, there's a   19       A I have.
   20   paragraph that starts: "Additionally, please take    20       Q And do you recall what your phone
   21   notice that pursuant to the applicable Federal       21   service was when you worked for Mallinckrodt?
   22   Rules of Civil Procedure, plaintiffs have            22       A I do not.
   23   requested that the individual identified above       23       Q Is that something you could look into by
   24   produce the documents identified in the              24   looking at old bills or anything like that to

   Golkow Litigation Services                                                           Page 6 (18 - 21)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-7 Filed:
                               Subject   to 07/24/19
                                             Further7 of 117. PageID #: 213901
                                                      Confidentiality      Review
                                                  Page 22                                                    Page 24
    1   figure that out?                                      1        Q Two times or three times?
    2       A I don't think I have that line anymore.         2        A Three.
    3       Q Okay. If you look at the third request          3        Q And do you recall when those meetings
    4   on this document, it asks for all documents that      4   occurred?
    5   you have consulted or reviewed or plan to consult     5        A Before Thanksgiving and then yesterday.
    6   in preparation for your deposition and have relied    6        Q And do you recall how long each of those
    7   upon or will rely upon for your testimony for your    7   meetings lasted?
    8   deposition.                                           8        A Four, five hours each visit.
    9           Have you come today with all of those         9        Q And were those visits in person?
   10   documents?                                           10        A They were.
   11       A Can you ask that again, please.                11        Q And where did they occur?
   12       Q The request asks you to produce all            12        A Here in Baltimore.
   13   documents that you have consulted or reviewed. Is    13        Q And do you recall who was present at
   14   it your understanding that all of the documents      14   those meetings?
   15   that you've consulted or reviewed for your           15        A I do.
   16   testimony today have been produced to the            16        Q And who was that?
   17   plaintiffs?                                          17        A The folks on my left, both lawyers on my
   18           MR. TSAI: I'll just object on                18   left.
   19   attorney-client and work product grounds.            19        Q Okay. And do you know if there were
   20           And to the extent the question is asking     20   lawyers for any other parties in this litigation
   21   the witness to identify any specific documents       21   who were present?
   22   selected and compiled and discussed with counsel,    22        A There were not.
   23   I will instruct the witness not to answer.           23        Q And at these meetings you reviewed some
   24   BY MR. LOESER:                                       24   documents?
                                                  Page 23                                                      Page 25
    1       Q Do you know if that's true or not? Are          1       A I did.
    2   there documents that you reviewed?                    2       Q Do you recall how many?
    3       A I did review a few.                             3       A Maybe a dozen or two.
    4       Q Okay. And did you -- were you provided          4       Q And were those communications that you
    5   those documents by counsel or did you have those      5   had authored and communications that had been sent
    6   documents yourself?                                   6   to you?
    7       A By counsel.                                     7       A Both.
    8          MR. LOESER: And, Counsel, if there are         8       Q And any other materials?
    9   documents that were reviewed by Mr. Borelli that      9       A No.
   10   have not been produced, we'd ask that you produce    10       Q Did you speak with anyone else before,
   11   those.                                               11   about your deposition, other than your attorneys?
   12          MR. TSAI: I can represent that all the        12       A No.
   13   documents that were reviewed have been produced.     13       Q You haven't contacted any former
   14   BY MR. LOESER:                                       14   customers to talk to them about your time at
   15       Q Mr. Borelli, what did you do to prepare        15   Mallinckrodt?
   16   for your deposition today?                           16       A No.
   17       A Met with counsel.                              17       Q No one at all?
   18       Q And how many times did you meet with           18       A No.
   19   counsel?                                             19       Q Are you being compensated or reimbursed
   20       A A few.                                         20   in any way for your testimony today?
   21       Q A few: Two? Three? Five?                       21       A No.
   22       A Yeah.                                          22       Q No expenses?
   23       Q Two times?                                     23       A No.
   24       A Yeah. About two or three.                      24       Q Mr. Borelli, have you ever been charged

   Golkow Litigation Services                                                            Page 7 (22 - 25)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-7 Filed:
                               Subject   to 07/24/19
                                             Further8 of 117. PageID #: 213902
                                                      Confidentiality      Review
                                               Page 26                                                   Page 28
    1   with a crime?                                      1   called Zydis had marketed and sold. We were their
    2       A Never.                                       2   sales arm for all of their launches and rollouts.
    3       Q I'm going to quickly go over your            3       Q What types of drugs did they sell?
    4   education and work history.                        4       A A number of drugs. I mean, we marketed
    5          Did you graduate from college?              5   and sold ten or -- I can't remember them all, but
    6       A I did.                                       6   atenolol and ribavirin and warfarin and
    7       Q And where did you graduate from?             7   haloperidol and metformin. You know, quite a bit
    8       A Northeastern University.                     8   of those type of drugs. Yeah.
    9       Q In what year?                                9       Q Okay. So immediately prior to joining
   10       A 1984.                                       10   Mallinckrodt and selling pain products, among
   11       Q And what did you major in?                  11   others, you worked for Sara Lee?
   12       A Business management.                        12       A I did.
   13       Q Can you briefly describe your job           13       Q Selling coffee products.
   14   history since graduating from college?            14       A That's correct.
   15       A My what?                                    15       Q When you started at Mallinckrodt or
   16       Q Your job history.                           16   prior to when you started, had you taken any
   17       A Certainly. Leaving college, I started       17   courses relating to controlled substances?
   18   with a -- the consumer products industry, and     18       A Prior to, no. With, yes.
   19   started with a company called Lever Brothers.     19       Q And explain what courses you took.
   20       Q I'm sorry, called?                          20       A When you say "courses," I thought
   21       A Lever Brothers.                             21   training.
   22       Q Could you spell that, please?               22       Q Well, let's start with courses.
   23       A L-E-V-E-R. They're part of Unilever,        23       A Sure.
   24   U-N-I-L-E-V-E-R. And I was a salesperson,         24       Q Did you attend any educational seminars,
                                               Page 27                                                   Page 29
    1   territory manager. I was with them for three or    1   anything unrelated to Mallinckrodt --
    2   four years.                                        2       A No.
    3        Q And what did you sell there?                3       Q -- or not presented by Mallinckrodt?
    4        A Health and beauty care products. So         4       A No.
    5   it's consumer goods, toothpastes, shampoos,        5       Q So all of your training in controlled
    6   mouthwash, things like that.                       6   substances was while you were an employee of
    7           And I was with H.J. Heinz, spelled         7   Mallinckrodt.
    8   H-E-I-N-Z.                                         8       A That's correct.
    9        Q The ketchup company?                        9       Q And did that training include training
   10        A Yeah. And again, consumer products.        10   on the laws applicable to the distribution of
   11           And then most recently, in the consumer   11   controlled substances?
   12   products industry was with Sara Lee.              12       A I believe so.
   13        Q And that's the pound cake company?         13       Q And do you recall the content of any of
   14        A Yes.                                       14   that training?
   15        Q What else did Sara Lee make?               15       A It was a lot of different trainings over
   16        A I managed the coffee business for them.    16   the years, so not all.
   17           And then about 13 or so -- 14 or so       17       Q Were you presented with training
   18   years ago -- pardon me -- I started with          18   materials that you recall?
   19   Mallinckrodt in sales as well. So sales           19       A On launch products perhaps.
   20   throughout.                                       20       Q Any training or legal materials on the
   21        Q And what products did you sell at          21   legal requirements relating to the distribution of
   22   Mallinckrodt?                                     22   controlled substances?
   23        A We represented pain management products,   23       A I don't remember.
   24   as well as a line of products that a company      24       Q When did you leave Mallinckrodt?

   Golkow Litigation Services                                                        Page 8 (26 - 29)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1975-7 Filed:
                               Subject   to 07/24/19
                                             Further9 of 117. PageID #: 213903
                                                      Confidentiality      Review
                                                 Page 30                                                   Page 32
    1       A I believe 2012.                                1       A That was done by the head of sales --
    2       Q And again just briefly, can you walk me        2   vice president of sales for the realigning of
    3   through each of the positions you held when you      3   territories, which we did, or the senior vice
    4   were at Mallinckrodt and, the best as you can        4   president -- I don't remember Mike's title, the
    5   recall, the timing of when you held those            5   vice president of sales and marketing.
    6   positions.                                           6       Q So that person would tell the sales
    7       A Sales for the entire time there. So            7   directors which clients to pursue?
    8   started as a -- I don't remember my title --         8       A To realign territories, that's who would
    9   district manager, and then was promoted to a         9   do those realignment responsibilities. Pursue,
   10   regional manager, and then promoted to a director   10   not so much pursue, but realignments, yeah.
   11   of national accounts, I believe. I don't remember   11       Q Okay. And what do you mean by
   12   the title so much. Sorry.                           12   "realignments"?
   13       Q And what year were you promoted to the        13       A Well, if I happened to manage a McKesson
   14   director?                                           14   account one year, I may move over to a Cardinal
   15       A I don't remember the -- I don't               15   account the following or two years later. So just
   16   remember.                                           16   realigning of accounts.
   17       Q Is that something that would be on your       17       Q And why -- why would accounts need to be
   18   CV?                                                 18   realigned?
   19       A Probably.                                     19       A It could be to -- a number of reasons.
   20       Q Do you have a CV?                             20   It could be how the -- the territories want to be
   21       A Not with me.                                  21   broken out by the head of sales or by the
   22       Q But you've created one?                       22   vice president of sales and marketing. Could be
   23       A Yes.                                          23   if one territory's getting lopsided in business,
   24       Q Do you recall how many -- and I believe       24   to offload some work to then assign some work.
                                                 Page 31                                                   Page 33
    1   your title was, in the last period of your           1   So, you know, the shifting of territories could
    2   employment by Mallinckrodt, the national sales       2   happen because of that.
    3   director. Does that sound correct?                   3       Q Was there an effort to balance the --
    4       A Mm-hmm.                                        4   the income or the compensation of the -- of the
    5       Q And was there only one national sales          5   different sales directors?
    6   director or were there more?                         6       A It -- none of it was tied to income or
    7       A I don't remember how many there were. I        7   compensation. It's just following your customer.
    8   think there were five or six of us.                  8   Right. Following the wholesaler that ships to
    9       Q And were you responsible for a                 9   different entities that they supply to.
   10   particular region as national sales director?       10       Q So it sounds like the vice president of
   11       A It wasn't land space as much as customer      11   sales had a lot of say in who your customers were.
   12   responsibility.                                     12       A It may have been the vice president of
   13       Q And explain how that worked, vis-à-vis        13   sales or the senior vice president of sales and
   14   your co-national directors.                         14   marketing. I'm not -- I'm not sure. I can't be
   15       A Some sales folks would have -- could          15   sure.
   16   have a customer on the West Coast but live          16       Q And do you recall who occupied those
   17   centrally, and vice versa, somebody can live on     17   positions when you were the national sales
   18   the East Coast and have a customer in Texas.        18   director?
   19       Q And were you competing with your              19       A I do. From a senior vice president of
   20   colleagues for customers?                           20   sales and marketing, it was a person -- his name
   21       A No.                                           21   is Mike Gunning. And the direct report from me
   22       Q So how were the different customers           22   would have been Mitchell Goldberg when I first
   23   divided up in terms of marketing? In terms of       23   started, and then John Adams moved into that role.
   24   getting those customers, how did that work?         24   And Jane Williams. So I had three different

   Golkow Litigation Services                                                          Page 9 (30 - 33)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 10 Confidentiality
                                                         of 117. PageID #: 213904
                                                                              Review
                                                  Page 34                                                        Page 36
     1   managers there at different times when I first       1       Q Do you recall where your evaluations
     2   started, the middle of my tenure and at the end.     2   occurred?
     3       Q Okay. And to go back for a second, I           3       A No. No. That could be in the St. Louis
     4   realized I didn't ask you where you currently        4   offices, but I'm not sure.
     5   work. What's your current position?                  5       Q How many years were you at Mallinckrodt?
     6       A I worked for Edenbridge Pharmaceuticals.       6       A Seven. Six or seven.
     7       Q And what do you do for them?                   7       Q So you received six or seven performance
     8       A I'm the senior vice president of sales         8   evaluations, and you don't recall where they
     9   and marketing.                                       9   occurred?
    10       Q And when did you start working for them?      10       A I'm saying they could go in the
    11       A About a year and a half ago.                  11   corporate offices when we were in there, but it
    12       Q And who did you work for before that?         12   could have been in the field as well. I don't
    13       A A company called Dr. Reddy's.                 13   remember.
    14       Q And what does Dr. Reddy's do?                 14       Q Do you recall whether you were evaluated
    15       A A pharmaceutical company based in India       15   based on any particular metrics?
    16   for sales in the United States.                     16       A I believe I was.
    17       Q And what types of drugs do they sell?         17       Q And could you please describe those.
    18       A A lot. Eighty or so, 90 or so different       18       A Sure. Based on service level, customer
    19   sort of molecules.                                  19   service level with the customer responsibilities,
    20       Q And are you responsible for any               20   I'm the direct liaison between the customer and
    21   particular group of those drugs?                    21   the company. Managing back orders, managing
    22       A I'm not there anymore.                        22   supply, forecasting sales on the -- the portfolio
    23       Q Oh, I'm sorry. When you were.                 23   products. There could have been more, some MBOs
    24       A All of them.                                  24   as well, but --

                                                  Page 35                                                      Page 37
     1        Q And is that where you went after you          1       Q I'm sorry, what was the last thing?
     2   left Mallinckrodt?                                   2       A MBOs, management by objectives, that is
     3        A It was.                                       3   created by the manager to -- you know, to tie into
     4        Q When you were the national sales              4   the annual review.
     5   director, did you have a team that you managed?      5       Q And those would be a review of sales
     6        A I did not.                                    6   objectives?
     7        Q When you were the national sales              7       A Those were more code of conduct,
     8   director, did you receive yearly evaluations?        8   business ethics, training seminars, things like
     9        A I believe I did.                              9   that we -- as well as sales.
    10        Q And who conducted those?                     10       Q Did you receive any commendations or
    11        A My direct manager. And I'm not -- I          11   awards when you were employed by Mallinckrodt?
    12   don't remember if HR was in the rooms as well or    12       A I did.
    13   if Mike, the senior vice president of sales and     13       Q Could you please describe those.
    14   marketing, was in as well. But we had -- I don't    14       A I was promoted a few times, and then I
    15   remember. But I'm sure my manager.                  15   received awards for president's -- President's
    16        Q Who --                                       16   Club.
    17        A I don't remember. Sorry.                     17       Q What does that mean?
    18        Q Who was your direct manager?                 18       A It was a program that the company had
    19        A I shared that. Mitchell Goldberg, John       19   that was built around the branded pro- -- program
    20   Adams, and then Jane Williams.                      20   that awarded top performers, tying into all the
    21        Q Do you recall if there were any written      21   things I said before. Again, it was a branded
    22   records that were prepared that were given to you   22   program that was then rolled into -- and I don't
    23   during or following your evaluation?                23   know if we shared this before, but I managed
    24        A I don't remember.                            24   generic products -- and it was then shared into

   Golkow Litigation Services                                                           Page 10 (34 - 37)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 11 Confidentiality
                                                         of 117. PageID #: 213905
                                                                              Review
                                                 Page 38                                                      Page 40
     1   and with the generic team.                          1       Q And do you believe that Mallinckrodt
     2       Q So you didn't sell any branded products,      2   also considered you a successful national sales
     3   right?                                              3   director?
     4       A That's -- that's correct.                     4       A I believe so.
     5       Q The drugs you sold were generic.              5       Q Did you comply with all of the workplace
     6       A Genericized, right.                           6   rules as far as you understood them?
     7       Q And based upon your sales of generic          7       A I believe so.
     8   drugs, you received a commendation called the       8       Q And is it fair to say that you did your
     9   President's Award?                                  9   job the way you believed Mallinckrodt expected you
    10       A That's correct.                              10   to do your job?
    11       Q And what did you receive with that           11       A I believe so.
    12   award?                                             12       Q And were you well regarded by your peers
    13       A A recognition trip.                          13   at Mallinckrodt?
    14       Q And do you recall when that occurred and     14       A I believe so.
    15   where the trip was?                                15       Q Is it fair to say that you did the job
    16       A I don't remember when, you know, the         16   Mallinckrodt wanted you to do and you did it the
    17   time of year as much -- let me think. I don't      17   way they wanted you to do it?
    18   remember. Maybe -- maybe the springs, I believe,   18          MR. TSAI: Object to the form.
    19   but I'm not quite sure.                            19   BY MR. LOESER:
    20       Q How many times did you receive that          20       Q You can answer.
    21   award?                                             21       A I believe so.
    22       A Twice.                                       22       Q Can you please explain how your
    23       Q And was it likely to have coincided with     23   compensation worked at Mallinckrodt?
    24   the years in which you had the highest sales?      24       A Sure. It was a salary structure. And

                                                 Page 39                                                     Page 41
     1       A Sales is one factor, but I don't know if      1   then a bonus.
     2   I won it the year -- sales is one factor, yeah.     2        Q And do you recall your starting salary?
     3       Q Okay. And so what's your -- your best         3        A I do not. I do not.
     4   recollection of when those awards were given to     4        Q A ballpark?
     5   you?                                                5        A You mean in two thousand and --
     6       A I believe -- I think it was in the            6        Q The year you started.
     7   spring --                                           7        A -- five. I don't -- I could guess, but
     8       Q But of which years?                           8   it's not fair to guess.
     9       A -- times. 2007, 2011. Sorry.                  9        Q Okay. Do you recall your ending salary?
    10       Q And do you recall where -- where you         10        A I do not -- oh, you mean in my last year
    11   were sent?                                         11   there?
    12       A I believe one trip was to St. Thomas. I      12        Q Yeah.
    13   can't remember the other one.                      13        A It would be a guess. I don't -- I do
    14       Q Some other place where it was warm and       14   not.
    15   sunny?                                             15        Q And fair to say that you received
    16       A Hopefully. I can't remember the              16   periodic raises when you were employed by
    17   location. I'm so sorry.                            17   Mallinckrodt?
    18       Q During your time at Mallinckrodt, were       18        A Yes.
    19   you ever disciplined or put on probation or        19        Q And those were a reflection of the good
    20   anything of the like?                              20   job that Mallinckrodt believed you were doing?
    21       A No.                                          21        A Well, I think a few of the raises you
    22       Q Did you consider yourself a successful       22   talk about are -- are annual raises.
    23   national sales director at Mallinckrodt?           23        Q Annual raises meaning based on your
    24       A Yes.                                         24   performance?

   Golkow Litigation Services                                                         Page 11 (38 - 41)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 12 Confidentiality
                                                         of 117. PageID #: 213906
                                                                              Review
                                                   Page 42                                                   Page 44
     1       A End of year. So you've put a year in,           1          And then we also had launch items. I
     2   and, you know, to manage cost of living or --         2   shared -- we represented a company while I was
     3       Q So presumably if Mallinckrodt believed          3   there for five years called Zydis. They didn't
     4   you were doing a bad job, they wouldn't be giving     4   have a sales and marketing arm. We were their arm
     5   you raises.                                           5   for launches, and that's the launches I'm talking
     6          MR. TSAI: Object to the form.                  6   about, atenolol and warfarin and ribavirin,
     7          THE WITNESS: I don't know that.                7   metformin and so on. And those are not scheduled
     8   BY MR. LOESER:                                        8   products. And we get sales on those as well.
     9       Q Okay. You also mentioned bonuses. How           9       Q Fair to say that, again, within the
    10   did that work?                                       10   quota that was allocated, overall for all of your
    11       A Tied to launches or sales to forecast.         11   customers, your compensation was based in part on
    12       Q And do you have a sense of to what             12   the amount of controlled substances that you sold?
    13   degree bonuses were based upon the level of your     13       A In part, that's right.
    14   sales?                                               14       Q Was there any kind of bonus cap that
    15       A What do you mean?                              15   you're aware of?
    16       Q If you sold more, did you expect to get        16       A I don't remember. I don't remember. I
    17   a bigger bonus?                                      17   believe so, but I don't remember, so I hate to say
    18       A No. It -- well, it sounds -- you make          18   yes and be not accurate.
    19   that sound so simple.                                19       Q So I understand that it was a somewhat
    20       Q Yeah.                                          20   complicated process, but the bonus that you
    21       A It's not quite that simple.                    21   received applied to all of the products that you
    22       Q Explain to me how it works.                    22   sold.
    23       A Sure. A lot of the products that we            23       A That's correct.
    24   sold, about half the products we sold are            24       Q So these other products from this Zydis
                                                   Page 43                                                   Page 45
     1   scheduled products, and there's just a finite         1   company that you mentioned, but also it applied to
     2   amount of inventory that you have that's allocated    2   the controlled substances --
     3   from the DEA. So when you say if I sell more, I       3       A Mm-hmm.
     4   may sell more at an account but less at another,      4       Q -- that you were selling for
     5   and conversely, someone else may sell more at an      5   Mallinckrodt.
     6   account and less at -- and then I would be selling    6          (Borelli Exhibit No. 2 was marked
     7   less at mine. It's just regulated quite               7          for identification.)
     8   aggressively by -- by the DEA on things called        8          MR. LOESER: Present this to the
     9   quota. Quota they allocate for schedule -- for        9   witness, please.
    10   schedule companies -- companies that sell            10          THE WITNESS: Thank you.
    11   scheduled drugs.                                     11   BY MR. LOESER:
    12       Q So within the amount allocated by the          12       Q Mr. Borelli, you've been handed what's
    13   quota, was your compensation based on the level of   13   marked Exhibit 2, which has the Bates stamp
    14   controlled substances that you sold, was the bonus   14   MNK-T1_0000315995.
    15   portion of that?                                     15          Is that document in front of you, sir?
    16       A Again, it's a shared -- it's a                 16       A Yes.
    17   complicated process, right. Because if I sell        17       Q And why don't you take a moment to see
    18   more of something, I'm going to sell less at         18   what that is.
    19   another account of mine or someone else's, and       19       A (Peruses document.)
    20   conversely, it works the same way. And it's based    20       Q And while you are reviewing that, for
    21   on price points. So you're saying it so simply.      21   the record, this is the Retail Generic Incentive
    22   Just the equation was built, and it wasn't such a    22   Plan By Sales Rep. That's the description on the
    23   simple if I sell more, I make more type of           23   top of the document.
    24   process.                                             24          Have you seen this document before?

   Golkow Litigation Services                                                           Page 12 (42 - 45)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 13 Confidentiality
                                                         of 117. PageID #: 213907
                                                                              Review
                                                         Page 46                                                  Page 48
     1        A I have not.                                         1       A I do not.
     2        Q And if you look through this document,              2       Q That must have been a -- you must have
     3   it shows the sales rep bonuses for calendar years          3   been pleased with that bonus.
     4   2006 through 2011 on -- on the first page. Do you          4       A Is that a question?
     5   see that?                                                  5       Q Yes.
     6        A I do.                                               6       A I don't remember.
     7        Q And if we can just look at the names in             7       Q Well, it's a significant increase over
     8   2006, and we'll go down the names, it's David              8   the prior year. You don't have any recollection
     9   Irwin, Thomas Bane, Tim Berry, Bonnie New, Victor          9   of receiving that bonus?
    10   Borelli and Steve Becker.                                 10       A I do not.
    11           Were those the other national sales               11       Q And you don't have any recollection as
    12   directors in 2006, as you recall?                         12   to why in 2008 your sales bonus would go up so
    13        A Yes.                                               13   much?
    14        Q And for each of the years below that,              14       A Well, it would be tied to those things
    15   2007 through 2011, there's a list of names. Those         15   we discussed before.
    16   are also true for any name that shows up that I           16       Q Okay. So, again, in part due to the
    17   didn't just read, that person was a national sales        17   controlled substances you were selling?
    18   director as well?                                         18       A Some of the items, yep. That's right.
    19        A Yes.                                               19       Q And then in 2009, your bonus is
    20        Q Thomas Bane drops off the list after               20   $101,283, and same question, the amount of your
    21   2008. Do you know who Thomas Bane is?                     21   bonus was tied, at least in part, to the
    22        A I do.                                              22   controlled substances you were selling?
    23        Q Do you know why he comes off this list?            23       A Yes. Yes.
    24        A I don't.                                           24       Q And in 2010, your bonus is $110,335,
                                                       Page 47                                                    Page 49
     1       Q So looking at the top, the year 2006,                1   again tied, at least in part, to the controlled
     2   your bonus was             . Does that appear to be        2   substances you were selling?
     3   correct to you?                                            3       A That's correct.
     4       A I don't remember.                                    4       Q And in 2011, you're just shy of
     5       Q You have no recollection at all of the               5   figures at            Do you recall why your bonus
     6   amount of your bonus?                                      6   went down a bit that year?
     7       A I honestly don't.                                    7       A I don't.
     8       Q Any reason to think that's not a correct             8       Q Do you recall whether that was due, at
     9   number?                                                    9   least in part, to a decrease in the amount of
    10       A No reason to think that.                            10   controlled substances you were selling?
    11       Q And then in 2007, your bonus goes up to             11       A I don't know. You're highlighting bonus
    12              Do you have a recollection as to why           12   plans here for the year, so each year had
    13   your bonus increased?                                     13   different assignments and different structures.
    14       A I don't know the specifics tied to this,            14   So when you ask why each year, each year was --
    15   but it could tie to the things we discussed a few         15   was changing, so I -- I don't know, right.
    16   minutes ago.                                              16       Q 2008 through 2011, fair to describe
    17       Q And so fair to say that it relates, at              17   those as very good years for you based on these
    18   least in part, to the increased sales of                  18   bonuses?
    19   controlled substances?                                    19       A Compared to what?
    20       A Yes. But all products, we were graded               20       Q Compared to 2007.
    21   on all products.                                          21       A Well, it's higher.
    22       Q Okay. And then in 2008, your bonus                  22       Q Okay. Higher is good?
    23   jumps to $119,096. Do you recall the reason for           23       A I guess so.
    24   that significant increase in your bonus?                  24       Q Do you recall what products you were

   Golkow Litigation Services                                                                Page 13 (46 - 49)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 14 Confidentiality
                                                         of 117. PageID #: 213908
                                                                              Review
                                                   Page 50                                                       Page 52
     1   selling a lot of in the 2008 through 2011 time        1   that molecule versus a metformin or a
     2   period?                                               2   hydrocodone-APAP. I don't -- I don't know the
     3       A Not specifically.                               3   specifics.
     4       Q Was that a time period in which your            4       Q Do you recall if there were any
     5   clients were purchasing a significant amount of       5   non-opioid products with skyrocketing sales during
     6   oxycodone?                                            6   this time period?
     7       A That's one of the products, yes.                7       A I don't remember. Was I the lead
     8       Q What -- what other products were your           8   salesperson on atenolol? I think I was. Was I
     9   clients purchasing more of to a significant degree    9   lead the salesperson on metformin? I think I was.
    10   in this time period other than oxy?                  10   But I don't remember the numbers and I don't have
    11       A I don't know the volumes, I don't know         11   them. But do I think I gained good distribution
    12   the items, I don't know the molecules off the top    12   on -- on those items? I believe I did.
    13   of my head from seven or eight -- sorry -- from      13       Q On which items?
    14   ten years ago. Sorry. I mean -- sorry.               14       A The ones I just shared.
    15       Q So there's nothing about that time             15       Q Were the years 2008 through 2011 the
    16   period in oxy sales, for example, that               16   highest compensation years for you at
    17   particularly stands out to you?                      17   Mallinckrodt?
    18       A Well, I know that I sold that product,         18       A Yes.
    19   along with everything else I sold. And again,        19       Q When you left Mallinckrodt, did you
    20   customer responsibilities changed, so if I picked    20   receive a severance?
    21   up a Walgreens or if I picked up a McKesson or a     21       A No. I left, I resigned.
    22   Cardinal, the volume is quite different than a       22       Q Why did you resign?
    23   Duane Reade.                                         23       A For an opportunity with another
    24       Q Do you recall if there were products           24   organization.
                                                   Page 51                                                        Page 53
     1   other than oxycodone that had skyrocketing sales      1       Q Which organization was that?
     2   during this time period?                              2       A That was the one I shared before, the
     3           MR. TSAI: Objection to form.                  3   Indian firm, Dr. Reddy's.
     4           Go ahead.                                     4       Q Okay.
     5   BY MR. LOESER:                                        5           MR. LOESER: Let's mark this.
     6       Q Well, let me back up. Did the sale of           6           (Borelli Exhibit No. 3 was marked
     7   oxycodone skyrocket for you and your distributor      7           for identification.)
     8   customers between 2008 and 2010?                      8   BY MR. LOESER:
     9       A Yeah, I don't remember the numbers. Did         9       Q Mr. Borelli, you've been handed
    10   I sell more of it, that one specific as well as      10   Exhibit 3, which is MNK-T1_0002735515. This is an
    11   other molecules, I don't have the numbers in front   11   e-mail from you to Jane Williams dated
    12   of me, but I'm going to say -- I don't have the      12   January 20th, 2012.
    13   numbers in front of me. So...                        13           Is that the document in front of you?
    14       Q And when you say "molecules," do you           14       A Yes.
    15   mean other morphine molecules or what molecules      15       Q And Jane Williams was at this time your
    16   are you talking about?                               16   immediate supervisor?
    17       A Just molecules that the company                17       A She -- she was.
    18   manufactured, had license to sell.                   18       Q And so that it's clear, the address here
    19       Q And you're telling me now as you sit           19   is victorborelli@covidien.com.
    20   here, you don't recall whether the oxycodone sales   20           Can you explain the relationship between
    21   were particularly explosive during this time         21   Covidien and Mallinckrodt?
    22   period?                                              22       A I believe Mallinckrodt was a company in
    23       A I think you asked it differently a             23   the Covidien umbrella. I'm not -- I believe that
    24   moment ago. So I don't remember the growth on        24   was the case. Covidien corporately and

   Golkow Litigation Services                                                            Page 14 (50 - 53)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 15 Confidentiality
                                                         of 117. PageID #: 213909
                                                                              Review
                                                   Page 54                                                  Page 56
     1   Mallinckrodt, and there were quite a few other        1   don't believe -- I'm not sure. Sorry.
     2   entities under Covidien. I'm not exactly sure.        2       Q Another product listed here is "fen
     3   But I believe that's the case.                        3   patch." I take it that's fentanyl patch?
     4       Q Your address is covidien.com, but your          4       A That's correct.
     5   understanding is that you were a Mallinckrodt         5       Q And that's a -- that's an opioid,
     6   employee.                                             6   correct?
     7       A I believe we moved over to a Covidien           7       A Yes.
     8   employee, but the customer base knows us as           8       Q And another product listed is "fent
     9   Mallinckrodt. I believe our bottles, the items we     9   loz." I take it that's fentanyl lozenges?
    10   marketed sold separate.                              10       A Yes.
    11       Q And you functioned under the                   11       Q And that's an opioid as well?
    12   Mallinckrodt heading?                                12       A Yes.
    13       A I think it was a hybrid, you know, when        13       Q And the list continues, but there's a
    14   a company changes names.                             14   variety of other products, most of which are
    15       Q But as we go through these documents,          15   opioid products, correct?
    16   when we see references to Covidien and to            16       A I don't believe naltrexone is. I'm not
    17   Mallinckrodt, we're talking about the same --        17   sure about APAC coding. I'm not sure about
    18       A Yes.                                           18   imipramine. I don't think those are. I'm not
    19       Q -- same company?                               19   sure.
    20       A Yes. Correct.                                  20       Q Okay. But then going down, Oxy-IR,
    21       Q If you could take a minute just to             21   opioid?
    22   review that document.                                22       A Yes.
    23       A (Peruses document.)                            23       Q And morphine tabs are obviously opioid?
    24       Q And while you are doing that, I will           24       A Yes.
                                                   Page 55                                                  Page 57
     1   describe the document for the record. The subject     1       Q Methadone, on the next page, is an
     2   is "Final Numbers for FY11," which I take means       2   opioid?
     3   for year '11 -- full year '11.                        3       A Yes.
     4          And you write: "Jane, please find my           4       Q Okay.
     5   sales for FY11 attached in below." And then you       5       A Temazepam, I don't believe is.
     6   describe your sales for '11.                          6       Q And if you go back up to the middle of
     7          And if I understand this document              7   the first page, you write: "First half quota
     8   correctly, you're also responding to the sales        8   target 75 mm with historical sales of 119.9 mm
     9   goals that were presented to you in 2011; is that     9   annually. This is a 25 percent growth goal to get
    10   correct?                                             10   to 100 percent on the sales side."
    11       A I believe so.                                  11           So if I'm understanding this document
    12       Q And you discuss a number of the drugs          12   correctly, you're -- you were asked to increase
    13   that you were selling, and they all appear to        13   your sales by 25 percent for -- for 2012; is that
    14   be -- or most of them are opioid products; is that   14   correct?
    15   correct?                                             15       A It looks that way, yes.
    16       A I believe so.                                  16       Q And a lot of the products that you were
    17       Q And that includes hydro-APAPs, oxy 15          17   selling that would -- you would need to increase
    18   and 30.                                              18   the sales of during that time period would be
    19          What is methylphenidate?                      19   opioid products, correct?
    20       A Another product that we market -- sold.        20       A As well as all others, yes.
    21       Q Is that an opioid product or something         21           MR. LOESER: Mark that Exhibit 4,
    22   else?                                                22   please.
    23       A I -- I can't remember. I think it's            23           (Borelli Exhibit No. 4 was marked
    24   Ritalin. So I'm not sure if it's an opiate. I        24           for identification.)

   Golkow Litigation Services                                                          Page 15 (54 - 57)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 16 Confidentiality
                                                         of 117. PageID #: 213910
                                                                              Review
                                                   Page 58                                                   Page 60
     1          THE WITNESS: Thank you.                        1       A That's correct.
     2   BY MR. LOESER:                                        2       Q And your sales objective for Masters in
     3        Q You've been handed what's been marked          3   2008 was $220,814. Do you see that?
     4   Exhibit 4. And I would read the Bates stamp, but      4       A I do.
     5   my hole punch is right through the middle of it.      5       Q And your actual sales from October
     6   It appears to be MNK-T1, ending with the numbers      6   through July were $2,614,517. Do you see that?
     7   2520.                                                 7       A I do.
     8          Do you recognize the document that's in        8       Q And then the goals quota attainment says
     9   front of you?                                         9   1,421 percent. Do you see that?
    10        A I do.                                         10       A I do.
    11        Q Is this a document you've seen before?        11       Q So you exceeded the goal for Masters for
    12        A I believe so.                                 12   that time period by 1,421 percent. Right?
    13        Q Can you please describe what it is.           13       A Yes.
    14        A It looks like -- I'm not quite sure, but      14       Q And in fact, if you go down the list,
    15   it looks like my territory for Mallinckrodt.         15   there's a number of your customers where you
    16        Q And so on the first --                        16   significantly exceeded the -- the goal set for you
    17        A That year. That year.                         17   for 2008, right?
    18        Q And by your territory, you mean your          18       A Yes.
    19   customers?                                           19       Q And overall, your -- your FY08 totals
    20        A Right.                                        20   for quota were at 130 percent.
    21        Q And so your name appears on the top left      21       A Yes.
    22   corner, and below that, there are a list of your     22       Q Do you recall what the -- what product
    23   customers.                                           23   Masters was buying from Mallinckrodt at such a
    24        A That's correct.                               24   rate that you were able to exceed your sales goal
                                                   Page 59                                                   Page 61
     1       Q Correct?                                        1   by 1,421 percent?
     2           And the second column says "2008," and        2       A I think we had good distribution on all
     3   it has -- it says "Net sales objectives." So          3   our products at Masters.
     4   those were your objectives for those customers for    4       Q So no particular product stood out as
     5   that year, correct?                                   5   you -- as you recall now?
     6       A That's correct.                                 6       A They bought all -- I believe they bought
     7       Q And then moving down those columns,             7   all my products or the majority of my products and
     8   there are also columns that show your net sales       8   distribution.
     9   for time periods October through July, and then       9       Q And do you recall if their sales were
    10   after that, a "Net sales quota attainment."          10   dominated by any particular product?
    11           Do you see that?                             11       A They bought all of my products, and --
    12       A I do.                                          12   I'm going to say oxycodone, but they bought all my
    13       Q And so that quota attainment means the         13   products.
    14   extent to which you met the objective or -- or       14       Q Okay. But there's nothing as you sit
    15   didn't or exceeded it; is that correct?              15   here today that stands out in your mind about the
    16       A I believe so.                                  16   amount of oxy, for example, that they purchased
    17       Q And so if you go down the list, Masters        17   from you?
    18   was one of your clients, correct?                    18       A They bought oxycodone from me, from
    19       A Yes.                                           19   Mallinckrodt, and all of my products.
    20       Q And Masters is a wholesale distributor?        20       Q And again, to answer my question,
    21       A They are.                                      21   there's nothing that stands out about the amount
    22       Q And they were -- this shows that they          22   of oxy they were purchasing from you.
    23   were a Mallinckrodt customer during this time        23       A Oh. No.
    24   period.                                              24       Q Okay. And if you look at another client

   Golkow Litigation Services                                                           Page 16 (58 - 61)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 17 Confidentiality
                                                         of 117. PageID #: 213911
                                                                              Review
                                                   Page 62                                                   Page 64
     1   of yours on here is KeySource Medical, and you        1       Q And the sales goal for Masters in 2009
     2   exceeded their goal by 167 percent.                   2   is $7,473,255. Do you see that?
     3           Same question, is there anything              3       A I do.
     4   about -- any particular product as you sit here       4       Q And I won't have you do the math in your
     5   today that you recall dominating the purchases of     5   head, but that's an increase of about 34 times.
     6   KeySource Medical from Mallinckrodt?                  6   Does that look about right?
     7       A Same response, they bought all my               7       A If you did the math and you pulled that
     8   products.                                             8   number, then that's right.
     9       Q Okay. Same question again, oxy doesn't          9       Q Yeah. Well, you can look at the
    10   stand out as one that they purchased more of than    10   number 200,000 and see that 7,473,000 is many
    11   anything else?                                       11   times -- the goal for Masters in 2009 was many
    12       A They bought that product from me.              12   multiples -- in fact, 34 times larger than the
    13       Q And you don't recall the amount they           13   goal of 2008. Correct?
    14   buying dominating the other products they            14       A Yes.
    15   purchased from you?                                  15       Q So in 2008, you significantly exceeded
    16       A It wasn't my -- if you show me my              16   your sales quota by 1,420 percent, and the
    17   numbers on all my molecules, then I could say yes,   17   response in 2009 was to increase your sales goal
    18   but --                                               18   significantly, right?
    19       Q Okay.                                          19       A For that account, yes.
    20           MR. LOESER: If we could mark this,           20       Q Okay. And then looking down that list,
    21   please.                                              21   in 2009, you also significantly exceeded your
    22           (Borelli Exhibit No. 5 was marked            22   quota, correct? On Exhibit 5.
    23           for identification.)                         23       A Yes.
    24           THE WITNESS: Thank you.                      24       Q And on this page from October through
                                                   Page 63                                                   Page 65
     1   BY MR. LOESER:                                        1   December, it was 189 percent. And if you flip to
     2       Q You've been handed what's marked                2   the --
     3   Exhibit 5. And do you recognize this document,        3       A It was 189? Oh, sorry.
     4   Mr. Borelli?                                          4       Q And if you flip to the second to last
     5       A It looks like the same document with a          5   page in that exhibit. And that has the results
     6   different year.                                       6   for October through February net sales. If you go
     7       Q Okay. And that different year is 2009,          7   down to Masters, you see that you exceeded the
     8   correct?                                              8   quota by 178.6 percent. Correct?
     9       A Right.                                          9       A Yes.
    10       Q And again, the first column has your           10       Q And if we go back to 2008 in Exhibit 4
    11   name and it lists your customers. And the list --    11   again, to the prior document you looked at, and
    12       A Yes.                                           12   you pick out another client, say KeySource
    13       Q -- of customers is not exactly the same.       13   Medical, in 2008, the sales goal or objective for
    14   Is that because of the realignment that you were     14   KeySource was 515,127. Do you see that?
    15   discussing previously?                               15       A I do.
    16       A That's right.                                  16       Q And then if you look at Exhibit 5, in
    17       Q So if you go back to Exhibit 4 and look        17   2009, the sales goal for key -- for KeySource goes
    18   at Masters. Mr. Borelli, if you go back at the       18   up to 1,977,000; is that correct?
    19   other document --                                    19       A I see that.
    20       A Oh, sorry.                                     20       Q So again, you beat the sales goal in
    21       Q -- and you look at the sales goal for          21   2008, and as a result, your objective increased.
    22   Masters, you see that the sales goal for Masters     22          MR. TSAI: Object to the form.
    23   in 2008 was $220,000; is that correct?               23   BY MR. LOESER:
    24       A Yes.                                           24       Q You can answer.

   Golkow Litigation Services                                                          Page 17 (62 - 65)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 18 Confidentiality
                                                         of 117. PageID #: 213912
                                                                              Review
                                                      Page 66                                                    Page 68
     1       A What was the question? I'm sorry, what?             1        Q And did any of the documents that you
     2       Q That when you beat your sales quota for             2   reviewed refresh your recollection about -- about
     3   KeySource in 2008, when 2009 rolled around, your          3   your time at Mallinckrodt?
     4   sales objective had increased significantly.              4        A Somewhat, but it was a long time ago.
     5       A From these numbers, it looks that way,              5        Q And which documents that you recall
     6   yes.                                                      6   refreshed your recollection about your employment
     7           (Borelli Exhibit No. 6 was marked                 7   at Mallinckrodt?
     8           for identification.)                              8           MR. TSAI: Again, I will object on
     9   BY MR. LOESER:                                            9   attorney-client and work product grounds.
    10       Q Mr. Borelli, you been just -- you've               10           And instruct the witness not to identify
    11   just been handed Exhibit 6. This is the -- the           11   any specific documents discussed with counsel.
    12   same spreadsheet but for 2010; is that correct?          12   BY MR. LOESER:
    13       A Yes.                                               13        Q And for the documents that refreshed
    14       Q And so, again, on the first column, it             14   your recollection -- there were some documents
    15   has your name, Victor Borelli, and below that it         15   that refreshed your recollection, correct?
    16   has a list of your customers. Okay?                      16        A Yes. From seeing my name on an e-mail,
    17       A Yes.                                               17   but I don't remember the body of the e-mail at
    18       Q And if you looked at the -- look back at           18   all.
    19   the prior exhibit for 2009, and you look at              19        Q And so when you saw the body of the
    20   KeySource, you see that your sales objective for         20   e-mail, that refreshed your recollection about the
    21   KeySource was 1,097,000, right?                          21   subject matter of the e-mail, right?
    22       A Yes.                                               22           MR. TSAI: Object to the form.
    23       Q You exceeded it. Right?                            23   BY MR. LOESER:
    24       A Yes.                                               24        Q You can answer.
                                                        Page 67                                                  Page 69
     1        Q And then if you flip forward to 2010,              1       A I guess so.
     2   your sales goal for KeySource goes to 11,401,713.         2       Q And so can you please generally describe
     3   Do you see that?                                          3   any document that when you read the document, it
     4        A I do.                                              4   refreshed your recollection of your employment at
     5        Q And again, that's a very significant               5   Mallinckrodt?
     6   increase over the prior year's sales goal, right?         6          MR. TSAI: Same instruction not to
     7        A It is.                                             7   identify any specific documents discussed with
     8        Q More than ten times larger, right?                 8   counsel.
     9        A I believe so.                                      9          THE WITNESS: Can you ask that again?
    10          MR. TSAI: Derek, we've been going about           10          MR. LOESER: Can you read the question
    11   an hour. Can we take a break after this exhibit?         11   back, please.
    12          MR. LOESER: We're finished with that              12          (Whereupon, the requested record
    13   exhibit. So if we can just take a short break,           13          was read.)
    14   I'd appreciate it.                                       14          MR. TSAI: Same instruction not to
    15          THE VIDEOGRAPHER: The time is                     15   identify any specific documents selected and
    16   10:02 a.m. We're going off the record.                   16   discussed with counsel.
    17          (Recess.)                                         17          MR. LOESER: And, Counsel, just so I
    18          THE VIDEOGRAPHER: The time is 10:15               18   understand, are you instructing him not to answer
    19   a m. We're back on the record.                           19   a question asking him to describe documents that
    20   BY MR. LOESER:                                           20   refreshed his recollection?
    21        Q Mr. Borelli, I asked you previously at            21          MR. TSAI: Refreshed recollection is an
    22   the beginning if you had reviewed any documents to       22   evidentiary issue. It doesn't implicate or
    23   prepare for your deposition. Do you recall that?         23   abrogate the attorney-client or work product
    24        A Yes.                                              24   privilege. So that is my instruction not to

   Golkow Litigation Services                                                               Page 18 (66 - 69)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 19 Confidentiality
                                                         of 117. PageID #: 213913
                                                                              Review
                                                   Page 70                                                       Page 72
     1   identify any specific documents compiled, selected    1   that the Controlled Substances Act requires
     2   and discussed with counsel.                           2   persons who handle controlled substances to
     3          MR. LOESER: And I disagree with your           3   register with the DEA?
     4   characterization of the law, and believe it's         4       A Can you say that again, please? I'm
     5   inappropriate to instruct the witness not             5   sorry.
     6   to answer questions about documents that refreshed    6       Q Sure. You understand that the
     7   his recollection. So we can move on, but will         7   Controlled Substances Act requires persons who
     8   hold that as an issue that may require Mr. Borelli    8   handle controlled substances to register with the
     9   to come back again and answer more questions.         9   DEA?
    10   BY MR. LOESER:                                       10       A So I'm not so in tune with the
    11       Q In your earlier testimony we talked            11   Controlled Substances Act to know that specific
    12   about your phone, and you indicated that you did     12   piece.
    13   use text messaging with customers. Do you recall     13       Q Do you know whether people who are
    14   how frequently that occurred?                        14   involved in the business of manufacturing and
    15       A I don't.                                       15   selling and distributing controlled substances
    16       Q And do you recall if your phone was            16   have to have a DEA registration to do so?
    17   provided to you by Mallinckrodt or if it was a       17       A Yes.
    18   personal phone?                                      18       Q You understand that?
    19       A I don't remember. I -- I don't want to         19       A Yes.
    20   assume, but I'll assume here that I think it was     20       Q And -- and drug manufacturers are among
    21   personal, but I don't remember specifically.         21   the entities that must register with the DEA in
    22          MR. LOESER: Counsel, if you could             22   order to sell narcotics, correct?
    23   please inquire as to whether Mr. Borelli's phone     23       A Yes.
    24   was provided by Mallinckrodt, and if so, ensure      24       Q Are you familiar with the concept of the
                                                   Page 71                                                         Page 73
     1   that text messages have been searched and             1   closed system of controlled substance
     2   responsively produced.                                2   distribution? Do you know what that means?
     3           MR. TSAI: My understanding is that            3       A I do not.
     4   Mallinckrodt did not provide a phone to               4       Q You do know, however -- however, that if
     5   Mr. Borelli, but we'll take that under advisement     5   you are not a registrant under the Controlled
     6   and -- and confirm that.                              6   Substances Act, you are not allowed to distribute
     7           MR. LOESER: Thank you.                        7   controlled substances, correct?
     8   BY MR. LOESER:                                        8       A Yes, that's my assumption.
     9       Q When you were selling coffee for Sara           9       Q And if you are a registrant with the
    10   Lee, do you recall what your -- what your largest    10   DEA, you must comply with the requirements as set
    11   selling product was?                                 11   forth by the DEA for the distribution, manufacture
    12       A I do not.                                      12   or dispensing of controlled substances, correct?
    13       Q Mr. Borelli, you understand that opioids       13       A Yes.
    14   are controlled substances, correct?                  14       Q So, for example, you, Victor Borelli,
    15       A Yes.                                           15   can't just decide to send a friend opioids just
    16       Q And you understand that opioids are            16   because Mallinckrodt is a registrant under the
    17   narcotics; is that correct?                          17   DEA, correct?
    18       A Yes.                                           18       A Correct.
    19       Q And you are aware that the                     19       Q You must at all times comply with the
    20   manufacturer -- the manufacture and distribution     20   requirements of the DEA registration, right?
    21   of narcotics must comply with the Controlled         21       A Yes.
    22   Substances Act?                                      22       Q And it would be illegal to distribute
    23       A Yes.                                           23   controlled substances in a manner that is not
    24       Q And I take it that you also understand         24   authorized by a DEA registration, right?

   Golkow Litigation Services                                                             Page 19 (70 - 73)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 20 Confidentiality
                                                         of 117. PageID #: 213914
                                                                              Review
                                                       Page 74                                                        Page 76
     1       A I assume you are right.                              1   was asking you, if a friend of a friend contacted
     2       Q So if you, for example, distributed                  2   you and said, Victor, can you please ask one of
     3   controlled substances to an acquaintance, that             3   your distributor customers to send me 50 bottles
     4   would be illegal under the DEA registration that           4   of OxyContin to my favorite pharmacy, that would
     5   Mallinckrodt has, correct?                                 5   be illegal, correct?
     6       A I would think so.                                    6           MR. TSAI: Object to the form.
     7       Q And so if a friend of a friend calls you             7           THE WITNESS: We're kind of going around
     8   and says, Hey, Victor, can you send me 50 bottles          8   here in --
     9   of OxyContin to my favorite pharmacy, that would           9   BY MR. LOESER:
    10   be illegal, correct?                                      10        Q Is that something that you would do?
    11       A I wouldn't send -- me send? I -- I                  11           MR. TSAI: Object to the form.
    12   don't send -- I don't package up the product and          12           THE WITNESS: If there is an
    13   send it. And so -- I'm not -- can you ask that            13   out-of-stock in the marketplace, I don't know, I
    14   again?                                                    14   might to --
    15       Q So that would be illegal if you did                 15   BY MR. LOESER:
    16   that, correct?                                            16        Q I'm not asking if it's an out-of-stock
    17       A If I sent product to a pharmacy?                    17   in the marketplace. I'm asking you if a friend of
    18       Q Right.                                              18   a friend called you and said, Victor, will you
    19       A I would imagine so.                                 19   please ask one of your distributor customers to
    20       Q Okay. And so if a friend of a friend                20   send me 50 bottles of OxyContin to my favorite
    21   called you and said, Hey, can you tell one of your        21   pharmacy, I'm asking you is that something that
    22   distributor clients to send me 50 bottles of              22   you would do or not?
    23   OxyContin, that also would be illegal, correct?           23           MR. TSAI: Object to the form.
    24       A I'm just not following the question.                24           THE WITNESS: I don't know the answer to

                                                         Page 75                                                    Page 77
     1   I'm sorry. It's not part of the -- the business            1   that. I might if there's an out of stock at that
     2   practice. I'm just not following the question.             2   pharmacy that patients need that product.
     3   Sorry about that.                                          3   BY MR. LOESER:
     4       Q Okay. If a friend of a friend called                 4        Q Is that --
     5   you and said, Victor, can you please tell one of           5        A If that's a -- if that's a registered --
     6   your customers to send 50 bottles of OxyContin for         6   if it's a registered pharmacy with an active DEA
     7   my use at my favorite pharmacy, that would not be          7   license, and there's an out-of-stock or there's a
     8   consistent with your DEA registration; is that             8   need, I don't know if I would or wouldn't, but I
     9   correct? With Mallinckrodt's DEA registration.             9   don't see what -- what's the -- I don't know if I
    10           MR. TSAI: Object to the form.                     10   would or wouldn't. But I don't see -- if I did, I
    11           Go ahead.                                         11   don't believe that's wrong if there's a need at
    12           THE WITNESS: I don't know the answer to           12   that location for patients.
    13   that. If -- I don't know the answer to that.              13        Q So you believe that Mallinckrodt's DEA
    14   BY MR. LOESER:                                            14   registration allows you to receive a request from
    15       Q That's not something you would ever do.             15   a friend of a friend to ask a customer to send
    16       A That's not what I said. I said I don't              16   OxyContin to your friend of friend's favorite
    17   know the answer to what you're asking. If -- if           17   pharmacy --
    18   McKesson was calling on an account, and I spoke to        18            MR. TSAI: Object to the form.
    19   a McKesson manager to highlight an out-of-stock           19   BY MR. LOESER:
    20   situation, I might -- I don't remember doing that         20        Q -- that Mallinckrodt could do that
    21   either, but I might. But I'm not shipping -- I'm          21   consistent with its DEA registration?
    22   not packaging up product and -- and shipping it to        22            MR. TSAI: Object to the form.
    23   a locate -- a pharmacy.                                   23   BY MR. LOESER:
    24       Q I understand. But going back to what I              24        Q Or you just don't know.

   Golkow Litigation Services                                                                 Page 20 (74 - 77)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 21 Confidentiality
                                                         of 117. PageID #: 213915
                                                                              Review
                                                   Page 78                                                   Page 80
     1        A Perhaps I'm just not following your            1   send narcotics places?
     2   question properly. But in the example I shared        2           MR. TSAI: Object to the form.
     3   with you a moment ago, I don't see anything wrong     3           THE WITNESS: I don't believe so.
     4   with that from a DEA-registered organization to       4   BY MR. LOESER:
     5   a -- to a pharmacy with a DEA license, if there's     5       Q Do you recall it ever happening?
     6   no product availability from other manufacturers.     6       A I don't believe so, but it may have.
     7   And again, Mallinckrodt is not the only               7   But, again, if there's quota issues out in the
     8   manufacturer on this product. So if there's           8   marketplace, if there's out-of-stocks issues in
     9   out-of-stocks and Mallinckrodt has an opportunity,    9   the marketplace by my competitors, there's so many
    10   I might. But only from a -- from a DEA-registered    10   things that can pertain to that question and that
    11   organization to a DEA-registered pharmacy.           11   situation, so I -- I don't know.
    12        Q So you can think of reasons to do that        12       Q And you understand that the Controlled
    13   if that pharmacy is out of stock?                    13   Substances Act requires Mallinckrodt to have a
    14           MR. TSAI: Object to the form.                14   system of controls to prevent diversion, correct?
    15           THE WITNESS: That could be one of the        15       A I believe so.
    16   reasons.                                             16       Q And what is diversion?
    17   BY MR. LOESER:                                       17       A I'm going -- I'm going to think there's
    18        Q Can you think of any other reasons?           18   many forms of diversion.
    19        A I could. Patient preference. Right.           19       Q Well, describe diversion as best you
    20   Patient preference is another.                       20   can.
    21        Q So you, the director of sales at              21       A If a truck -- I think when I was at
    22   Mallinckrodt, takes into account patient             22   Mallinckrodt, a truck of Watson, a competitor,
    23   preference when making a decision to send            23   product was stolen. I think that's a form of
    24   narcotics to a pharmacy?                             24   diversion.
                                                   Page 79                                                   Page 81
     1          MR. TSAI: Object to the form.                  1            I think if a pharmacy is robbed and they
     2          THE WITNESS: I think you put words in          2   take medicine, I think that's going to be -- I
     3   my mouth there. If a patient only likes atenolol      3   think it's a form of either abuse or diversion.
     4   with a blue color to it, they want that atenolol      4            I -- so if a FedEx -- Federal Express
     5   with a blue color oval shape -- I mean we're going    5   site is robbed, I think that could be a form of
     6   down a road here that I'm not sure what you're        6   diversion. So...
     7   asking, so I'm sharing you about a registered         7       Q If a dispensing physician prescribes
     8   organization to a registered pharmacy. And then I     8   opioids for reasons other medical necessity, is
     9   think you're asking it another way, but I'm just      9   that diversion?
    10   sharing my thoughts. I don't see anything wrong      10       A I -- was there a prescription?
    11   with that when situations and circumstances          11       Q Whether there is or not, if a dispensing
    12   prevail.                                             12   physician prescribes opioids for reasons other
    13   BY MR. LOESER:                                       13   than medical necessity, is that diversion?
    14       Q So you don't think there's anything            14       A Was there a prescription?
    15   wrong with a friend of a friend calling you and      15       Q So are you saying that if there is a
    16   asking you to have a distributor client of yours     16   prescription prescribing for reasons that are not
    17   send OxyContin to a pharmacy.                        17   medical necessity, it's not diversion?
    18          MR. TSAI: Object to the form.                 18            MR. TSAI: Object to the form.
    19          THE WITNESS: It depends -- and I've           19            THE WITNESS: You can't put words in my
    20   shared the answer -- my thoughts with you already,   20   mouth.
    21   right? It depends on the circumstance.               21   BY MR. LOESER:
    22   BY MR. LOESER:                                       22       Q Well, I'm asking you to explain.
    23       Q Is that something that happened a lot,         23   Explain the best you can.
    24   friends of friends would call you and ask you to     24       A I am doing that, right? And I'm trying

   Golkow Litigation Services                                                          Page 21 (78 - 81)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 22 Confidentiality
                                                         of 117. PageID #: 213916
                                                                              Review
                                                   Page 82                                                   Page 84
     1   my best here. And I asked if there was a              1       Q In the trainings that you received at
     2   prescription. If there's a prescription, we           2   Mallinckrodt, did you receive any trainings on
     3   manufacture product, ship it to a wholesaler, who     3   what constitutes diversion?
     4   then ships it to a pharmacy, an independent           4       A I don't remember.
     5   pharmacy, a chain pharmacy, whatever. Then it is      5       Q Is it possible for a distributor that
     6   dispensed to a patient, who comes in with a           6   you supplied pills to to engage in diversion?
     7   prescription written by a doctor.                     7       A Do you mean ship to a location without a
     8           There's a lot of steps here. So you're        8   DEA license?
     9   asking something -- so if there's a prescription,     9       Q Or any -- any type of diversion. Is
    10   that person was viewed by a doctor, and then the     10   that something that you ever evaluated, whether a
    11   pharmacist -- and the pharmacist at the location     11   distributor client was engaged in diversion?
    12   is reviewing that patient as well. You know how      12       A Evaluated, no.
    13   far removed I am from that question? So I can't      13       Q Do you understand that the Controlled
    14   answer it.                                           14   Substances Act also required Mallinckrodt to have
    15        Q Well, so are you saying that if there's       15   a suspicious order monitoring system?
    16   a pharmacist involved and a doctor wrote a           16       A I shared before I don't know the
    17   prescription, that whatever happens to that opioid   17   specifics about that act, but Mallinckrodt did
    18   cannot be diversion?                                 18   have that in place.
    19           MR. TSAI: Object to the form.                19       Q And describe, if you can, your
    20           THE WITNESS: When did I say that?            20   understanding of how the suspicious order
    21   BY MR. LOESER:                                       21   monitoring system worked at Mallinckrodt.
    22        Q I'm asking you that. Is that your             22       A I was in the sales department. I don't
    23   understanding?                                       23   know -- I don't know how they conducted
    24           MR. TSAI: Object to the form.                24   themselves. There are people specific at
                                                   Page 83                                                   Page 85
     1           THE WITNESS: Can you ask that again           1   Mallinckrodt that were in that department, and
     2   then?                                                 2   it's probably best to ask how -- what their roles
     3           MR. LOESER: Could you please read back        3   and responsibilities were.
     4   the question.                                         4        Q So you're saying you weren't involved at
     5           (Whereupon, the requested record              5   all in the suspicious order monitoring process at
     6           was read.)                                    6   Mallinckrodt?
     7           THE WITNESS: I don't know the answer to       7        A In the actual process to evaluate
     8   that, right? How do I know what that patient is       8   customers, not so much. Did I receive calls or
     9   doing? Selling it, using it improperly, it's --       9   e-mails from -- from folks in that department at
    10   you're asking somebody who's so far removed from     10   Mallinckrodt, yes.
    11   that, and your question, that it's a tough one to    11        Q And so what types of things would that
    12   answer.                                              12   department ask you?
    13   BY MR. LOESER:                                       13        A To arrange meetings with customers about
    14       Q Can you answer the question or not?            14   units ordered.
    15       A Can you ask that again.                        15        Q Did you have an understanding of what
    16           (Whereupon, the requested record             16   kinds of things the suspicious order monitoring
    17           was read.)                                   17   department was looking for?
    18           MR. TSAI: Object to the form.                18        A Not so much.
    19           THE WITNESS: So it's meant for               19        Q Okay. So you just sold the pills to
    20   medicine -- medicinal purposes. In that fashion      20   distributors, and that was kind of the end of your
    21   and form, it's not -- in my -- in my humble          21   involvement.
    22   opinion, it's not going to be diverted. Can it       22           MR. TSAI: Object to the form.
    23   be? I don't know.                                    23           THE WITNESS: So, no, it doesn't end
    24   BY MR. LOESER:                                       24   there. I know I shared before about customer

   Golkow Litigation Services                                                           Page 22 (82 - 85)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 23 Confidentiality
                                                         of 117. PageID #: 213917
                                                                              Review
                                                        Page 86                                                    Page 88
     1   service and supply and quota conversations.                 1   sales by its distributor customers to their
     2   There's a number of things that go into the --              2   downstream clients?
     3   the -- the company, sales and the customer, and             3          MR. TSAI: Object to the form.
     4   the wholesaler or distributor. Yeah.                        4          THE WITNESS: I don't see the -- where
     5   BY MR. LOESER:                                              5   the wholesaler ships to. And even -- even when we
     6       Q But your job didn't involve helping                   6   ship to a chain of stores, I don't see what store
     7   Mallinckrodt identify suspicious orders?                    7   that goes to. And so if we sell to a -- a
     8       A Not specifically.                                     8   Walgreens distribution center in -- and I'm making
     9       Q Well, in what way did it?                             9   this up -- Tempe, Arizona, I don't know if
    10       A Well, as a salesperson, I was on the                 10   product, mine and all other vendors they do
    11   road quite a bit, so visiting with customers and           11   business with, I don't know where that goes, to
    12   seeing their operation. That's part of a role --           12   what store in Arizona or in California or in New
    13   part of my role.                                           13   Mexico. I don't know.
    14       Q And when you were visiting customers and             14   BY MR. LOESER:
    15   seeing their operation, were you evaluating                15       Q Do you understand that the purpose of
    16   whether they were engaged in shipping suspicious           16   the closed system for opioid distribution and the
    17   orders?                                                    17   regulations that go with it is to minimize theft
    18       A Not that specific point, no.                         18   and diversion of controlled substances?
    19       Q Okay. Did you try and get a sense of                 19       A I believe so.
    20   whether your customers were engaged in diversion?          20       Q And if a registrant fails to satisfy its
    21       A I think I tried to get a sense of the                21   obligations under the Controlled Substances Act,
    22   customer.                                                  22   that could result in controlled substances being
    23       Q What does that mean?                                 23   diverted, right?
    24       A I don't know. If you visit a customer's              24          MR. TSAI: Object to the form.
                                                          Page 87                                                  Page 89
     1   office, you can see if they're diverting product.           1           THE WITNESS: Can you explain that a bit
     2   I don't know if you can do that. I don't know if            2   more for me?
     3   that's possible.                                            3   BY MR. LOESER:
     4       Q Did you try to do that? Did you try to                4        Q If a registrant such as Mallinckrodt
     5   understand your customer to know whether they were          5   distributes to distributors without regard to what
     6   engaged in diversion?                                       6   that distributor is going to do with the pills
     7       A Understand the customer, yes. The                     7   it's buying from Mallinckrodt, that could
     8   diversion piece, that's a -- you know, once they            8   contribute to diversion, correct?
     9   ship it, there's 50 states that they ship it to.            9           MR. TSAI: Object to the form.
    10   So, no.                                                    10   BY MR. LOESER:
    11       Q So you're saying you had no                          11        Q Can you answer?
    12   visibility -- after you sold pills to the                  12        A Well, you said "without regard." I
    13   distributor, that's where your visibility stopped          13   don't know if Mallinckrodt did.
    14   on what happened to those pills.                           14        Q But I'm asking if they did.
    15       A Yeah.                                                15        A I don't --
    16       Q Now, you do understand that Mallinckrodt             16        Q If that were to occur, that would --
    17   had a legal duty to identify and stop suspicious           17   that would be a problem, right, because that would
    18   orders to its distributor clients, right?                  18   increase the risk of diversion?
    19           MR. TSAI: Object to the form.                      19           MR. TSAI: Object to the form.
    20   BY MR. LOESER:                                             20           THE WITNESS: You mean if they shipped
    21       Q You can answer.                                      21   to somebody without a DEA license?
    22       A I believe so.                                        22   BY MR. LOESER:
    23       Q And is it also your understanding that               23        Q If they shipped --
    24   Mallinckrodt had a duty to identify suspicious             24        A I'm just trying to follow you.

   Golkow Litigation Services                                                                 Page 23 (86 - 89)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 24 Confidentiality
                                                         of 117. PageID #: 213918
                                                                              Review
                                                        Page 90                                                         Page 92
     1      Q      Yeah, I understand.                             1   I read articles or see articles or -- so it's
     2           If they shipped to a distributor who              2   ongoing.
     3   was -- who Mallinckrodt was aware recklessly              3       Q And of course, you were involved in the
     4   dispensed to downstream customers, recklessly             4   sale of opioids, right?
     5   shipped to downstream customers, that would               5       A Legally manufactured as well as other
     6   increase the risk of diversion, right?                    6   molecules, yes.
     7           MR. TSAI: Object to the form.                     7       Q And during the time that you were
     8           THE WITNESS: If Mallinckrodt shipped to           8   selling opioids, were you aware there was an --
     9   somebody without a DEA license, I would think that        9       A When you --
    10   that would be a reckless scenario.                       10       Q -- opioid epidemic?
    11           If -- if they -- if they shipped to              11       A When you -- when you speak of opioids, I
    12   somebody with a DEA license who serviced a patient       12   think of heroin, I think of crack, I think of so
    13   in need with a prescription from a doctor, I don't       13   many things that are all part of the epidemic.
    14   think that's reckless. But that's just how I             14   And I think that's a part of the epidemic. So,
    15   think.                                                   15   I'm sorry, I just wanted to share.
    16   BY MR. LOESER:                                           16       Q Okay. But when you were selling
    17       Q Would you agree that diversion                     17   opioids, prescription opioids, OxyContin, for
    18   contributes to drug abuse and addiction?                 18   example, did you know there was an opioid epidemic
    19           MR. TSAI: Object to the form.                    19   going on?
    20           THE WITNESS: There are a lot of things           20       A I believe so.
    21   that tie into that.                                      21       Q And do you recall when you realized
    22   BY MR. LOESER:                                           22   there was an opioid epidemic?
    23       Q Is diversion one of them?                          23       A Well, I probably realized that much
    24       A It could --                                        24   sooner than when I worked at Mallinckrodt.

                                                       Page 91                                                       Page 93
     1           MR. TSAI: Object to the form.                     1       Q Okay. So prior to what year?
     2           Go ahead.                                         2       A I started with Mallinckrodt in 2005.
     3           THE WITNESS: It could be.                         3       Q So when you started you already knew
     4   BY MR. LOESER:                                            4   there was on opioid epidemic in this country?
     5       Q Could be or it is?                                  5       A I believe so.
     6           MR. TSAI: Object to the form.                     6       Q Did you evaluate the extent to which the
     7           THE WITNESS: Could be.                            7   opioid epidemic was impacted -- well, strike that.
     8   BY MR. LOESER:                                            8           Did you evaluate the extent to which the
     9       Q Is there an opioid crisis in this                   9   opioid epidemic impacted the communities that were
    10   country?                                                 10   included in your sales region for Mallinckrodt?
    11       A That's a pretty broad brush statement              11       A No.
    12   there. I think there is some illegal and legally         12       Q Did you investigate the extent to which
    13   manufactured products. That's -- you know, it's a        13   pills manufactured by Mallinckrodt contributed to
    14   broad brush statement.                                   14   the opioid epidemic?
    15       Q Have you heard of the expression "the              15       A Will you --
    16   opioid epidemic"?                                        16           MR. TSAI: Object to the form.
    17       A I have.                                            17           THE WITNESS: Will you ask that again?
    18       Q And you understand that there is an                18           MR. LOESER: Could you read it back,
    19   ongoing opioid epidemic in this country?                 19   please.
    20       A Yes.                                               20           (Whereupon, the requested record
    21       Q And when did you learn that there was an           21           was read.)
    22   opioid epidemic in this country?                         22           MR. TSAI: Object to the form.
    23       A I think it's been on the news and                  23           THE WITNESS: Perhaps at times.
    24   articles. So from reading, and I don't know when         24   BY MR. LOESER:

   Golkow Litigation Services                                                                 Page 24 (90 - 93)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 25 Confidentiality
                                                         of 117. PageID #: 213919
                                                                              Review
                                                         Page 94                                                  Page 96
     1       Q Okay. Describe that.                                 1       Q Mr. Borelli, you knew how much Oxy 15
     2       A I think from things you read, from                   2   and 30 your clients were buying, correct?
     3   things you hear, from things you listen to,                3       A For the most part, yes.
     4   understanding the DEA quotas assigned to scheduled         4       Q And you knew they were buying a lot,
     5   narcotic companies, how much quota is allocated.           5   correct?
     6   I mean there's a lot of different things that come         6       A "A lot" is a relative term. A lot to
     7   into that.                                                 7   what? For history or the United States needs?
     8       Q Okay. And you took those things into                 8       Q How about relative to what they were
     9   account how?                                               9   buying before, the amount they were buying was
    10       A Just as an understanding of how the -- I            10   increasing significantly, correct?
    11   don't know if it's the -- the process for the             11           MR. TSAI: Object to the form.
    12   closed system, but all part of it.                        12           THE WITNESS: Again, you would have to
    13       Q Okay. Did you evaluate whether                      13   show me by molecule, by sales. You showed me a
    14   particular types of pills manufactured by                 14   broad brush number in dollars, and you didn't talk
    15   Mallinckrodt were prone to abuse or diversion?            15   about the margin side. But in dollars, there were
    16       A Did I evaluate? I don't believe so.                 16   customers that were up and there were customers
    17       Q And when you were selling opioid                    17   that were down. But I don't know the molecules
    18   products for Mallinckrodt, were you aware that            18   that were up, I don't know the molecules that were
    19   oxy 15 and 30 milligram tablets were the most             19   down.
    20   widely abused and diverted prescription opioids?          20   BY MR. LOESER:
    21          MR. TSAI: Object to the form.                      21       Q Just sitting here today, you just can't
    22          THE WITNESS: I did not know they were              22   recall any trends with Oxy 15 and 30 and your
    23   the most wide -- widely used and -- and abused. I         23   clients. Is that what you're saying?
    24   did not know that.                                        24       A Well, you showed sales dollars that went
                                                       Page 95                                                    Page 97
     1   BY MR. LOESER:                                             1   up. Was it specific and only to Oxy 15 and 30? I
     2       Q That's news to you?                                  2   don't believe so.
     3       A I said I didn't know -- I did not know               3       Q Again, and we'll get into more specific
     4   that that is the most widely abused.                       4   documents, but as you sit here today, there aren't
     5       Q Did you know that your distributor                   5   any trends with Oxy 15 and 30 in the time period
     6   clients purchased enormous quantities of Oxy 15            6   where your bonuses were very large that you
     7   and 30?                                                    7   recall.
     8       A You know, they're servicing the whole                8           MR. TSAI: Object to the form.
     9   country, and there's not a warehouse full of               9           THE WITNESS: "Trends" meaning sales
    10   product that we just make -- that they can fill           10   were increasing?
    11   and sell. There's a finite amount of product              11   BY MR. LOESER:
    12   that's assigned to us and our 25 competitors.             12       Q Correct.
    13       Q I'm going to ask my question again and              13       A Sales were increasing.
    14   see if I understand your answer.                          14       Q And you were aware of that.
    15           Did you know that your distributor                15       A That sales were increasing? For my
    16   clients purchased enormous quantities of Oxy 15           16   territory? Okay. I guess so.
    17   and 30, yes or no?                                        17           I'd like to chime in for a second, if I
    18           MR. TSAI: Object to the form.                     18   could. If sales increase here, the sales will
    19           THE WITNESS: It's not a "yes" or "no"             19   decrease here because there's just a finite amount
    20   answer. I think I shared just now that they               20   of product. So if Cardinal's sales are
    21   service 50 states and Puerto Rico. I don't know           21   increasing, McKesson's sales may be decreasing
    22   how much Cardinal needs every day, every week,            22   from Mallinckrodt. They buy from 25 -- I'm not
    23   every month.                                              23   even sure how many other vendors they purchase
    24   BY MR. LOESER:                                            24   from. So I don't know if sales are increasing on

   Golkow Litigation Services                                                                Page 25 (94 - 97)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 26 Confidentiality
                                                         of 117. PageID #: 213920
                                                                              Review
                                                   Page 98                                                         Page 100
     1   a grand 50-state scale. I don't know.                 1   distributor customer sells to its downstream
     2        Q But you do know whether they were              2   customer at a price lower than the price that that
     3   increasing in certain areas, right?                   3   distributor purchased from Mallinckrodt,
     4           MR. TSAI: Object to the form.                 4   Mallinckrodt would make up the difference with a
     5   BY MR. LOESER:                                        5   chargeback?
     6        Q It's not news to you that the sale of          6       A I believe the -- again, there is a
     7   Oxy in Florida was increasing significantly during    7   department for chargebacks at Mallinckrodt. So I
     8   the time that you were selling Oxy to your            8   believe that the chargeback was in place to get to
     9   distributor clients, right?                           9   a contract price.
    10        A Was it increase -- I don't know if it's       10       Q Right. The contract price is the price
    11   -- I don't know if it's increasing in quantity       11   at which the drug was purchased from Mallinckrodt?
    12   year to year. If our sales are up, then someone      12       A I'm sorry?
    13   else's sales are down, because it's allocated by     13       Q Tell me what you mean by "contract
    14   the DEA. And conversely, if Watson's sales are       14   price."
    15   going up, somebody else's sales will be going        15       A An agreed-upon price that the
    16   down. And it could be based on quota, could be       16   customer -- I'm sorry -- that the wholesaler would
    17   based on supply. There's a lot -- a lot of things    17   pay for any molecule.
    18   that go into that.                                   18       Q Okay. And so if the customer
    19        Q Mr. Borelli, you understand that over         19   distributor sold to a downstream customer at a
    20   time, during the time where the opioid epidemic      20   price lower than the contract price, Mallinckrodt
    21   was ongoing, which you said you knew about,          21   would then pay a chargeback to the distributor to
    22   overall the amount of opioids being sold in this     22   get the distributor to the contract price; is that
    23   country increased year over year, right?             23   right?
    24           MR. TSAI: Object to the form.                24       A I believe so, but you're better off --

                                                   Page 99                                                      Page 101
     1   BY MR. LOESER:                                        1   there's a chargeback team in place, so you're
     2       Q That's not news to you.                         2   probably better off talking to the folks who
     3       A I knew about the epidemic. I shared             3   managed and worked in that department. But I
     4   that with you. I don't know overall sales for         4   believe so.
     5   that item in the country. And I don't know if         5        Q That's your understanding.
     6   Mallinckrodt's sales were higher year over year.      6        A It's my understanding.
     7   Because, again, if I pick up sales, someone may       7        Q And was there competition among
     8   have a decline.                                       8   manufacturers over the amount of the chargeback
     9       Q Can you explain to me what a chargeback         9   payments that were being paid to wholesalers?
    10   is?                                                  10        A I can't -- I can't speak to how other
    11       A There was a specific chargeback                11   companies went to market.
    12   organization that Mallinckrodt -- it's a practice    12        Q And would you agree that the chargeback
    13   used to -- in the pharmaceutical industry to get     13   payment to a distributor provides that distributor
    14   to a contract price.                                 14   with an incentive to sell Mallinckrodt's products
    15       Q Let me try and understand. Chargeback          15   to its downstream customers?
    16   payments are made by Mallinckrodt to distributor     16        A I don't believe it's an incentive to
    17   clients, correct?                                    17   sell. It's not incentive. It's to get them to a
    18       A That's correct.                                18   contract price that they can then sell it to a
    19       Q And why does Mallinckrodt pay                  19   cust- -- one of their pharmacies or hospitals,
    20   distributor clients chargebacks?                     20   yeah.
    21       A Well, they only would allocate a               21        Q So that contract price becomes kind of a
    22   chargeback payment when the wholesaler sells it to   22   guarantee when the chargeback is taken into
    23   a pharmacy or a hospital.                            23   account, right?
    24       Q And isn't the idea if the Mallinckrodt         24        A Yes, I don't know if -- I've never used

   Golkow Litigation Services                                                           Page 26 (98 - 101)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 27 Confidentiality
                                                         of 117. PageID #: 213921
                                                                              Review
                                                 Page 102                                                  Page 104
     1   that word with chargebacks, so I think it's best      1   transcript question. Madam Reporter, is -- I
     2   to speak to the folks in the chargeback group or      2   think it might be -- if you could read back at
     3   department.                                           3   81 -- the question by counsel starting at 81-21.
     4        Q And distributor -- wholesale distributor       4           THE REPORTER: I think ours are
     5   clients are more likely to purchase product from      5   different.
     6   Mallinckrodt if they know that if they sell that      6           MR. LOESER: Do you want to go off the
     7   product below the contract price, Mallinckrodt        7   record?
     8   will make them whole, right?                          8           MR. TSAI: Yeah.
     9           MR. TSAI: Object to the form.                 9           THE VIDEOGRAPHER: The time is 11:00
    10           THE WITNESS: I'm not following you,          10   a.m. We're going off the record.
    11   because why -- I don't know how they would sell it   11           (Pause in the proceedings.)
    12   below, because -- they would buy it from us, and     12           THE VIDEOGRAPHER: The time is
    13   they sold it to a customer, pharmacy. If they        13   11:01 a.m., and we're back on the record.
    14   sold it below the contract price, then they would    14   BY MR. LOESER:
    15   be losing money.                                     15       Q So when would a distributor receive a
    16   BY MR. LOESER:                                       16   chargeback payment? What would be the
    17        Q And then they would get a chargeback,         17   circumstances that would require that?
    18   right?                                               18       A I would believe when one of their
    19        A The chargeback gets into the contract.        19   customers buys it, when they ship it to one of
    20   So if it was $100 wholesale acquisition cost, and    20   their customers.
    21   the contract was at 50, there's a $50 chargeback.    21       Q So it's your understanding --
    22   If they sold it at 40, they would go out of          22       A One of their pharmacies that they
    23   business, I believe, soon.                           23   service -- one of the stores that they service,
    24           MR. TSAI: I'm sorry, the --                  24   yeah.
                                                 Page 103                                                  Page 105
     1           THE WITNESS: I don't know the                 1       Q Okay. So the chargeback, it's not paid
     2   specifics.                                            2   at the moment that the distributor purchases the
     3           MR. TSAI: The realtime is lagging.            3   product from Mallinckrodt, right?
     4   It's back up to -- it's caught up. Thanks.            4       A You'd have to talk to the chargeback
     5           THE WITNESS: And those are just -- I'm        5   department. I think there's a -- there's a lag in
     6   just sharing easy numbers. I --                       6   time from when the chargeback comes back to the
     7   BY MR. LOESER:                                        7   wholesaler from when they shipped it to one of
     8        Q Right. Again, I want to make sure I            8   their pharmacies. There's a lag in -- in that
     9   understand.                                           9   data feed.
    10           You have a distributor; they negotiate a     10       Q And that's because the chargeback is
    11   contract price with Mallinckrodt.                    11   based on the price that the wholesaler sells to
    12        A Yeah.                                         12   the pharmacy or other downstream customer,
    13        Q The distributor sells to a downstream         13   correct?
    14   customer at a price that's lower than the contract   14       A It's based -- I don't believe so, but --
    15   price. Mallinckrodt then pays money to the           15   I don't believe so. I think -- I think it's best
    16   distributor to get them to the contract price.       16   to -- there's a chargeback department and a team
    17   They don't lose money on that sale, right?           17   in place at Mallinckrodt that is better to talk to
    18        A No, I don't believe so. Again, the --         18   on that.
    19   the Mallinckrodt system -- this was a while ago      19       Q Did you track how much was paid to your
    20   for me -- so if they bought it at a wholesale        20   distributor clients in chargebacks?
    21   price, had a contract of a price below that, when    21       A I don't believe I did.
    22   they sold that product to a pharmacy, selling        22       Q You understand that Mallinckrodt
    23   below contract wouldn't make sense.                  23   collected information from its distributor clients
    24           MR. TSAI: I'm sorry. I have a                24   about their sales to downstream customers,

   Golkow Litigation Services                                                       Page 27 (102 - 105)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 28 Confidentiality
                                                         of 117. PageID #: 213922
                                                                              Review
                                                     Page 106                                                 Page 108
     1   correct?                                                 1   subject is "Sunrise Reports," and there are two
     2        A I believe so.                                     2   attachments and those are the two attachments to
     3        Q And that information was collected in             3   the e-mail.
     4   what was called the chargeback system, right?            4           And I'll read the e-mail. It says:
     5        A Okay.                                             5   "Please find attached the requested reports. The
     6        Q And the chargeback system was a database          6   first report is all DEA numbers that have been
     7   of sales transaction information between                 7   shipped product from Sunrise in the past 12
     8   distributors and customers, correct?                     8   months. The second report is a chargeback report
     9        A I believe so.                                     9   by DEA and SKU showing Sunrise sales as well as
    10        Q And it also tracked Mallinckrodt sales           10   other wholesalers. Please let me know if you need
    11   to its distributors, right?                             11   anything else."
    12        A Well, that -- I don't know if                    12           Do you see that?
    13   chargebacks were used there, so I'm not quite           13        A I do.
    14   sure.                                                   14        Q And this e-mail attaches two
    15        Q Right. But the database that was                 15   spreadsheets that apparently you asked for; is
    16   maintained by Mallinckrodt that was used for            16   that correct? That's what the cover e-mail
    17   chargebacks tracked the sales by Mallinckrodt to        17   indicates?
    18   its distributors and by its distributors to the         18        A I believe so.
    19   downstream customers, correct?                          19        Q And if you look at the first
    20        A I believe so.                                    20   spreadsheet, it tracks all product shipped to
    21        Q And you know that because you worked             21   Sunrise. Right? So flip over to the --
    22   with that data, right?                                  22        A You said something a second ago that I
    23        A I was not in touch with the chargeback           23   asked for this report. Does it -- I don't see
    24   data. No.                                               24   that.
                                                      Page 107                                                Page 109
     1       Q But you -- you received reports, you               1       Q Well, it says: "Please let me know if
     2   received information, you received printouts from        2   you need anything else." So, does that not
     3   the chargeback system, right?                            3   suggest to you that you asked for this
     4       A Occasionally. I did not have hands-on              4   information.
     5   access or to chargeback -- chargeback information.       5       A I don't remember --
     6       Q But you understood that Mallinckrodt               6       Q It says: "Please find the attached --
     7   collected this information, put it in something          7   please find attached the requested reports."
     8   called the chargeback system, so that it could           8   So --
     9   determine if it owed chargebacks to its                  9       A I see what it says, but I don't see
    10   distributor clients, right?                             10   what -- where it says what you said. And I
    11       A Okay.                                             11   don't -- please let -- I don't know if that -- I
    12       Q That's your understanding?                        12   don't remember asking for it. And I -- you know,
    13       A I believe so.                                     13   I just don't.
    14          MR. LOESER: Exhibit 7.                           14       Q Do you have any reason to doubt that you
    15          (Borelli Exhibit No. 7 was marked                15   sent this e-mail to Lisa Lundergan --
    16          for identification.)                             16       A I didn't -- I didn't send.
    17   BY MR. LOESER:                                          17       Q -- and that you received an e-mail from
    18       Q Mr. Borelli, you've been handed                   18   Lisa Lundergan in which she said, "Please find
    19   Exhibit 7, which is three documents, a cover            19   attached the requested reports"?
    20   e-mail and two spreadsheets.                            20       A I see what she sent me. I don't -- I
    21          For the record, the cover e-mail is              21   don't see me asking for it, and -- but you said I
    22   MNK-T1_0000448872. This is an e-mail from Lisa          22   asked for it. I don't remember asking for it.
    23   Lundergan to you, with a cc to John Adams, Kate         23       Q So when she sends you an e-mail saying,
    24   Muhlenkamp, and it's dated July 10th, 2009. The         24   "Please find attached the requested reports,"

   Golkow Litigation Services                                                          Page 28 (106 - 109)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 29 Confidentiality
                                                         of 117. PageID #: 213923
                                                                              Review
                                                 Page 110                                                    Page 112
     1   you're saying you don't think you asked for these    1   that downstream customer, including the DEA
     2   reports. Or you just don't recall.                   2   registration number. Correct?
     3       A Yeah, I don't recall asking for this           3       A I believe so.
     4   report.                                              4       Q So if there is a downstream customer
     5       Q Now, if you would look at the first            5   identified here, Mallinckrodt has the DEA
     6   spreadsheet --                                       6   registration number, and you're also aware that
     7       A Okay.                                          7   Mallinckrodt collects the address of that
     8       Q -- the middle column is "Pricing               8   downstream customer and the -- the type and
     9   contract," and it says "Sunrise wholesalers." Do     9   quantity of pills purchased by Mallinckrodt.
    10   you see that?                                       10       A I believe so.
    11       A I do.                                         11       Q And so, for example, all of these
    12       Q And Sunrise wholesalers is a distributor      12   Sunrise purchases, and there are pages of them in
    13   customer of Mallinckrodt's, right?                  13   this exhibit, are all for oxycodone 30 and
    14       A Yes.                                          14   oxycodone 15, right?
    15       Q And it was your client?                       15       A There are other molecules in here as
    16       A Yes.                                          16   well.
    17       Q And you see that there are a number --        17       Q That's correct. There's hydromorphone,
    18   number of fields in this spreadsheet, and we'll     18   there's methadone. But everything on this
    19   walk through them. There's net sales, pricing       19   spreadsheet is an opioid, correct?
    20   quantity, product description, SKU, pricing         20       A (Peruses document.)
    21   contract, and then the -- and then ship-to          21       Q And while you're flipping through that,
    22   customer name. Do you see that?                     22   Mr. Borelli, you see that the vast majority of
    23       A I do.                                         23   these entries are for oxycodone HCL 30 milligram
    24       Q And then next to that is DEA number.          24   and oxycodone HCL 15 milligram, correct?
                                                 Page 111                                                      Page 113
     1          And is it your understanding that the         1       A So yes to your question before. And
     2   information in this report comes out of the          2   then you just asked another question?
     3   chargeback system that Mallinckrodt maintains?       3       Q Yeah, the vast majority of these Sunrise
     4       A I believe it does.                             4   purchases from Mallinckrodt are for oxy 15 and 30,
     5       Q And that chargeback system, as we can          5   correct?
     6   see from the spreadsheet, includes the name of       6       A It looks that way.
     7   Mallinckrodt's distributor. Right?                   7       Q And so from this report, which is taken
     8       A Yes.                                           8   out of the chargeback system, Mallinckrodt knows
     9       Q That's Sunrise. It also includes the           9   the distributor that purchased the product, they
    10   name of the person or clinic or entity to which     10   know the product that was purchased, they know the
    11   the distributor sent the product. Is that right?    11   product that was shipped, they know the amount
    12       A Yes.                                          12   that was shipped, and they know the name and
    13       Q And that -- that person to which the          13   address and DEA registration number of the
    14   product was shipped by the distributor is the       14   downstream customer.
    15   downstream customer; is that correct?               15       A Yes.
    16       A That is correct.                              16       Q You can put that one aside, Mr. Borelli.
    17       Q And so in this report, Mallinckrodt is        17           (Borelli Exhibit No. 8 was marked
    18   tracking the sales of its distributor clients to    18           for identification.)
    19   their downstream customers, correct?                19   BY MR. LOESER:
    20          MR. TSAI: Object to the form.                20       Q Mr. Borelli, you've just been handed
    21   BY MR. LOESER:                                      21   Exhibit 8.
    22       Q You can answer.                               22           Now, you understand that -- that in the
    23       A I believe so.                                 23   chargeback system, Mallinckrodt could sort the
    24       Q And they're collecting information about      24   data based upon your distributor customer or any

   Golkow Litigation Services                                                       Page 29 (110 - 113)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 30 Confidentiality
                                                         of 117. PageID #: 213924
                                                                              Review
                                                       Page 114                                                 Page 116
     1   of the other fields in the database, right?               1        A I do.
     2       A I guess so. I didn't work in                        2        Q And so it's the address, and then the
     3   chargebacks, so I don't know. I'm going to assume         3   next column has the suite, and the next column has
     4   they can sort, but I didn't work in the                   4   the city. That's the city where the distributor
     5   chargebacks group.                                        5   is, Sunrise.
     6       Q But that's your understanding.                      6        A Okay.
     7       A Yes.                                                7        Q The next column has the state. That's
     8       Q And what I've handed you is a sort of               8   Florida, right?
     9   the chargeback data that we put together.                 9           MR. TSAI: Counsel, can I have a
    10   Mallinckrodt produced the chargeback data in Excel       10   standing objection to this exhibit, your questions
    11   native format. And so we went through the                11   to the witness as to this exhibit? Or do you want
    12   chargeback data and we sorted the way Mallinckrodt       12   me to object to every --
    13   could sort on Mallinckrodt's customer Sunrise.           13           MR. LOESER: A standing objection is
    14           And I would like you to go through, and          14   fine.
    15   we can just again identify the full collection of        15           MR. TSAI: Thank you.
    16   fields that Mallinckrodt has available to it in          16   BY MR. LOESER:
    17   the chargeback system. And so we've printed this         17        Q And then you see the postal code for the
    18   over several pages so that we can actually see           18   distributor client for Sunrise, right?
    19   each of the fields. And I'll just walk through           19        A I do.
    20   them with me, and you tell me if you see that            20        Q And then you see the column that says
    21   field.                                                   21   "Ship to Customer Number," right?
    22           The first field on this Exhibit 8 is,            22        A I see that column.
    23   "A. Sold Via Child Number," and you see                  23        Q And next to that it says "Ship to
    24   underneath that it's Sunrise Wholesale, Inc.,            24   Customer Name."
                                                     Page 115                                                   Page 117
     1   right?                                                    1       A I see that.
     2        A Okay.                                              2       Q Right? And so what this spreadsheet
     3        Q So the child in that designation is                3   shows is that in the chargeback system, you know
     4   Mallinckrodt's wholesale distribution customer,           4   the distributor, the distributor's address, you
     5   correct?                                                  5   know the downstream customer, right? That's First
     6           MR. TSAI: Object to this line of                  6   Choice Pharmacy here, right?
     7   questions.                                                7       A Okay.
     8           But go ahead.                                     8       Q And then if you flip to the next page,
     9           THE WITNESS: I don't know if that's --            9   "Ship to Customer Address," that's the address of
    10   I want to say yes, but I don't know if that's the        10   the downstream customer, right?
    11   number that Mallinckrodt assigned to this specific       11       A Okay.
    12   account. I don't know the chargeback system so           12       Q Do you see that?
    13   well, so...                                              13       A I assume so, yep.
    14   BY MR. LOESER:                                           14       Q Okay. And then you see that it has the
    15        Q Okay. Let's just walk through the                 15   city of the downstream customer. That's Fort
    16   fields then --                                           16   Lauderdale, right?
    17        A Yeah.                                             17       A Okay.
    18        Q -- and make sure we understand what they          18       Q And next to that you have the state.
    19   are.                                                     19   That's the state where the downstream customer
    20           The second column is the child address.          20   resides, right?
    21   That appears to be the address of Sun -- Sunrise         21       A I see it.
    22   Wholesale, right?                                        22       Q And the postal code?
    23        A Okay.                                             23       A I see it.
    24        Q Do you see that?                                  24       Q Right? And then you have a DEA number

   Golkow Litigation Services                                                           Page 30 (114 - 117)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 31 Confidentiality
                                                         of 117. PageID #: 213925
                                                                              Review
                                                 Page 118                                                       Page 120
     1   for the downstream customer, right?                   1   see the column.
     2       A I see that.                                     2       Q Okay.
     3       Q And the product number, right? That's           3       A And I didn't know what column U
     4   the designation of Mallinckrodt's product number?     4   represents, but I see the column.
     5       A I see that.                                     5       Q Okay. And then moving along, you have a
     6       Q Okay. And then if you flip to the next          6   number of other fields, including column AE is the
     7   page, you have the product description, correct?      7   gross sales.
     8           And so here you have oxycodone HCL 30         8       A Okay.
     9   milligram tabs, USP, right? So you have that          9       Q That's the gross sales to that
    10   information in the chargeback system.                10   downstream customer of Mallinckrodt's distributor
    11       A Mm-hmm.                                        11   client.
    12       Q That's the product shipped by your             12           There's a column for the chargebacks,
    13   distributor to your downstream customer at the       13   right? Do you see that?
    14   address indicated there in Florida.                  14       A I see it.
    15       A Okay.                                          15       Q And there's a net sales, so presumably
    16       Q You have an order number, correct? Do          16   that would be the gross sales less the chargeback
    17   you see that, column R?                              17   payment, right?
    18       A I do. I see it.                                18       A I see it.
    19       Q And then next to that you have the order       19       Q And then it shows in AH the quantities
    20   type, it says "HS." Do you know what HS is?          20   shipped, right?
    21       A I do not.                                      21       A Yep.
    22       Q Okay. Then there's an order type               22       Q And AI, the sales quantity government
    23   description, and it says "Distributor sales          23   UOM. Do you know what that metric is, government
    24   history feed," right?                                24   UOM?

                                                 Page 119                                                     Page 121
     1       A I see it.                                       1       A I do not.
     2       Q And moving down the line, you have an           2       Q That's not something that you saw before
     3   order line type, right? Do you see that field?        3   when you were working with chargeback data?
     4       A I do.                                           4       A It doesn't look familiar, no.
     5       Q And next to that you have the order line        5       Q All right.
     6   type description, and it says "Chargeback unit        6       A When you say --
     7   detail." Right?                                       7           MR. TSAI: Objection to the form.
     8       A Mm-hmm. I see it.                               8           Go ahead.
     9       Q And there's an invoice number, right?           9           THE WITNESS: I'm sorry.
    10       A I see it.                                      10           When you say "working with chargeback
    11       Q And next to that is an invoice date.           11   data," this is not a usual occurrence. I did not
    12   That's the date that that product was sold by your   12   pull up chargeback data.
    13   distributor customer to their downstream customer,   13   BY MR. LOESER:
    14   right?                                               14       Q But as we saw from the e-mail, you
    15       A I see it.                                      15   received reports that contained chargeback
    16       Q And then the process date. That's when         16   information out of the chargeback system, right?
    17   that downstream customer's order was processed,      17       A Yes, but -- infrequently, but yes.
    18   right?                                               18           (Borelli Exhibit No. 9 was marked
    19           And then next to that, you see the           19           for identification.)
    20   partner batch ID, right?                             20   BY MR. LOESER:
    21       A I do see that.                                 21       Q Mr. Borelli, you're being handed
    22       Q So you have the ID of that downstream          22   Exhibit 9. Exhibit 9, for the record, is a list
    23   customer.                                            23   of the fields that we just went through that were
    24       A I don't know what that represents, but I       24   taken out of the Excel spreadsheet produced by

   Golkow Litigation Services                                                        Page 31 (118 - 121)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 32 Confidentiality
                                                         of 117. PageID #: 213926
                                                                              Review
                                                    Page 122                                                     Page 124
     1   Mallinckrodt from its chargeback system.                 1   style you were familiar with.
     2           And do you see that it's columns A               2       A Okay.
     3   through AI, Mr. Borelli, and those are the columns       3          (Borelli Exhibit No. 10 was marked
     4   that we were just talking about that were in that        4          for identification.)
     5   report we went through, right?                           5   BY MR. LOESER:
     6           MR. TSAI: Same objection to this                 6       Q Mr. Borelli --
     7   exhibit and line of questions.                           7       A Thank you.
     8           Go ahead.                                        8       Q -- you've been handed Exhibit 10. This
     9   BY MR. LOESER:                                           9   is another printout from the Mallinckrodt
    10       Q That's my only question on the exhibit.           10   spreadsheet that we created, and so you might not
    11       A So I do see the page in front of me.              11   be familiar with the -- with the style of this one
    12       Q Right. And that page has column names             12   as well.
    13   and those were the names from the exhibit we just       13          But as we talked about, you saw a
    14   went through. Correct?                                  14   printout from -- previously from Ms. Lundergan
    15       A Yes.                                              15   that sorted on Sunrise, so you know that you can
    16       Q Okay.                                             16   go into this database and you can sort based on
    17           MR. TSAI: We've been going about an             17   the different fields in order to collect
    18   hour since the last break. Is this a good time          18   information.
    19   for a break, and then we can go maybe another hour      19          And on occasion, you -- you received
    20   until lunch?                                            20   reports that were sorted in various ways, correct?
    21           MR. LOESER: That's fine.                        21       A You said that I can. No, I never went
    22           THE VIDEOGRAPHER: The time is 11:21             22   into the chargeback data to --
    23   a.m., and we're going off the record.                   23       Q I understand that you didn't sort the
    24           (Recess.)                                       24   data, but you received printouts from the
                                                      Page 123                                                     Page 125
     1          THE VIDEOGRAPHER: The time is                     1   system --
     2   11:37 a.m., and we're back on the record.                2       A Oh, okay.
     3   BY MR. LOESER:                                           3       Q -- that was sorted --
     4       Q Mr. Borelli, you saw in Exhibit 7 an               4       A I see.
     5   e-mail from Ms. Lundergan that included chargeback       5       Q -- according to various fields, correct?
     6   reports, and that report was sorted by -- by             6       A I believe so.
     7   Sunrise, correct?                                        7       Q Okay. So in this printout, we have gone
     8          Certain information regarding Sunrise             8   through and instead of sorting just on Sunrise, we
     9   was isolated and we went through that information,       9   also sorted on Sunrise's downstream customer Barry
    10   and on occasion, you received these chargeback          10   Schultz.
    11   reports, so you do have some familiarity with the       11           So do you see the ship to customer name
    12   data that's contained in them, right?                   12   and the name Barry Schultz?
    13       A I've never seen that style report                 13           MR. TSAI: Can I have the same standing
    14   before. I don't remember seeing it at least.            14   objection as to this Exhibit 10 and the questions
    15   Excuse me.                                              15   to this witness?
    16       Q And just to be clear, the style was               16           MR. LOESER: That's fine.
    17   created by us.                                          17           MR. TSAI: Thank you.
    18       A Oh.                                               18   BY MR. LOESER:
    19       Q We went into the --                               19       Q Sir, do you see the field "Ship to
    20       A Okay.                                             20   customer name" and it says Barry Schultz?
    21       Q -- Excel spreadsheet, we printed that             21       A I see the column.
    22   document.                                               22       Q Okay. So you see that Sunrise
    23          But the spreadsheet from Ms. Lundergan           23   Wholesale, that's the child customer name, and we
    24   was a Mallinckrodt produced spreadsheet, so that        24   talked about what that means before. Sunrise

   Golkow Litigation Services                                                           Page 32 (122 - 125)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 33 Confidentiality
                                                         of 117. PageID #: 213927
                                                                              Review
                                                    Page 126                                                   Page 128
     1   Wholesale is Mallinckrodt's distributor client,          1       Q So every drug that was sold by Sunrise
     2   right?                                                   2   to Barry Schultz, you have the product number in
     3       A I believe so.                                      3   this data, and you also -- and "you," I mean
     4       Q And that was your client. Sunrise was              4   Mallinckrodt -- has the type of drug that was sent
     5   your client?                                             5   to Mr. Schultz, correct?
     6       A Yes. At that time, yes.                            6       A Yes.
     7       Q Okay. And then the ship to customer                7       Q And so you can go down this spreadsheet,
     8   name, Barry Schultz, that's the downstream               8   which again is a sort on Barry Schultz and
     9   customer of Sunrise -- of Sunrise, correct?              9   Sunrise, and you can see that every product
    10       A I believe so.                                     10   purchased by Barry Schultz from Sunrise was a
    11       Q And since there's a physician listed in           11   Mallinckrodt-made oxycodone 30 or 15 milligram
    12   here, that indicates that this is a dispensing          12   tablet, right?
    13   physician, right? Those are the only physicians         13       A In this column, yes.
    14   that would receive shipments from your wholesale        14       Q On this spreadsheet --
    15   clients, right?                                         15       A Yes.
    16       A Uh, I'm not quite sure.                           16       Q -- right?
    17       Q Okay. So you don't know --                        17           And you can see the invoice date for
    18       A Whether a pharmacy, a dispensing                  18   every single sale to Barry Schultz by Sunrise,
    19   physician, a hospital, I'm not quite sure.              19   correct?
    20       Q Okay. But this downstream customer is             20       A Yes.
    21   not a pharmacy. It's an individual physician,           21       Q And you can see the gross sales, right?
    22   right?                                                  22       A Yes.
    23       A Okay.                                             23       Q And you can see if there's a chargeback
    24       Q And it's Barry Schultz, MD, correct?              24   that was paid to Sunrise for its sale to Barry
                                                      Page 127                                                 Page 129
     1       A That's what it says.                               1   Schultz, right?
     2       Q Okay. And you can move down -- again,              2       A Yes.
     3   this is information printed out from                     3       Q And you can see the net sales, right?
     4   Mallinckrodt's chargeback system or the Excel            4       A Yes.
     5   spreadsheets that were produced, you can move down       5       Q And you can see the quantity shipped
     6   the line and you can see where Mr. Schultz lives,        6   from Sunrise to their downstream customer, Barry
     7   you can see his address or at least where he             7   Schultz, right?
     8   works.                                                   8       A I see that.
     9       A Mm-hmm.                                            9       Q And then again, you can see the sales
    10       Q Delray Beach, Florida, and his postal             10   quantity government UOM, and there is a number,
    11   code, and you can see his DEA registration number,      11   2,000, 3,000, 600, right?
    12   right?                                                  12       A Yes.
    13       A I see the column.                                 13       Q And there's not any data on this
    14       Q Right. And the product number, you see            14   printout that we've provided to you that you --
    15   that?                                                   15   that is unfamiliar to you, right? All of these --
    16       A I do.                                             16   these fields are information that you have seen at
    17       Q That's the SKU, that's something that             17   one time or another in information presented out
    18   Mallinckrodt can track so it knows every --             18   of the chargeback system.
    19   everything that went from Sunrise Wholesale to          19       A Well, when you say the data is
    20   Barry Schultz had a product number, right?              20   unfamiliar, I don't -- I see -- I'm familiar with
    21       A I see the column.                                 21   the customer. I'm familiar with the products.
    22       Q And you can also see there's a product            22       Q Let me ask you another way.
    23   description. Right?                                     23       A That's my familiarity with this
    24       A I see that.                                       24   document.

   Golkow Litigation Services                                                          Page 33 (126 - 129)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 34 Confidentiality
                                                         of 117. PageID #: 213928
                                                                              Review
                                                 Page 130                                                  Page 132
     1       Q Right. All of this information is               1   terminology before?
     2   information that you know is maintained in the        2       A I've heard the term -- terminology. I
     3   chargeback system, right?                             3   don't know if I've heard it at Mallinckrodt, but
     4       A I believe so.                                   4   I've heard the terminology before.
     5       Q So, Mr. Borelli, earlier you answered a         5       Q And is that your understanding of
     6   question of mine about what Mallinckrodt could see    6   customers of customers are -- are the downstream
     7   after it sold its pills to the distributors that      7   customers of your customers?
     8   were its clients, and I asked you -- so you're        8       A I believe so.
     9   saying you had no visibility after you sold pills     9       Q And again, Mallinckrodt in this
    10   to the distributor, that's where your visibility     10   chargeback system had detailed information about
    11   stopped on what happened to those pills. And you     11   the shipment of Mallinckrodt products between its
    12   answered yeah.                                       12   distributor clients and all of its downstream
    13           Okay. And let me ask you again based on      13   customers, right?
    14   what we went through, and maybe I'll ask it in a     14           MR. TSAI: Object to the form.
    15   way that makes more sense to you. It's certainly     15           THE WITNESS: I don't -- I can't speak
    16   the case that Mallinckrodt knew exactly where its    16   to all of our -- I didn't manage all of our
    17   pills were sent by its distributor clients,          17   customers, and I don't know the system. So...
    18   correct?                                             18   BY MR. LOESER:
    19           MR. TSAI: Object to the form.                19       Q But that's your understanding, that you
    20           THE WITNESS: I believe so.                   20   were tracking the downstream customers of your
    21   BY MR. LOESER:                                       21   distributors.
    22       Q It's clear that Mallinckrodt in this           22           MR. TSAI: Object to the form.
    23   chargeback system data knew for every transaction    23           THE WITNESS: I was not. If you're
    24   by a distributor client who the downstream           24   asking if Mallinckrodt was, I -- I'm going to
                                                 Page 131                                                  Page 133
     1   customer was for that transaction, right?             1   assume yes, but I -- you know, I wasn't in this
     2           MR. TSAI: Object to the form.                 2   department.
     3   BY MR. LOESER:                                        3   BY MR. LOESER:
     4       Q You can answer.                                 4       Q And pharmacies are also downstream
     5       A I believe so.                                   5   customers of your distributor clients.
     6       Q And there's nothing terribly unique             6       A I believe so.
     7   about sorting on Dr. Schultz. Mallinckrodt could      7       Q And would you agree that it would not be
     8   also sort on any other downstream customer,           8   accurate to say that Mallinckrodt lacked detailed
     9   including pharmacies, right?                          9   information about the shipment of its products
    10           MR. TSAI: Object to the form.                10   between its distributor clients and pharmacies?
    11           THE WITNESS: I don't -- I'm going to         11           MR. TSAI: Object to the form.
    12   assume yes, but again, I'm not familiar with this    12           THE WITNESS: I don't know the accuracy.
    13   system or the -- or the sorting process.             13   I mean, from -- and I think it's best to ask a
    14   BY MR. LOESER:                                       14   chargeback person that question to -- to know the
    15       Q But so when it says the field "Ship to         15   accuracy for the company.
    16   customer name," those are the customers of the       16   BY MR. LOESER:
    17   distributors and distributors' customers were not    17       Q But, sir, based upon the information
    18   just individual physicians, right? They were also    18   that you've looked through and the chargeback
    19   pharmacies and pain clinics and other customers of   19   system reports that you received in your time at
    20   the distributor, right?                              20   Mallinckrodt, you do know that the chargeback data
    21       A I believe so.                                  21   included downstream customers that were
    22       Q Are you aware of whether downstream            22   pharmacies, right?
    23   customers are also referred to as customers of       23       A I believe so, but I just don't want you
    24   customers for Mallinckrodt? Have you heard that      24   to -- you know, I think you're talking about --

   Golkow Litigation Services                                                       Page 34 (130 - 133)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 35 Confidentiality
                                                         of 117. PageID #: 213929
                                                                              Review
                                                  Page 134                                                     Page 136
     1   you're telling me the chargeback systems, and I'm     1           MR. TSAI: Object to the form.
     2   not comfortable with that.                            2           THE WITNESS: I believe so.
     3       Q Right, that's a fair point. I'd like to         3   BY MR. LOESER:
     4   know what -- just what you know.                      4       Q And you could determine whether a
     5          So you think --                                5   downstream customer was ordering an excessive
     6       A Yeah.                                           6   number of pills from the chargeback system because
     7       Q You would agree based on what you've            7   you could see exactly how many pills that
     8   seen that it would not be accurate to say that        8   downstream customer was ordering from your
     9   Mallinckrodt lacked detailed information about its    9   distributor customer, right?
    10   distributor sales to its downstream customers who    10           MR. TSAI: Object to the form.
    11   were pharmacies.                                     11           THE WITNESS: I'm not quite familiar
    12       A I believe so.                                  12   with -- I'm not sure -- when you say "excessive,"
    13          MR. TSAI: Object to the form.                 13   I don't know what that means.
    14          Go ahead.                                     14   BY MR. LOESER:
    15          THE WITNESS: I believe so.                    15       Q Okay. You could see the amount of pills
    16   BY MR. LOESER:                                       16   that any downstream customer ordered from any
    17       Q Your answer was "I believe so"?                17   distributor.
    18       A Yes. But I wasn't in that department,          18           MR. TSAI: Object to the form.
    19   so I'm assuming here.                                19           THE WITNESS: I believe so.
    20       Q Okay. You weren't in that department,          20   BY MR. LOESER:
    21   but again, we've gone through these fields and you   21       Q And so Mallinckrodt could assess from
    22   see that -- that there's a customer name, and the    22   that data in however it chose to do so whether
    23   customer name is the customer of the distributor,    23   that order was excessive or not, right?
    24   and that can be a pharmacy or that can be a pain     24       A I believe so.

                                                  Page 135                                                        Page 137
     1   clinic, right? Or that can be a dispensing            1       Q And you could see from the chargeback
     2   physician, right?                                     2   data whether a downstream customer ordered from a
     3       A Or hospital. Yes.                               3   variety of Mallinckrodt distributor clients,
     4       Q Okay. It's not your understanding that          4   right?
     5   the chargeback system does not also track sales by    5       A You're speaking about chargebacks
     6   your distributors to pharmacies?                      6   data -- chargeback data that I'm -- I'm just not
     7       A Say that again.                                 7   familiar with chargeback data specifically.
     8           MR. LOESER: Could you repeat the              8       Q So you --
     9   question, please.                                     9       A There's a team in place -- there was a
    10           (Whereupon, the requested record             10   team in place at Mallinckrodt that -- that was
    11           was read.)                                   11   specifically responsible for chargeback data. So
    12   BY MR. LOESER:                                       12   that's available, but --
    13       Q Put it more simply, the chargeback             13       Q Okay.
    14   system also tracks sales by distributors to          14           (Borelli Exhibit No. 11 was marked
    15   pharmacies.                                          15           for identification.)
    16       A Thanks. I believe so.                          16           MR. TSAI: Thank you.
    17       Q And from the chargeback data,                  17   BY MR. LOESER:
    18   Mallinckrodt could determine whether a distributor   18       Q I'm showing you what's been marked
    19   client ordered a limited variety of controlled       19   Exhibit 11. This is another printout that we did
    20   substances, such as oxy 15s and 30s, while           20   from the chargeback system data produced by
    21   ordering few, if any, other types of drugs, right?   21   Mallinckrodt.
    22   So you could see if the -- if the downstream         22           And you'll see that this exhibit sorts
    23   customer was only ordering oxy and was not           23   on the customer Harvard Drug. Do you see that?
    24   ordering anything else from Mallinckrodt.            24       A I do.

   Golkow Litigation Services                                                         Page 35 (134 - 137)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 36 Confidentiality
                                                         of 117. PageID #: 213930
                                                                              Review
                                                  Page 138                                                      Page 140
     1       Q And Harvard Drug was another distributor        1        A And I don't remember if -- you know,
     2   client of Mallinckrodt's, right?                      2   what time -- when was this? I don't remember when
     3       A They -- they were.                              3   I was responsible for Harvard or not. So...
     4       Q Okay. And you also see, if you go down          4        Q Well, the date is -- all of these
     5   the line to "Ship to customer name," that Barry       5   transactions were between January and February
     6   Schultz was also buying Mallinckrodt oxy 15 and       6   2010.
     7   30s from Harvard Drug, right?                         7        A Okay. So I don't know if I had Harvard
     8           MR. TSAI: Same standing objection as          8   at that time. I'm not quite sure, but --
     9   before to this Exhibit 11.                            9        Q And whether you had that client or not,
    10           THE WITNESS: I see his name in a             10   this is information that resided in Mallinckrodt's
    11   column, but I don't see anything else. I see his     11   chargeback data, right?
    12   name and I see an address.                           12        A Oh, okay. Okay.
    13   BY MR. LOESER:                                       13        Q And so Barry Schultz, as we saw in an
    14       Q Okay. So you see his name, ship to             14   earlier exhibit, was purchasing from Sunrise, and
    15   customer name, Barry Schultz, and if you go back     15   Barry Schultz is an MD, right? That's what the
    16   to the left, you can see "Sold via child customer    16   chargeback system said.
    17   name, and it says "Harvard Drug." Do you see         17           And on this exhibit, you see that in
    18   that?                                                18   addition to purchasing from another distributor
    19           MR. TSAI: Sorry. Could you confirm I         19   client of yours, he was being sent pills from a
    20   have a standing objection to this exhibit?           20   company that was listed as a veterinary supply
    21           MR. LOESER: Yes. Understood.                 21   company, right?
    22           MR. TSAI: Thank you.                         22        A That's what it says here.
    23           THE WITNESS: What was the question?          23        Q So if you had seen this data when you
    24   BY MR. LOESER:                                       24   still worked at Mallinckrodt, would you have

                                                  Page 139                                                       Page 141
     1       Q You see the second column is customer           1   thought it unusual and perhaps suspicious that a
     2   name and it says Harvard Drug, right?                 2   medical doctor was receiving oxy 15 and 30 from a
     3       A I see that.                                     3   company doing business as First Veterinary Supply?
     4       Q But then you also see the next column           4            MR. TSAI: Object to the form.
     5   over, it says "dba," that's doing business as,        5   BY MR. LOESER:
     6   right, "First Veterinary Supply." Do you see          6       Q Does that seem suspicious to you?
     7   that?                                                 7            MR. TSAI: Object to the form.
     8       A I do.                                           8            THE WITNESS: I don't know who this
     9       Q Okay. So what this data shows, which            9   person -- this doctor is. Is he a vet? Is he --
    10   again has been pulled from the chargeback system     10   I don't -- I don't know.
    11   data produced by Mallinckrodt, is that Barry         11   BY MR. LOESER:
    12   Schultz, in addition to purchasing oxy 15s and       12       Q Are vets MDs?
    13   30s, which you can see the drug type on the next     13       A I -- I don't believe so.
    14   page, in addition to purchasing from Sunrise, was    14       Q So you would agree with me that if
    15   also purchasing from another distributor client of   15   someone had looked at this data, and I'm not
    16   yours, Harvard Drug, that was doing business as      16   saying that you did, but if someone had, they
    17   First Veterinary Supply, right?                      17   could have seen that Mr. -- or Dr. Schultz was, in
    18       A I don't remember Harvard -- you know, I        18   addition to ordering pills from one of your
    19   shared with you before that we adjusted customer     19   customers, Sunrise, as a medical MD -- and by
    20   base amongst the sales team often, annually          20   pills, I mean oxy 15 and 30 -- was also ordering
    21   minimally, and I'm not familiar with First           21   more oxy 15 and 30 from another Mallinckrodt
    22   veteran -- Veterinary Supply. I'm not familiar       22   distributor customer, but this time a veterinary
    23   with that column.                                    23   supply company.
    24       Q Right. Would you --                            24            MR. TSAI: Object to the form.

   Golkow Litigation Services                                                        Page 36 (138 - 141)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 37 Confidentiality
                                                         of 117. PageID #: 213931
                                                                              Review
                                                  Page 142                                                      Page 144
     1   BY MR. LOESER:                                        1   BY MR. LOESER:
     2       Q That's all information that's in the            2       Q You can answer.
     3   chargeback system, right?                             3       A You're tying in a lot of departments
     4           MR. TSAI: Object to the form.                 4   here. And you know my role. So that's a tough
     5           THE WITNESS: I believe so. I'm not an         5   one to answer.
     6   expert on the chargeback system, so you -- it's       6       Q That's a hard question to answer,
     7   best to speak to the team that was in place on the    7   whether a doctor, a medical doctor buying opioids,
     8   chargeback process.                                   8   oxy 15 and 30, from a veterinary supply company
     9   BY MR. LOESER:                                        9   appears suspicious?
    10       Q Right. But you know what a suspicious          10          MR. TSAI: Object to the form.
    11   order is, right?                                     11          THE WITNESS: Yes, it's a tough one to
    12       A There was a -- there was a team in place       12   answer.
    13   for suspicious order monitorings. So that --         13   BY MR. LOESER:
    14       Q Right, sir, but you were not --                14       Q Okay.
    15       A You know, my job -- my job was a sales         15          (Borelli Exhibit No. 12 was marked
    16   role --                                              16          for identification.)
    17       Q Right.                                         17          THE WITNESS: Thank you.
    18       A -- with the company, to be a liaison           18   BY MR. LOESER:
    19   from the company to the customer, to the             19       Q Mr. Borelli, you've been handed what's
    20   wholesaler. So you're talking about chargebacks,     20   marked Exhibit 12, which has Bates stamp
    21   which I'm not so familiar with, but now you're       21   MNK-T1_0000562327. And this is an e-mail string,
    22   talking about suspicious order -- orders. So I'm     22   and the end of the string, it's a message from you
    23   not so -- we have a team in place for that as        23   dated August 4th, 2009, to Bill Ratliff, with a cc
    24   well. So I think it's best to talk to the team       24   to Karen Harper.

                                                  Page 143                                                    Page 145
     1   that was responsible for that.                        1           Who is Bill Ratliff?
     2       Q Understood. But, sir, even without              2       A I don't remember what -- I remember the
     3   particular training on what is or isn't a             3   name, but I'm not quite sure what Bill did for --
     4   suspicious order, in your years of selling            4   I don't remember what he did for Mallinckrodt.
     5   opioids, you would agree with me that when a          5       Q Well, later in the e-mail it indicates
     6   medical doctor orders opioids from a vet -- from a    6   his signature --
     7   veterinary supply company, that has to be             7       A Oh.
     8   considered a suspicious order, right?                 8       Q -- address is director of security.
     9          MR. TSAI: Object to the form.                  9       A Okay.
    10   BY MR. LOESER:                                       10       Q Is that your recollection? Does that
    11       Q Can you think of any legitimate reason         11   refresh your recollection?
    12   why a medical doctor orders opioids from a           12       A It says right here, yeah.
    13   veterinary supply company?                           13       Q Okay. And Karen Harper, what was her
    14       A I can't --                                     14   position at Mallinckrodt?
    15          MR. TSAI: Object to the form.                 15       A I don't know what her title was, but I
    16          THE WITNESS: I can't speak for doctors'       16   think she was -- I think they're both in the --
    17   practices.                                           17   what you mentioned before, the compliance or
    18   BY MR. LOESER:                                       18   suspicious order monitoring department.
    19       Q So if the doctor has a DEA registration        19       Q Okay. So if you go to the very end of
    20   number, even if he orders from a veterinary supply   20   this string, you'll see a message from Dwayne
    21   company, from where you sit and what you             21   Collins to Bill Ratliff. Do you see that?
    22   understand, that doesn't trigger any suspicious      22       A I see it.
    23   order alarms in your head.                           23       Q And do you see the subject line,
    24          MR. TSAI: Object to the form.                 24   "Florida medication coming into Tennessee"?

   Golkow Litigation Services                                                        Page 37 (142 - 145)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 38 Confidentiality
                                                         of 117. PageID #: 213932
                                                                              Review
                                                     Page 146                                                   Page 148
     1       A I see that.                                         1   individuals who were coming up out of Florida on a
     2       Q And this is an e-mail that was sent from            2   regular basis, two- or three-week interval, and
     3   a detective in Tennessee to the head of security,         3   selling massive amounts of oxycodone, 30
     4   the director of security for Mallinckrodt, in             4   milligrams."
     5   which he describes an investigation that he was           5           Do you see that?
     6   doing.                                                    6           And Mr. Collins goes on to explain that
     7           Why don't you take a moment and just              7   he found some bottles of oxy 30, and when he
     8   familiarize yourself with that.                           8   looked at the label, he saw that they were
     9       A Okay. (Peruses document.) Okay.                     9   manufactured by Mallinckrodt.
    10       Q So in this e-mail from --                          10           Do you see that?
    11       A I just read from Dwayne to Bill. Do you            11           And then from there he contacted the
    12   want me to read the whole -- the entire e-mail?          12   head of security at Mallinckrodt, and the head of
    13       Q No, I'll -- we can go through as I ask             13   security then, if you go to the page before that,
    14   my questions. You'll see the other portions --           14   you'll see there's an e-mail from Bill Ratliff
    15       A Okay.                                              15   dated July 10th, 2009, with a cc to Karen Harper,
    16       Q -- of the string.                                  16   in which Mr. Ratliff is able to tell Mr. Collins
    17           I will say for the record that -- that           17   exactly what was sold by Mallinckrodt's
    18   the e-mail from Dwayne to Bill was then forwarded        18   distributor customer to the doctor that prescribed
    19   to -- from Bill to Karen Harper, and then from           19   those pills that ended up in Tennessee.
    20   there it was forwarded to -- Karen Harper                20           Do you see that?
    21   responded, and eventually the -- the whole series        21           And Mr. Ratliff says: "Dwayne, the
    22   was cc'd to you --                                       22   doctor we discussed ordered the following during
    23       A Okay.                                              23   the last 12 months: 78 bottles oxy 15 milligram,
    24       Q -- involving some discussion from you,             24   204 oxy 30 milligram, 20 methadone 10 milligram,
                                                       Page 147                                                 Page 149
     1   and getting to the top of the e-mail, there is an         1   and four hydromorphone. All came from the
     2   e-mail from you that -- that is attached to your          2   customer we discussed except the hydromorphone."
     3   e-mail is all of this discussion, some of which           3           Do you see that?
     4   you've now gone through.                                  4       A I do.
     5       A Okay.                                               5       Q And you understand that Mr. Ratliff was
     6       Q So the e-mail string starts on July 7,              6   able to retrieve that information because of the
     7   2009, with an e-mail from Dwayne Collins, who is a        7   sales transaction data maintained in the
     8   detective in Tennessee, to the head of                    8   chargeback system, right?
     9   Mallinckrodt's security department.                       9           MR. TSAI: Object to the form.
    10           And if you look at the second paragraph          10           THE WITNESS: I believe so.
    11   of Mr. Collins' e-mail, he states: "My first             11   BY MR. LOESER:
    12   eye-opening experience to the pharmaceutical sale        12       Q Okay. And then if you go to the e-mail
    13   of oxycodone sent me off into the direction of           13   moving forward in time, July 15th, 2009, from Bill
    14   looking at the pharmacies that were filling the          14   Ratliff to a number of people, with a cc to Karen
    15   scripts. It was then that I found that we were           15   Harper, he describes a meeting that he then had.
    16   dealing with several pain clinics in Florida where       16           Why don't you read that e-mail. It
    17   doctors were prescribing an abundant amount of           17   starts on the second page of the exhibit and runs
    18   oxycodone medication to numerous Tennesseans,            18   into the third. The e-mail at the bottom of that
    19   especially within the jurisdiction that I'm              19   page from --
    20   assigned."                                               20       A Where it says "For information"?
    21           And he goes on to say: "While I was              21       Q -- "For information," yeah. Yes.
    22   working through this to determine the level of           22       A You will --
    23   economic impact on oxycodone drug dealing, I came        23       Q You don't have to read it out loud.
    24   upon some information from a CI where I had three        24   Just familiar yourself -- familiarize yourself

   Golkow Litigation Services                                                           Page 38 (146 - 149)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 39 Confidentiality
                                                         of 117. PageID #: 213933
                                                                              Review
                                                  Page 150                                                     Page 152
     1   with that.                                            1   was supplying all these pills that were going to
     2       A Thank you. (Peruses document.) Okay.            2   Tennessee was identified by Mallinckrodt as
     3       Q Okay. So what Mr. Ratliff writes to             3   Dr. Schultz?
     4   this series of people, and, again, this is in a       4       A That -- that's what it says.
     5   string which is then attached to an e-mail that       5       Q And do you recall that?
     6   you sent, so you had this string.                     6       A I don't -- I don't recall that part of
     7           "For information, Karen Harper and I met      7   the e-mail. I remember creating a meeting with
     8   with the St. Louis DEA diversion group supervisor,    8   the wholesaler and our compliance team.
     9   Pete Kleissle, this morning regarding the             9           Does it say that -- that person in here?
    10   information below. We advised that Sunrise           10   Does it say the doctor that it talked about?
    11   Wholesale Inc. was the only distributor residing     11           Pardon me for a second. You said it
    12   in Florida that received this lot. In addition,      12   says that doctor's name on here, and I didn't --
    13   we advised that Cardinal Health in Ohio has a        13       Q I asked you -- yeah, I don't believe it
    14   distribution center in Florida and had received      14   says Dr. Schultz. I'm asking if you recall that
    15   some of the lot. But the doctor listed on one of     15   this event related to Dr. Schultz.
    16   the 100 count bottles that was recovered only        16       A No.
    17   purchased oxy form Sunrise.                          17       Q There's a number of e-mail --
    18           "For background, Sunrise mainly sells to     18       A So I -- I correct myself, no, I do not
    19   pain clinics and to dispensing doctors. One          19   at all. I thought it said it in here, and I must
    20   doctor was identified by an empty 100-count bottle   20   have -- I thought I missed it in the reading, but,
    21   found by one of two informants in the                21   no, not at all.
    22   investigation. We tracked the doctor's purchases     22           (Counsel conferring.)
    23   through our chargeback system. See below."           23           (Borelli Exhibit No. 13 was marked
    24           So that confirms what you said               24           for identification.)
                                                  Page 151                                                      Page 153
     1   previously, that this information that Mr. Ratliff    1          THE WITNESS: Thank you.
     2   was able to provide for Mr. Collins came from the     2   BY MR. LOESER:
     3   chargeback system, right?                             3       Q I'm showing you what's been marked
     4       A Right. You said something about me tied         4   Exhibit 13, which is a series of e-mails. Under
     5   to this e-mail. I'm not on this one -- I'm not on     5   the subject line, it says "Re: Pete Kleissle
     6   this -- that I -- you asked me to read. I came in     6   Oxy Investigation."
     7   later into the conversation, I believe, a week --     7          Do you see that?
     8   two weeks later.                                      8       A I do.
     9       Q Right.                                          9       Q And if you go back to the second to last
    10       A So this is -- right.                           10   page, you see the e-mail from Bill Ratliff that's
    11       Q Right. But it's an e-mail string               11   addressed to you and John Adams and Karen Harper.
    12   attached to an e-mail you sent, right?               12   Do you see that?
    13       A Got it.                                        13       A I do.
    14       Q Do you have any recollection of this           14       Q And he writes: "The DEA diversion group
    15   series of events?                                    15   supervisor recommended that we audit Sunrise as
    16       A Not so much. I -- not so much this, but        16   soon as possible. Please let me know the best way
    17   I do remember organizing a meeting between a         17   to accomplish that."
    18   customer wholesaler, Sunrise. I don't know when I    18          Do you see that?
    19   did that, but -- and Karen Harper. I didn't read     19       A I do.
    20   this page yet, but -- and Karen Harper. I'm not      20       Q And when you turn to the next page, in
    21   sure who else was there. I think a few other         21   the middle of the page there's an e-mail from
    22   folks, but maybe -- I don't know who else was        22   Karen Harper to Bill Ratliff that must have been
    23   there. Maybe Bill too. I don't remember.             23   forwarded to you because of the cc above.
    24       Q And do you recall that this doctor who         24          Or, I'm sorry, was not forwarded to you.

   Golkow Litigation Services                                                        Page 39 (150 - 153)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 40 Confidentiality
                                                         of 117. PageID #: 213934
                                                                              Review
                                                  Page 154                                                     Page 156
     1           Okay. Let's look at the middle of that        1       A I don't know --
     2   page, the e-mail from Karen Harper.                   2           MR. TSAI: Object to the form.
     3       A Okay.                                           3           THE WITNESS: Sorry. I don't remember
     4       Q She writes towards the bottom of her            4   what I told Bill Ratliff. I barely remember Bill
     5   e-mail: "I don't know anything about the              5   Ratliff, so you're talking about something from
     6   chargeback access -- I don't know anything about      6   ten years ago, give or take.
     7   the chargeback system, which is how we detected       7           (Borelli Exhibit No. 14 was marked
     8   which physicians' pain clinics are receiving our      8           for identification.)
     9   product through Sunrise."                             9           THE WITNESS: Thank you.
    10           Do you see that?                             10   BY MR. LOESER:
    11       A I read that, yeah. I see it.                   11       Q You've been handed what's been marked
    12       Q And above that, Bill Ratliff, the              12   Exhibit 14.
    13   director of security, responds: "Understood, but     13       A Yeah.
    14   believe that John and Victor do know or can          14       Q MNK-T1_0000290041. The bottom half of
    15   recommend someone." Right?                           15   that page is an e-mail from Cathy Stewart dated
    16       A Oh, sorry. I see that.                         16   August 12, 2009, to Karen Harper and Bill Ratliff,
    17       Q So the director of security believed           17   and you are cc'd on that.
    18   that you did know about the chargeback system and    18           Do you see that?
    19   that's how you detected or Mallinckrodt detected     19       A I do.
    20   which physicians' pain clinics are receiving our     20       Q And who is Cathy Stewart?
    21   product through Sunrise, right?                      21       A I remember the name, but I don't
    22           MR. TSAI: Object to the form.                22   remember what she did for the company.
    23           THE WITNESS: That's a -- I -- I did not      23       Q And do you see the subject line of that
    24   have working knowledge or any experience with        24   e-mail?
                                                  Page 155                                                        Page 157
     1   chargebacks. So if that's what he's saying here,      1       A I do.
     2   and I don't see how -- I don't see that in his        2       Q And it's "Sunrise chargeback
     3   words, that I have a working knowledge of the         3   summary.xls." Right?
     4   chargeback system, that's an inaccurate statement.    4       A No. Oh, up here. Yes. Down here, no.
     5   We have a chargeback team in place, and if that's     5       Q Okay. And I'll just read what she says.
     6   what he meant. Okay.                                  6          "Please review the attached summary
     7   BY MR. LOESER:                                        7   worksheet. I took the chargeback file marketing
     8       Q Okay. So he seemed to think that you            8   provided and removed pharmacies. Then I removed
     9   understood how that system operated. Did you          9   purchases of methadone," and she lists a variety
    10   respond to his e-mail and say, I don't know          10   of other drugs, "methadone, methylphenidate,
    11   anything about this, you have to contact somebody    11   hydromorphone and oxy oral solutions, since the
    12   else?                                                12   volumes were very small in comparison. Of the
    13       A In which one? This one is not to me.           13   remaining oxy products, I reduced them to the
    14   This one is to -- this one is to Karen, and this     14   lowest common denominator by taking the quantities
    15   one is Karen to Bill. I'm not in that -- I'm not     15   sold times package size times milligram per dose.
    16   in those.                                            16   The data is for the period CY08 and CY09 through
    17       Q Right. You were involved in this               17   July."
    18   Sunrise audit, though, right?                        18          Do you see that?
    19       A I set up the meeting, yes.                     19       A I do.
    20       Q Okay. And did you tell Mr. Ratliff at          20       Q So this shows -- and again, this is a
    21   that time that -- that you did not understand        21   report that was to you -- Cathy Stewart taking
    22   anything about the chargeback system, or were you    22   chargeback data and sorting it based on a variety
    23   in fact working with the system to some degree and   23   of characteristics in order to create a report.
    24   understood what was in it?                           24       A The report was not sent to me. It

   Golkow Litigation Services                                                         Page 40 (154 - 157)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 41 Confidentiality
                                                         of 117. PageID #: 213935
                                                                              Review
                                                 Page 158                                                       Page 160
     1   was --                                                1       Q And so using the chargeback system, you
     2        Q Well, a summary --                             2   or someone else in the chargeback department could
     3        A I was cc'd on it.                              3   go into the system and could sort on a particular
     4        Q Okay. But, nonetheless, the e-mail             4   type of drug -- we saw this in the last e-mail --
     5   refers to the attached summary worksheet, and that    5   and could sort on the quantity of drugs sold,
     6   was created by sorting the information in the         6   correct?
     7   chargeback system, according to this e-mail.          7       A No. You said I can, and I did not ever
     8        A Okay.                                          8   go into chargeback data individually or on my own.
     9        Q Right?                                         9   Did we -- did I receive this from -- I'm not sure
    10           Now, Mr. Borelli, when you were working      10   what department Cathy Stewart was in. It looks
    11   for Mallinckrodt and selling oxycodone, among        11   like she supplied chargeback data.
    12   other drugs, did it ever -- did you ever wonder      12          You mentioned marketing department. I
    13   what your distributor customers were doing with      13   see a few names on here that look familiar from
    14   all of the oxy you were selling them?                14   the marketing department, but --
    15        A I wonder where all my products goes.          15       Q I understand.
    16        Q Okay. And did you -- since -- as we've        16       A -- you said me, and I -- I did not do
    17   seen, even if you didn't sort the chargeback         17   that.
    18   system yourself, you received reports -- you knew    18       Q Again, you individually were not sorting
    19   you could receive reports out of the chargeback      19   data.
    20   system, right?                                       20       A Right.
    21        A I'm not so familiar with the chargeback       21       Q But you could ask the chargeback
    22   system, so I don't know what I infrequently asked    22   department or other people at Mallinckrodt to sort
    23   for.                                                 23   the data so you, Victor Borelli, could see what
    24        Q Okay. But you could have asked somebody       24   your distributor clients were doing with the oxy,

                                                 Page 159                                                          Page 161
     1   in the chargeback system -- the chargeback            1   for example, that you sold those distributor
     2   department to sort data to give you a better          2   clients, right?
     3   understanding of where all the drugs, where all       3           And this chart you have not seen before
     4   that oxy you were selling to your distributor         4   because we created it.
     5   clients was going when they sold it to their          5        A Oh, okay.
     6   clients, right?                                       6        Q And we created it from, again, the
     7       A All -- we can do that on all of our             7   information produced by Mallinckrodt from the
     8   products, yes.                                        8   Excel file, and we have sorted -- knowing that
     9       Q Okay.                                           9   it's possible to sort the chargeback data based
    10           (Borelli Exhibit No. 15 was marked           10   upon the type of drug, the quantity of drug, and
    11           for identification.)                         11   the downstream customer of Sunrise, we have sorted
    12   BY MR. LOESER:                                       12   it that way, and what you will see is a list of
    13       Q Mr. Borelli, I'm handing you what's been       13   the top ten customers of Sunrise.
    14   marked Exhibit 15. And again, for the record,        14        A Okay.
    15   this is another printout that we created from the    15        Q And this is information taken out of the
    16   Excel file produced by Mallinckrodt, and at the      16   chargeback system.
    17   front of the worksheet it indicates the Bates        17        A Okay.
    18   number of the -- of the spreadsheet itself that      18           MR. TSAI: Can I have a standing
    19   was produced by Mallinckrodt. And you can see        19   objection to this exhibit?
    20   that it was produced from MNK-T1_0000264291.         20           MR. LOESER: Yes.
    21           And this is a sort of Sunrise sales of       21           MR. TSAI: Thank you.
    22   oxycodone 15 and 30 tabs. Do you see that at the     22   BY MR. LOESER:
    23   header?                                              23        Q And if you look at the top of -- of this
    24       A I do.                                          24   top ten list, you'll see there is an individual

   Golkow Litigation Services                                                         Page 41 (158 - 161)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 42 Confidentiality
                                                         of 117. PageID #: 213936
                                                                              Review
                                                  Page 162                                                  Page 164
     1   Michael Shook. Do you see that?                       1   building, took pictures of the vault. Again, as I
     2       A Yes.                                            2   said, he was a DEA -- Louis Fisher, DEA -- retired
     3       Q And Michael Shook, we learned from              3   DEA agent. So they had somebody to do that, to
     4   Mallinckrodt's chargeback system, between             4   vet their customer base.
     5   September 30th of 2008 and March 5th, 2010,           5   BY MR. LOESER:
     6   purchased oxy 15 and 30, 134 different times for a    6       Q Understood. If you or someone else--
     7   total quantity of 728,400 UOM.                        7       A So I would not have visited these -- I'm
     8          Do you see that?                               8   sorry. I would have not visited this. I don't
     9       A I do.                                           9   know who they are.
    10       Q And Michael Shook is an MD, so he is a         10       Q And you never visited any pain clinics
    11   dispensing physician.                                11   or downstream customers of your distributor
    12          So, if you had asked the chargeback           12   clients.
    13   department to sort your distributor client           13       A So I did work a day with Louis, just to
    14   Sunrise's sales to downstream customers, you could   14   understand what he does for a living.
    15   have created a list like this which showed the top   15       Q Yeah.
    16   downstream customers of your distributor clients,    16       A And I think that might have been even
    17   correct?                                             17   before we opened -- I don't remember the timing,
    18          MR. TSAI: Object to the form.                 18   so forgive me -- but I think that was even before
    19          THE WITNESS: I guess so.                      19   we created an account with Sunrise.
    20   BY MR. LOESER:                                       20           And we did not create Sunrise. They
    21       Q Do you have any sense of whether one           21   were buying from other manufacturers prior to
    22   doctor ordering oxy 134 times to the tune of         22   Mallinckrodt that -- and I don't know the
    23   728,400 UOM seems excessive?                         23   circumstances -- that may have had back order
    24       A I don't know his client base. I don't          24   issues, DEA quota issues. I'm -- I don't
                                                  Page 163                                                  Page 165
     1   know anything about that doctor.                      1   remember. So, I'm sorry, if I --
     2        Q Okay. And had you done a sort like this        2       Q Who -- who chose the clinic that you
     3   and identified him as the single top purchasing       3   visited with Louis Fisher with Sunrise?
     4   downstream customer of Sunrise, you could have        4       A I don't remember that. Sorry.
     5   learned something about him, right?                   5       Q But, nonetheless, in the chargeback
     6           MR. TSAI: Object to the form.                 6   system you could have sorted in this way, you
     7           THE WITNESS: I would learn something          7   could have seen, or someone else at Mallinckrodt,
     8   about him.                                            8   that Michael Shook was the leading purchaser of
     9   BY MR. LOESER:                                        9   your oxy, and you could have provided that
    10        Q Okay. You could have -- or you could          10   information to Louis Fisher, and then you could
    11   have asked somebody in security at Mallinckrodt to   11   have gone and visited his client.
    12   go visit this doctor's clinic, right? You could      12          MR. TSAI: Object to the form.
    13   go see what kind of doctor in Florida orders 134     13   BY MR. LOESER:
    14   orders of oxy in this time period, 9/30 to -- to     14       Q There's nothing about Michael Shook that
    15   3/10, right?                                         15   was a secret to Mallinckrodt.
    16           MR. TSAI: Object to the form.                16          MR. TSAI: Object to the form.
    17           THE WITNESS: When you say "go see," I        17   BY MR. LOESER:
    18   would not be visiting with the "shipped to" column   18       Q Right?
    19   doctors. Sunrise had -- I can't remember --          19       A I never heard of him. But if you got
    20   Sunrise had a specific person working for them, a    20   this data through chargebacks, it's best to go
    21   retired -- retired DEA agent that did that, that     21   through chargeback folks to --
    22   vetted their customers for them to say -- you        22       Q Right.
    23   know, I think he took pictures of the front of the   23       A -- confirm that, but I don't know a
    24   building, took pictures of the back of the           24   Michael Shook.

   Golkow Litigation Services                                                       Page 42 (162 - 165)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 43 Confidentiality
                                                         of 117. PageID #: 213937
                                                                              Review
                                                        Page 166                                                      Page 168
     1       Q Okay. But you agree that the chargeback              1           But go ahead.
     2   system would allow you, if you asked, or anybody           2           THE WITNESS: That's what that says.
     3   else, to sort so you could identify who is the             3   BY MR. LOESER:
     4   single most frequent purchaser of oxy from our             4        Q Okay. And then if you skip a paragraph
     5   distributor client, Sunrise. That's something              5   it says: "90 percent of patients at the pill mill
     6   that you or anyone else at Mallinckrodt could have         6   were from Kentucky. Before writing prescriptions
     7   done, right?                                               7   for oxycodone and methadone, Dr. Shook performed
     8       A I believe so. But I guess I could do                 8   only limited examinations, if any at all. All the
     9   the same for CVS stores and Duane Reade stores and         9   Kentucky visitors paid him in cash and filled the
    10   Walgreens stores. You tell me when to stop. It            10   prescriptions at the clinic's in-house pharmacy."
    11   wouldn't be a normal practice, that's for sure.           11           Do you see that?
    12       Q It was not a normal practice --                     12        A I do.
    13       A For me.                                             13        Q So do you think that if you had gone to
    14       Q -- for you.                                         14   this clinic and seen what was going on, that you
    15       A For me.                                             15   would have seen a parking lot full of cars with
    16       Q Was it a normal practice for                        16   out-of-state plates and cash transactions?
    17   Mallinckrodt?                                             17           MR. TSAI: Object to the form of the
    18           MR. TSAI: Object to the form.                     18   question.
    19           THE WITNESS: I can't answer that. I               19           THE WITNESS: I don't know what I would
    20   don't know.                                               20   have seen.
    21   BY MR. LOESER:                                            21   BY MR. LOESER:
    22       Q If Mallinckrodt had sent somebody out to            22        Q Okay. From the description of this
    23   your customers -- downstream customers, is that           23   clinic, is there anything about it that sounds
    24   something that you probably would have found out          24   like it would have been difficult to see that

                                                      Page 167                                                        Page 169
     1   about?                                                     1   people were coming in droves from out of state to
     2            MR. TSAI: Object to the form.                     2   buy pain pills from Dr. Shook?
     3            THE WITNESS: I don't know the answer to           3           MR. TSAI: Object to the form of the
     4   that.                                                      4   question.
     5          (Borelli Exhibit No. 16 was marked                  5           THE WITNESS: So I don't know what the
     6          for identification.)                                6   parking lot would have looked like. I don't know
     7          THE WITNESS: Thank you.                             7   that. I don't know.
     8   BY MR. LOESER:                                             8   BY MR. LOESER:
     9       Q I'm showing you what's been marked                   9       Q So if the information in this article is
    10   Exhibit 16. This is a short article with the              10   accurate, and there were people in droves from
    11   headline "Florida physician gets four years in            11   Kentucky traveling to this Florida-based pill
    12   prison for operating pill mill."                          12   mill, wouldn't you expect to see a lot of cars
    13          Do you see that, and the date on this is           13   with out-of-state plates in that parking lot?
    14   June 29, 2011?                                            14           MR. TSAI: Object to the form of the
    15       A I do.                                               15   question.
    16       Q And it says: "Michael Shook, MD, of                 16           THE WITNESS: I don't -- how --
    17   Oakland Park, Florida, has been sentenced to four         17   BY MR. LOESER:
    18   years in prison for illegally prescribing                 18       Q You're bewildered by these questions.
    19   painkillers to Kentuckians who travel to a                19   This is the person who purchased the most
    20   Florida-based pill mill, according to a report by         20   oxycodone of any of Sunrise customers, and Sunrise
    21   the Middlesboro Daily News."                              21   was your distributor customer, right?
    22          Is that what that says?                            22       A They were for a time, yes, that's
    23          MR. TSAI: Hold on. I object to this                23   correct.
    24   Exhibit 16 and this line of questions.                    24       Q And you know your customers, right?

   Golkow Litigation Services                                                             Page 43 (166 - 169)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 44 Confidentiality
                                                         of 117. PageID #: 213938
                                                                              Review
                                                 Page 170                                                     Page 172
     1   That's your -- as a salesman, that's what your       1   Exhibit 15, the list of Sunrise's top ten
     2   supposed to do, know your customers.                 2   downstream customers, number 10 on that list is an
     3       A I try to. Yeah.                                3   individual physician named Nader Shehata. Do you
     4       Q Okay. And so your customer Sunrise,            4   see that?
     5   their number one client was Dr. Shook, right? And    5        A I do.
     6   chargeback system data would have allowed you to     6        Q And you see that between March 2009 and
     7   see who the number one -- number one client was,     7   June 2010, Mr. Shehata purchased oxy 15 and 30
     8   right?                                               8   102 times from Sunrise to the tune of 451,700
     9           And there's nothing that stopped you         9   government UOM. Do you see that?
    10   from asking someone at Mallinckrodt, if not         10        A I do.
    11   yourself, go see what's going on there, this guy    11        Q So, again, if you or someone else at
    12   seems to be ordering an awful lot of oxy.           12   Mallinckrodt had sorted Sunrise's customers for
    13           MR. TSAI: Objection to the form of the      13   the customers that purchased the most, and you
    14   questions.                                          14   made a top ten list, he would be on the top ten
    15           THE WITNESS: Can you ask that again,        15   list, right?
    16   please?                                             16            MR. TSAI: Objection to the form of the
    17           MR. LOESER: Can you read it back,           17   question.
    18   please.                                             18            THE WITNESS: I believe so.
    19           (Discussion held off record.)               19            (Borelli Exhibit No. 17 was marked
    20   BY MR. LOESER:                                      20            for identification.)
    21       Q I'll ask it again. Sunrise was your           21   BY MR. LOESER:
    22   customer.                                           22        Q I'm showing you what's been marked
    23       A Yeah.                                         23   Exhibit 16 -- I'm sorry, Exhibit 17. This is a
    24       Q They're a wholesale distributor, right?       24   press release from the DEA dated March 4th, 2011,
                                                 Page 171                                                       Page 173
     1       A Sunrise -- yes.                                1   with the heading "DEA to Doctor, 'You've Been
     2       Q Sunrise was --                                 2   Served.'"
     3       A I don't know if they were my customer          3           And this is in Miami, Florida, and if
     4   here, but go ahead.                                  4   you read down in that paragraph, it says: "The
     5       Q Okay. Sunrise was purchasing large             5   DEA's investigation of Dr. Shehata has determined
     6   volumes of oxy from Mallinckrodt, right?             6   that his continued registration to prescribe
     7       A Not compared to -- but compared to             7   controlled substances is inconsistent with the
     8   Cardinal or Duane Reade or a CVS --                  8   public interest and constitutes an imminent danger
     9       Q The amount that Sunrise was purchasing         9   to public health and safety."
    10   increased significantly in a -- in 2008, 2009,      10           Do you see that?
    11   2010 time period. Do you recall that?               11           MR. TSAI: Can I have a standing
    12       A I believe so.                                 12   objection to this exhibit and the line of
    13       Q Sunrise's number one customer was             13   questions?
    14   Michael Shook. You see that in the chargeback       14           MR. LOESER: Yes.
    15   system, right?                                      15           MR. TSAI: Thank you.
    16       A I do.                                         16           THE WITNESS: I do see that.
    17       Q Do you believe Michael Shook is the kind      17   BY MR. LOESER:
    18   of person that should be receiving Mallinckrodt-    18        Q So this is another person that if you or
    19   made oxycodone?                                     19   if someone else at Mallinckrodt had sorted on the
    20          MR. TSAI: Object to the form of the          20   top ten customers of Sunrise, everything about
    21   question.                                           21   him, his name, his address, his DEA registration,
    22          THE WITNESS: I don't know this person.       22   the number of times he purchased from Sunrise, and
    23   BY MR. LOESER:                                      23   the specific pills that were purchased, that would
    24       Q Mr. Borelli, if you turn back to              24   be included in the information that Mallinckrodt

   Golkow Litigation Services                                                        Page 44 (170 - 173)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 45 Confidentiality
                                                         of 117. PageID #: 213939
                                                                              Review
                                                 Page 174                                                   Page 176
     1   could see, correct?                                   1   BY MR. LOESER:
     2           MR. TSAI: Object to the form.                 2       Q Based upon this data?
     3           Go ahead.                                     3       A Looks that way, yes.
     4           THE WITNESS: I believe so.                    4       Q And do you recall ever raising with your
     5   BY MR. LOESER:                                        5   client Sunrise its sales to Dr. Schultz?
     6       Q So if we can go back to Exhibit 10.             6           MR. TSAI: Object to the form.
     7           We went through spreadsheet --                7           THE WITNESS: I do not.
     8   spreadsheet before, and this is the sort of           8   BY MR. LOESER:
     9   Sunrise sales isolating Dr. Schultz's purchases.      9       Q And if you had told Sunrise at that time
    10   Correct?                                             10   to stop selling its product to Dr. Schultz, is
    11       A I believe so.                                  11   that something you would likely remember?
    12       Q And if you look down the column that           12           MR. TSAI: Object to the form.
    13   says "Invoice Date," which is -- one, two, three,    13           THE WITNESS: It would, but we're
    14   four, five -- six from the right, there's a date     14   talking eight or nine years ago now. So...
    15   associated with every time Sunrise sold              15   BY MR. LOESER:
    16   Mallinckrodt's oxy to Dr. Schultz, correct?          16       Q But you don't believe you told Sunrise
    17       A I see that column.                             17   to stop selling to Dr. Schultz, do you?
    18       Q And you see that a number of those             18           MR. TSAI: Object to the form.
    19   transactions, most of them are after July 14th,      19           THE WITNESS: I don't remember.
    20   2009. Do you see that?                               20           (Borelli Exhibit No. 18 was marked
    21           In fact, I've counted --                     21           for identification.)
    22       A I do.                                          22           THE WITNESS: Thank you.
    23       Q -- there are 25 individual                     23   BY MR. LOESER:
    24   transactions -- after or starting with July 14th,    24       Q I'm showing you what's been marked
                                                 Page 175                                                   Page 177
     1   2009, there are 25 transactions.                      1   Exhibit 18. This is a Broward-Palm Beach New
     2       A Okay.                                           2   Times article with the title "Pill mill doctor
     3       Q You can take my word if you don't feel          3   charged with trafficking oxycodone." It's dated
     4   like counting it.                                     4   March 25th, 2011. Do you see that?
     5           And as we saw in the earlier e-mail with      5       A I do.
     6   the detective in Tennessee and with Bill Ratliff,     6           MR. TSAI: Can I have a standing
     7   there -- at that time there was an investigation      7   objection to this Exhibit 18 and this line of
     8   of pills prescribed that ended up in Tennessee.       8   questions?
     9   And those pills were prescribed by Dr. Schultz.       9           MR. LOESER: Sure.
    10           And assuming that's the case, that           10           MR. TSAI: Thank you.
    11   meeting with Mr. Ratliff, which set in motion the    11   BY MR. LOESER:
    12   Sunrise audit, occurred in July -- turn and find     12       Q And it starts: "Following an
    13   the exact date -- so Mr. Collins contacted           13   investigation by the Palm Beach State Attorney,
    14   Mr. Ratliff on July 7th, 2009, setting in motion a   14   Delray pain management doctor, Dr. Barry Schultz,
    15   discussion with the director of security on          15   54, was arrested Thursday and charged with
    16   July 15th, and there's conversations July 29th,      16   trafficking oxycodone and unlawful prescription of
    17   and then an audit gets set up with Sunrise on        17   a controlled substance."
    18   July 29th.                                           18           Do you see that?
    19       A Okay.                                          19       A I do.
    20       Q So after Dr. Schultz has been identified       20       Q And are you aware that Dr. Schultz was
    21   in July, there are 25 transactions in which          21   convicted and based on this and a manslaughter,
    22   Sunrise continued to sell to Dr. Schultz; is that    22   he's currently serving a 157-year sentence?
    23   correct?                                             23       A I was not.
    24           MR. TSAI: Objection to the form.             24       Q But back in 2011 when he was charged,

   Golkow Litigation Services                                                       Page 45 (174 - 177)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 46 Confidentiality
                                                         of 117. PageID #: 213940
                                                                              Review
                                                  Page 178                                                  Page 180
     1   right, Mallinckrodt obviously had its chargeback      1           MR. LOESER: Would you read that
     2   system and had the details of all of his              2   question back, please.
     3   transactions. Correct?                                3           Actually, I'll -- I'll go back further.
     4           MR. TSAI: Object to the form.                 4   BY MR. LOESER:
     5           THE WITNESS: I believe so.                    5       Q I asked you: But to your knowledge,
     6   BY MR. LOESER:                                        6   that system was not relying on the chargeback data
     7        Q And going back in time to when                 7   to isolate physicians that were purchasing
     8   Dr. Schultz was first raised as a concern in 2009,    8   inordinate quantities in order to further
     9   again Mallinckrodt had all the transaction            9   investigate those dispensing physicians.
    10   information with Dr. Schultz down to the pill        10           And my question for you is, were you
    11   type, date of transaction and quantity. Correct?     11   involved in any use of chargeback system data for
    12           MR. TSAI: Object to the form.                12   that purpose?
    13           THE WITNESS: I believe so.                   13       A I was not a firsthand user of that
    14   BY MR. LOESER:                                       14   chargeback data.
    15        Q And did you or anyone to your knowledge       15       Q I understand. But you yourself didn't
    16   at Mallinckrodt go to Dr. Schultz's clinic and       16   ask for access to that data in order to
    17   investigate what was going on in his clinic          17   investigate dispensing physicians, downstream
    18   following the 2009 arrest in Tennessee in which      18   customers of your clients, like Dr. Shook,
    19   pills prescribed by him had been found?              19   Dr. Shehata and Dr. Schultz.
    20        A I can't answer that for all of                20       A To the doctor level, I don't believe so,
    21   Mallinckrodt folks. I don't believe I did.           21   but I did ask -- you say -- you said I asked for
    22        Q Is it your testimony here today that          22   one document before, but to the doctor level, I
    23   Mallinckrodt had no obligation to try to prevent     23   don't believe so. I think that's why we had folks
    24   its products from going to doctors like Mr. Shook,   24   in place for that.
                                                  Page 179                                                  Page 181
     1   Dr. Shehata and Dr. Schultz?                          1           MR. TSAI: We're past 12:30. Is this a
     2       A I did not say that.                             2   good time for a lunch break?
     3       Q So is it your testimony that they did           3           MR. LOESER: Sure.
     4   have an obligation to seek to prevent its pills       4           THE VIDEOGRAPHER: The time is 12:40
     5   from going to doctors like Shook, Shehata and         5   p.m. We're going off the record.
     6   Schultz?                                              6           (Lunch recess.)
     7       A We had a process in place to the                7           THE VIDEOGRAPHER: The time is 1:34
     8   chargebacks -- I'm sorry -- suspicious order          8   p.m., and we're back on the record.
     9   monitoring system in place for this.                  9           (Borelli Exhibit No. 19 was marked
    10       Q But to your knowledge, that system was         10           for identification.)
    11   not relying on the chargeback data to isolate        11           THE WITNESS: Thank you.
    12   physicians that were purchasing inordinate           12   BY MR. LOESER:
    13   quantities in order to further investigate those     13        Q Mr. Borelli, you've been handed
    14   dispensing physicians?                               14   Exhibit 19, which is an e-mail string, the end of
    15       A I can't speak about that group of folks        15   which is an e-mail from you to Steven Cochrane
    16   in that department.                                  16   dated July 9, 2010, with a cc to David Hoffman.
    17       Q But as far as your involvement, you were       17           Is that what's in front of you, sir?
    18   not involved in anything like that?                  18        A Yes.
    19       A Working in that department?                    19        Q And, Mr. Cochrane, he is with KeySource;
    20       Q No. Investigating physicians like              20   is that correct?
    21   Dr. Shook, Dr. Shehata and Dr. Schultz based upon    21        A He is.
    22   the data in the chargeback system?                   22        Q And do you recall what his position was
    23       A I don't know any of those three doctors        23   and what the full name of KeySource was?
    24   that you mentioned.                                  24        A What his title was? What his position

   Golkow Litigation Services                                                       Page 46 (178 - 181)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 47 Confidentiality
                                                         of 117. PageID #: 213941
                                                                              Review
                                                  Page 182                                                      Page 184
     1 was? I think he was a buyer at KeySource, and           1   for information that you would then get from the
     2 KeySource Medical, Inc., I think.                       2   chargeback system; is that correct?
     3        Q And KeySource was a customer of yours?         3       A Yes.
     4        A They're a wholesaler, that's right.            4       Q And you obtained that information and
     5        Q If you go to the last page of that             5   you responded to him, correct?
     6   e-mail string, you'll see an e-mail from David        6       A Yes.
     7   Hoffman at KeySource, and David Hoffman, according    7           (Borelli Exhibit No. 20 was marked
     8   to this e-mail, was the VP of business                8           for identification.)
     9   development. Do you see that?                         9           THE WITNESS: Thank you.
    10        A I do.                                         10   BY MR. LOESER:
    11        Q And the subject line of Mr. Hoffman's         11       Q Mr. Borelli, I'm showing -- you have in
    12   e-mail is "Oxycodone chargeback customer." Do you    12   front of you what's been marked Exhibit 20.
    13   see that?                                            13       A (Peruses document.)
    14        A I do.                                         14       Q And if you turn to the second page of
    15        Q And he -- David Hoffman writes to Steve       15   that exhibit, you'll see that there is a question
    16   Cochrane: "Steve, I have an account that we shut     16   in the e-mail dated July 13, 2010, from you to
    17   off in Florida because I thought too much business   17   Karen Harper. And in this e-mail you're following
    18   on oxycodone was coming from one provider. This      18   up on that request from Mr. Cochrane for
    19   customer said we were his only supplier of           19   information, and you start: "There is an account
    20   Mallinckrodt oxycodone. Can you ask Mallinckrodt     20   in Florida, Sunlight Pharmacy, that KMI" -- that's
    21   if this customer was purchasing oxycodone from       21   KeySource -- "has been servicing for a while.
    22   other sources in May or June of this year? The       22   These account sales have been growing steadily,
    23   pharmacy is Sunlight Pharmacy," and there's an       23   and as you see, have purchased quite an assortment
    24   address and a DEA number.                            24   of our SKUs from KMI."
                                                  Page 183                                                        Page 185
     1           Do you see that?                              1           Do you see that?
     2        A I do see that.                                 2       A Okay.
     3        Q And then do you see on the next page,          3       Q And so this is you following up on that
     4   Mr. Cochrane sent you an e-mail in which he           4   request from KeySource to obtain information in
     5   forwards Mr. Hoffman's e-mail to him. Do you see      5   order to respond to his question; is that right?
     6   that?                                                 6       A Yes.
     7           And the e-mail from Mr. Cochrane to you       7       Q And in fact, you're following up with
     8   is dated July 7, 2010, and Mr. Cochrane writes:       8   regard to a particular downstream customer of your
     9   "Victor, per our discussion earlier today, can you    9   distributor client KeySource, correct?
    10   tell me if this customer buys any Mallinckrodt       10       A Yes.
    11   oxycodone 30 milligram tabs from any other           11       Q And if you turn to the first page of
    12   wholesaler distributors?" Correct?                   12   that exhibit, in the July 13th, 2010 e-mail from
    13        A Yes.                                          13   you to Sandi Ivancho. Do you see that?
    14        Q And you responded to his e-mail at -- on      14           Who is Sandi Ivancho?
    15   the -- July 9th, and you provided him with the       15       A I don't remember Sandi.
    16   information he was seeking, correct?                 16       Q Okay. But you say to her: "This issue
    17        A Yes.                                          17   came up during a DEA situation, but as I drill
    18        Q And you said: "This account does buy          18   down, the account shows our SKU sales to Sunlight
    19   our oxy 30 mg as well as many other products from    19   Pharmacy, but our report doesn't show the same
    20   both McKesson as well as Smith Drug."                20   sales."
    21           Now, if you go back to the subject line      21           So this is an example of you drilling
    22   of the first e-mail, it's a reference to             22   down into information about a downstream customer,
    23   "Oxycodone chargeback customer." So your             23   right?
    24   customer -- your distributor client is asking you    24       A This is a situation that a customer

   Golkow Litigation Services                                                         Page 47 (182 - 185)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 48 Confidentiality
                                                         of 117. PageID #: 213942
                                                                              Review
                                                       Page 186                                                    Page 188
     1   asked me in a one-off situation to see who this           1   with: "Do you think Mallinckrodt is willing?"
     2   account buys our -- if this account buys our              2          Do you see that?
     3   product from us, if this account buys our product         3       A I do see that.
     4   from somebody else as well. I think it started            4       Q So here you have an example of a
     5   with them, Dave Irwin -- Dave Hoffman questioning         5   distributor customer of yours again asking you for
     6   their account.                                            6   chargeback information, and this time in order to
     7       Q You looked into the information in                  7   attempt to determine if diversion is happening; is
     8   Mallinckrodt's chargeback system and you answered         8   that correct?
     9   the questions.                                            9       A It looks that way.
    10       A I had somebody do that, yes. I did not             10       Q And there's a question whether
    11   look into -- I did not go into our system to do          11   Mallinckrodt is willing to share this information
    12   that. And I don't remember if Sandi was the              12   with KeySource. Do you recall whether
    13   person that did it either. Maybe she worked at           13   Mallinckrodt shared that information?
    14   that -- one of the people that worked in that            14       A I don't remember.
    15   department.                                              15       Q Do you believe that would have been
    16           (Borelli Exhibit No. 21 was marked               16   helpful information for your customer KeySource to
    17           for identification.)                             17   obtain from Mallinckrodt?
    18   BY MR. LOESER:                                           18       A In what way?
    19       Q I'm showing you -- showing you what's              19       Q In order to help it determine if
    20   been marked as Exhibit 22 --                             20   diversion was happening.
    21           MS. GAFFNEY: 21.                                 21          MR. TSAI: Object to the form.
    22       Q -- 21, I'm sorry, which is an e-mail               22          THE WITNESS: So I don't know if we
    23   from you dated June 23rd, 2010, again to Steve           23   supplied that to the customer or not.
    24   Cochrane. Subject line, "Re: Oxycodone                   24   BY MR. LOESER:

                                                     Page 187                                                        Page 189
     1   Mallinckrodt." The Bates number is                        1       Q Do you think it would have been helpful
     2   MNK-T1_000560613.                                         2   to supply that information, whether they did or
     3           And if you go to the second page of               3   they didn't?
     4   that, here again Mr. Hoffman of KeySource is              4           MR. TSAI: Object to the form.
     5   asking Steve Cochrane a question, and the question        5           THE WITNESS: It would be good to -- to
     6   is: "I have a question for Mallinckrodt regarding         6   see if their -- if the account, the pharmacy is
     7   some of our large purchasers of oxycodone in              7   receiving more than -- shipments from more than
     8   Florida. I have usage reports on all of the               8   one of Mallinckrodt's wholesalers.
     9   accounts and was thinking if Mallinckrodt could           9   BY MR. LOESER:
    10   provide us with total chargeback sales on oxy 15         10       Q Because that would be an indication of
    11   mg and 30 mg, I could compare that to the usage          11   potential diversion, right?
    12   reports just to make sure they weren't purchasing        12       A Not necessarily tied to diversion, but
    13   more than the usage report states. This would be         13   to see if others are shipping them to understand
    14   a double-check for possible diversion."                  14   the customer -- understanding their customer
    15           Do you see that in that e-mail?                  15   better.
    16           And then once again, Mr. Cochrane sends          16       Q KeySource was concerned that a
    17   Mr. Hoffman's e-mail to you, and he says in his          17   downstream customer was lying to KeySource about
    18   June 23rd, 2010 e-mail: "Victor, call me when you        18   where it was getting its oxy, right?
    19   can. Dave is wanting to know if Mallinckrodt is          19       A I -- if it's -- did it say that? I
    20   willing to share total," parentheses, "KeySource         20   thought they were asking for us to do a check and
    21   and other suppliers," close parentheses, "monthly        21   balance or a double-check.
    22   chargeback data for the Roxi's as a check on             22       Q Okay. Were they checking to confirm
    23   pharmacy usages. Wouldn't need the supplier's            23   whether the amount being reported to them was
    24   name, just the units charged back." And he ends          24   accurate from their downstream customer?

   Golkow Litigation Services                                                            Page 48 (186 - 189)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 49 Confidentiality
                                                         of 117. PageID #: 213943
                                                                              Review
                                                 Page 190                                                         Page 192
     1        A I don't -- I don't know why they are          1   many bottles of oxycodone you were responsible for
     2   asking. I mean, I can assume, but I don't want to    2   selling that were shipped to Florida?
     3   assume.                                              3        A So when you say that, if I shipped to
     4        Q In other words, you don't know if             4   McKesson's central field distribution center in
     5   Mallinckrodt was willing to share the chargeback     5   Memphis, I don't know where it goes.
     6   information or not?                                  6        Q Okay.
     7        A I don't know if they were able to or did      7        A If I ship to Cardinal's central field in
     8   share. I don't know if it's willing. You said        8   Groveport, Ohio, I don't know where that goes.
     9   "willing," not me.                                   9           And if I ship to -- if I ship to
    10           (Borelli Exhibit No. 22 was marked          10   KeySource's distribution center in Ohio, I don't
    11           for identification.)                        11   know where that goes.
    12           THE WITNESS: Thank you.                     12           There's 50 states that those accounts
    13   BY MR. LOESER:                                      13   that I just mentioned have to distribute to. So I
    14        Q I'm showing you what's been marked           14   don't know where that goes.
    15   Exhibit 22. This is an e-mail from Lisa Lundergan   15        Q Now, you say you don't know where that
    16   to Karen Harper, with a cc to Ginger Collier,       16   goes, but that information is carefully tracked
    17   dated 4/18/2011. This e-mail was not sent to you    17   and reported in the chargeback system, correct?
    18   but it -- attached to it are a couple of charts     18        A In the chargeback system, yes.
    19   that I wanted to ask you about.                     19        Q If you turn to the next page of this
    20           So if you turn to the second page, this     20   exhibit, there are a list -- it says "Distributor
    21   is a chart showing the number of bottles of         21   Data. All Strengths - Oxycodone HCL," and there's
    22   oxycodone sold in the state of Florida; is that     22   a list of customers, including the 2010 and '11
    23   correct?                                            23   number of bottles of oxycodone that were shipped
    24        A It's the first time I've seen the chart,     24   to the state of Florida.

                                                 Page 191                                                       Page 193
     1   so -- it looks that way, yes.                        1           Do you see that?
     2       Q And during the time that you were              2       A I do.
     3   selling oxycodone in Florida, did you look at        3       Q And we know that that's tracking shipped
     4   information like this that tracked the total         4   to the state of Florida, because the e-mail that's
     5   number of bottles of pills of oxycodone that you     5   attached to this notes that these reports are an
     6   were selling to clients who were then shipping it    6   update on oxycodone Florida activity.
     7   to Florida?                                          7       A Okay.
     8            MR. TSAI: Object to the form.               8       Q A number of these customers on this list
     9            THE WITNESS: I may have, but I don't        9   were your customers, correct?
    10   remember this document.                             10       A A few.
    11   BY MR. LOESER:                                      11       Q Can you go down the list and tell me
    12       Q Okay. Did you see that for FY10, for          12   which customer was yours and how many bottles of
    13   2010, the total number of bottles of oxycodone      13   oxycodone were shipped to Florida in 2010?
    14   shipped to the state of Florida by Mallinckrodt     14       A I don't know which customers were mine
    15   exceeded 2 million? Do you see that in the -- in    15   in 2010 and 2011.
    16   either one of those charts?                         16       Q Okay. Let me ask you this: Was
    17       A I see it.                                     17   Cardinal Preferred Source A/ID a customer of
    18       Q And was that information that you were        18   yours?
    19   aware of at the time that you were selling          19       A At a certain time, but I don't know if
    20   thousands and thousands of bottles of oxycodone     20   it was 2010 or 2011.
    21   that were being shipped to the state of Florida?    21       Q Okay. And in 2010, Cardinal shipped
    22       A Again, I may have seen this. I don't          22   127,309 bottles of oxycodone to Florida, correct?
    23   remember it, though.                                23           MR. TULLY: Object to form.
    24       Q Okay. You don't recall if you knew how        24           THE WITNESS: Yes.

   Golkow Litigation Services                                                        Page 49 (190 - 193)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 50 Confidentiality
                                                         of 117. PageID #: 213944
                                                                              Review
                                                Page 194                                                    Page 196
     1   BY MR. LOESER:                                      1       A I shared -- I shared with you that we
     2       Q Moving down the list, Harvard Drug, was       2   switched customers around annually, so I don't
     3   that a customer of yours?                           3   know if it was 2010 it was mine or somebody
     4       A At one time.                                  4   else's.
     5       Q Okay. Including possibly 2010?                5       Q Okay. Nonetheless, Master
     6       A I don't know.                                 6   Pharmaceutical shipped 238,171 bottles of
     7       Q Okay. Harvard Drug sent 79,000 bottles        7   oxycodone in 2010, right?
     8   to Florida in 2010?                                 8       A Yes.
     9           MR. TULLY: Object to form.                  9       Q Was McKesson OneStop a customer of
    10   BY MR. LOESER:                                     10   yours?
    11       Q Correct?                                     11       A I believe so, but I'm not sure at what
    12       A It says that here.                           12   time.
    13       Q Okay. H.D. Smith, was that a customer        13       Q McKesson One Shop shipped 283,661
    14   of yours?                                          14   bottles of oxycodone to Florida in 2010, correct?
    15       A At one time.                                 15           MR. BARRIENTOS: Objection.
    16       Q Okay. Including possibly 2010?               16           THE WITNESS: It says that here.
    17       A I don't believe so.                          17   BY MR. LOESER:
    18       Q Do you know when they stopping being a       18       Q Skip down to Sunrise Wholesale, that was
    19   customer of yours?                                 19   a customer of yours, correct?
    20       A I don't.                                     20       A It was at one time. I don't think in
    21       Q Okay. Nonetheless, H.D. Smith shipped        21   2010, but --
    22   396,697 bottles of oxycodone to Florida in 2010,   22       Q So the total for Sunrise Wholesale in
    23   right, according to this report?                   23   2010, 272,420 bottles of oxycodone.
    24       A It says that here, yes.                      24           Mr. Borelli, do you have any sense out
                                                Page 195                                                      Page 197
     1       Q KeySource Medical, was that a customer        1   of those 2.1 million bottles of oxycodone sent to
     2   of yours?                                           2   Florida, how many were sales you were responsible
     3       A I believe so.                                 3   for?
     4       Q Including in 2010?                            4       A No, I do not.
     5       A Yes.                                          5       Q You don't recall -- were you ever
     6       Q In 2010, KeySource Medical shipped            6   provided with that information so you could see
     7   373,141 bottles of oxycodone to Florida. Do you     7   just how much oxycodone you were selling that was
     8   see that?                                           8   going to Florida?
     9       A I do.                                         9       A You're asking me a question if I know
    10       Q Is that a number you've never seen           10   how much of these are my customers at that time.
    11   before?                                            11   So I don't. And then you're asking me if I know
    12       A It doesn't look familiar.                    12   of my customers how much went to Florida from an
    13       Q Did you generally track the sales of         13   e-mail from seven or eight years ago. So I'm
    14   your customer KeySource?                           14   sorry if I don't.
    15       A I generally tracked sales on all my          15           (Borelli Exhibit No. 23 was marked
    16   molecules as best I can, for all my accounts.      16           for identification.)
    17       Q Master Pharmaceutical, was that a            17   BY MR. LOESER:
    18   customer of yours?                                 18       Q Mr. Borelli, you've been handed what's
    19       A What we ship to an account doesn't get       19   been marked Exhibit 23. MNK-T1_0000384265. This
    20   assigned to us. It's what they sell to their       20   is an e-mail from Jordan Polly or Polly Jordan to
    21   customer. Master was a customer of mine at one     21   you on March 4th, 2009.
    22   time.                                              22           Do you know who Polly Jordan is?
    23       Q And you see that in 2010 they shipped        23       A I do not.
    24   238,000 --                                         24       Q Do you see that it indicates that she is

   Golkow Litigation Services                                                      Page 50 (194 - 197)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 51 Confidentiality
                                                         of 117. PageID #: 213945
                                                                              Review
                                                       Page 198                                                Page 200
     1   a customer service representative for                     1   now marked as Exhibit 24. This is an article with
     2   Mallinckrodt?                                             2   the title "Inside Broward County's Pill Mills."
     3        A Mm-hmm.                                            3   It's dated April 5th, 2009, and the author is
     4        Q And her e-mail says to you: "Hey,                  4   Scott Hiaasen from the Miami Herald.
     5   Vic" -- that suggests she knows who you are,              5           If you look at the first paragraph of
     6   right? She calls you Vic?                                 6   that article, it states: "Broward County has
     7        A If she's in customer service, she's                7   become the painkiller capital of the United
     8   dealing with the sales team, so -- but I don't            8   States, the notorious home to a cottage industry
     9   recognize the name.                                       9   of storefront pain clinics selling alarming
    10        Q Okay. And she asks you: "Have you                 10   numbers of narcotics and feeding a brazen black
    11   heard anything about oxycodone in Florida and why        11   market sprawling through the South and New
    12   there are so many people from Kentucky going to          12   England."
    13   Florida to get their prescriptions filled?"              13           Now, back in 2009, do you recall reading
    14           You knew there were a lot of people              14   articles such as this one that talk about Broward
    15   coming from Kentucky to get their prescriptions          15   County becoming the painkiller capital of the
    16   filled in Florida, didn't you?                           16   United States?
    17        A No, I -- I don't believe so.                      17        A I don't know what years or what year or
    18        Q So did you answer her and say,                    18   when in that year I read an article about that.
    19   Ms. Jordan or Polly, I don't have any idea why           19        Q Okay. If you turn to the next page, go
    20   people are coming from Kentucky to get oxycodone         20   down to the second paragraph, it states: "And the
    21   in Florida?                                              21   travelers come -- by the thousands, narcotics
    22           MR. TSAI: Object to the form.                    22   investigators say, from Kentucky, Ohio, West
    23           THE WITNESS: I have no idea if I                 23   Virginia, Massachusetts and other states.
    24   answered her or not from nine years ago.                 24   Prospective pill buyers sometimes camp outside
                                                     Page 199                                                  Page 201
     1   BY MR. LOESER:                                            1   clinics overnight, waiting for the doors to open,
     2       Q Do you have any recollection as you sit             2   said Hollywood Police Captain Allen Siegel,
     3   here today of people coming from out of the state         3   director of the South Broward Narcotics Task
     4   of Florida to purchase oxycodone in Florida?              4   Force."
     5       A I have no idea who's purchasing -- who's            5           Now, was that phenomenon of people
     6   purchasing the product in Florida.                        6   flooding into the state of Florida from a number
     7       Q But were you aware of the problem of                7   of other states something that you had read about
     8   people coming from out the state of Florida to            8   when you were selling oxycodone into the state of
     9   purchase oxycodone in Florida?                            9   Florida?
    10       A Did I read an article about it?                    10           MR. TSAI: Object to the form of the
    11   Probably. But do I know that people are driving          11   question.
    12   in caravans or in cars or together to Florida to         12           THE WITNESS: I don't remember when I
    13   buy oxycodone? No.                                       13   read the article or articles about this.
    14       Q You said you read an article about                 14   BY MR. LOESER:
    15   people possibly coming to Florida to purchase            15       Q But you were generally aware of this
    16   oxycodone. Do you recall whether you read many           16   issue of people coming from out of state to buy
    17   articles about that?                                     17   oxycodone, correct?
    18       A I don't know the quantity of articles              18           MR. TSAI: Objection. Vague as to time.
    19   that I've read.                                          19   BY MR. LOESER:
    20           (Borelli Exhibit No. 24 was marked               20       Q I'm sorry, did you answer?
    21           for identification.)                             21       A I think I did. Didn't I?
    22           THE WITNESS: Thank you.                          22       Q I asked you: But you were generally
    23   BY MR. LOESER:                                           23   aware of this issue of people coming from out of
    24       Q Mr. Borelli, you've been handed what's             24   state to buy oxycodone, correct?

   Golkow Litigation Services                                                           Page 51 (198 - 201)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 52 Confidentiality
                                                         of 117. PageID #: 213946
                                                                              Review
                                                          Page 202                                                 Page 204
     1           MR. TSAI: Objection. Vague as to time.               1       Q Okay. So if we go down to the article
     2           THE WITNESS: So I don't know when I                  2   itself, you'll see that the first line of the
     3   read the article, I said before, and you asked the           3   article states: "South Florida has become the
     4   same question I think again. So I don't know when            4   largest supplier of illegal prescription drugs in
     5   I read the article.                                          5   the country."
     6   BY MR. LOESER:                                               6           Do you see that?
     7       Q I understand that you don't remember                   7       A I do.
     8   when you read that article, but during the time              8       Q And does that refresh your recollection
     9   that you were selling oxycodone and it was being             9   as to when you would have become aware of South
    10   shipped to Florida, were you generally aware of             10   Florida becoming a major supplier of illegal
    11   the problem of people coming to Florida to                  11   prescription drugs in the country?
    12   purchase Mallinckrodt or other oxycodone?                   12       A I don't know when I was aware of it. I
    13       A I knew of it.                                         13   shared with you I read some articles. I think it
    14           (Borelli Exhibit No. 25 was marked                  14   also appears -- you didn't highlight it -- but is
    15           for identification.)                                15   that person's name Louis Fisher, the DEA agent
    16   BY MR. LOESER:                                              16   that worked for Sunrise, who would do the
    17       Q Mr. Borelli, you're now looking at                    17   background and research checks on the potential
    18   what's been marked Exhibit 25, MNK-T1_0000290150.           18   customers for Sunrise. That's their suspicious
    19   For the record, this is an e-mail from you to               19   order monitoring team. Just like we had one.
    20   Karen Harper dated July 29th, 2009. The subject             20       Q Okay. In response to this article and
    21   line is "Re: [RxNews] Rx Drug Abuse Epidemic."              21   others that you perhaps read about South Florida
    22           Do you see that?                                    22   becoming the pill mill capital of the world, what
    23       A I do.                                                 23   impact did that have on you and the sales of
    24       Q And if you look down below, you'll see                24   oxycodone that you were responsible for?
                                                        Page 203                                                   Page 205
     1   that Karen Harper sent a number of people,                   1          MR. TSAI: Object to the form.
     2   including you, an article. And the article's                 2          THE WITNESS: I'm not quite sure what
     3   title was "Prescription Drug Abuse Epidemic."                3   you mean by impact to me. I just shared with you
     4           Do you see that?                                     4   a check and balance process by a customer of ours.
     5        A I do.                                                 5   And our company has a check and balance with the
     6        Q And the names -- who are the other                    6   suspicious order monitoring, so I think due
     7   names? John Adams, he was a salesperson at                   7   diligence was being done.
     8   Mallinckrodt; is that correct? Or he was your                8          So when you say to me, none of this
     9   supervisor?                                                  9   happens, right, none of this process occurs if
    10        A Yes.                                                 10   they're not licensed by the DEA and vetted by the
    11        Q Read the other names and tell me who                 11   DEA to be able to dispense or receive and dispense
    12   these people are.                                           12   products. So I'm going to take the DEA's
    13        A George Saffold, I don't know. Cathy                  13   expertise on this versus mine.
    14   Stewart, I don't know. Kate Muhlenkamp was a                14   BY MR. LOESER:
    15   marketing manager for the company.                          15       Q Sir, you understand that your clients
    16           I don't know what Cathy did. I remember             16   were selling significant amounts of oxycodone to
    17   the name and you showed an e-mail or two from               17   downstream customers in Florida, right?
    18   Cathy. George, I don't remember.                            18       A I know who --
    19        Q And if you go back up to your response               19          MR. TSAI: Object to the form.
    20   to Karen Harper's e-mail, you write: "Interesting           20          Go ahead.
    21   article."                                                   21          THE WITNESS: I know who I sold to, and
    22           Does that suggest that you actually read            22   it was -- and every year it changes. Who they
    23   the article that was attached to her e-mail?                23   sold to, no.
    24        A It does.                                             24   BY MR. LOESER:

   Golkow Litigation Services                                                              Page 52 (202 - 205)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 53 Confidentiality
                                                         of 117. PageID #: 213947
                                                                              Review
                                                  Page 206                                                           Page 208
     1       Q So you paid no attention to where your          1   ten years ago, it's a tall order, a tall request.
     2   clients sold the Mallinckrodt oxycodone that they     2           And I think in this article alone,
     3   bought.                                               3   talking about a new technology that Florida was
     4           MR. TSAI: Object to the form.                 4   working on to limit or eliminate that doctor
     5   BY MR. LOESER:                                        5   process where -- you know, you're asking me to
     6       Q You paid no attention to where your             6   know a customer's customer, and this is the next
     7   clients shipped the products that you sold to         7   step to the customer is the patient level. So
     8   them.                                                 8   how -- how do I know that?
     9           MR. TSAI: Object to the form.                 9       Q This article was about pain clinics.
    10           THE WITNESS: I think you're putting          10   Right? Pain clinics were downstream customers of
    11   words in my mouth or for me saying I pay no          11   your distributor clients, correct?
    12   attention. There's an understanding of               12       A As well as hospitals, as well as
    13   chargebacks. There's a team that the customers       13   pharmacies, as well as IDNs. So it's part of it
    14   put in place checking on their customers. We rely    14   but not nearly all of it. As well as chain stores
    15   on that quite a bit more than -- than me versus      15   like the CVS, like a Walgreens, like a Duane
    16   the experts.                                         16   Reade. Kerr Drug.
    17   BY MR. LOESER:                                       17           And the pharmacist is the line of
    18       Q So what actions did you take after you         18   defense as well. So there are checks and balances
    19   learned that South Florida had become the national   19   in place.
    20   capital for illegal pain pill trafficking?           20           (Borelli Exhibit No. 26 was marked
    21       A When -- when you say "actions," what do        21           for identification.)
    22   you mean?                                            22   BY MR. LOESER:
    23       Q Did you contact any of your customers          23       Q Mr. Borelli, you've been handed what's
    24   and say, Stop selling any of Mallinckrodt's pills    24   been marked Exhibit 26, MNK-T1_0000386857. This

                                                  Page 207                                                         Page 209
     1   to places in Florida?                                 1   is an e-mail string that involves you. The top
     2       A I believe that I did. I believe that            2   of the e-mail string is an e-mail from Karen
     3   there's -- from the suspicious order monitoring       3   Harper to John Adams, with a cc to you, dated
     4   team, the Bill Saffold -- no, Bill Rafferty and       4   November 23rd, 2009.
     5   Karen Harper, they periodically sent account names    5           And if you flip back in the string,
     6   out that we then forward to our customer base         6   you'll see that Karen Harper sent to you on
     7   saying, We're not going to ship to these accounts,    7   November 23rd, 2009, an article with the subject
     8   or do not ship to these accounts.                     8   "Grand Jury Wants to Crack Down on Pill Mills."
     9           So I think that is an action -- that's        9   Fort Lauderdale, Florida.
    10   one of actions taken.                                10           And she writes: "John and Victor, FYI,
    11       Q Okay. In terms of your actions, though,        11   the interim Grand Jury Report referenced in the
    12   when you learned -- when you read articles like      12   below article is attached."
    13   this one that said South Florida has become the      13           And do you see the article, it starts
    14   largest supplier of illegal prescriptions, did you   14   with the line, "Broward County has become known as
    15   personally take any actions to try and slow down     15   the 'pill mill capital' of the United States."
    16   the amount of oxycodone that your clients were       16   Correct?
    17   shipping to Florida?                                 17       A I see the page.
    18       A Well, I sent correspondence out, like I        18       Q And then if you move up on the second
    19   just shared with you a moment ago. I think that's    19   page of this e-mail string, there's an e-mail
    20   an action taken.                                     20   from you to Karen Harper and John Adams dated
    21       Q Can you think of anything else that you        21   November 23rd, 2009, and you respond: "Karen, I
    22   did?                                                 22   appreciate you sending me this (and all Florida
    23       A From nine or ten years ago, I'm sure           23   articles), but a distributor or wholesaler that is
    24   that's not the only thing I did. But from nine or    24   not located in the state ships to this state on a

   Golkow Litigation Services                                                          Page 53 (206 - 209)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 54 Confidentiality
                                                         of 117. PageID #: 213948
                                                                              Review
                                                         Page 210                                                Page 212
     1   daily basis as well."                                       1   distributors from out of that state as well that
     2           And then you go on to explain that                  2   might be sending to the downstream customers in
     3   point, correct? And so you conclude -- and you              3   that state, correct?
     4   ask her to send these articles not just to you but          4           MR. TSAI: Object to the form.
     5   to the other salespeople because distributors from          5           THE WITNESS: I don't know the answer to
     6   out of the state send into Florida as well; is              6   that.
     7   that correct?                                               7   BY MR. LOESER:
     8       A I think you showed that on the other                  8       Q Well, if you want to understand what's
     9   page.                                                       9   happening in Ohio, for example, you wouldn't just
    10       Q And so if you go back to the article,                10   look at distributors in Ohio; you would look at
    11   this is yet again another article sent to you in           11   distributors outside of Ohio but who are shipping
    12   November 2009 that discusses how Broward County            12   their pills to downstream customers in Ohio,
    13   has become the pill mill capital of the world,             13   right?
    14   correct?                                                   14       A Possibly.
    15           And if you look down a few paragraphs in           15       Q That's the point you were making about
    16   the article, it states: "Oftentimes people come            16   Florida, right?
    17   from outside Florida to pain clinics because it is         17       A I'm not sure if that's the point. I'm
    18   so easy to obtain prescription drugs. Those                18   making a point to tell and inform the entire team
    19   people then take the pills back to their home              19   about this situation.
    20   states and sell the drugs for inflated -- inflated         20       Q Because they're out of state doesn't
    21   sums on the black market."                                 21   matter in terms of where their pills are going.
    22           Do you see that?                                   22       A So everybody has the same information.
    23       A I do.                                                23       Q Everybody who's selling pills, even if
    24       Q So provided you were being truthful in               24   they're located -- their distributor clients are
                                                       Page 211                                                  Page 213
     1   suggesting that you read this article when she              1   located out of state, it's important to know --
     2   sent it to you, that's information that you were            2   important for them to know as well if you're
     3   aware of back in November of 2009, right?                   3   trying to understand what's happening with the
     4       A Yes.                                                  4   amount of pills going into a particular state.
     5       Q And the larger point you're making to                 5        A It's good for the entire team to know.
     6   Ms. Harper at the time about sending it to people           6        Q For that reason, correct?
     7   whose distributors were located out of the state            7            MR. TSAI: Object to the form.
     8   was that distributors can send their pills into             8            THE WITNESS: It's good for the entire
     9   the state of Florida, correct?                              9   team to be on the same page on everything.
    10       A Correct.                                             10   BY MR. LOESER:
    11       Q Distributors that are out of state,                  11        Q And why is it good for the entire team
    12   right?                                                     12   to know?
    13       A Yes.                                                 13        A It's just information.
    14       Q And so you're making the point that to               14        Q There's nothing in particular about this
    15   understand what's going on in Florida, don't just          15   information that has any value for them to know.
    16   look at the distributors in Florida but also look          16   It's just all the information in the world they
    17   at the distributors out of Florida that are                17   can know is a good thing?
    18   sending to downstream customers in Florida, right?         18            MR. TSAI: Object to the form.
    19       A I have the whole team aware, yeah. I                 19   BY MR. LOESER:
    20   have the whole team aware.                                 20        Q There's a pill epidemic in Florida.
    21       Q Right. And the same would be true in                 21   You're being sent an article about the pill
    22   other regions or areas or states, if you want to           22   epidemic in Florida. Right? And you said send it
    23   understand what's happening with pills going into          23   to all the salespeople because people out of the
    24   that state, it's very important to look at                 24   state also send into the state of Florida,

   Golkow Litigation Services                                                             Page 54 (210 - 213)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 55 Confidentiality
                                                         of 117. PageID #: 213949
                                                                              Review
                                                       Page 214                                                 Page 216
     1   correct?                                                  1       A I thought you said that. I said that
     2       A What I said was it's good that everybody            2   they should be in the know on the -- on articles
     3   knows the same information so the whole team              3   that come out to just select sales -- to a few
     4   knows.                                                    4   salespeople. Send it to everybody.
     5       Q Why? Why is that important?                         5           (Borelli Exhibit No. 27 was marked
     6       A Information for the team. So -- so                  6           for identification.)
     7   they're assuming that -- I don't want them to             7           THE WITNESS: Oh, sorry.
     8   assume that I'm the only person that knows. I             8   BY MR. LOESER:
     9   want the entire team to know this information.            9       Q You've been handed what's been marked
    10          And the salesperson that sells to                 10   Exhibit 27. This is an e-mail from Jane Williams
    11   McKesson, I believe the distribution center is in        11   to you dated March 1st, 2011. It attaches subject
    12   Memphis, so that person should know. And then the        12   "[RxNews] OxyContin."
    13   same for Cardinal, that distribution center is in        13           If you go to the second page of this
    14   Ohio, I believe. And ABC has 27 different                14   e-mail string, which went to you, it was sent to
    15   distribution centers around the country.                 15   you by Jane Williams, there's an e-mail from John
    16       Q You wanted them all to know because                16   Burke. And it states: "I was talking to a
    17   there was a problem in Florida and their customers       17   narcotics officer in Maine today, and he informed
    18   were shipping to Florida as well, right?                 18   me that they are not seeing the new OxyContin
    19       A I want them to all -- I wanted them all            19   tablets that have been reformulated. Instead they
    20   to know. I wanted --                                     20   are seeing the oxycodone IR 30 mg, the same as
    21       Q For the love of knowledge or for some              21   appears to be our trend, and what we see coming up
    22   particular reason?                                       22   from Florida and the pill mills."
    23       A I think it's right that you -- that you            23           Do you see that?
    24   share the -- all the information with the entire         24       A I do.
                                                       Page 215                                                 Page 217
     1   team.                                                     1       Q And then if you turn to the next page,
     2        Q So the team collectively can help try              2   in the e-mail that was forwarded to you that was
     3   and do something about the problem?                       3   sent by Karen Harper to, among others, Pat Duft,
     4        A Perhaps.                                           4   in the middle of that paragraph written by Douglas
     5        Q And that would be true for any state               5   Ross from the Department of Justice, he writes:
     6   where there's a problem, right? You would want            6   "Florida pain clinics have played a significant
     7   everybody to know, regardless of whether they were        7   role in the availability of the Mallinckrodt
     8   in that state or not, if they had distributor             8   tablets, which are physically transported or
     9   clients that sent into that state.                        9   mailed back to New England."
    10        A It's a tall order. There are 27                   10           Do you see that?
    11   distribution centers for AmerisourceBergen, and          11       A I do.
    12   the Minnesota distribution center could ship a           12       Q So this string informs you on March 1st,
    13   little to Minnesota but a lot to South and North         13   2011, that Mallinckrodt oxy 30 has been reported
    14   Dakota and Wyoming. I -- I don't know that.              14   coming up out of Florida into other states,
    15   That's -- you're asking me to know about a               15   correct? And it -- is that correct?
    16   customer's process. And I don't think that's a           16           MR. TSAI: Object to the form.
    17   fair -- I don't think that's a fair request.             17           THE WITNESS: It says that.
    18        Q Sir, I was asking you about an e-mail             18   BY MR. LOESER:
    19   you sent in which you asked Karen Harper to send         19       Q Okay. And it also indicates that the
    20   the same article about pill mills in Florida to          20   Florida pain clinics have played a significant
    21   people out of the state, and you explained that          21   role in the availability of the Mallinckrodt
    22   the reason why you think they should see it is           22   tablets. Do you see that?
    23   because their clients also shipped into the state        23       A No. Where does it say that?
    24   of Florida, right?                                       24       Q In the e-mail sent by Douglas Ross to

   Golkow Litigation Services                                                           Page 55 (214 - 217)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 56 Confidentiality
                                                         of 117. PageID #: 213950
                                                                              Review
                                                 Page 218                                                      Page 220
     1   John Burke, the middle of the page.                   1       Q Have you ever heard I-75 referred to as
     2        A Okay.                                          2   the oxy express?
     3        Q So that was information that was               3       A If I did, I don't remember, but --
     4   presented to you in this e-mail string on             4       Q So if you read that in articles in 2009,
     5   March 1st, 2011; is that correct?                     5   you don't remember that now.
     6        A In an e-mail from Jane Williams to me --       6       A Yeah.
     7   here you go. Okay. I -- I see it was sent to me       7       Q And have you ever heard of I-75 referred
     8   by Jane, yes.                                         8   to as the Florida pipeline?
     9        Q So from these articles and this other          9       A I don't remember it, no.
    10   information, you were aware that people were         10       Q Do you remember whether ever hearing the
    11   coming from out the state of Florida to get oxy      11   road referred to as the blue highway?
    12   that was being distributed by pain clinics in        12       A No.
    13   Florida, right?                                      13       Q Do you know what color Mallinckrodt oxy
    14        A If I read this article, if she sent it        14   is?
    15   to me, and I read down below, I would know it.       15       A I don't remember. I think white.
    16   But do I know if I glanced it, skimmed it, read      16       Q You think that the --
    17   it, didn't read it, I don't know.                    17       A I think white. I don't remember.
    18        Q Okay. Nonetheless, you received a             18       Q So you don't know if -- -
    19   number of articles, some of which we've gone         19       A It's not something that we would ever --
    20   through, that discuss that issue, right?             20   I never touched one of our products. It's not
    21        A I received a few, yeah.                       21   something that we come in contact with. It's
    22        Q And you know from the time that you were      22   shipped from a DEA facility in Upstate New York to
    23   selling oxycodone that the oversight of pain         23   customers. I never come -- I've never come in
    24   clinics in Florida was particularly lax. Right?      24   contact with our product.

                                                 Page 219                                                    Page 221
     1       A No. When you say "oversight," no.               1       Q So you didn't know that oxy 30s were
     2   That's why these companies, these wholesalers have    2   blue?
     3   people in place to not have that happen. That's       3       A I don't remember it. I thought they
     4   why this specific customer you talked about in        4   were white.
     5   Florida has a Louis Fisher, and I'm not sure if       5       Q And you didn't know that the highway out
     6   there were two or three Louis Fishers working for     6   of Florida into Appalachia was called the blue
     7   them, but that's their job. That's their              7   highway because of the color of all the oxy 30
     8   expertise, that's what they do for a living is to     8   that was purchased in Florida and brought out of
     9   vet out the places they ship to. I don't do that.     9   that state?
    10       Q So, Mr. Borelli, as you sit here today,        10       A I'm sorry, I don't.
    11   do you recall whether in the time period that you    11       Q And you don't know what amount of the
    12   were selling oxycodone to Mallinckrodt distributor   12   total volume of Mallinckrodt oxy 30 that was sold
    13   clients that there was a pain pill epidemic in       13   in Florida was sold by you?
    14   Florida?                                             14       A I don't know the specific amount at all.
    15       A The articles you're showing me highlight       15       Q And if you had read an article
    16   that, but do I remember the specifics and the        16   discussing the flood of oxy 30 up I-75 into
    17   volumes? No, I don't.                                17   Appalachia, would that have caused you to take any
    18       Q Are you aware that the highway that went       18   action to attempt to stem the sale by your
    19   from Florida up into Appalachia, do you know what    19   customers to downstream customers in Florida?
    20   highway that is?                                     20           MR. TSAI: Object to the form of the
    21       A I do not.                                      21   question.
    22       Q I-75. Have you ever driven on I-75?            22           THE WITNESS: I think actions were
    23   Have you ever --                                     23   taken.
    24       A I have no idea.                                24   BY MR. LOESER:

   Golkow Litigation Services                                                        Page 56 (218 - 221)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 57 Confidentiality
                                                         of 117. PageID #: 213951
                                                                              Review
                                                  Page 222                                                  Page 224
     1       Q What actions did you take? Did you stop         1   against that molecule, it would sit in KeySource's
     2   selling?                                              2   warehouse. I have no control of the prescriptions
     3       A I think I shared with you that when our         3   being written. I have no control of where they
     4   team put information in front of us and shared        4   ship it.
     5   suspicious order monitoring information about         5       Q But you know how much they buy from
     6   customers, we shared that with our customer base.     6   Mallinckrodt, right? You know how much product
     7       Q Mr. Borelli, did you make sure that in          7   your customers buy from your company.
     8   2009, less oxycodone was sold into the state of       8       A I try to.
     9   Florida than in 2008?                                 9       Q And that's for all products, right?
    10           MR. TSAI: Object to the form.                10       A Yes.
    11           THE WITNESS: I -- I had no control of        11       Q You don't just pay attention to some of
    12   what and where these wholesalers shipped product.    12   them. You pay attention to all of them. So
    13   Like I said before, if we shipped to McKesson in     13   you're paying attention to the amount of oxy your
    14   Memphis, I have no idea where that goes. If you      14   customers are buying from Mallinckrodt, right?
    15   ship to a Cardinal in Ohio, I have no idea where     15       A Oxy -- all my -- you're highlighting
    16   that goes.                                           16   oxy, but it's all my products -- all my accounts.
    17   BY MR. LOESER:                                       17       Q Did you pay any attention at all to the
    18       Q Did you take any action in 2010 to make        18   percentage of your total sales that were oxy
    19   sure that the amount of oxycodone that your          19   versus other drugs?
    20   clients shipped to Florida was less than in 2009?    20       A I may have.
    21       A I don't remember.                              21       Q So you may have seen that you were
    22           MR. TSAI: Object to the form.                22   selling a whole lot more oxy than anything else.
    23           THE WITNESS: Sorry. I don't remember.        23       A At certain accounts.
    24   BY MR. LOESER:                                       24       Q That information was available to you.
                                                  Page 223                                                  Page 225
     1        Q And yet from at least 2009 forward,            1       A That's a chargeback -- that information
     2   based on the articles you saw, you knew that there    2   is available via chargebacks, and I never went
     3   was a huge problem of pill mills in Florida and       3   into the chargeback system to -- for that
     4   people coming from out of state to get pills.         4   information. Never.
     5        A You're showing me articles that -- that        5       Q Okay. But as we've seen, you've asked
     6   I was forwarded ten years ago, nine years ago. So     6   people -- other people in that department to get
     7   it's a tough one. Yeah, I'll stop there.              7   information for you, right?
     8        Q We've talked about KeySource was one of        8       A I think you showed me three e-mails.
     9   your customers, correct?                              9       Q Right. So there was nothing that
    10        A They were.                                    10   stopped you from asking people in the chargeback
    11        Q And was that an important customer to         11   department to tell you, Hey, how many bottles of
    12   you?                                                 12   oxycodone did my clients buy?
    13        A I think -- I think all customers are          13       A Okay.
    14   important.                                           14       Q You didn't look into that at all.
    15        Q And they purchased a significant amount       15       A At times I did. At times -- I mean,
    16   of -- of oxy in particular from you, correct?        16   you're highlighting it to me. You're showing
    17        A KeySource bought all of our product           17   just -- I mean you're just showing me how many
    18   lines from the scheduled drugs to the                18   e-mails I sent throughout my career at
    19   non-scheduled drugs. All of them.                    19   Mallinckrodt, but you're highlighting this much to
    20        Q And as we saw from the hundreds of            20   me. It could have been more. It could have been
    21   thousands of bottles of oxy, that included a         21   on different items. I don't know.
    22   significant amount of oxy, right?                    22       Q Okay. There's nothing about oxy in the
    23        A Oxycodone, it would -- if I shipped it        23   2008 to '10 time period that stands out as you sit
    24   to KeySource, and there weren't prescriptions out    24   here today as being a particularly important time

   Golkow Litigation Services                                                       Page 57 (222 - 225)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 58 Confidentiality
                                                         of 117. PageID #: 213952
                                                                              Review
                                                 Page 226                                                         Page 228
     1   frame.                                               1   shipped to? Is that what you're asking, who --
     2       A Well, that's what we're talking about          2        Q Right --
     3   today, right?                                        3        A -- they shipped to? No, I don't know.
     4       Q So is that a "yes" or a "no"?                  4   I'm not familiar with -- I'm familiar with my
     5       A It's one of the many products we               5   customers. And it's hard to know everything about
     6   marketed and sold.                                   6   every customer, but you try as a salesperson
     7       Q Okay. So when did your relationship            7   dealing with a customer base. But who they
     8   with KeySource start?                                8   shipped to, it's a tall order.
     9       A I don't remember. Maybe 2005, 2006. I          9        Q And it's fair to say that you helped
    10   don't remember.                                     10   KeySource grow its business?
    11       Q Do you remember how it started?               11           MR. TSAI: Object to the form.
    12       A Maybe at a trade show.                        12           THE WITNESS: I don't know
    13       Q Okay. And is that where you met Steve         13   KeySource's -- I don't know how they did from a
    14   Cochrane?                                           14   growth position. I worked with --
    15       A I don't remember where I met him.             15   BY MR. LOESER:
    16       Q Did you two become friends, would you         16        Q But my question was, is it fair to say
    17   say?                                                17   that you helped KeySource grow its business?
    18       A Customer/buyer-seller relationship,           18        A I don't know the answer to that. If
    19   yeah.                                               19   I -- I don't know the answer to that. I -- it's
    20       Q And would you say that was a pretty           20   KeySource's business, not -- business, not mine.
    21   close relationship?                                 21        Q And did you give KeySource advice on how
    22       A I -- I've got closer; I've got further.       22   it could grow its business?
    23       Q So your relationship with Mr. Cochrane        23        A I don't remember.
    24   was pretty typical for your relationships with      24           (Borelli Exhibit No. 28 was marked

                                                 Page 227                                                      Page 229
     1   your customers, wholesaler distributor customers?    1          for identification.)
     2           MR. TSAI: Objection to the form.             2          THE WITNESS: Thank you.
     3           THE WITNESS: I didn't say typical. I         3   BY MR. LOESER:
     4   said I've got some customers that I'm closer with    4       Q I'm showing you what's been marked
     5   and I've got some customers that I'm not.            5   Exhibit 28. MNK-T1_0000384546. This is an e-mail
     6   BY MR. LOESER:                                       6   from Steve Cochrane to you dated October 7th,
     7       Q Did you ever go to KeySource and see how       7   2008; is that correct? At the top of the page.
     8   they conducted their business?                       8       A October 7th, is that what you said?
     9       A I did.                                         9       Q Yeah.
    10       Q And where were they located?                  10       A Yes.
    11       A Their offices are in Cincinnati, Ohio.        11       Q And the subject line is "Re: Assured
    12       Q How many times did you go visit their         12   Pharmacies." Do you see that?
    13   offices?                                            13       A Yes.
    14       A I have no idea.                               14       Q And if you go to the very end of that
    15       Q Did you get familiar with their               15   string where it starts on October 3rd, 2008,
    16   suspicious order monitoring system?                 16   Mr. Cochrane sends you an e-mail in which he asks
    17       A If -- you highlighted it on an e-mail or      17   you: "Do you know who they are? Would they be a
    18   two about a Dave Hoffman, so I know Dave at         18   candidate for the Fruth Initiative?"
    19   KeySource, so I know Dave at KeySource. So, yes,    19          Do you see that?
    20   I guess.                                            20       A Do I see --
    21       Q And as you got to know KeySource, did         21       Q Do you see his e-mail to you?
    22   you also develop an understanding of who their      22       A I do.
    23   downstream customers were?                          23       Q And do you see your response?
    24       A No -- who they shipped -- who they            24       A I do.

   Golkow Litigation Services                                                        Page 58 (226 - 229)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 59 Confidentiality
                                                         of 117. PageID #: 213953
                                                                              Review
                                                    Page 230                                                   Page 232
     1       Q Can you read his response -- your                  1   BY MR. LOESER:
     2   response, please.                                        2        Q Mr. Borelli, you've been handed what's
     3       A "Never heard of them, and, yes, this is            3   been marked Exhibit 29, which is a spreadsheet
     4   a type customer that we can do the special 'for          4   that we created, again from the Mallinckrodt
     5   them' program. Who is their supplier?"                   5   chargeback system data, and as you flip through
     6       Q And what is this special program, do you           6   that spreadsheet, you can see that this is a long
     7   recall?                                                  7   list of sales by KeySource to Assured. Correct?
     8       A I do not. I do not.                                8           MR. TSAI: Counsel, do you have a copy
     9       Q Okay. And if you read through this                 9   for -- thank you.
    10   string, you talk back and forth about Assured. So       10   BY MR. LOESER:
    11   you're talking to your customer KeySource about         11        Q And while you're going through that, I
    12   one of its potential downstream customers,              12   will represent to you that there are 274 purchase
    13   Assured, correct?                                       13   order transactions between Assured and KeySource
    14       A It reads that way.                                14   between January 2009 and June 2011, for a total of
    15       Q Okay.                                             15   685,700 UOMs.
    16       A I never heard of Assured before this              16        A Okay.
    17   e-mail, and I don't even know who they are today.       17        Q And the e-mail that we went through a
    18       Q Okay. When you go to the top of the               18   minute before predates this spreadsheet and it may
    19   e-mail Mr. Cochrane says to you: "Just to               19   be because we haven't been provided any data that
    20   clarify," and he provides some information about        20   predates, but your e-mail was in, I believe,
    21   Assured, and he writes: "Excellent opportunity in       21   October of 2008.
    22   my opinion, specifically a pain clinic pharmacy,        22           And then moving forward, sales start on
    23   and HD cannot supply enough product to meet their       23   this chart, again perhaps because of how the data
    24   needs."                                                 24   was presented to us, but in January of 0002009,
                                                      Page 231                                                 Page 233
     1           Do you see that?                                 1   right?
     2       A I do.                                              2           And so for the entire period of time
     3       Q And do you know if your customer,                  3   that Assured was buying opioids from Mallinckrodt,
     4   KeySource, started supplying Assured --                  4   and this chart shows that all they bought was
     5       A I do not.                                          5   oxycodone, for that entire period of time
     6       Q -- following this?                                 6   Mallinckrodt always had in its possession
     7           But you do know that from this date on,          7   information indicating that Assured supplied pain
     8   you had been provided information that Assured was       8   clinics. Right?
     9   a pain clinic pharmacy, correct?                         9           MR. TSAI: Object to the form.
    10       A I don't know Assured, and if that's what          10           THE WITNESS: Through chargeback data, I
    11   Steve Cochrane is saying here, I don't know it,         11   guess so.
    12   but I see he's saying that.                             12           MR. LOESER: We can take a break.
    13       Q Okay. And you didn't have any reason to           13           THE VIDEOGRAPHER: The time is 2:36 p m.
    14   believe that wasn't true?                               14   We're going off the record.
    15       A I don't know if it's true or not.                 15           (Recess.)
    16           MR. TSAI: Derek, we're at 2:31. You             16           THE VIDEOGRAPHER: The time is
    17   want to take a break after you finish with this         17   2:50 p.m., and we're back on the record.
    18   exhibit?                                                18           (Borelli Exhibit No. 30 was marked
    19           MR. LOESER: How about I talk about one          19           for identification.)
    20   more, and then we'll take a break?                      20   BY MR. LOESER:
    21           MR. TSAI: Sure.                                 21       Q Mr. Borelli, you have in front of you
    22           (Borelli Exhibit No. 29 was marked              22   what's been marked as Exhibit 30.
    23           for identification.)                            23   MNK-T1_0000384679. This is an e-mail from you to
    24           THE WITNESS: Thank you.                         24   Steve Cochrane dated 6/18/2010. Subject: "Oxy."

   Golkow Litigation Services                                                          Page 59 (230 - 233)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 60 Confidentiality
                                                         of 117. PageID #: 213954
                                                                              Review
                                                     Page 234                                                      Page 236
     1   Do you see that?                                        1           And, sir, you responded to his e-mail at
     2       A I do.                                             2   4:12 p.m. on the same day, and you sent him an
     3       Q Can you read your e-mail, please. Out             3   e-mail subject line "Re: Oxy Thursday."
     4   loud.                                                   4           Could you please read your response to
     5       A "Let's talk when you get a moment about           5   him, please.
     6   Florida and oxy sales as well as Sunrise                6       A "Just like Doritos. Keep eating, we'll
     7   Wholesalers." And in parentheses, "and Paragon as       7   make more."
     8   well. Safe travels. Go Yankees."                        8       Q And the context of this e-mail was you
     9       Q Okay. And so you sent this e-mail to              9   were informing him that you were releasing a
    10   Mr. Cochrane on June 18th, 2010, and you are           10   shipment of oxy 30; is that correct?
    11   asking him specifically to talk about Florida and      11       A Yes.
    12   oxy sales, correct?                                    12       Q And it was 1200 bottles of oxy 30?
    13       A It seems that --                                 13       A Yes.
    14       Q And do you recall why you were asking            14           (Borelli Exhibit No. 32 was marked
    15   him about Florida and oxy sales?                       15           for identification.)
    16       A I do not.                                        16   BY MR. LOESER:
    17       Q There's nothing that stands out in your          17       Q Mr. Borelli, you've been handed --
    18   mind as you sit here today about this time period      18       A Thank you.
    19   that would suggest to you any particular reason to     19       Q -- what's been marked as Exhibit 32,
    20   talk about oxy and Florida sales?                      20   which is an e-mail string. It starts with an
    21       A It's eight-and-a-half years ago, so I'm          21   e-mail from Kate Muhkenkamp to you, April 10th,
    22   sorry, I do not.                                       22   2009. MNK-T1_0000562387.
    23       Q And there's a reference to Sunrise               23           And it's a relatively long string. I'll
    24   Wholesalers. Do you know why you were talking to       24   start at the very last page. And second to last
                                                   Page 235                                                          Page 237
     1   Mr. Cochrane about Sunrise Wholesalers?                 1   page there's a header to an e-mail at the bottom
     2       A I do not.                                         2   of the page, and if you look at that header, it's
     3          (A discussion was held off the record.)          3   an e-mail from Heather Goodman to Dave Irwin. And
     4          (Borelli Exhibit No. 31 was marked               4   the subject is "Oxycodone 15 milligram tablets."
     5          for identification.)                             5   The date is April 9th, 2009.
     6          THE WITNESS: Thank you.                          6           Do you know who Heather Goodman is?
     7   BY MR. LOESER:                                          7       A I do not.
     8       Q Mr. Borelli, you've been handed what is           8       Q Do you know who Dave Irwin is?
     9   marked Exhibit 31. And on the bottom of the first       9       A I do.
    10   page, there's the header to an e-mail dated            10       Q Who is Dave Irwin?
    11   January 27th, 2009, Tuesday.                           11       A Dave Irwin was one of the sales team
    12          And the e-mail states: "Just got a              12   members for Mallinckrodt.
    13   release today. You will receive 1200 bottles on        13       Q So this e-mail starts with Heather
    14   Thursday morning." And the subject line of that        14   Goodman contacting Dave Irwin and saying: "Dave,
    15   e-mail is "Oxy 30."                                    15   I spoke with my aunt, and the independent pharmacy
    16          Do you see that?                                16   she chose is Dane Drugs," and provides an address
    17       A I do.                                            17   in Columbus, Ohio. "Her monthly prescription is
    18       Q And Mr. Cochrane responds to your e-mail         18   1500 oxycodone 15 milligrams. We have not
    19   on January 27th, about a half an hour later, and       19   contacted the pharmacy to let them know this is
    20   he sends you an e-mail, subject line "Re:              20   happening yet. In addition, as soon as we know
    21   Oxy 30," and he writes: "Keep them coming.             21   that this arrangement is set up, Aunt Sandra will
    22   Flying out of here. It's like people are addicted      22   call her doctor and have him call in the script
    23   to these things or something. Oh, wait, people         23   for her. Please let us know how you would like to
    24   are. Thank you, Steve."                                24   proceed."

   Golkow Litigation Services                                                           Page 60 (234 - 237)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 61 Confidentiality
                                                         of 117. PageID #: 213955
                                                                              Review
                                                       Page 238                                                  Page 240
     1           Do you see that?                                  1   15-milligram tablets of oxycodone a day?
     2        A I do.                                              2           MR. TSAI: Object to the form.
     3        Q Okay. And then if you turn to the next             3           THE WITNESS: I don't see a response
     4   page, Dave Irwin sends a message dated April 9th,         4   to -- you're asking if I responded to Dave Irwin?
     5   2009, at 3:51 p.m. to Kate Muhlenkamp.                    5   BY MR. LOESER:
     6           And again, her job is what?                       6       Q Right.
     7        A She had a number of jobs at                        7       A I don't see a response to Dave Irwin,
     8   Mallinckrodt, so I don't know what -- what she was        8   unless this is the response.
     9   doing at this -- it says product manager.                 9       Q And I'm asking, do you recall answering
    10        Q Okay. And that e-mail is cc'd to you              10   his question --
    11   and to John Adams. And Dave writes: "Kate, here          11       A One second. One second. (Peruses
    12   is the info we talked about earlier. Is there            12   document.) Okay.
    13   something I can do to help out from this point on?       13       Q Okay. So you don't recall answering the
    14   Heather Goodman used to report to Craig Cowman,          14   question about whether it's even possible for Aunt
    15   who referred her to us. You may want to let Mike         15   Sandra -- you don't know who Aunt Sandra is, do
    16   know what's going on. He will see Craig at NACDS         16   you?
    17   in two weeks.                                            17       A I do not.
    18           "Vic, thanks for helping set this up.            18       Q You don't know who Heather Goodman is,
    19   Sounds like it's much appreciated."                      19   do you?
    20           Do you see that?                                 20       A I do not.
    21        A I do.                                             21       Q Okay. But you don't know if it's
    22        Q And then if you go up further, Kate               22   possible for this person, Aunt Sandra, to herself
    23   Muhlenkamp sends an e-mail to Dave Irwin saying:         23   consume 50 tablets of oxycodone a day. You didn't
    24   "I've spoken with Victor, and he thinks he can           24   answer that question.
                                                     Page 239                                                      Page 241
     1   make this happen. Two cases a month to the below          1       A It doesn't look like it. I'm not a
     2   pharmacy. He is working on it and should have an          2   doctor. I'm not -- so I don't know the answer to
     3   answer shortly." Right?                                   3   that.
     4        A Right.                                             4       Q Okay. So if you go to the first page of
     5        Q And then going forward to your Friday,             5   the exhibit, you send an e-mail to Dave Irwin and
     6   April 10th, 2009, e-mail to Kate Muhlenkamp, with         6   Kate Muhlenkamp, with a cc to John Adams, dated
     7   a cc to John Adams, and it's also sent to Dave            7   April 10th, 2009, at 11:15 a.m., and you say:
     8   Irwin, you write: "Kate, we need to talk when you         8   "Here goes: Kate and I have spoken, and KeySource
     9   get a moment. We can get this done today, but we          9   can get this done, but they need product. I think
    10   have one problem."                                       10   we are moving that along as we speak.
    11           Do you see that?                                 11           "KeySource has contacted the pharmacy
    12        A I do.                                             12   and is setting them up as we speak.
    13        Q Do you recall what the one problem was?           13           "The pharmacy will place an order for
    14        A I do not.                                         14   this (and additional) products from KeySource
    15        Q All right. And if you move up further,            15   today, and Aunt Sarah" --
    16   Dave Irwin then sends you an e-mail at 9:58 a.m.,        16           So it's becoming Aunt Sarah?
    17   So shortly after, and he says: "I'm sure I will          17       A I screwed that up.
    18   be talking to Heather Goodman later today so I can       18       Q Yeah.
    19   clarify this. But I did the math in my head late         19           -- "can walk into the pharmacy on
    20   yesterday and this equates to 50 tablets per day.        20   Thursday to pick up the product. KeySource is
    21   Is that even possible?"                                  21   going to try to ship the pharmacy one month's
    22           And that was sent to you. Did you in             22   needs at a time, so depending on what is happening
    23   response to this determine whether it was possible       23   with the marketplace (supply/demand), we may have
    24   for Heather Goodman's Aunt Sandra to take 50             24   to circle back in a month to allocate more oxy 15

   Golkow Litigation Services                                                            Page 61 (238 - 241)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 62 Confidentiality
                                                         of 117. PageID #: 213956
                                                                              Review
                                                  Page 242                                                        Page 244
     1   mg to them for this special circumstance."            1   aunt to a particular pharmacy in Columbus, Ohio;
     2           Do you see that?                              2   is that right?
     3           And then you ended with: "Thanks to           3        A That's what it says.
     4   all, especially Aunt Sarah."                          4        Q And you called a distributor client,
     5           Do you see that?                              5   KeySource, and arranged to have that client ship
     6        A I do see that.                                 6   the pills to a pharmacy of the purported patient's
     7        Q Okay. So you're thanking Aunt Sarah for        7   choice. Right?
     8   this, sending her 1500 milligrams a day, her 50       8        A I believe so.
     9   tablets per day.                                      9        Q And was it your understanding that
    10        A Well --                                       10   Heather Goodman was authorized by the DEA to order
    11        Q Now, if you go up in your e-mail,             11   oxy for her aunt?
    12   there's a message from Kate Muhlenkamp to you,       12        A Is she ordering product? She's asking,
    13   April 10th, 2009, 7:34 p.m. And she writes to        13   she's requesting. She's not placing an order.
    14   you: "Vic, thank you for all of your work on         14        Q Do you believe she was authorized to ask
    15   this. I worked with Sarah, and we are shipping to    15   Mallinckrodt to arrange for a shipment of oxy for
    16   KeySource. The order should ship to them on          16   her aunt?
    17   Monday. Thanks, Kate." Right?                        17        A Is she ordering a shipment for her aunt?
    18        A Yes. So I don't know who this Sarah is,       18        Q Are you asking me a question?
    19   and I screwed up the Sarah and a Sandra name here.   19           My question to you is, was she
    20           But I don't know if KeySource was            20   authorized to arrange for a shipment for her aunt
    21   selling to this account. So if they were to gain     21   of oxy?
    22   a new account, it's a good thing.                    22           MR. TSAI: Object to the form.
    23        Q That's a pretty unusual way to gain a         23           THE WITNESS: This -- like we just said,
    24   new account, isn't it?                               24   this is an anomaly. This is a strange situation.

                                                  Page 243                                                      Page 245
     1       A Well, it's a one-off situation, so an           1   She's not placing an order. She's asking a
     2   anomaly is an anomaly, I guess.                       2   person, who then goes out to another person, and
     3       Q All right.                                      3   then comes to me for -- to do something. So...
     4          (Borelli Exhibit No. 33 was marked             4   BY MR. LOESER:
     5          for identification.)                           5       Q And, sir, I'm asking you if it's your
     6          THE WITNESS: Thank you.                        6   understanding that Heather Goodman, who used to
     7          Am I allowed to go back on something you       7   work for Cardinal Health, is authorized by the DEA
     8   brought up for a moment?                              8   to ask Mallinckrodt to arrange for a shipment of
     9   BY MR. LOESER:                                        9   oxy for her aunt.
    10       Q Well, there is no question, but your           10       A I -- I don't know Heather Goodman. So I
    11   counsel will have an opportunity to ask you          11   don't know the answer to that.
    12   questions, and you can clarify that when he asks     12       Q And is it your understanding that you
    13   you.                                                 13   were authorized by the DEA to direct the
    14       A All right. All right.                          14   distribution of oxy for Heather Goodman's aunt?
    15       Q So I want to make sure I understand what       15          MR. TSAI: Object to the form.
    16   happened here with Aunt Sandra.                      16          THE WITNESS: I was asked to look into
    17          Heather Goodman, who is a person who          17   something for someone who needs pain medication.
    18   used to report to Craig Cowman -- do you know        18   That product still would not get to that person's
    19   where Craig Cowman worked?                           19   aunt without a prescription. So I'm not sure what
    20       A I believe Cardinal Health.                     20   you're asking me.
    21       Q Okay. So Heather Goodman, who used to          21   BY MR. LOESER:
    22   report to an employee of Cardinal Health, got in     22       Q I'm asking you -- you remember back at
    23   touch with Dave Irwin at Mallinckrodt and asked      23   the beginning we were talking about the
    24   for 36 bottles a month of oxy to be shipped to her   24   requirements of the Controlled Substances Act, and

   Golkow Litigation Services                                                         Page 62 (242 - 245)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 63 Confidentiality
                                                         of 117. PageID #: 213957
                                                                              Review
                                                 Page 246                                                       Page 248
     1   we went over that people who handle or are           1   That's all I was doing. They had to make that
     2   involved in the distribution of controlled           2   inroad, not me.
     3   substances need to be registered with the DEA? Do    3           MR. LOESER: Would you read the question
     4   you remember that conversation?                      4   back, please.
     5       A I believe so.                                  5           (Whereupon, the requested record
     6       Q And do you remember that the                   6           was read.)
     7   registration only permits the registrant to do       7           MR. TSAI: Object to the form.
     8   what the DEA authorizes that person to do,           8   BY MR. LOESER:
     9   correct?                                             9        Q Can you answer the question, please.
    10       A Okay.                                         10           MR. TSAI: Object to the form.
    11       Q So do you believe you, as a result of         11           THE WITNESS: I'm not sure how to
    12   Mallinckrodt's DEA authorization, that you are      12   respond to that.
    13   authorized to arrange for the shipment of oxy for   13   BY MR. LOESER:
    14   Heather Goodman's aunt?                             14        Q Well, there's three possible answers:
    15          MR. TSAI: Object to the form.                15   Yes, no, or I don't know.
    16          THE WITNESS: I asked a wholesaler to         16           MR. TSAI: Object to the form.
    17   contact a pharmacy, period.                         17           THE WITNESS: So I'll say I don't know.
    18   BY MR. LOESER:                                      18   BY MR. LOESER:
    19       Q So can you answer my question, sir?           19        Q Did you investigate to determine whether
    20          MR. TSAI: Object to the form.                20   Aunt Sandra used the pills?
    21          THE WITNESS: What was the question?          21        A I did not.
    22          (Whereupon, the requested record             22        Q No?
    23          was read.)                                   23        A I don't believe I did. This is -- this
    24          MR. TSAI: Object to the form.                24   is ten -- this is almost ten years ago.

                                                 Page 247                                                       Page 249
     1          THE WITNESS: I didn't arrange any             1        Q And do you know if she sold the pills?
     2   shipment. I didn't place an order for Dane           2        A No idea. How the heck would I know
     3   pharmacy. I just was asked a question to look        3   that?
     4   into something, and I passed it along. That's all    4        Q If you could look at Exhibit 33, which I
     5   I did.                                               5   think you have in front of you.
     6   BY MR. LOESER:                                       6           This is a message from you to Steve
     7       Q And do you believe that your actions           7   Cochrane dated April 10th, 2009. Subject: "Oxy
     8   were authorized by Mallinckrodt's DEA                8   15 milligram." You write: "720 bottles coming
     9   registration?                                        9   your way for Tuesday, Wednesday delivery. Can you
    10          MR. TSAI: Object to the form.                10   set that customer up, allocate 36 bottles for Aunt
    11          THE WITNESS: I'm not sure what I did         11   Sarah and e-mail me back? Thanks so much for
    12   wrong. I'm not sure what you're saying.             12   taking care of this. P.S. No commission
    13          MR. LOESER: Can you read the question        13   necessary, I insist."
    14   back, please.                                       14           Can you please explain this e-mail?
    15          (Whereupon, the requested record             15        A Well, from ten -- nine-and-a-half years
    16          was read.)                                   16   ago, I don't know the context. But it looks
    17          MR. TSAI: Object to the form.                17   like -- I don't know the context.
    18   BY MR. LOESER:                                      18        Q Okay. Let's walk through it. This
    19       Q It's a yes-or-no question, sir.               19   follows on the e-mail string we just went through.
    20          MR. TSAI: Object to the form.                20   You're communicating with your customer
    21          THE WITNESS: I was just trying to do --      21   Mr. Cochrane at KeySource, and you're directing
    22   be a middle person between a wholesaler and a       22   him precisely what to do with the bottles that you
    23   pharmacy -- a customer of mine, a wholesaler of     23   are arranging to have distributed to a pharmacy in
    24   mine, and it looks like to open up a new account.   24   Columbus, Ohio; is that correct?

   Golkow Litigation Services                                                        Page 63 (246 - 249)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 64 Confidentiality
                                                         of 117. PageID #: 213958
                                                                              Review
                                                    Page 250                                                       Page 252
     1        A A percentage, a small percentage of              1   like an unusual circumstance for everybody. I
     2   those bottles I'm asking to accommodate the CEO's       2   think I used the word "anomaly." And I don't know
     3   contact at Cardinal.                                    3   who Dane Drug is. I don't know Aunt Sarah or Aunt
     4        Q So the downstream customer in this               4   Sandra. So this is -- this is a weird one, yeah.
     5   transaction is Dane Drugs. We went through that.        5       Q Yeah, you don't have any idea who any of
     6   And Aunt Sarah then would be the -- the patient         6   those people are, and yet you facilitated the
     7   picking up a prescription from the downstream           7   distribution of 36 bottles a month for Aunt
     8   customer, right?                                        8   Sandra.
     9        A Customer's customer's customer, yes.             9           MR. TSAI: Object to the form.
    10        Q Right. And you're involved to the               10           THE WITNESS: I did not facilitate the
    11   degree of where you're telling your distributor        11   distribution. I asked the question. I did not
    12   client what pharmacy to send these drugs to and        12   facilitate. I did not place a PO. I did not ship
    13   what patient to allocate those drugs for; is that      13   Dane Drug anything. I did not contact Dane Drug.
    14   correct?                                               14   I don't know who Dane Drug is.
    15        A I'm asking. Not telling.                        15   BY MR. LOESER:
    16        Q Okay. And so you're asking for 36               16       Q Sir, if not for your involvement, 36
    17   bottles a month to be made available at Dane Drugs     17   bottles a month for Aunt Sandra would not have
    18   when she walks in with a prescription for Heather      18   been shipped to Dane Drug; is that correct?
    19   Goodman's Aunt Sarah. Is that correct?                 19           MR. TSAI: Object to the form.
    20        A I'm asking them to do it. I'm not               20           THE WITNESS: I don't know if Dane Drug
    21   telling them to do it.                                 21   received the 36 bottles of product. Does it say
    22           (Borelli Exhibit No. 34 was marked             22   that here? It looks like they didn't because they
    23           for identification.)                           23   don't know who the person is.
    24           THE WITNESS: Thank you.                        24   BY MR. LOESER:

                                                     Page 251                                                    Page 253
     1   BY MR. LOESER:                                          1       Q Well, let's move up that e-mail string,
     2       Q You've been handed what's marked                  2   Mr. Borelli, to the middle of the page from Steve
     3   Exhibit 34, which is more about this e-mail string      3   Cochrane to you, dated April 13th. More on the
     4   with Aunt Sandra. And if you go to the bottom,          4   subject line "Guess who called today?"
     5   this is an e-mail from Steve Cochrane to you dated      5           "In response to your question in the
     6   April 13th, 2009. And the subject line is "Guess        6   e-mail below, so what happened?"
     7   who called today," dot, dot, dot.                       7           He writes: "Maureen here said they were
     8           Do you see that?                                8   very nice now that they understand what is going
     9       A Yes.                                              9   on. Filled out a credit application so we have
    10       Q And at the bottom it's -- he writes --           10   their account ready to go. Sounds like they might
    11       A Sorry.                                           11   possibly order but not positive yet."
    12       Q -- in the body of the e-mail: "Dane              12           And do you see your response to that at
    13   Drug! They wanted to know who the F this lady          13   the top of the page?
    14   Aunt Sandra was that showed up looking for her         14       A I do.
    15   oxycodone 15 milligram today. You can't make this      15       Q And that's an e-mail from you to Steve
    16   stuff up. Dane Drugs said they thought it was a        16   at KeySource Medical, which I assume is Steve
    17   crank call when KeySource called Friday to arrange     17   Cochrane. And you write -- what do you write?
    18   the order with them."                                  18   Why don't you go ahead and read that.
    19           Do you see that?                               19       A "Bastard. Thanks."
    20       A I do.                                            20       Q And why --
    21       Q So this was a pretty unusual                     21           THE REPORTER: Can you repeat?
    22   circumstance, at least according to Dane Drugs,        22           THE WITNESS: "Bastard. Thanks."
    23   right?                                                 23   BY MR. LOESER:
    24       A I think I shared before that this seems          24       Q And -- and why that response?

   Golkow Litigation Services                                                          Page 64 (250 - 253)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 65 Confidentiality
                                                         of 117. PageID #: 213959
                                                                              Review
                                                       Page 254                                                  Page 256
     1        A Oh, I think that this -- you know, this              1   March 18th. Subject: "Oxy 30 ml." And you
     2   is again ten years ago, so I -- I don't know the            2   state: "666 cases is 3,996 bottles, which would
     3   context. I don't remember the -- the back and               3   bring you up to 5,004 bottles."
     4   forth conversation so much, nor these e-mails.              4        A Okay.
     5   But perhaps I'm referring to this being such a              5        Q Why is it that you would contact
     6   convoluted and long process, and the account not            6   Mr. Cochrane and tell him the number of oxy
     7   knowing who it is, I don't know who Maureen is,             7   bottles he would be receiving from Mallinckrodt?
     8   and -- and then them saying, "Sounds like they              8        A I don't know.
     9   might possibly order but not positive." I don't             9        Q If you go to the next page in the
    10   remember any of this.                                      10   exhibit, the e-mail above that one is from you --
    11           And then perhaps I'm saying, boy, this             11   or, I'm sorry, from Mr. Cochrane to you dated
    12   is a longwinded process, and then they don't               12   March 18th, 2010. It's more discussion of this
    13   order. I don't know who Dane Drug is. I don't              13   purchase order.
    14   know Aunt Sarah. I don't know -- I don't know              14           And he states: "Victor, just
    15   that person. I didn't ask them to place -- I               15   transmitted the following order via EDI CSOS."
    16   didn't tell them where to ship it. I asked them.           16           I take it that's the ordering system
    17        Q You took all of those actions based on a            17   that he used to order product from Mallinckrodt?
    18   request from a person you didn't know for a person         18        A I don't remember.
    19   you didn't know, right?                                    19        Q And he writes: "Please do not ship
    20        A I know Craig Cowman.                                20   before 3/26/2010 or later, if at all possible."
    21        Q You didn't know Heather Goodman?                    21           Why would your customer be asking you to
    22        A I do not know Heather Goodman.                      22   ship a product not before a certain date?
    23        Q Don't know Aunt Sandra, right?                      23           MR. TSAI: Object to the form.
    24        A I do not.                                           24           THE WITNESS: I'm not sure.
                                                         Page 255                                                Page 257
     1       Q Didn't know Dane Drug.                                1   BY MR. LOESER:
     2       A I do not.                                             2       Q Would that have something to do with the
     3       Q And you don't know if the actions you                 3   maximum allowed product that client was entitled
     4   took complied with Mallinckrodt's DEA                       4   to receive within any particular time period?
     5   registration?                                               5          MR. TSAI: Object to the form.
     6           MR. TSAI: Object to the form.                       6          THE WITNESS: I don't know. I was
     7           THE WITNESS: I don't.                               7   thinking space management, but I don't know the
     8           (Borelli Exhibit No. 35 was marked                  8   answer to that.
     9           for identification.)                                9   BY MR. LOESER:
    10           THE WITNESS: Thank you.                            10       Q Okay. If you go up to the next e-mail
    11   BY MR. LOESER:                                             11   from you to Steve Cochrane, dated March 18th,
    12       Q I'm showing you what's been marked                   12   2010, why don't you go ahead and read your e-mail.
    13   Exhibit 35, which is an e-mail string with the             13       A From "okay"?
    14   Bates number MNK-T1_0000560227. And all these              14       Q Immediately above what we just went
    15   numbers, just for the record, have been the first          15   through. It starts, "Just heard back."
    16   page of the exhibits.                                      16       A Oh. "Just heard back from Katie pie.
    17           This is an e-mail from -- it starts with           17   Management is pushing her to get that crap,"
    18   you on March 18th, 2010, to Steve Cochrane.                18   parentheses, "product," end of parentheses, "out
    19   Subject: "Oxy 30 ml, KeySource, PO No. 0016437."           19   by 3/26, so it leaves that day (a Friday). It
    20   Is that right?                                             20   will get to you on a Monday -- on that Monday."
    21       A Yes.                                                 21       Q And the crap product that you're talking
    22       Q And if you go to the very beginning of               22   about is oxy 30?
    23   this e-mail string, on the last page of the                23       A I'm not sure if it's the only item on
    24   exhibit, you send an e-mail to Mr. Cochrane on             24   the PO that KeySource placed.

   Golkow Litigation Services                                                             Page 65 (254 - 257)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 66 Confidentiality
                                                         of 117. PageID #: 213960
                                                                              Review
                                                      Page 258                                                       Page 260
     1       Q Well, it says "Re: Oxy 30 ml KeySource             1   BY MR. LOESER:
     2   PO," so that would suggest that it's for oxy 30,         2       Q I take it --
     3   right?                                                   3       A And the banter that goes in between.
     4       A It would suggest that oxy 30 is on that            4       Q I take it you didn't forward this
     5   PO. I don't know what was on that PO, though.            5   conversation to Ms. Muhlenkamp.
     6       Q Okay. And why would oxy 30 and whatever            6       A I don't know if I did or not.
     7   else is on that PO be a crap product?                    7          (Borelli Exhibit No. 36 was marked
     8       A I'm not referring to it as crap product.           8          for identification.)
     9   I wrote "crap product," and perhaps my e-mail is         9   BY MR. LOESER:
    10   in bad taste for humor, but I'm not referring to        10       Q You've been handed what's been marked
    11   my product as crap.                                     11   Exhibit 36. Bates No. MNK-T1_0000558886. This is
    12       Q Who is Katie pie?                                 12   an e-mail from you to Karen Harper dated
    13       A Kate.                                             13   6/23/2010. Subject line: "Oxycodone sales in
    14       Q Okay. So if you go to the next page of            14   Florida - Summary."
    15   that, Mr. Cochrane writes --                            15          Do you see that at the top of the page?
    16       A I guess Kate Neely, but I'm not sure.             16       A I do.
    17       Q And there's some banter between --                17       Q If you go down to the e-mail below your
    18       A Wait a sec. You asked a question, so              18   e-mail, it's a message from Kate Muhlenkamp to
    19   give me a moment to see who this Katie pie is.          19   you, among others, and she writes: "As many of
    20   (Peruses document.)                                     20   you have probably heard, Harvard Drugs' license to
    21           I'm not quite sure. I'm going to assume         21   handle controlled substances was suspended this
    22   a person I worked with.                                 22   week. The predominant reason for the suspension
    23       Q Kate Muhlenkamp?                                  23   was the sale of oxycodone in the state of Florida.
    24       A Neely, but yeah.                                  24   Please see the attached article for additional

                                                     Page 259                                                       Page 261
     1        Q And then moving up in the e-mail string,          1   information and details."
     2   Mr. Cochrane asks you questions about a photo from       2           Is that what this says? Do you see
     3   a trip. Do you know what trip he's talking about?        3   where that is written?
     4           MR. TSAI: Object to the form.                    4       A I do.
     5           THE WITNESS: I do not.                           5       Q And below that, she writes:
     6   BY MR. LOESER:                                           6   "Additionally, it came to our attention that
     7        Q Flip forward to the first page of that            7   Sunrise Wholesalers' DEA license was suspended
     8   e-mail, Mr. Cochrane asks you about an etiquette         8   pending further investigation. Although the
     9   class. Do you know what etiquette class he's             9   official reason for the suspension has not been
    10   talking about?                                          10   named, we are under the impression that it is due
    11        A I do not.                                        11   to the sale of oxycodone in the state of Florida."
    12        Q Were you required to take an etiquette           12           Did I read that accurately?
    13   class when you worked for Mallinckrodt?                 13       A That's what it says.
    14        A I don't remember taking an etiquette             14       Q And below that she writes: "The two
    15   class.                                                  15   wholesaler/distributor license suspensions led us
    16        Q And this kind of banter with your                16   to do a more in-depth analysis of Covidien's
    17   customer, is this pretty typical of your                17   oxycodone sales in the state of Florida. We
    18   relationship with Mallinckrodt's -- your                18   specifically focused on doctors' offices and pain
    19   Mallinckrodt distributor wholesale clients?             19   clinics. It appears that Harvard and Sunrise were
    20           MR. TSAI: Object to the form.                   20   the dominant players in this market with over 50
    21           THE WITNESS: I think I shared before            21   percent of their sales coming from this market.
    22   that I had working relationships with -- good ones      22   H.D. Smith, KeySource and McKesson OneStop are
    23   with some and not so with others.                       23   next with only 3 percent of their total sales
    24           MR. LOESER:                                     24   coming from the doctors' offices and pain

   Golkow Litigation Services                                                            Page 66 (258 - 261)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 67 Confidentiality
                                                         of 117. PageID #: 213961
                                                                              Review
                                                 Page 262                                                   Page 264
     1   clinics."                                             1   BY MR. LOESER:
     2           Do you see that?                              2       Q But, sir, you know that the chargeback
     3       A I do.                                           3   system, which you occasionally asked people to
     4       Q So Harvard Drug, a customer of yours?           4   look into, contained information about Sunrise's
     5       A I don't know.                                   5   and Harvard Group's downstream customers.
     6       Q At one time a customer of yours?                6           MR. TSAI: Object to the form.
     7       A I don't know the timing of it all.              7           THE WITNESS: Yes.
     8       Q Were they ever a customer of yours?             8   BY MR. LOESER:
     9       A Yes.                                            9       Q And in fact, in this e-mail,
    10       Q And Sunrise Wholesaler, at one time a          10   Ms. Muhlenkamp is saying that a more in-depth
    11   customer of yours, correct?                          11   analysis of Covidien's oxycodone sales were done,
    12       A At one time. I don't know if it was            12   and there was a particular or a specific focus on
    13   this time frame.                                     13   doctors' offices and pain clinics, and she was
    14       Q And H.D. Smith, at one time a customer         14   able to do that because the chargeback system data
    15   of yours?                                            15   allowed her to isolate those fields, correct?
    16       A I believe so. I don't know when I had          16           MR. TSAI: Object to the form.
    17   responsibility for them.                             17           THE WITNESS: It reads that way, that
    18       Q And KeySource, at one time a customer of       18   Kate went into the chargeback system, yes.
    19   yours?                                               19   BY MR. LOESER:
    20       A Yes.                                           20       Q And there's a focus on doctors' offices
    21       Q And McKesson OneStop, at one time a            21   and pain clinics because in fact that's where a
    22   customer of yours?                                   22   lot of diversion was coming from, right?
    23       A And I -- I don't remember McKesson so          23           MR. TSAI: Object to the form.
    24   much. They may have been. I don't know.              24           THE WITNESS: I don't know that.
                                                 Page 263                                                   Page 265
     1       Q And we talked about earlier about your          1   BY MR. LOESER:
     2   knowledge of oxycodone distribution in Florida,       2       Q Well, you were sent this e-mail in
     3   but as you can see in this e-mail that was sent to    3   June 2010, right? And in this e-mail,
     4   you in June 2010, two of your customers or at one     4   Ms. Muhlenkamp indicates the DEA suspended the
     5   time your customers, Sunrise and Harvard, had         5   licenses of these two distributor clients of
     6   their DEA registration licenses suspended, and        6   yours, right?
     7   this indicates that the predominant -- predominant    7       A I don't -- I don't know that to be
     8   reason for the suspension was the sale of             8   factual. I didn't know that Sunrise had their
     9   oxycodone in the state of Florida, correct?           9   license suspended. I didn't know that. And...
    10       A To clinics -- this -- this piece here,         10       Q You didn't know that after you received
    11   to clinics in Florida, yes.                          11   this e-mail?
    12       Q Okay. And the information about where          12       A I don't know that to be true. I don't
    13   Sunrise and Harvard Drug sold Mallinckrodt's         13   know. I don't remember ever hearing it. And I
    14   products, that's exactly the information that was    14   don't remember this e-mail. But I don't remember
    15   maintained in Mallinckrodt's chargeback system,      15   ever hearing --
    16   right?                                               16       Q Well, look at this e-mail. Maybe it
    17           MR. TSAI: Object to the form.                17   will refresh your recollection. It's dated
    18           THE WITNESS: I did not work in the           18   June 18th, 2010. It's sent to you, and it says:
    19   chargeback group.                                    19   "It has come to our attention that Sunrise
    20   BY MR. LOESER:                                       20   Wholesalers' DEA license was suspended pending
    21       Q But you know that to be true, correct?         21   further investigation."
    22           MR. TSAI: Object to the form.                22           So this did in fact inform you that
    23           THE WITNESS: I think it's best if you        23   their DEA reg- -- that their DEA license was
    24   ask someone in chargebacks the specifics on that.    24   suspended, right?

   Golkow Litigation Services                                                       Page 67 (262 - 265)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 68 Confidentiality
                                                         of 117. PageID #: 213962
                                                                              Review
                                                           Page 266                                                 Page 268
     1       A You're saying that. I don't know that                   1   turned their license in. I may have read that in
     2   to be the case. I had also heard that they turned             2   an article. I don't remember.
     3   their license in. So I don't know this to be                  3       Q And as we discussed, you see that in her
     4   actual.                                                       4   analysis in the deeper dive she's doing --
     5       Q So what you're saying is you don't know                 5           THE REPORTER: I'm sorry, in the what?
     6   if Kate Muhlenkamp is correct when she informs you            6   BY MR. LOESER:
     7   that the DEA suspended Sunrise's license.                     7       Q -- in her deeper dive into Covidien's
     8       A She's saying that. But in this clip of                  8   oxycodone sales in the state of Florida, she
     9   an article, it's highlighting -- it's highlighting            9   focused on doctors' offices and pain clinics. Do
    10   Harvard, not Sunrise. So how do I -- I don't know            10   you see that?
    11   if she knows that for a fact.                                11       A I do.
    12       Q Okay. So you knew from this e-mail that                12       Q Do you have any idea why she would focus
    13   Harvard's license was suspended, right?                      13   on doctors' offices and pain clinics?
    14       A Yes.                                                   14       A Did someone ask her for that
    15       Q And that was because of sales to                       15   information, to pull that information? I don't
    16   doctors' offices and pain clinics. That's the                16   know.
    17   reason that's given, right?                                  17       Q So was there anything --
    18       A I'm sorry. The reason it's given is                    18       A I don't know.
    19   what? I -- this is Kate's note saying she's                  19       Q -- anything about doctors' offices and
    20   focusing on doctors' offices and pain clinics.               20   pain clinics that you were aware of that would
    21       Q Mr. Borelli, let's go to the top of the                21   suggest that would be a good place to look for
    22   e-mail from Kate, which I read: "As many of you              22   suspicious information about sales of oxycodone in
    23   have probably heard, Harvard Drug's license to               23   Florida?
    24   handle controlled substances was suspended this              24       A A doctor's office with a DEA license
                                                         Page 267                                                   Page 269
     1   week."                                                        1   that's prescribing medicine? I'm not -- I don't
     2          Do you see that?                                       2   understand the connection. I'm sorry.
     3       A I see that.                                             3       Q So as long as a doctor's office in
     4       Q And you see that it says then the                       4   Florida had a DEA registration, there was no
     5   predominant reason for the suspension was the sale            5   particular reason to think that there was anything
     6   of oxycodone in the state of Florida. Do you see              6   inappropriate going on with Mallinckrodt's oxy
     7   that?                                                         7   that was being shipped to that doctor's office?
     8       A I do see that.                                          8           MR. TSAI: Object to the form.
     9       Q So that's information that was provided                 9           THE WITNESS: By me? By the -- I can't
    10   to you. Do you see that?                                     10   speak for the DEA. I don't know.
    11       A Is that a question?                                    11   BY MR. LOESER:
    12       Q I'm asking you if you see that in the                  12       Q By you. Nothing that you've seen or
    13   e-mail.                                                      13   read --
    14       A Oh. Yes, I see that.                                   14       A If the DEA -- if the DEA is saying
    15       Q Okay. And then you also see that she                   15   they've checked this customer out, they've
    16   reports that Sunrise's Wholesale -- Sunrise                  16   authorized and assigned a DEA license, okay, you
    17   Wholesalers' DEA license was also suspended, and             17   want me to question the DEA?
    18   the official reason was not named, but she was               18       Q So that's your understanding, that
    19   under the impression that it's due to the sale of            19   whether a downstream customer of a distributor
    20   oxycodone in Florida; is that correct?                       20   client is engaged in diversion is a matter solely
    21       A I can't speak for Kate. I shared with                  21   for the investigation of the DEA?
    22   you a moment ago that I don't know this to be                22           MR. TSAI: Object to the form.
    23   actual regarding Sunrise. I -- again, I shared               23           THE WITNESS: They're the experts.
    24   with you a moment ago that I thought that they had           24   BY MR. LOESER:

   Golkow Litigation Services                                                               Page 68 (266 - 269)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 69 Confidentiality
                                                         of 117. PageID #: 213963
                                                                              Review
                                                       Page 270                                                 Page 272
     1       Q And can you answer my question?                     1   BY MR. LOESER:
     2           MR. TSAI: Object to the form.                     2       Q You didn't try and get any other
     3           THE WITNESS: What an article says, what           3   information. You simply relied on your
     4   people say, will not be as credible as what the           4   distributor client entirely --
     5   DEA does, in my humble opinion.                           5       A Well, to know a customer --
     6   BY MR. LOESER:                                            6           MR. TSAI: Object to the response.
     7       Q So you didn't believe you had any                   7   BY MR. LOESER:
     8   responsibility to know anything about a doctor's          8       Q You relied on your distributor client
     9   office that one of your customers was shipping            9   entirely to determine whether their downstream
    10   oxycodone to?                                            10   customers were engaged in diversion.
    11           MR. TSAI: Object to the form.                    11           MR. TSAI: Object to the form.
    12           THE WITNESS: I don't believe I said              12           THE WITNESS: No, I don't think I said
    13   that.                                                    13   that before either. I think I shared with you
    14   BY MR. LOESER:                                           14   that I visit with customers on a periodic or
    15       Q Do you disagree with that statement?               15   regular basis.
    16           MR. TSAI: Object to the form.                    16           We did not -- when Sunrise came to us
    17           THE WITNESS: You're putting words in my          17   years before we opened them up, we did not open
    18   mouth. Do I care where our product goes?                 18   them up. And then when they have a Louis Fisher,
    19   Absolutely. Absolutely. And nobody in this room          19   a DEA agent on site vetting their customers for us
    20   cares more than me.                                      20   with pictures in the front of the building,
    21   BY MR. LOESER:                                           21   pictures in the back of the building, look in the
    22       Q And so did you make sure that your                 22   value, look at the customer list, I'm not going to
    23   distributor clients weren't shipping pills that          23   doubt that. I don't think -- I don't think you
    24   you sold to them to dispensing physicians who were       24   can get --
                                                     Page 271                                                   Page 273
     1   engaged in diversion?                                     1   BY MR. LOESER:
     2           MR. TSAI: Object to the form.                     2       Q And so you relied on that.
     3           THE WITNESS: I believe that's why these           3       A It's one of the things I relied on. I
     4   accounts have people in place to monitor their            4   also shared that I went to customers' offices.
     5   customers and their practices. A DEA agent like           5       Q If you go to the top of this e-mail
     6   Louis Fisher, who worked at Sunrise. And I                6   string, you note to Ms. Harper in your e-mail on
     7   believe -- I can't speak to the other accounts --         7   6/23/2010: "Karen, KeySource is very concerned
     8   but let's use that example. That's the person             8   that they are on this list, so can you tell me the
     9   that you would rely on to vet their customer.             9   customers' names that make up this 3 percent?
    10           They're not my customer. We don't ship           10   They are unaware and sure they do not sell to
    11   to a -- Mallinckrodt does not ship to a treatment        11   dispensing physicians, so perhaps there is a
    12   clinic, a pain management clinic, a dispensing           12   coding issue."
    13   physician. Never -- while I was there, never             13           Why did KeySource not sell to dispensing
    14   had -- never have.                                       14   physicians?
    15           These companies vet those -- their               15           MR. TSAI: Object to the form.
    16   customers. And they use DEA agents, whether              16           THE WITNESS: I didn't work at
    17   they're on the DEA duty or they're retired and           17   KeySource. I don't know their business model. I
    18   acting as consultants. I can't -- I can't get any        18   don't know who they focused on, didn't focus on.
    19   better information than that, in my humble               19   So I can't answer that for them.
    20   opinion.                                                 20   BY MR. LOESER:
    21   BY MR. LOESER:                                           21       Q So there's nothing about dispensing
    22       Q And so you didn't try?                             22   physicians in Florida that -- that you have any
    23           MR. TSAI: Object to the form.                    23   reason to believe one way or the other if it would
    24           THE WITNESS: I didn't try what?                  24   be prudent or not prudent to send oxy to

   Golkow Litigation Services                                                           Page 69 (270 - 273)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 70 Confidentiality
                                                         of 117. PageID #: 213964
                                                                              Review
                                                      Page 274                                                  Page 276
     1   dispensing physicians in Florida?                          1   stitch of whether it be atenolol, metformin,
     2           MR. TSAI: Object to the form.                      2   promethazine, any item -- all these items we sold,
     3   BY MR. LOESER:                                             3   nothing moves out of the warehouse of a customer
     4       Q It's unknown to you.                                 4   of ours until a prescription is written.
     5       A From this e-mail, all right, from the --             5   BY MR. LOESER:
     6   the e-mail from beginning -- from the beginning to         6        Q So as long as a prescription is written,
     7   end, and the top statement it looks like KeySource         7   there's no problem with the sale.
     8   has a concern that if they're shipping to the              8           THE WITNESS: May I have a drink of
     9   wrong accounts that are not the right accounts to          9   water? Thank you.
    10   ship to, tell them so they'll shut them off.              10           I'm sorry, I didn't hear --
    11       Q But, sir, was it the right accounts or              11   BY MR. LOESER:
    12   was it the right type of accounts? Because isn't          12        Q So you're just looking for whether
    13   the concern of KeySource that they believe they're        13   there's a prescription written. That's --
    14   not shipping to doctors' offices and pain clinics,        14   prescription written, that's the end of it.
    15   and they're put on a list that suggests they are?         15           MR. TSAI: Object to the form.
    16   Isn't that the concern they're raising?                   16           THE WITNESS: I didn't say that's the
    17           MR. TSAI: Object to the form.                     17   end of it. I said that's the start of it.
    18           THE WITNESS: The concern they're                  18   BY MR. LOESER:
    19   raising is who is on the list. Let them look at           19        Q Okay. And you don't have any idea
    20   the list to see who might be coded wrong, stop            20   whether -- why KeySource might decide not to sell
    21   shipping.                                                 21   to dispensing physicians?
    22           I can't speak on behalf of KeySource. I           22        A I think KeySource wants to know who we
    23   didn't work there. I'm just sharing my insight or         23   deem -- or who is on the list that they may have
    24   my -- the way I kind of read through this e-mail.         24   serviced or sent product to. It's a -- I don't
                                                        Page 275                                                Page 277
     1   That's all I can do.                                       1   know if it's 3 percent versus others, but they
     2   BY MR. LOESER:                                             2   don't want to have 1 percent on there.
     3       Q So you have -- I want to make sure I                 3          But, again, now you're asking me to talk
     4   understand what you're saying. You have no idea            4   for KeySource, and I --
     5   why, when Mallinckrodt is doing a deeper look at           5       Q Sir --
     6   sales in Florida, that they would look                     6       A -- I'm doing that too much because I
     7   specifically at doctors' offices and pain clinics?         7   don't know their business model.
     8           MR. TSAI: Object to the form.                      8       Q -- I am asking you whether you have any
     9           THE WITNESS: That's correct.                       9   idea why KeySource would not sell to dispensing
    10   BY MR. LOESER:                                            10   physicians. Do you know why they would not do
    11       Q And you have no idea why KeySource would            11   that?
    12   be upset if it found itself on a list that                12       A I don't know if it was in their business
    13   suggested that they sold to doctors' offices and          13   model, but I can't speak for them.
    14   pain clinics?                                             14       Q So you don't know.
    15           MR. TSAI: Object to the form.                     15       A That's right.
    16           THE WITNESS: I think KeySource would be           16          MR. TSAI: We've been going about an
    17   upset if they didn't know their customers that            17   hour. Is this a good time for a break?
    18   they ship to. We know our customers. They want            18          MR. LOESER: Why don't I do one more
    19   to know their customers.                                  19   quick document, and then we'll stop.
    20           Before that, you know, again -- I'm               20          MR. TSAI: Okay.
    21   sorry, after that it's that customer who then             21          (Borelli Exhibit No. 37 was marked
    22   supplies the product to a patient, who has to come        22          for identification.)
    23   in with a prescription. Nothing moves unless that         23   BY MR. LOESER:
    24   prescription is written. There is not a single            24       Q This is an e-mail string, the top page

   Golkow Litigation Services                                                            Page 70 (274 - 277)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 71 Confidentiality
                                                         of 117. PageID #: 213965
                                                                              Review
                                                       Page 278                                                     Page 280
     1   of -- you've been handed Exhibit 37. This is an           1   question before that.
     2   e-mail string from Brenda Rehkop to you dated             2       Q Okay. Did you send an e-mail -- if you
     3   6/23/2010. MNK-T1_0000265732.                             3   look at the middle of the page, Victor Borelli,
     4           If you go to the first page of the                4   your e-mail to Steve Cochrane on June 23rd, 2010:
     5   string, it's the last page of the exhibit, an             5   "FYI, help us understand this order pattern."
     6   e-mail from Tracey Coffey to Kate.                        6           So you were forwarding this -- this
     7           And it says: "Hi, Kate, I have                    7   information indicating that one of KeySource's
     8   KeySource Medical, Inc., with their address in            8   orders was flagged as peculiar to your customer
     9   Cincinnati, Ohio, asking if they will be able to          9   client; is that right?
    10   get 12,720 bottles of 853001 on July 1st, and            10       A That's what it says, that's right.
    11   12,720 bottles of 853001 on July 2nd. Do you see         11       Q Okay. And was that standard operating
    12   any issues in filling these orders?"                     12   procedure for you? When an order from a customer
    13           And then she says: "Jim, Brenda, FYI,            13   was identified as peculiar, would you just forward
    14   this may show up on the PS old screen."                  14   the e-mail informing you of that to your
    15           Do you know what the PS old screen was?          15   distributor client?
    16       A I have no idea.                                    16       A I think the customer -- customer service
    17       Q And then going to the next page in                 17   person is asking me about an order about one of my
    18   Ms. Rehkop's e-mail to Tracey Coffey, also               18   accounts at the time. So I'm asking the account,
    19   including you, and cc'd to Jim Rausch and Rose           19   Please explain your position on this.
    20   Adams, she writes: "Victor and Mark, Kate is out         20       Q Right. You just forwarded it to your
    21   of the office, and this will undoubtedly show up         21   client. Right?
    22   as a peculiar order. Do you know why they are            22           MR. TSAI: Object to the form.
    23   ordering so much oxy? We need an answer that will        23           THE WITNESS: So I don't know if I just
    24   satisfy the DEA when they have questions in the          24   forward -- I don't know if I just forwarded to the
                                                      Page 279                                                        Page 281
     1   future."                                                  1   account. I may have -- I'm sure I had a
     2          Do you see that?                                   2   conversation with them as well.
     3       A I do.                                               3   BY MR. LOESER:
     4       Q And if you move up from there, it looks             4       Q Okay. But, nonetheless, this e-mail
     5   like you then forwarded this e-mail that was sent         5   shows that you forwarded the question raised by
     6   to you to Steve Cochrane at KeySource. And you            6   Tracey Coffey and Brenda Rehkop to your customer
     7   write: "FYI, help us understand this order                7   client, Mr. Cochrane.
     8   pattern."                                                 8       A Well, you said "just." You just
     9          Do you see that?                                   9   forwarded it. You make it sound like I just
    10       A I do.                                              10   forwarded the e-mail, waiting for an answer on the
    11       Q So that's you looking into a particular            11   e-mail back. That's not how I do business, so I'm
    12   order by one of your customers that has been             12   sure there's a phone call tied to this e-mail as
    13   flagged by Mallinckrodt as -- as peculiar, right?        13   well.
    14          Do you see that?                                  14       Q And, nonetheless, you forwarded the
    15       A Was that a question?                               15   query that you got on to your distributor client
    16       Q Yes, I'm asking if that --                         16   customer, right?
    17       A I'm sorry.                                         17       A Yes.
    18       Q Did I accurately describe the e-mail?              18       Q And if you go up further, your client
    19          THE WITNESS: Can you read back what his           19   gives you an explanation for this order, and he
    20   question was. I didn't hear a question in there.         20   says: "As discussed, we need to schedule the
    21   BY MR. LOESER:                                           21   delivery times due to the lack of space in the
    22       Q Well, I'll ask you again. Did I                    22   current vault. Since KeySource sells 40 to 45,000
    23   accurately describe the e-mail?                          23   bottles per month and 40 percent of that quantity
    24       A Before that. I think you asked a                   24   sells in the first week of the month, I would not

   Golkow Litigation Services                                                             Page 71 (278 - 281)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 72 Confidentiality
                                                         of 117. PageID #: 213966
                                                                              Review
                                                        Page 282                                                 Page 284
     1   judge these orders as peculiar since they are just         1   e-mail -- e-mail we discussed as comprising
     2   meeting current demand."                                   2   3 percent of KeySource's sales. Correct?
     3           Would you -- so he asks you a question             3       A I believe so.
     4   about whether an order was peculiar or not. Do             4       Q And if you turn to the first page of
     5   you see that?                                              5   that exhibit, in an e-mail on June 25th, 2010, at
     6       A I see his e-mail to me.                              6   7:56 a.m., an e-mail, Mr. Cochrane writes to you:
     7       Q And so do you feel that you were                     7   "Victor, I sent the list to Dave. Do you think
     8   qualified to answer his question as to whether his         8   non-addiction treatment clinic is a dangerous
     9   order was peculiar or not?                                 9   category to sell to?"
    10       A I don't know the answer to that. You                10           So in this e-mail Mr. Cochrane is asking
    11   know, I don't know if they picked up a new                11   you, if you, Victor Borelli, think this category
    12   account, picked up new business. I don't know             12   of downstream customers that he has is a dangerous
    13   their business model. So I don't know the answer          13   category to sell to; is that right?
    14   to that. But I think --                                   14       A Let me look at the -- couple of pages
    15           MR. LOESER: Did you want to take a                15   here, if you don't mind. (Peruses document.)
    16   break?                                                    16           So he's asking me about this -- these
    17           MR. TSAI: Yes, please.                            17   clinic -- treatment clinics.
    18           THE VIDEOGRAPHER: The time is 3:49 p m.           18       Q Right.
    19   We're going off the record.                               19       A Okay.
    20           (Recess.)                                         20       Q Your client is asking you your opinion
    21           THE VIDEOGRAPHER: The time is 4:04 p m.           21   on whether a particular category of downstream
    22   We're back on the record.                                 22   customers is a dangerous category, right?
    23           (Borelli Exhibit No. 38 was marked                23       A He's asking me that question, yes.
    24           for identification.)                              24       Q Okay. And you see above his e-mail is
                                                        Page 283                                                 Page 285
     1   BY MR. LOESER:                                             1   your e-mail to him, four minutes later, in which
     2       Q Mr. Borelli, you've been handed what's               2   you respond. Do you see that?
     3   been marked Exhibit 38, which is another e-mail            3       A I do.
     4   string between you and your distributor client             4       Q And I'll read through your response.
     5   customer, Mr. Cochrane at KeySource Medical. The           5   You first answer his question by saying: "Do they
     6   string starts with the Bates No. MNK-T1_0000559457         6   dispense?"
     7   and this is a June 25th, 2010 e-mail from                  7           Why is that something that could
     8   Mr. Cochrane to you, with the subject line "Re:            8   potentially make non-addiction treatment clinics a
     9   Oxycodone sales in Florida - Summary."                     9   dangerous category?
    10           Do you see that?                                  10       A I'm just highlighting some things to
    11       A I do. Is this -- I do. Yeah.                        11   him. He's asking me a question, and I'm
    12       Q And if you go to where that chain                   12   responding within three minutes or four minutes
    13   starts, you'll see there's an e-mail from you on          13   off-the-cuff kind of thoughts.
    14   June 25th, 2010, at 7:31 a.m., to Mr. Cochrane.           14       Q And my question to you is, why did you
    15   The subject line "Oxycodone sales in Florida -            15   write, Do they dispense?" Why is that a question
    16   Summary."                                                 16   that's potentially indicative of whether
    17           And you write: "Per your request, here            17   non-addiction treatment is a dangerous category?
    18   are the accounts that make up the 3 percent               18       A Well, I believe that I'm tying in how
    19   outside the box list."                                    19   one of the accounts you mentioned before uses a
    20           Do you see that?                                  20   DEA agent for these specific things. Pictures --
    21       A I do.                                               21   I shared that with you before, pictures of the
    22       Q And so here you were providing                      22   front door, back door, entrance and exits, meets
    23   Mr. Cochrane with information on downstream               23   with them, interviews them. So he's asking me a
    24   customers who were identified in the earlier              24   question, and I'm highlighting just in three or

   Golkow Litigation Services                                                            Page 72 (282 - 285)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 73 Confidentiality
                                                         of 117. PageID #: 213967
                                                                              Review
                                                       Page 286                                                      Page 288
     1   four minutes things I thought of.                         1           MR. TSAI: Object to the form.
     2       Q Right. I understand what you wrote,                 2   BY MR. LOESER:
     3   sir. I'm asking you why you wrote this.                   3        Q Is that the kind of thing you might
     4           Why did you think -- let's see if we can          4   capture if you visit them, take pictures or
     5   answer that question -- why did you think "Do they        5   interview them?
     6   dispense?" is a question that could provide an            6           MR. TSAI: Object to the form.
     7   answer indicating whether a non-addition treatment        7           THE WITNESS: None of what you just said
     8   clinic is a dangerous category?                           8   is in this. I don't understand what you're
     9       A I wrote a number of responses.                      9   saying. I -- I'm not saying is a line of
    10       Q But I'm asking you about that one.                 10   people -- I'm saying -- I'm recommending what the
    11       A I don't know why I put that first in my            11   DEA agent who does this for a living recommends or
    12   response.                                                12   mentioned -- I don't know if he recommended it or
    13       Q Okay. There's nothing about whether                13   if he mentioned it. But again, in four minutes
    14   they dispense that you can recall that would             14   later, that's my response off the top of my head.
    15   provide any information about whether it's a             15   BY MR. LOESER:
    16   dangerous category to sell to?                           16        Q Right. And would it be fair to say --
    17       A No.                                                17        A And I say, Who the heck knows? The DEA
    18       Q And move to your next question, you say:           18   doesn't have a formal process for any of the
    19   "Do they work in tandem with a pharmacy right next       19   customers that are in this room. They don't --
    20   door?"                                                   20   they don't tell any of them how to act or how to
    21           Why did you identify that as a question          21   not act. They just don't.
    22   that could provide information on whether a              22        Q So you're saying to your distributor
    23   non-addiction treatment is a dangerous category to       23   customer who is buying substantial quantities of
    24   sell to?                                                 24   oxycodone for you, I don't really have any idea

                                                     Page 287                                                      Page 289
     1       A That was what the DEA agent had talked              1   how you tell if something is a dangerous category
     2   about things to look for, Louis Fisher.                   2   to sell to. Who the heck knows these days?
     3       Q And did he also talk about looking for              3       A Well --
     4   whether they dispense?                                    4       Q Isn't that the idea?
     5       A I believe he did. I don't remember                  5       A No, I think the tone you just used is
     6   specifically.                                             6   improper. You're kind of being cavalier about
     7       Q Okay. And then you say: "Did you visit              7   this, and that's the last thing I am is cavalier
     8   them, take pictures, interview them?"                     8   about this.
     9           Why would that be potentially helpful             9       Q So what is "Who the heck knows"? How is
    10   information for determining if a non-addiction           10   that not cavalier?
    11   treatment clinic is a dangerous category to sell         11       A Who the heck knows, because that should
    12   to?                                                      12   be driven from the DEA. The direction and who
    13       A So he knows his customer.                          13   should dispense -- who should write -- who should
    14       Q And what is it that you would learn                14   receive product, that's all, in my humble opinion,
    15   about your customer if you visit them, take              15   is driven from the DEA.
    16   pictures and interview them?                             16           So who the heck knows, they don't have a
    17       A I can't answer that. I think just the              17   formal -- that's what I'm saying, they don't have
    18   conversation with a customer, is it somebody they        18   a formal process in place on what to do and what
    19   do business with.                                        19   not to do. I think everybody in the room has been
    20       Q And do you think that if you're visiting           20   fined by the DEA.
    21   a non-addiction treatment clinic and you see a           21       Q So when you say who the heck --
    22   line of people out the door with cash in their           22       A Not people. The companies they
    23   hands that that might suggest that there's               23   represent.
    24   diversion going on?                                      24       Q When you say, "Who the heck knows these

   Golkow Litigation Services                                                             Page 73 (286 - 289)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 74 Confidentiality
                                                         of 117. PageID #: 213968
                                                                              Review
                                                    Page 290                                                  Page 292
     1   days?" you're saying you don't really know how one      1   BY MR. LOESER:
     2   would go about identifying non-addict -- whether a      2       Q And so to answer my question --
     3   non-addiction treatment clinic is a dangerous           3       A I just did. Didn't I?
     4   category to sell to.                                    4       Q No. You want her to read it back again?
     5           MR. TSAI: Object to the form.                   5       A Please do. I'm sorry if I'm not
     6   BY MR. LOESER:                                          6   answering it properly for you, but I think I am.
     7       Q Right? Isn't what you're telling your             7       Q Why don't we try one more time.
     8   client, you don't know? You don't know how to           8       A Certainly.
     9   identify downstream customers that are a dangerous      9          (Whereupon, the requested record
    10   category to sell to?                                   10          was read.)
    11       A In a three-minute later e-mail, he asked         11          MR. TSAI: Object to the form.
    12   a question, I shared some thoughts off the cuff.       12          THE WITNESS: These are just three
    13   But I can't answer for the DEA. I can't speak for      13   things that were highlighted to me by a DEA
    14   the DEA, and I think the DEA needs to give             14   agent -- a retired DEA agent on things that he
    15   direction on this product.                             15   that focused on. He's asking a question. I'm
    16       Q And other than what you were told by the         16   responding three, four minutes later.
    17   DEA, there's -- there's nothing that you know          17   BY MR. LOESER:
    18   about any of the three categories that you wrote       18       Q So the answer to my question is no,
    19   that would indicate to you based on your               19   your sole source of information on what would be
    20   experience that that would be an indication of a       20   indicative of a dangerous category to sell to is
    21   dangerous category.                                    21   the DEA.
    22           MR. TSAI: Object to the form.                  22          MR. TSAI: Object to the form.
    23           THE WITNESS: Again, I'm just going off         23          THE WITNESS: It's one of the sources of
    24   of what the DEA agent shared with me. And he           24   information that should be used.
                                                     Page 291                                                 Page 293
     1   asked me a question at 7:56, and I'm quickly            1   BY MR. LOESER:
     2   typing at 8:00. But I don't know what the DEA           2       Q Okay. Sir, you wrote three items down
     3   looks -- looks for. I can't speak for the DEA.          3   that you thought were questions that one would ask
     4   But do I think the onus is on the DEA? In my            4   to determine whether something was a dangerous
     5   humble opinion, yes.                                    5   category.
     6           MR. LOESER: Could you read my question          6       A Okay.
     7   back, please.                                           7       Q You wrote those questions solely because
     8           (Whereupon, the requested record                8   the DEA told you those were things to look at. Is
     9           was read.)                                      9   that right?
    10           MR. TSAI: Object to the form.                  10           MR. TSAI: Object to the form.
    11           Can you answer?                                11           THE WITNESS: I believe so.
    12           THE WITNESS: I thought I did.                  12   BY MR. LOESER:
    13   BY MR. LOESER:                                         13       Q Okay.
    14        Q Do you want the question read back              14       A I also asked him to call me to talk at
    15   again?                                                 15   10:30, and perhaps I would have more ideas or
    16        A Sure.                                           16   thoughts.
    17           (Whereupon, the requested record               17       Q And did you give him more ideas and
    18           was read.)                                     18   thoughts when he called you?
    19           MR. TSAI: Object to the form.                  19       A Eight years later, I don't remember.
    20           THE WITNESS: It -- it's just an                20           (Borelli Exhibit No. 39 was marked
    21   off-the-cuff, three-minute, four-minute later          21           for identification.)
    22   response in an e-mail about some recommendations.      22   BY MR. LOESER:
    23   I also highlight "who the heck knows" because          23       Q You've been handed what's marked
    24   there's no firm direction.                             24   Exhibit 39, which is an e-mail from you to

   Golkow Litigation Services                                                         Page 74 (290 - 293)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 75 Confidentiality
                                                         of 117. PageID #: 213969
                                                                              Review
                                                        Page 294                                                    Page 296
     1   Mr. Cochrane that includes an e-mail from Kate             1   numeral, II stands for?
     2   Muhlenkamp to you.                                         2       A I do.
     3           Do you see that? It's dated August 7th,            3       Q Who is that?
     4   2010, is your e-mail to Mr. Cochrane. And the              4       A It's representing C-II.
     5   subject is "KeySource oxycodone sales."                    5       Q So controlled substances, Schedule II?
     6           Do you see that?                                   6       A Yes.
     7        A I do.                                               7       Q Is that right?
     8        Q And so looking at this, it appears that             8          And the first item on his list says:
     9   you received an e-mail from Ms. Muhlenkamp and you         9   "C-II ratio to normal nonscheduled product
    10   forwarded that e-mail to Mr. Cochrane, right?             10   orders."
    11        A Yes. Sorry.                                        11          What does that mean to you?
    12        Q And Ms. Muhlenkamp's e-mail to you says:           12       A How much -- I can't speak for Steve.
    13   "Vic, per our conversation, please find the               13   So, you know, I said -- I shared with you we've
    14   attached draft showing the transition of oxycodone        14   got a portfolio of products. So maybe he is
    15   sales from H.D. Smith to KeySource over the last          15   comparing C-II to other items. It looks like
    16   several months."                                          16   that.
    17           And then she goes on: "Additionally, we           17       Q And why would the ratio of controlled
    18   had Steve reach out to H.D. Smith to find out what        18   substances, Schedule II substances, to normal
    19   business they had walked away from. Attached is a         19   nonscheduled products be a reason to shut down or
    20   list of customers that they have either shut down         20   severely restrict a client?
    21   or severely restricted. We are not suggesting             21       A I can't speak for Steve.
    22   that KeySource adhere to H.D. Smith's methods, but        22       Q I'm not asking you to speak for Steve.
    23   thought it might be helpful for them to have a            23   I'm asking you, seeing this item here, which was a
    24   list of accounts that a similar business had              24   reason given by H.D. Smith for why they shut down

                                                     Page 295                                                      Page 297
     1   deemed suspicious."                                        1   or severely restricted a downstream customer, do
     2          Do you see that?                                    2   you have any understanding why the ratio of
     3       A I do.                                                3   controlled substances to non-normal, nonscheduled
     4       Q And then she reports that Steve, and I               4   product orders would be a reason to cut off,
     5   gather this is Steve Cochrane, asked H.D. Smith            5   restrict a customer?
     6   how they identified these accounts, and H.D. Smith         6       A I can't speak for H.D. Smith either.
     7   noted the following.                                       7       Q Can you speak to that reason? Do you
     8          Do you see that?                                    8   understand why the ratio of controlled substances
     9       A I do, but I doubt that that is Steve                 9   to nonscheduled products would be a reason to
    10   Cochrane.                                                 10   restrict or shut down a sale to a downstream
    11       Q Who do you think it is?                             11   customer?
    12       A I doubt a customer would talk to another            12       A I said I don't know H.D. Smith's
    13   customer. It could be Steve Becker.                       13   business model. So H.D. Smith is a wholesaler
    14       Q Okay. Somebody that --                              14   that has, I'm not sure, how many SKUs -- 13,000
    15       A But I don't know if it -- I'm not                   15   SKUs. So they have every item that is
    16   exactly sure who that Steve is, but it -- you             16   manufactured. So they're looking at so many
    17   know, it could be Steve Becker, who managed that          17   different items, so I --
    18   account at that time. I don't know.                       18       Q So you don't know, sir, why this
    19       Q So, nonetheless, Steve asked H.D. Smith             19   information would be relevant to determining
    20   how they identified accounts they had shut down           20   whether to shut off or restrict a customer.
    21   and restricted, and he got a list from H.D. Smith.        21           That's my only question to you. Do you
    22          And do you see the list on that e-mail?            22   understand why this ratio would be a relevant
    23       A I do.                                               23   consideration when deciding to suspend or
    24       Q Do you know who C-I -- C, I think Roman             24   eliminate a customer?

   Golkow Litigation Services                                                             Page 75 (294 - 297)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 76 Confidentiality
                                                         of 117. PageID #: 213970
                                                                              Review
                                                  Page 298                                                      Page 300
     1       A Can you ask that again, please?                 1   pharmacies with excess orders, do you know why
     2       Q Do you have any idea why the ratio of           2   that would be something to look at when deciding
     3   controlled substances to nonscheduled products        3   whether to shut down or severely restrict a
     4   would be relevant to the determination of whether     4   downstream customer?
     5   to restrict or suspend a customer?                    5       A I do not.
     6       A I have no idea how H.D. Smith goes to           6       Q The next item, no physician sales, do
     7   market and looks at their items. If lisinopril is     7   you know why that would be an item to look at when
     8   an item that they sell more of than something         8   deciding whether to shut down or severely restrict
     9   else, will they stop shipping lisinopril? I don't     9   a customer?
    10   know.                                                10       A I do not.
    11       Q Mr. Borelli, did you pay any attention         11       Q And the last item on the list for
    12   to the ratio of controlled substances your           12   reasons why H.D. Smith would shut down or severely
    13   distributor clients bought from you relative to      13   restrict a customer was pharmacy secondary
    14   noncontrolled substances?                            14   supplier relations. Do you know what that means?
    15       A Yeah, I did.                                   15       A I do not.
    16       Q Why?                                           16       Q So you don't know what any of these
    17       A I tried to look at all of my items that        17   things mean, and yet you forwarded this
    18   I market -- that I sell.                             18   information to Mr. Cochrane and you wrote: "Let's
    19       Q Is that an indication of potential             19   talk about this when you get back from your mini
    20   diversion when a customer is buying only             20   vacation. I still don't buy off on this
    21   controlled substances and no nonscheduled            21   information. I would like to talk to you about
    22   substances?                                          22   this to run a similar program with your data."
    23       A That's a tough one to answer.                  23           Why would you run a similar program with
    24       Q But is that why the information is here        24   his data?

                                                  Page 299                                                       Page 301
     1   from H.D. Smith as to why -- is that a rational       1        A I wouldn't run it. I wouldn't run the
     2   conclusion to draw from H.D. Smith including that     2   program. He would run the program with his data
     3   as a consideration when deciding whether to shut      3   to look at this -- and H.D. Smith is a competitor
     4   down or restrict a customer?                          4   of KeySource as they are with McKesson and
     5        A I can't --                                     5   Cardinal and AmerisourceBergen. So if -- we'll
     6           MR. TSAI: Object to the form.                 6   talk when he gets back.
     7           THE WITNESS: I'm sorry. I can't speak         7           I don't know -- I mean, you asked me
     8   for H.D. Smith at all. I never worked there. I        8   like nine times about this, and I even said it up
     9   barely managed them. I don't know their model.        9   here, "I don't buy off on it." So I don't
    10   BY MR. LOESER:                                       10   understand how this pertains to business with
    11        Q So you don't know the answer to this:         11   H.D. Smith because I don't know H.D. Smith's
    12   You don't know why you would look at that ratio?     12   model. I said, Let's talk.
    13   That's all I'm asking you, sir, is if you know why   13        Q Okay. You see here in this e-mail from
    14   that ratio is relevant to identifying a customer     14   Kate Muhlenkamp to you that your client KeySource
    15   that should be shut down or severely restricted.     15   is taking over the business of H.D. Smith?
    16   Can you answer that question?                        16        A Yeah.
    17        A I can't.                                      17        Q H.D. Smith sales were going to go to
    18        Q Okay. And if you go to the next item,         18   KeySource; is that right? That's what happened
    19   if the pharmacy was closed door, servicing just      19   here, there was a transition.
    20   physicians, do you know why that would be            20        A Did -- did we sell to H.D. Smith our
    21   something to look at when deciding whether to shut   21   product? I don't know. Did Watson sell their
    22   down or restrict a customer?                         22   product to H.D. Smith? I don't know. Was there a
    23        A Yeah, I do not.                               23   supply shortage, was there a DEA quota shortage?
    24        Q And if you look at the next item, large       24   I don't know any of these things.

   Golkow Litigation Services                                                        Page 76 (298 - 301)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 77 Confidentiality
                                                         of 117. PageID #: 213971
                                                                              Review
                                                       Page 302                                                      Page 304
     1       Q So this says: "Per our conversation,                1   created an account with KeySource.
     2   please find the attached graph showing transition         2        Q So if you go then to the next e-mail in
     3   of oxycodone sales from H.D. Smith to KeySource."         3   that string, it's from you to Mr. Cochrane dated
     4           So you understood that KeySource -- the           4   August 18th, 2008, subject line "Re: Pain
     5   sales that were going to H.D. Smith were being            5   clinics."
     6   transitioned to KeySource. Did you understand             6           You respond to his question: "I do not.
     7   that?                                                     7   I think that they, the Cinci bad boys, buy that
     8       A I don't know if there are sales on                  8   list, but I don't know where they get that from.
     9   oxycodone. There are quite a number of vendors            9   NACDS might be a good place to snoop around."
    10   that manufacture and sell oxycodone. So I don't          10           Who are the Cinci bad boys?
    11   know if H.D. Smith was using our brand or someone        11        A I'm going to assume another wholesaler
    12   else's brand.                                            12   in Cincinnati.
    13       Q And so you don't know if when KeySource            13        Q And do you know who that might be?
    14   took over H.D. Smith's sales, it utilized the same       14        A Masters, I assume. I didn't name them
    15   system that H.D. Smith was using to eliminate or         15   here, but I assume that.
    16   severely restrict any downstream customers?              16        Q And then Mr. Cochrane responds to you in
    17       A That's right.                                      17   his 10:47 p.m. e-mail on August 18th, and he says:
    18           (Borelli Exhibit No. 40 was marked               18   "Stephanie found a good source for pain clinics
    19           for identification.)                             19   online. Got her pumped off now. We're off to the
    20           THE WITNESS: Thank you.                          20   races. Steve."
    21   BY MR. LOESER:                                           21           Do you see that?
    22       Q Mr. Borelli, you're looking at                     22        A I see it.
    23   Exhibit 40, what's been marked Exhibit 40,               23        Q And if you go up further in that
    24   MNK-T1_0000559259. This is an e-mail string, the         24   exchange, you have an e-mail to Mr. Cochrane dated

                                                     Page 303                                                        Page 305
     1   top of which is an e-mail from you to                     1   August 19th, 2008, at 7:56 a m.
     2   Mr. Cochrane, with a subject line "Re: Pain               2        A I see it.
     3   clinics."                                                 3        Q And you write: "Perhaps you may want to
     4           And if you look back, and I'll -- take a          4   position it with us at our meeting that you are
     5   minute to review this, but I'll generally describe        5   putting a team in place to market directly towards
     6   you -- in your August 24th, 2010 exchange, you            6   dispensing physicians, pain management centers,
     7   forwarded to Mr. Cochrane some older e-mail that          7   clinics, et cetera. This would put a bug in the
     8   you had sent him in 2008.                                 8   ear of the marketing team, who doles out products,
     9           And I would like to start with the last           9   to keep additional inventory for you."
    10   page of this exhibit, which is an e-mail from            10           Do you see that?
    11   Mr. Cochrane to you, subject: "Pain clinics,"            11        A I do.
    12   dated August 18th, 2008.                                 12        Q So your customer distributor client
    13           Do you see that?                                 13   KeySource and VP of purchasing, Mr. Cochrane, asks
    14       A I do.                                              14   you for information about how to target pain
    15       Q And in this e-mail Mr. Cochrane writes             15   clinics. And you respond that you don't have a
    16   to you: "Mr. Victor, in the 'doesn't hurt to ask'        16   list, but you think you know where he could get
    17   category, do you have a list of pain clinics; and        17   one. He finds a list, and then you explain -- you
    18   if not, do you know where we can get one cheap,          18   give this helpful advice to him about how he could
    19   read free?"                                              19   position his business approach at your meeting to
    20           Do you see that?                                 20   market specifically to dispensing physicians, pain
    21       A I do.                                              21   management centers, clinics, et cetera. Correct?
    22       Q And this was relatively early in your              22           MR. TSAI: Object to the form.
    23   relationship with Mr. Cochrane, wasn't it?               23           THE WITNESS: You asked a lot of things
    24       A I don't remember when Mallinckrodt                 24   there.

   Golkow Litigation Services                                                            Page 77 (302 - 305)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 78 Confidentiality
                                                         of 117. PageID #: 213972
                                                                              Review
                                                  Page 306                                                  Page 308
     1 BY MR. LOESER:                                          1   powers that be, not me, I don't say yes or no to
     2       Q Well, let me strike that question. I'll         2   this. This is going to be a senior level
     3   start over.                                           3   decision, whether it be John Adams, who would be
     4           You sent this e-mail to Mr. Cochrane on       4   the head of all the sales, or Mike Gunning, God
     5   August 19th, 2008, in which you suggested to him a    5   rest his soul. I don't -- I wouldn't say yea or
     6   way to market directly towards dispensing             6   nay. It's a joint effort, right? It's a joint
     7   physicians, pain management centers and clinics,      7   decision, marketing, senior management,
     8   right?                                                8   management.
     9           MR. TSAI: Object to the form.                 9   BY MR. LOESER:
    10           THE WITNESS: No, I don't believe I did       10       Q So let's be clear here, Mr. Borelli,
    11   that. I'm ask -- I'm highlighting to him if he is    11   your distributor client indicated to you an
    12   thinking about -- you have to give me a second       12   interest in marketing to pain clinics and
    13   here. (Peruses document.)                            13   dispensing physicians, right?
    14           So if he is thinking about putting a         14       A That was a business model they put --
    15   focus and a business model together for this part    15       Q Right.
    16   of the business, to mention it at any NACDS -- the   16       A -- were looking at.
    17   upcoming NACDS meetings. It would -- at the NACDS    17       Q And you made a suggestion to him on how
    18   meetings, senior staff has a marketing team in       18   he could approach that with your marketing team,
    19   place who could understand the business model that   19   right?
    20   they're going forward with. Nothing is -- I          20           MR. TSAI: Object to the form.
    21   didn't say yes or no to any of this.                 21           THE WITNESS: I don't work for
    22   BY MR. LOESER:                                       22   KeySource. I don't know how they're going to put
    23       Q So you didn't say to him, Wait, wait,          23   a model together.
    24   wait, Steve, it would be a terrible idea to market   24   BY MR. LOESER:
                                                  Page 307                                                  Page 309
     1   directly towards dispensing physicians, pain          1       Q Okay. It wasn't news to you because
     2   management centers, clinics. Instead, you             2   Mr. Cochrane told you that he was going to be
     3   indicated that if he did that, it would put a bug     3   targeting pain clinics. Right?
     4   in the ear of the marketing team, and they're         4       A I don't know how far along he got on
     5   responsible for doling out product, to keep           5   targeting pain clinics. I don't think he did. I
     6   additional inventory for you.                         6   don't -- I don't think he ever -- I don't think --
     7           So you're suggesting that if he markets       7   when I say "he," I'm sorry. I don't think they
     8   this way, there -- there would be more inventory      8   ever did. I don't remember.
     9   potentially available to him. Isn't that right?       9       Q After you received the question from him
    10           MR. TSAI: Object to the form.                10   about a list of pain clinics, and I'll read it
    11   BY MR. LOESER:                                       11   again, you responded: "Perhaps you may want to
    12       Q Isn't that what your e-mail actually           12   position it with us at our meeting that you are
    13   said?                                                13   putting a team in place to market directly toward
    14       A What I'm saying --                             14   dispensing physicians, pain management centers,
    15           MR. TSAI: Object to the form. Sorry.         15   clinics, et cetera. This would put a bug in the
    16           THE WITNESS: What I'm saying is if he        16   ear of the marketing team, who doles out product,
    17   wants to put a business model in place to target     17   to keep additional inventory for you."
    18   that part of customer base, that he present it to    18           That is what you wrote, correct?
    19   us at the upcoming meeting.                          19       A That is what I wrote.
    20           Nothing about -- while I say "keeping        20       Q Okay. Now, if we go up to the next
    21   additional inventory for you," he's got -- I mean    21   e-mail, we get forward to August 23rd, 2010, and
    22   he's got to put a team in place -- he -- I'm         22   this is the e-mail where you forwarded to him this
    23   sorry, KeySource has got to put a plan or a model    23   earlier exchange, and you write: "Wow, how times
    24   in place, and then in front of us, and then the      24   have changed. I was digging up the restaurant

   Golkow Litigation Services                                                       Page 78 (306 - 309)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 79 Confidentiality
                                                         of 117. PageID #: 213973
                                                                              Review
                                                 Page 310                                                  Page 312
     1   name that we may go to and I found this string of     1   e-mails you shared before, was also at KeySource.
     2   e-mails. Funny stuff."                                2       Q So, now, what you learned from this
     3          Do you recall why you thought that was         3   e-mail is that Mr. Cochrane is extremely glad he
     4   funny stuff that your client was looking into ways    4   didn't target dispensing physicians and pain
     5   to target pain clinics as downstream customers?       5   clinics, right?
     6          MR. TSAI: Object to the form.                  6       A Right.
     7          Go ahead. Sorry.                               7       Q But you knew you had other customers who
     8          THE WITNESS: I do not.                         8   did in fact target dispensing physicians and pain
     9   BY MR. LOESER:                                        9   clinics, right?
    10       Q Okay. And if you look up Mr. Cochrane's        10       A Yes. That were vetted by DEA -- DEA
    11   response to you, later that evening on               11   agents -- agent in the process.
    12   August 23rd, 2010, was: "Wow, I got the creeps       12           I feel like you are using certain words
    13   reading this. Are you sure this wasn't a Wildman,    13   and certain pieces of articles, and you're not
    14   an Rx-King e-mail exchange? In hindsight, Denny      14   sharing the entire process and sharing the entire
    15   and Dave's trip to DC to visit DEA was a godsend!    15   e-mail. I know you don't have to answer that
    16   Thankfully we never pursued this!!! Steve."          16   because you haven't before. So I don't think
    17          Do you see that?                              17   that's fair at all.
    18       A I do.                                          18           This is a good thing. They didn't open
    19       Q And above that you write: "Tru dat."           19   up and go after that business.
    20   Right?                                               20       Q And other customers of yours did,
    21       A Yes.                                           21   correct?
    22       Q So why do you think Mr. Cochrane got the       22       A Other customers in the marketplace did.
    23   creeps reading this?                                 23       Q Other Mallinckrodt wholesale distributor
    24          MR. TSAI: Object to the form.                 24   customers of yours.
                                                 Page 311                                                  Page 313
     1           THE WITNESS: I mean, he's looking at          1        A You know, the customers you talk about,
     2   something two years later. Who knows the future?      2   we aren't the only ones selling product to them.
     3   I certainly don't. So he was looking to put a         3   You make it sound like we are, but -- and we
     4   business model together, and then he's saying --      4   didn't create these companies. They were buying
     5   way back when, and then he's saying, thank gosh,      5   from somebody else, but there may be -- may have
     6   he didn't.                                            6   been a DEA quota issue for those companies. I
     7   BY MR. LOESER:                                        7   don't know the -- yeah, ten years ago, I don't
     8       Q And why is that? Why -- why thank gosh          8   remember.
     9   he didn't? Why the creeps?                            9        Q Why was it a good thing that
    10       A I can't answer for Steve.                      10   Mr. Cochrane didn't target pain clinics and
    11       Q You have no idea?                              11   dispensing physicians?
    12       A I can't answer for Steve.                      12        A Because he is highlighting that it's
    13       Q You have no idea why he would write,           13   a -- it looks like a messy business.
    14   "Wow, I got the creeps reading this"?                14        Q Do you have any other understanding
    15       A Well, I can't answer for Steve. I'm            15   about what that means? What do you mean "messy
    16   sorry.                                               16   business"?
    17       Q All right. And what's the reference to         17        A It looks like he's saying that's -- that
    18   Wildman and Rx-King, do you know?                    18   he's happy that they didn't pursue that business
    19       A I have no idea. I have no idea.                19   model. "Messy" is my word. Perhaps that's wrong.
    20       Q Do you know what Denny and Dave's trip         20        Q And do you have any understanding of why
    21   to DC to visit DEA was?                              21   he would be happy about that?
    22       A I don't. I'm not -- Denny -- I believe         22        A I said it looks like he -- he's happy
    23   Denny was the president of their organization,       23   they didn't pursue that. "Messy" is my word.
    24   KeySource, God rest his soul. Dave, also from the    24   It's nowhere in here.

   Golkow Litigation Services                                                       Page 79 (310 - 313)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 80 Confidentiality
                                                         of 117. PageID #: 213974
                                                                              Review
                                                  Page 314                                                 Page 316
     1       Q And is the pain clinic and dispensing           1   increasing their use of Mallinckrodt oxycodone
     2   physician business a messy one?                       2   30 mg at a rapid pace. In February of this year,
     3           MR. TSAI: Object to the form.                 3   they provided me with a report on oxy 30 mg for
     4           THE WITNESS: Not if they have -- and          4   39,950 tablets. The same report for the month of
     5   again, I shared this before: DEA license, a           5   July is 119,587 tablets. Can you tell me if this
     6   patient that comes in for pain management products    6   is the correct amount of oxy 30 mg showing up on
     7   for medicinal purposes, that's written by a doctor    7   the chargebacks for him? The name of the store is
     8   with a DEA license. You're talking about my           8   PharmCo with an address in Florida."
     9   customer's customer's customer's customer.            9           Do you see that?
    10   BY MR. LOESER:                                       10        A I do.
    11       Q Sir, I'm talking about the downstream          11        Q And you take that information for
    12   customers of your customers. You have one            12   chargeback information from your client, you send
    13   customer here telling you that he's sure glad he     13   that to Kate Muhlenkamp, and you ask her: "Can
    14   didn't target pain clinics and dispensing            14   you pull up the DEA number FP0784872 to see if
    15   physicians, and at the other -- you have other       15   they pull our oxy 30 mg from anyone else than
    16   customers who did in fact target pain clinics and    16   KMI?"
    17   dispensing physicians.                               17           That's KeySource, right?
    18           And I'm asking you why do you think it       18        A Yes.
    19   was a good idea for KeySource not to target pain     19        Q "And what has their usage been for the
    20   clinics and dispensing physicians?                   20   past 12 months?"
    21       A He's saying that.                              21        A Yes.
    22       Q What is your understanding? Why do you         22        Q So you go into -- you ask Kate to go
    23   think it's a good idea?                              23   into the chargeback system and provide you
    24       A It's not a model that they wanted to get       24   information to respond to a client inquiry; is
                                                  Page 315                                                 Page 317
     1   into.                                                 1   that right?
     2       Q Because it's prone to diversion? Is             2        A Yes.
     3   that your understanding?                              3        Q And then you forward that back to
     4           MR. TSAI: Object to the form.                 4   Mr. Hoffman on September 29th, 2010, and you
     5           THE WITNESS: I -- I've not said once          5   write: "Dave, sorry about the long delay on this.
     6   that a dispensing physician is prone for              6   I think this is what you wanted to review, this
     7   diversion. I don't know that to be accurate           7   information. Let's talk. P.S.," and you write,
     8   because they've got a DEA license. And they're        8   "Shhhhhhhhhhhhhhhhhhhhhhhhhhhhhhh."
     9   delivering and dispensing products to patients        9           What's the P.S. about?
    10   that have a prescription in their hand from a        10        A I have no idea.
    11   doctor with a DEA license.                           11        Q And why would you want him to keep quiet
    12           (Borelli Exhibit No. 41 was marked           12   about information you're providing to him from
    13           for identification.)                         13   Mallinckrodt's chargeback system?
    14           THE WITNESS: Thank you.                      14        A I have no idea.
    15   BY MR. LOESER:                                       15           (Borelli Exhibit No. 42 was marked
    16       Q I'm showing you what's been marked             16           for identification.)
    17   Exhibit 41, which is an e-mail string. The first     17           THE WITNESS: Thank you.
    18   page from you to Dave Hoffman, with a cc to Steve    18   BY MR. LOESER:
    19   Cochrane, dated September 29th, 2010.                19        Q I'm showing you what's been marked
    20           And if you go back to the beginning of       20   Exhibit 42, which is an e-mail dated January 10th,
    21   the string in the e-mail from Dave Hoffman to you    21   2011, from you to Steve Cochrane. The subject
    22   on September 3rd, 2010, the subject is "Chargeback   22   line is "Re: KMI business review."
    23   quantity of oxycodone 30," Hoffman writes to you:    23           And if you look at the bottom of the
    24   "Vic, I have an account in Florida that is           24   first page, there's an e-mail from you January 7,

   Golkow Litigation Services                                                       Page 80 (314 - 317)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 81 Confidentiality
                                                         of 117. PageID #: 213975
                                                                              Review
                                                  Page 318                                                  Page 320
     1   2011, to Michael Gunning, with a cc to Jane           1   and they're up 216 percent -- so they buy all of
     2   Williams.                                             2   our products. They share a lot of information and
     3           Who is Michael Gunning?                       3   they took on a new item. So I call that a true
     4       A Mike -- Michael Gunning was the senior          4   partner.
     5   vice -- I don't remember Mike's title, I'm sorry.     5       Q And -- and among the products they
     6   But I believe he was the senior vice president of     6   bought from you was skyrocketing purchases of
     7   sales and marketing.                                  7   oxycodone, right?
     8       Q For Mallinckrodt?                               8       A That is one.
     9       A I'm sorry. Yes, for Mallinckrodt.               9       Q Okay. You don't describe the other
    10       Q And you write Mike this message on             10   products that they're purchasing from you as
    11   January 7th, 2000 -- sorry -- January 7th, 2011,     11   skyrocketing, right?
    12   and you state: "Please find the business review      12       A Well, I highlight that we're up 200 --
    13   I'm going to present to KMI next week. The sales     13   excluding oxycodone, we're up 216 percent. I
    14   data is year over year," parentheses, "CY2009        14   could have written "skyrocketing" there as well.
    15   versus CY2010," close parentheses. "I know that      15   I'm highlighting all --
    16   we talk about their skyrocketing oxycodone sales,    16       Q But you didn't do that, right?
    17   and, yes, while their volume has grown well over     17       A You asked the question.
    18   year over year in the oxycodone family, i.e., 424    18       Q You just wrote "skyrocketing" about
    19   percent, their year over year sales on all their     19   oxycodone?
    20   families, excluding oxycodone, is up plus 216        20       A Wait, you asked the question.
    21   percent.                                             21          So I'm highlighting and giving some
    22           "In addition to our growing our same         22   background to Mike about the -- about this
    23   item sales on every single family year over year,    23   organization and buying every molecule from us.
    24   we are also able to add our only missing family,     24       Q They were a great customer.
                                                  Page 319                                                  Page 321
     1   naltrexone, to our portfolio as well as gain          1       A Scheduled and not scheduled. They share
     2   distribution on our fentanyl lozenge during the       2   a world of information on price points. They
     3   introductory rollout time frame."                     3   share a world of information about competitors.
     4          Do you see that?                               4   So that's a true partner. There's a lot of things
     5          So you're noting --                            5   that go into that. Not just --
     6       A I do.                                           6       Q What information did they share about
     7       Q -- skyrocketing -- you described them as        7   competitors?
     8   skyrocketing oxycodone sales; is that right?          8       A You're talking ten years ago. But if
     9          Those are the words that you use?              9   they're having a new launch on a molecule. If --
    10       A I see it.                                      10   if Watson is coming out with atenolol, that's very
    11       Q Right. You see where you wrote that            11   important for us to know. If Aurobindo is coming
    12   "KeySource's oxycodone sales are skyrocketing"?      12   out with metformin, it's very, very important for
    13       A I see it.                                      13   us to know these things so we know that they're
    14       Q Okay. And then at the bottom of your           14   going to go after some of our accounts. That's --
    15   e-mail, you note: "If there was ever a true          15   you know, not every account -- not every customer
    16   partner of ours in the industry, it's KeySource      16   does that.
    17   Medical."                                            17       Q Did Mr. Cochrane share information with
    18          Why do you say that?                          18   you about other opioid manufacturers?
    19       A KeySource Medical supplied us with a lot       19       A I believe so.
    20   of price points in the marketplace, a lot of         20       Q Which ones?
    21   competitive information, had a full and robust       21       A Well, I mentioned that Watson on
    22   portfolio of our products from us. So our            22   atenolol. It could be Watson on their molecules.
    23   distribution -- all of our items, not just our       23   It could be KVK Tech. It could be -- I don't
    24   oxycodone -- I think I highlight that, exclude oxy   24   remember the specifics, but I'm sure he shared all

   Golkow Litigation Services                                                       Page 81 (318 - 321)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 82 Confidentiality
                                                         of 117. PageID #: 213976
                                                                              Review
                                                      Page 322                                                      Page 324
     1   items all the time.                                      1       Q Okay. A little tip on the report that
     2        Q And how did Mallinckrodt use that                 2   he was going to get later?
     3   information?                                             3       A I assume so.
     4        A I would pass it along to the sales as             4       Q Okay. Did anyone at Mallinckrodt ever
     5   well as the marketing team so they knew what             5   complain to you about your forwarding Mallinckrodt
     6   competitors are coming out with what items or            6   e-mails to Mr. Cochrane?
     7   price points that are on the market. These are           7       A Not -- not that I remember.
     8   all important things for business.                       8       Q Move up the chain, January 9th, 2011,
     9        Q So among the other information about              9   7:30 p.m., Mr. Cochrane e-mails you in response to
    10   Mallinckrodt's competitors that you were getting        10   your "Who loves you, baby" e-mail: "Thanks, bro.
    11   from Mr. Cochrane was pricing information about         11   Couldn't have done it without you. On my flight
    12   competitor products?                                    12   to Cincy right now. Land in about 30 minutes.
    13        A Sometimes.                                       13   Internet, First Class, unlimited beverages. Only
    14        Q If we move up the string, you forward            14   thing missing is being able to stare at Jane's
    15   your message to Mike Gunning to Mr. Cochrane. So,       15   rack the entire flight. Guess you got me beat."
    16   again, this is another example of you forwarding        16          Do you see that?
    17   an internal Mallinckrodt e-mail to your customer,       17       A I do.
    18   Mr. Cochrane, right?                                    18       Q And what does he mean by he couldn't
    19        A Okay.                                            19   have done it with you?
    20        Q And what you write to Mr. Cochrane on            20       A Well, it's a real business. You've got
    21   January 7th, 2011, is: "Who loves ya baby?              21   to have a salesperson that's making sure there's
    22   Trying to give you some good press with the big         22   inventory, making sure there's supply, making sure
    23   man. These are the numbers we'll be talking to          23   that they're priced properly in the market to be
    24   so look / act surprised. Thanks again for               24   able to compete. I don't know if all the sales

                                                    Page 323                                                      Page 325
     1   everything and I hope you have a great weekend."         1   managers -- I can't speak for them all, but I
     2           Who's the big man that you're referring          2   don't know if all sales managers in the industry
     3   to in this e-mail?                                       3   do that.
     4       A I'm going to assume it's Mike -- Michael           4       Q So you and Mr. Cochrane worked well
     5   Gunning.                                                 5   together, and based upon the tenor and content of
     6       Q Okay. So you're sharing with your                  6   these e-mails, it looks like he was very
     7   customer the sales report summary that you gave to       7   appreciative of what you did for him.
     8   your -- your boss.                                       8          MR. TSAI: Object to the form.
     9       A I'm sharing with the customer what I               9          THE WITNESS: I guess so.
    10   showed Mike, but I would be sharing with the            10   BY MR. LOESER:
    11   customer a week later, because I'm going to be          11       Q Okay. And the particular part of his
    12   doing a year-over-year review.                          12   business that you noted was skyrocketing here
    13       Q And when you tell him to look, act                13   again was the oxycodone part.
    14   surprised, is that because you probably shouldn't       14       A I highlighted two parts of the business.
    15   be sending this information to him?                     15   "Excluding oxycodone is up 216 percent," that's
    16           MR. TSAI: Object to the form.                   16   quite well -- that's quite a big number as well.
    17           THE WITNESS: No, I don't see -- what?           17   I highlighted oxy specifically and called it out,
    18   What do you mean?                                       18   and his business is up overall quite well on all
    19   BY MR. LOESER:                                          19   items.
    20       Q Well, why would he need to look or act            20       Q Do you have any idea how much money
    21   surprised?                                              21   KeySource Medical made selling Mallinckrodt's
    22       A Not because I'm -- I would be showing it          22   oxycodone?
    23   to him a week later, so I -- I'm just giving him        23          MR. TSAI: Object to the form.
    24   some insight on what we're going to review.             24          THE WITNESS: I didn't work at

   Golkow Litigation Services                                                           Page 82 (322 - 325)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 83 Confidentiality
                                                         of 117. PageID #: 213977
                                                                              Review
                                                      Page 326                                                     Page 328
     1   KeySource. I have no idea.                               1   on it.
     2   BY MR. LOESER:                                           2       Q And is it your understanding that
     3        Q Do you have any idea how much money               3   MastersRx.com was able to sell Mallinckrodt oxy 30
     4   Mallinckrodt made selling oxycodone to KeySource?        4   online?
     5        A No, not really.                                   5           MR. TSAI: Object to the form.
     6        Q Now, who's the Jane that you're                   6           THE WITNESS: I don't know -- online,
     7   discussing in your e-mail to Mr. Cochrane?               7   I'm not -- I don't know what -- they're
     8           MR. TSAI: Object to the form.                    8   highlighting product. So I don't understand what
     9           THE WITNESS: Jane Williams.                      9   you mean by online.
    10   BY MR. LOESER:                                          10   BY MR. LOESER:
    11        Q And what was her position?                       11       Q Okay. And you don't know why
    12        A Vice president of sales.                         12   Mr. Cochrane would be asking you to keep this
    13        Q Was she your boss?                               13   information on the down low.
    14        A She was.                                         14       A Not on the down low, but this is part of
    15           (Borelli Exhibit No. 43 was marked              15   what I talked about before about competitive
    16           for identification.)                            16   information. This looks like a web page. I don't
    17   BY MR. LOESER:                                          17   know exactly, but it looks like a competitor of
    18        Q I'm handing you what's been marked               18   theirs web page or an item that has a price on it.
    19   Exhibit 43. It's Bates No. MNK-T1_0000559925.           19           (Borelli Exhibit No. 44 was marked
    20   It's an e-mail from you, strangely enough, to           20           for identification.)
    21   yourself. Subject line "Oxycodone 30 milligram,"        21   BY MR. LOESER:
    22   Masters Mallinckrodt."                                  22       Q You've been handed Exhibit 44, which is
    23           Is that what's in front of you, sir?            23   an article from WCPO Cincinnati, and it's called
    24        A Yes.                                             24   "Analysis: Meet the opioid wholesalers who became

                                                     Page 327                                                    Page 329
     1        Q And if you look down, it's another                1   middlemen for the heroin epidemic."
     2   e-mail from Mr. Cochrane to you dated January 25,        2           Do you see that?
     3   2011. Subject "Oxycodone 30 milligram," Masters          3       A I do.
     4   Mallinckrodt."                                           4       Q And do you know if you've -- have you
     5            And he writes: "VB, call me about this          5   seen this article before?
     6   one when you have a minute -- when you have a            6       A It doesn't look familiar. But --
     7   minute. Ssshhhhhhhh, keep it on the down low.            7   regarding articles today, I probably receive 40
     8   Thank you, Steve." And attached to that e-mail           8   articles a day of different clippings of different
     9   is -- it looks like a purchase order.                    9   Fierce Farmers, Drugstore News, drug topics, AA --
    10            Can you explain why this was sent to you       10   AAM information, wholesaler information. Back
    11   and why he wants you to keep it on the down low?        11   then I may have been receiving just as many, so if
    12        A I don't believe this is a purchase               12   I did receive this, okay. I don't remember
    13   order.                                                  13   receiving it, but I receive a lot.
    14        Q What is this?                                    14       Q Okay. Well, let's --
    15        A It's -- this looks like a website page           15           MR. TSAI: Can I have a standing
    16   that -- a MastersRx.com website page that's             16   objection to this exhibit and all the questions?
    17   highlighting a shipment process as well as a price      17           MR. LOESER: Sure.
    18   on a molecule.                                          18   BY MR. LOESER:
    19        Q Okay. Does this appear to be the                 19       Q Let's turn to the -- go in to the
    20   receipt of an online order of oxycodone                 20   seventh page. There's some information -- this is
    21   manufactured by Mallinckrodt?                           21   an article about wholesalers, which Mallinckrodt's
    22        A I don't think so. I don't -- I think             22   customers were wholesalers, and there's a
    23   it -- I think it's what I said before. I think          23   discussion of -- in this article, a couple of the
    24   it's a snapshot of a website page with a product        24   Ohio-based wholesalers that were Mallinckrodt

   Golkow Litigation Services                                                           Page 83 (326 - 329)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 84 Confidentiality
                                                         of 117. PageID #: 213978
                                                                              Review
                                                      Page 330                                                      Page 332
     1   customers and your customer, one is Masters and            1   BY MR. LOESER:
     2   the other is KeySource, and I want to ask you some         2       Q Sir, I'm asking you about the language
     3   questions about the information in here to see             3   in this article. Were you aware that KeySource
     4   if --                                                      4   specialized in generic hydrocodone and oxycodone
     5        A Okay.                                               5   when KeySource was your customer?
     6        Q -- it's consistent with your                        6       A Specializing in that, no. They've
     7   understanding from when they were your customer.           7   had -- they have seven or 800 molecules in their
     8        A Where does it show the page?                        8   warehouse all the time. So was I aware of these
     9        Q You just have to flip in seven pages or             9   two of the 800 molecules? No. No.
    10   you flip in one, two, three, and it will be the           10       Q And were you aware that KeySource became
    11   fourth page. There you go.                                11   one of the top wholesalers of pain pills to
    12        A Okay.                                              12   Florida pharmacies at the time that KeySource was
    13        Q So if you see there's a heading in the             13   your customer?
    14   middle of the page, "Still selling even as DEA            14       A No.
    15   investigates." And if you go down three                   15       Q And if you move down, the article
    16   paragraphs, it states: "KeySource Medical is a            16   states: "In a two-year period, KeySource sold
    17   relatively" -- I'm sorry, "relatively small               17   more than 59 million doses of oxycodone to
    18   independent drug supplier operating out of just           18   customers in 40 states, the DEA said. The vast
    19   one facility in Blue Ash."                                19   majority of that, 78 percent was sold to
    20          Were you aware of that when KeySource              20   pharmacies in Florida, which was known as a haven
    21   was your customer?                                        21   for pill mills, the DEA said."
    22        A That they operated in Blue Ash?                    22           At the time KeySource was your customer,
    23        Q Correct.                                           23   were you aware that KeySource sold more than 59
    24        A I thought it was Cincinnati.                       24   million doses of oxycodone to customers in 40

                                                        Page 331                                                  Page 333
     1        Q Okay. Ohio, nonetheless?                            1   states?
     2        A Yes.                                                2           MR. TSAI: Object to the form.
     3        Q And you knew they were a small                      3           THE WITNESS: I don't know how many
     4   independent drug supplier, correct?                        4   doses they sold, and when they sell the product,
     5        A Yes.                                                5   whether it be atenolol, lisinopril or hydrocodone,
     6        Q And moving to the next paragraph, it                6   I don't know where they ship it to.
     7   says: "KeySource specialized in generic                    7   BY MR. LOESER:
     8   hydrocodone and oxycodone, which the DEA calls the         8       Q Okay. And were you aware that 78
     9   most widely abused pills in the country. Although          9   percent of the oxycodone that KeySource purchased
    10   it is a relatively small supplier, KeySource              10   was sold to pharmacies in Florida?
    11   became one of the top wholesalers of pain pills to        11           MR. TSAI: Object to the form.
    12   Florida pharmacies, the DEA said."                        12           THE WITNESS: No, I wasn't.
    13            Is that something that you were aware of         13   BY MR. LOESER:
    14   during the time that you worked for Mallinckrodt?         14       Q And were you -- was Mallinckrodt
    15        A I don't know this article. So --                   15   KeySource's sole supplier of oxycodone?
    16        Q But do you know this -- these facts,               16       A I don't believe so.
    17   based on KeySource being a customer that you              17       Q Okay. Who do you think the other
    18   worked very closely with and a customer that              18   suppliers were?
    19   indicated that it couldn't have done it without           19       A I'm not sure. Actavis, Watson, KVK
    20   you?                                                      20   Tech. I'm not sure, but I don't believe we were
    21            MR. TSAI: Object to the form.                    21   the sole supplier.
    22            THE WITNESS: You're referencing a note           22       Q Moving in the article, it says: "Some
    23   that he sent me about a business review on all of         23   of those pills made their way back to Ohio and
    24   our products.                                             24   Kentucky via what DEA officials call the Florida

   Golkow Litigation Services                                                             Page 84 (330 - 333)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 85 Confidentiality
                                                         of 117. PageID #: 213979
                                                                              Review
                                                      Page 334                                                    Page 336
     1   pipeline or the OxyContin Express. Drugs                 1        Q So you had access to information showing
     2   traffickers would hire people to drive to pill           2   that clients were sending most of their pills to
     3   mills in Florida every two weeks or so, buy              3   Florida, right?
     4   oxycodone for $40 a bottle, drive it back to Ohio        4           MR. TSAI: Object to the form.
     5   or Kentucky, and sell it on the black market for         5           THE WITNESS: Not direct access.
     6   $1500 a bottle, according to a DEA narrative."           6   BY MR. LOESER:
     7           Is that something that you were aware of         7        Q Okay. But access if you wanted it.
     8   from the articles and other information that we          8        A Not direct access.
     9   went through earlier at the time that KeySource          9        Q Okay. Sir, did you have any access at
    10   was your customer?                                      10   all?
    11           MR. TSAI: Object to the form.                   11        A I had to go to the chargeback department
    12           THE WITNESS: No, I don't know any of            12   or marketing department or somebody else to get
    13   these specifics at all.                                 13   that information.
    14   BY MR. LOESER:                                          14        Q Okay. And from all of the articles we
    15       Q Is that something you ever investigated           15   looked at, it's your recollection as you sit here
    16   or looked into when KeySource was your customer?        16   today that you were not aware that pills were
    17       A Looked into what, if they -- looked into          17   migrating out of Florida from pain clinics and
    18   what?                                                   18   dispensing physicians? Is that new information to
    19       Q Looked into Mallinckrodt pills sold by            19   you?
    20   your customer to Florida pharmacies leaving             20        A I shared with you a moment ago, I have
    21   Florida and traveling to other states such as Ohio      21   no idea what a patient does once they bring a
    22   and Kentucky.                                           22   prescription into a pharmacy and receive their
    23       A I don't know how I could do that. I               23   medicine, prescribed. What they do with it, how
    24   don't know how I could, one, know where they ship       24   would I possibly know that?
                                                    Page 335                                                        Page 337
     1   it to. Two is how it gets dispensed to a patient,        1        Q And, Mr. Borelli, I'm not asking you
     2   and then what that patient -- you're asking me to        2   about any specific patient. I'm asking you
     3   know what the patient does with it?                      3   whether you were aware -- you were aware of the
     4        Q No, sir. You absolutely can know where            4   phenomenon of people coming from out of state into
     5   your wholesale distributor customers ship their          5   Florida and leaving the state with oxycodone
     6   product, right? We went through reams of                 6   distributed by Florida pain clinics. Was that a
     7   materials showing that that information is in the        7   phenomenon you were aware of when you worked at
     8   chargeback system. Right?                                8   Mallinckrodt?
     9        A Which is something that I was not                 9        A I heard about it. I think we -- you
    10   involved with, the chargeback data.                     10   shared articles about it that were sent to me,
    11        Q I'm asking you as you investigated this.         11   so --
    12   So did you look into, for example, in any detail        12        Q Moving further in this article, it
    13   where your customers shipped their product?             13   notes: "In 2011, the DEA raided KeySource Blue
    14        A At times, yes.                                   14   Ash office and ceased sales records, e-mails and
    15        Q And so did you look into whether product         15   letters. It suspended the company's license to
    16   that your customers shipped to Florida was being        16   sell narcotics," quote, "to stop KMA -- KMI from
    17   diverted and driven to other states?                    17   adding any more fuel to the flame of what is an
    18        A You asked two questions there. So there          18   imminent and serious public health problem,"
    19   were chargeback -- there was chargeback data            19   period, end quote. "KeySource was," quote,
    20   regarding Florida sales throughout the pages you        20   "sending tens of millions of pills of oxycodone
    21   supplied. But I have no idea how that product is        21   into Florida, the national epicenter of the pill
    22   used by that patient. Driven on the Florida             22   problem, a DEA investigator said in court
    23   pipeline, bought for $40, sold for $1500, no -- no      23   documents."
    24   idea.                                                   24           Now, do you recall when the DEA shut

   Golkow Litigation Services                                                           Page 85 (334 - 337)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 86 Confidentiality
                                                         of 117. PageID #: 213980
                                                                              Review
                                                       Page 338                                                       Page 340
     1   down KeySource?                                            1   MNK-T1_0000565624. And the top of the string is
     2       A I do not.                                            2   an e-mail from John Adams to you dated 11/13/2008.
     3       Q Did you read any information at the                  3           Is that what's in front of you, sir?
     4   time -- were you curious to know why that                  4        A It is.
     5   happened?                                                  5        Q And if you go to the second page of that
     6       A What?                                                6   exhibit, there's an e-mail from you to Kate
     7       Q Why the DEA shut down KeySource.                     7   Muhlenkamp and Rebecca Coyner with the subject
     8       A Of course.                                           8   "Oxy 15 mg and oxy 30 mg." Do you see that?
     9       Q And what steps did you take when you                 9        A I do.
    10   learned that to figure out what happened to all of        10        Q And that's dated November 12th, 2008.
    11   the oxycodone that you sold KeySource that was            11   And in your e-mail you write: "Help. Both
    12   shipped to Florida?                                       12   Sunrise Wholesalers and Masters Pharmaceuticals
    13          MR. TSAI: Object to the form.                      13   are out of both our oxy 15 mg and oxy 30 mg and
    14          THE WITNESS: I can't remember what I               14   have orders in the house on back order. Sunrise
    15   did back then.                                            15   has both PO 259 and 261 on back order" --
    16          MR. TSAI: It's been another interval.              16           Do you know what PO 259 and 261 were?
    17   An okay time to take a break?                             17        A No.
    18          MR. LOESER: What is the time remaining?            18        Q -- "and are bone dry on all products
    19          THE VIDEOGRAPHER: 6:14 runtime, so 46              19   listed on both POs. We have displaced all
    20   minutes left.                                             20   competitors at this account, and they are relying
    21          MR. LOESER: Sure. If it could be a                 21   on our supply to cover their demand. If we don't
    22   short one, I would appreciate it.                         22   ship, they can't sell anything."
    23          THE VIDEOGRAPHER: The time is 5:08 p m.            23           Do you see that?
    24   We're going off the record.                               24        A I do.

                                                        Page 339                                                      Page 341
     1          (Recess.)                                           1       Q So as of this date, November 12th, 2008,
     2          THE VIDEOGRAPHER: The time is 5:19 p m.             2   you were Sunrise's sole supplier of oxy 15 and 30?
     3   We're back on the record.                                  3       A It reads that way.
     4   BY MR. LOESER:                                             4       Q So when we look at statistics for the
     5        Q Mr. Borelli, do you know what a pill                5   percentage of oxy sold by Sunrise in Florida
     6   mill is?                                                   6   during this time frame, all of that oxy would have
     7        A I've heard of the term, but I don't know            7   been oxy manufactured by Mallinckrodt and provided
     8   what it is.                                                8   to Sunrise, correct?
     9        Q And do you have any understanding of how            9       A At this time, yes.
    10   pill mills contributed to the opioid epidemic?            10           And that's a business model they have or
    11        A Again, I've heard the term. So a                   11   customers have to go with one vendor or go with
    12   pharmacy, I'm going to guess, but no.                     12   multiple.
    13        Q You didn't receive any training when you           13       Q And if you are the sole supplier of oxy
    14   were at Mallinckrodt on what a pill mill was?             14   to your customer, you know what your customer does
    15        A On what a pill mill looks like or was?             15   with all of the oxy that it ships, correct?
    16        Q On what -- what it does. How to                    16       A If we displaced a competitor, we would
    17   identify one.                                             17   be filling the POs for our customer. What they --
    18        A I don't believe so. I don't remember,              18   you just asked the question of if -- would I know
    19   but --                                                    19   what they do with the product. I do not.
    20          (Borelli Exhibit No. 45 was marked                 20       Q No, sir, I asked you if you are the sole
    21          for identification.)                               21   supplier of oxy to your customer, do you know what
    22   BY MR. LOESER:                                            22   your customer does with all of the oxy that it
    23        Q I'm showing you what's been marked                 23   ships. And by "you," I mean Mallinckrodt has the
    24   Exhibit 45, which is an e-mail string.                    24   information. If Mallinckrodt is the sole supplier

   Golkow Litigation Services                                                             Page 86 (338 - 341)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 87 Confidentiality
                                                         of 117. PageID #: 213981
                                                                              Review
                                                     Page 342                                                   Page 344
     1   of oxy to Sunrise, then Mallinckrodt can look in          1   Muhlenkamp, with a cc to John Adams, and you are
     2   its chargeback system and see what Sunrise does           2   explaining your customer Sunrise and you note:
     3   with that oxy, and therefore know what Sunrise            3   "Just a quick FYI regarding Sunrise. As you know,
     4   does with any oxy that it sells, correct?                 4   they have been growing in sales each and every
     5           MR. TSAI: Object to the form.                     5   month, and when I was visiting them this week,
     6           THE WITNESS: That's a -- that's a long            6   they introduced me to their new sales manager.
     7   process, right. The -- to know where they ship it         7   He's -- he was Anda's number one salesman and
     8   is -- via the chargeback system which -- gosh,            8   brings a wealth of knowledge and systems to
     9   that could be a -- it could be a month or two             9   Sunrise. This salesman is extremely tied into the
    10   months, maybe three months' timeline.                    10   Florida market and has been the cause of most of
    11   BY MR. LOESER:                                           11   the growth, new customers, contacts, et cetera."
    12        Q And Mallinckrodt has that information in          12           Do you see that?
    13   its chargeback system, correct?                          13       A I do.
    14        A I believe so.                                     14       Q And this is the sales -- same salesman
    15           (Borelli Exhibit No. 46 was marked               15   that you're referring to in the prior e-mail that
    16           for identification.)                             16   I read, right?
    17   BY MR. LOESER:                                           17       A I believe so.
    18        Q Now you're looking at what's been marked          18       Q And this is the salesman that is
    19   Exhibit 46. This is an e-mail from you to John           19   bringing on new pain management clinics and more
    20   Adams dated 11/14/2008. And the subject line is          20   dispensing physicians for Sunrise, correct?
    21   "Re: Oxy 15 mg and 30 mg at Sunrise."                    21       A He is bringing on new states, pharmacies
    22           Do you see that?                                 22   as well.
    23        A I do.                                             23       Q And you mention a story, a good story
    24        Q And if you move down to the middle of             24   about what happened during your meeting. Do you
                                                       Page 343                                                 Page 345
     1   that page, there is an e-mail from you to John            1 recall what that was?
     2   Adams, November 14th, 2008, 3:19 p.m., part of the        2        A I do not. Sorry.
     3   same string.                                              3           (Borelli Exhibit No. 47 was marked
     4           And you write about Sunrise: "Got it.             4           for identification.)
     5   It may not be a large jump, but it will be steady.        5           THE WITNESS: You know -- well, go
     6   I met the new salesman, and he was the number one         6   ahead. I'm sorry.
     7   salesman for Anda. Fast talker. Has systems in            7   BY MR. LOESER:
     8   place and knows how to do his job. I'll tell you          8        Q You are looking at what's been marked
     9   a good story about what happened during our               9   Exhibit 46 --
    10   meetings this week when we get together. He is           10           THE REPORTER: 47.
    11   bringing on new pain management clinics, more            11   BY MR. LOESER:
    12   dispensing physicians, and even some pharmacies          12        Q I'm sorry, 47. And this is an e-mail
    13   since starting at Sunrise six weeks ago. He is           13   string, the top of which is an e-mail from you to
    14   spearheading the new sales team and some new             14   John Adams dated 11/14/2008. And again it's "Oxy
    15   states as well."                                         15   15 mg and 30 mg at Sunrise."
    16           Do you see that?                                 16        A It's from what? Can you say that again?
    17       A I do.                                              17   It's from --
    18       Q And so you knew about Sunrise as of                18        Q The subject line. It's from you to John
    19   November 14th, 2008, that Sunrise was bringing on        19   Adams. Do you see that?
    20   new pain management clinics and more dispensing          20        A It's from -- I'm sorry. It's from Sara
    21   physicians, right?                                       21   Heideman to Kate Neely. Am I -- thank you.
    22       A That's what I wrote.                               22        Q You're correct, Mr. Borelli. This is an
    23       Q And if you turn the page, at the bottom            23   e-mail from Sara Heideman to Kate Muhlenkamp, with
    24   of the page there is an e-mail from you to Kate          24   a cc to you. And if you look down that e-mail,

   Golkow Litigation Services                                                           Page 87 (342 - 345)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 88 Confidentiality
                                                         of 117. PageID #: 213982
                                                                              Review
                                                  Page 346                                                  Page 348
     1   there's an e-mail from you to Kate Muhlenkamp         1   Ethex, and we took over that position as primary
     2   dated February 23rd, 2009.                            2   from those two vendors.
     3           Do you see that?                              3        Q And as you say, they're relying on you
     4       A I do.                                           4   for their products, and they were specializing in
     5       Q And you write: "On a separate note, I           5   pain management products at both the dispensing
     6   need your help on something. I know we are hand       6   physician and pain management clinic business,
     7   to mouth on oxy 15 and 30 mg SKUs, but I am           7   correct? That's the information contained in this
     8   putting Sunrise Wholesale in a tough position.        8   e-mail.
     9   They used to buy their product from Masters (both     9           And I take it that Mallinckrodt --
    10   Actavis and Ethex) because we don't allow a          10   Mallinckrodt did try and help Sunrise by shipping
    11   distributor to ship to a distributor. Then we        11   all the product that it had available to ship to
    12   opened them up directly, so they were pulling 90     12   them.
    13   percent of their business directly from us on the    13        A I don't know that. Does it say that,
    14   15 and 30 mg, with some backup from Ethex (again     14   that we shipped this?
    15   via Masters). In the meantime, both Actavis and      15        Q Well, it was your customer, sir. Did
    16   Ethex are out of the market, and we are hand to      16   you stop shipping oxy 15 and 30 to -- to Sunrise?
    17   mouth. We are 80 percent of their total business.    17        A I don't know every --
    18   They specialize on pain management products at       18        Q In 2009?
    19   both dispensing physicians and pain clinic           19        A I don't know every PO. I don't know
    20   business, so we are truly their only avenue of       20   every order that my customers placed from nine
    21   resource. They are a small business and need our     21   years ago. So I don't know if we shipped this. I
    22   help."                                               22   don't know if we shipped this in full. I don't
    23           Is that -- did I read that accurately?       23   know.
    24       A You did.                                       24        Q Okay. And what I'm asking about, sir,
                                                  Page 347                                                  Page 349
     1        Q And from this, it's clear that you know        1   is your knowledge of who their downstream
     2   that Sunrise is specializing on pain management       2   customers were, and according to this e-mail, you
     3   products at both dispensing physician and pain        3   knew quite well that their downstream customers
     4   clinic businesses; is that correct?                   4   were -- their specialization was on pain
     5        A That is correct.                               5   management products at both dispensing physicians
     6        Q And you implore Mallinkrop --                  6   and pain clinics.
     7   Mallinckrodt to help Sunrise because it's a small     7           And you were clear about that, right?
     8   business, and as you state, they need your help;      8       A That was their business model. That's
     9   is that right?                                        9   who Louis Fisher vetted -- the DEA agent vetted to
    10        A I think I implore them because the            10   be proper customers for them. That would be a
    11   customer put all of their eggs in one basket, us.    11   customer's customer from me, and I wouldn't know
    12        Q Not all their eggs, sir, but their eggs       12   that.
    13   for oxy 15 and 30, correct?                          13       Q Though, of course, Mallinckrodt had
    14        A On those two, they discontinued, and          14   access to that information, right?
    15   those two cust- -- those two -- those two            15       A Chargebacks.
    16   companies, Actavis and Ethex, were competitors.      16           (Borelli Exhibit No. 48 was marked
    17   So they were pulling from -- they were using those   17           for identification.)
    18   as their resource, and they moved to us. And I       18   BY MR. LOESER:
    19   shared before that part of my job is to manage       19       Q I'm showing you what's been marked
    20   back orders, handle customer service or supply       20   Exhibit 48. This is an e-mail string between you
    21   issues, and inventory is critical.                   21   and Mr. Gunning dated July 9th, 2009. Subject
    22        Q And so when --                                22   line is "Re: Sunrise follow-up."
    23        A So we didn't create this business. They       23           And if you go down to the second e-mail
    24   were buying it, it looks like, from Actavis and      24   on the page, Mr. Adams writes to you: "I wanted

   Golkow Litigation Services                                                       Page 88 (346 - 349)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 89 Confidentiality
                                                         of 117. PageID #: 213983
                                                                              Review
                                                  Page 350                                                          Page 352
     1   to follow up on the meeting with Karen Harper,        1   discussion that starts with the last e-mail in the
     2   Bill Ratliff and others regarding the potential       2   string, which is from you to Kate Muhlenkamp, the
     3   issues for oxy 30. The initial tenor of the call      3   subject is "Oxy monthly usage."
     4   relative to suspicion and due diligence of Sunrise    4           Do you see that?
     5   Wholesale was quickly diffused by your initiative,    5       A I do. I'm going to read the entire
     6   and I want to thank you. The information was          6   e-mail. You're picking and choosing pieces of
     7   vital, and the presentation of it was fantastic,      7   e-mails, so I'm going to read this e-mail if you
     8   not defensive or emotional, which could be            8   don't mind.
     9   possible given the dollars at stake."                 9       Q Sure.
    10           If we move down to the third paragraph,      10       A So I can understand the context a little
    11   he writes: "Second, you had information at your      11   better than pieces.
    12   fingertips and even referenced that you had          12           (Peruses document.) Okay.
    13   reports run two months ago to isolate what           13       Q Mr. Borelli, if you go to the second to
    14   customers Sunrise was selling to and the volumes."   14   last page, you'll see an e-mail from you to Kate
    15           So, sir, as of this date, July 9th,          15   Muhlenkamp, subject: "Oxy monthly usage," and you
    16   2009, you had in fact looked into the customers      16   write: "Kate, per your request, here are my
    17   that Sunrise was selling to; is that right?          17   larger customers' monthly volumes by item," and
    18       A To a point, yes.                               18   you list Masters, KeySource, Sunrise and NCM; is
    19       Q And you knew, and your colleagues at           19   that right?
    20   Mallinckrodt knew, that Sunrise was selling to       20       A Yes.
    21   pain management -- selling pain management           21       Q And for each of them, and this is as of
    22   products at both dispensing physicians and pain      22   June 2nd, 2008, you list the amount of oxy 15 and
    23   clinics, correct?                                    23   30 that your customers are buying; is that right?
    24       A So I did not know who they were selling        24       A Yes.

                                                  Page 351                                                        Page 353
     1   to. I think before I already -- it was                1        Q And who is NCM?
     2   highlighted that they opened up pharmacies as         2        A North Carolina Mutual.
     3   well. But I don't know the specifics of who they      3        Q So your customers, Masters, KeySource,
     4   sold to. And I think at this meeting -- I             4   Sunrise, NCM, to your knowledge, which one of
     5   don't -- well, Louis Fisher was available and         5   those -- which of those customers had their DEA
     6   present, and then our suspicious order monitoring     6   registrations suspended during the time that you
     7   team was present as well.                             7   worked for Mallinckrodt?
     8       Q Well, sir, the information that you had         8        A I'm not sure about the suspensions for
     9   at your fingertips, which you're being praised for    9   all these accounts. Again, I shared with you
    10   having, was information about the customers          10   before that Sunrise, I didn't know it was
    11   Sunrise was selling to and the volumes; is that      11   suspended. NCM, no. KeySource and Masters, to my
    12   correct?                                             12   knowledge -- I'm not quite sure about Masters
    13       A Yes.                                           13   either.
    14           (Borelli Exhibit No. 49 was marked           14        Q So you're not sure, sir, or you don't
    15           for identification.)                         15   recall which of your customers had their DEA
    16   BY MR. LOESER:                                       16   licenses suspended while you worked for
    17       Q Mr. Borelli, you've been handed                17   Mallinckrodt?
    18   Exhibit 49, which is an e-mail string. The front     18        A You asked me which of these were. I'm
    19   of that is an e-mail from Kate Muhlenkamp to         19   not sure about Masters. KeySource had. I'm not
    20   Michael Gunning. It's dated 6/3/2008. Subject:       20   sure about Sunrise. Like I -- like I said before,
    21   "Forwarding oxy monthly usage."                      21   I believe that -- I don't know if it was
    22           Do you see that?                             22   suspended. I don't believe NC Mutual is. But
    23       A I do.                                          23   there's -- that's all.
    24       Q And in this e-mail string, there's a           24        Q Right. There's other customers as well

   Golkow Litigation Services                                                          Page 89 (350 - 353)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 90 Confidentiality
                                                         of 117. PageID #: 213984
                                                                              Review
                                                  Page 354                                                   Page 356
     1   and they're not on this list.                         1          That was your answer to her question,
     2           If you could turn to the next page --         2   right?
     3   the prior page there's an e-mail from Kate            3        A I trying --
     4   Muhlenkamp to you dated June 2nd, 2008.               4        Q Let me make it shorter, sir. What I
     5   MNK-T1_0000562702.                                    5   just read was what you wrote at the beginning of
     6           And she writes to you: "Vic, these            6   your e-mail, correct?
     7   usages account for 10 percent of the 15 and 30 mg     7        A Yes, I wrote that. But I'm trying to
     8   market, and in the case of the 30 mg, are             8   understand the context of the e-mail and what I'm
     9   significantly higher than those of Cardinal, who      9   responding to, and it's not right away, and
    10   we have on source. These look very high and are      10   it's -- and in her e-mail, she's highlighting
    11   concerning to me. We need to talk as I don't know    11   Masters specifically. And, you know, volume
    12   that I feel comfortable shipping them at such high   12   changes when you are primary -- sole primary.
    13   levels. Do we know where the product is going?       13   So...
    14   We need to discuss."                                 14        Q Okay. And you're explaining to her
    15           Do you see that, sir?                        15   why -- your understanding of why Masters' business
    16       A I do.                                          16   was growing so much that she would write to you
    17       Q And you responded to Ms. Muhlenkamp's          17   that the numbers look very high and they're
    18   e-mail on June 2nd, 2008, and you write: "Kate,      18   concerning to her, and you're providing her with
    19   the only places that they, Masters, can ship the     19   an explanation.
    20   product to are authorized customers that we          20        A I don't think it's specific to Masters,
    21   approve from the chargebacks group." Is that         21   but, you know, I highlight that other vendors that
    22   right?                                               22   were selling to them are out of stock. So a
    23       A That's what it says.                           23   number of reasons tie into that usage.
    24       Q So what you're telling Ms. Muhlenkamp is       24            (Borelli Exhibit No. 50 was marked

                                                  Page 355                                                        Page 357
     1   that Mallinckrodt knows precisely who its             1          for identification.)
     2   downstream customers are, because they are            2          THE WITNESS: Thank you.
     3   approved from the chargeback group, right?            3   BY MR. LOESER:
     4       A From the chargeback group, yes.                 4       Q Mr. Borelli, you've been handed what's
     5       Q And in fact, am I correct to read into          5   marked Exhibit 50. MNK-T1_0000565518. This is an
     6   this that you're a little defensive about this and    6   e-mail from you to Kate Muhlenkamp, with a cc to
     7   perhaps offended that there's a suggestion that       7   John Adams. The subject is "Masters oxy 30."
     8   you don't know where your customer is shipping its    8          Do you see that, sir?
     9   product?                                              9       A I do.
    10           MR. TSAI: Object to the form.                10       Q And you write in this e-mail: "Kate,
    11           THE WITNESS: I don't read that that          11   Masters just received their weekly 8,000 bottle
    12   way.                                                 12   order this morning, and they have sold through it
    13   BY MR. LOESER:                                       13   already." Parentheses, "I know, incredible. This
    14       Q Okay. But, nonetheless, when she asks          14   has been happening week in/week out, and basically
    15   you do you -- do we know where the product is        15   they've been out of stock 80 percent of the week
    16   going, you respond yes.                              16   due to the explosion on this item. They want to
    17       A I'm looking for the word "yes."                17   know if they can move away from their 8,000 bottle
    18       Q Okay. Well, I'm interpreting, but why          18   a week number to more (i.e., 36,000 bottles a
    19   don't we just go with the language again that is     19   month commitment). I have done some groundwork
    20   here.                                                20   with them in that if we boost our supply up, then
    21           You responded: "The only places that         21   we are guaranteeing our primary status going
    22   they, Masters, can ship the product to are           22   forward, and Actavis is not. There will be some
    23   authorized customers that we approve from the        23   pulls on Actavis when they get back in business,
    24   chargebacks group."                                  24   but we will be 90 -- we will be the 90/10 rule

   Golkow Litigation Services                                                         Page 90 (354 - 357)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 91 Confidentiality
                                                         of 117. PageID #: 213985
                                                                              Review
                                                 Page 358                                                  Page 360
     1   versus them because of what we have done for          1           MR. TSAI: Object to the form of the
     2   them."                                                2   question.
     3           Do you see that?                              3   BY MR. LOESER:
     4       A I do.                                           4       Q And, sir, let me add to that, I'm not
     5       Q And so you're noting for Kate that they         5   asking you for what you think others on your team
     6   are -- you described their sales as incredible,       6   did or what the DEA did. I want the jury to hear
     7   right?                                                7   what you did to prevent diversion.
     8       A I think I'm describing that we displaced        8           MR. TSAI: Object to the form of the
     9   the competitor.                                       9   question.
    10       Q Okay. And you use the word "incredible"        10           THE WITNESS: Well, visiting with the
    11   to describe their sales. Right?                      11   customer to understand their business model.
    12       A So I'm -- I'm highlighting that we             12   Highlighting why this item has growth because
    13   displaced another vendor that had the business       13   other items in the market are out of the market.
    14   that we displaced. I shared before about supply      14   CSOS -- highlighting CSOS, which is a monitoring
    15   being critical for medicine, for prescription        15   system that the customer put in place. The
    16   drugs. So if you're out of stock, you're out of      16   customer increased their sales team. It says here
    17   business.                                            17   by --
    18       Q Let me -- let me ask you again, sir,           18   BY MR. LOESER:
    19   based on what you actually wrote. You said:          19       Q I'm sorry, sir. I should have made this
    20   "Masters just received their weekly 8,000 bottle     20   clearer. I'm not asking you about that document,
    21   order this morning, and they have sold through it    21   so we can put that --
    22   already. I know, incredible."                        22       A Oh.
    23           The "incredible" that you wrote there        23       Q -- put that document aside. It'll
    24   refers to the fact that they already sold their      24   probably make it easier to answer my question.
                                                 Page 359                                                  Page 361
     1   8,000 bottle order; isn't that right?                 1         Would you like me to read the question
     2       A The "incredible" refers to sell through.        2   again?
     3       Q And when you say "the explosion on this         3       A Sure.
     4   item," the item we're talking about is oxy 30; is     4       Q So the record is clear, please tell the
     5   that right?                                           5   jury what you did as the director of national
     6       A Yes.                                            6   accounts for Mallinckrodt to ensure that
     7       Q Now, down the e-mail farther, you give          7   Mallinckrodt's products were not being diverted.
     8   an explanation as to why you believe the exploding    8          MR. TSAI: Object to the form of the
     9   volume of sales are sustainable. Do you see that?     9   question.
    10       A I do.                                          10          Go ahead.
    11       Q And if you look at your list that you          11          THE WITNESS: Again, I don't know where
    12   wrote and you go down to the fourth item, could      12   the customer that I sell to ships. But when I
    13   you please read that item.                           13   visit with accounts, you can -- you try to get a
    14       A "Targeted sales team that is focusing on       14   feeling for or see who they're marketing to.
    15   dispensing physicians and pain management centers    15   BY MR. LOESER:
    16   throughout the country."                             16       Q And -- and how often would you visit
    17       Q Mr. Borelli, you previously testified          17   your distributor customers?
    18   that no one in this room cares more about where      18       A And I'm not quite sure. Three times,
    19   Mallinckrodt's products is going than you.           19   four times a year, six times a year. I'm not
    20       A That's correct.                                20   sure. It depends on the account.
    21       Q So the record is clear, please tell the        21       Q And when you visited them, did you
    22   jury what you did as the director of national        22   collect information about their downstream
    23   accounts for Mallinckrodt to ensure that             23   customers?
    24   Mallinckrodt's products were not being diverted.     24       A I would try to.

   Golkow Litigation Services                                                       Page 91 (358 - 361)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 92 Confidentiality
                                                         of 117. PageID #: 213986
                                                                              Review
                                                       Page 362                                                    Page 364
     1       Q And how would you do that?                          1           MR. TSAI: Object to the form.
     2       A In meetings, conversations.                         2           THE WITNESS: I said I don't know if I
     3       Q And so you visited Sunrise a number of              3   did or didn't.
     4   times?                                                    4   BY MR. LOESER:
     5       A I don't know how many times, but I                  5       Q And if you did, is that something that
     6   believe I did visit with them a number of times.          6   would be reflected in e-mail and other records?
     7   I'm not sure of the number.                               7       A Probably.
     8       Q And KeySource a number of times?                    8       Q And so if it's not there, it likely
     9       A I believe so.                                       9   didn't happen?
    10       Q And Masters a number of times?                     10       A I didn't say that. I would -- I could
    11       A That's right.                                      11   have had a conversation with someone about it as
    12       Q And did you at any point recommend that            12   well.
    13   KeySource, Masters or Sunrise be suspended as            13       Q But sitting here today, having been
    14   customers of Mallinckrodt?                               14   through all of the records that we put in front of
    15       A I think in -- not -- no e-mails you                15   you, you can't recall ever recommending that a
    16   showed, and there were some instances that we            16   customer be suspended by Mallinckrodt; isn't that
    17   didn't talk about, isolated pieces that you didn't       17   true?
    18   ask about. But how I shared with our organization        18       A I think I did highlight some prevention
    19   that if any of these accounts or any of our              19   in a few of these e-mails that we didn't go over,
    20   accounts are doing something wrong, we should call       20   and these e-mails are this big (demonstrating),
    21   them out; we should cut them off.                        21   half of an inch. I've got to think there's 30
    22       Q And, sir, did you --                               22   feet, a hundred feet of e-mails. So do I know
    23       A Yeah, I think -- let me finish.                    23   what I put in all my e-mails today here, nine
    24           So I do think I did those things on our          24   years, ten years later? I do not.
                                                    Page 363                                                         Page 365
     1   organization's behalf regularly.                          1        Q But of the customers --
     2       Q And did you ever recommend that                     2        A But do I think I recommended to take
     3   KeySource be cut off as a customer?                       3   action on customers, yes, I do.
     4       A I don't remember.                                   4        Q Of the customers that were -- that
     5       Q And did you ever recommend that Masters             5   purchased the most oxy from Mallinckrodt that were
     6   be cut off as a customer?                                 6   your customers, did you ever recommend that any of
     7       A I don't remember.                                   7   them be suspended as Mallinckrodt customers?
     8       Q Do you -- did you ever recommend that               8        A I don't --
     9   Sunrise be cut off as a customer?                         9        Q Did you ever recommend that Mallinckrodt
    10       A I don't remember.                                  10   stop selling oxy to any of your customers that
    11       Q So you have no memory of recommending              11   purchased the most oxy of your customers?
    12   that any of your main customers that bought oxy 30       12        A I don't know if I did or not. I very
    13   from you be cut off as customers?                        13   well may have.
    14       A Well, these -- you highlight these as my           14        Q We talked about your involvement in the
    15   main customers. I managed Walgreens, CVS, as well        15   shipment of 360 bottles -- 36 bottles a month of
    16   as AmerisourceBergen, and these customers have           16   oxy 15 to Dane Drug for Heather Goodman's Aunt
    17   national accounts. They service the entire               17   Sandra.
    18   country. So I had a lot of accounts.                     18           Do you recall that conversation?
    19       Q And you didn't recommend that any of               19        A Earlier today, yes.
    20   those accounts be cut off as customers of                20        Q And did anyone at Mallinckrodt ever
    21   Mallinckrodt, did you?                                   21   criticize you or discipline you in any -- in any
    22       A I don't know if I did or didn't.                   22   way in connection with that order?
    23       Q That's not something that you would                23        A I don't remember.
    24   remember?                                                24        Q So as far as you know, Mallinckrodt had

   Golkow Litigation Services                                                            Page 92 (362 - 365)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 93 Confidentiality
                                                         of 117. PageID #: 213987
                                                                              Review
                                                         Page 366                                                    Page 368
     1   no problem with the 36 bottles a month being                1   customers that matters to you during these site
     2   allocated for Aunt Sandra at Dane Drug?                     2   visits when you're trying to learn about their
     3           MR. TSAI: Object to the form.                       3   downstream customers?
     4           THE WITNESS: I don't know if there were             4        A Not only, but I can't think of all the
     5   36 bottles a month for that woman at that                   5   reasons and rationale. I mean that wouldn't be
     6   pharmacy. I don't know if that ever came to                 6   the focus of why we go to customers' offices to do
     7   fruition or not. It never -- I don't you -- did             7   business reviews. That's not the majority of why
     8   you show me that? That the -- I don't remember              8   you go. You'd share with them their coming items,
     9   seeing that.                                                9   your pipeline, do a review of business with them.
    10   BY MR. LOESER:                                             10   So there's a number of things that would be a --
    11       Q And if those pills were made available               11   if it came up. So it's not -- not the main reason
    12   at Dane Drug, if those pills were shipped by               12   why you would go to visit a customer.
    13   KeySource to Dane Drug, that would be reflected in         13        Q Other than whether --
    14   the chargeback system, correct?                            14        A At least to me.
    15           MR. TSAI: Object to the form.                      15        Q Other than when the -- whether the
    16           THE WITNESS: I imagine so.                         16   downstream customer had a DEA registration, was
    17           MR. LOESER: Let me go off the record.              17   there any other information about the downstream
    18           THE VIDEOGRAPHER: The time is 5:53 p m.            18   customers that you attempted to learn when you
    19   We're going off the record.                                19   would visit with your distributor clients?
    20           (Recess.)                                          20   Specifically I'm asking, specifically do you
    21           THE VIDEOGRAPHER: The time is 6:03 p m.            21   recall any other information that you would
    22   We're back on the record.                                  22   attempt to learn about downstream customers other
    23   BY MR. LOESER:                                             23   than whether they had a DEA registration?
    24       Q Mr. Borelli, you testified, and I'll                 24        A When I visited customers, that was not a
                                                        Page 367                                                       Page 369
     1   read your statement in answer to a question:                1   priority. It was -- it might be included in the
     2   "Again, I don't know where the customer that I              2   process, but not a priority to -- versus business
     3   sell to ships, but when I visit with accounts, you          3   review year over year versus price points versus
     4   can -- you try to get a feeling for or see who              4   pipeline. A lot of things you go through.
     5   they're marketing to."                                      5       Q I understand there's lots of other
     6           And what information were you -- or                 6   things you were learning, and I asked you if you
     7   would you collect about who they were marketing             7   could identify anything specific other than DEA
     8   to?                                                         8   registration, and you did not identify anything
     9       A I don't know if I collected, as in                    9   else specific.
    10   gathered up, but when you're visiting with a               10          So is there anything else specific about
    11   customer, and -- with a wholesaler, you listen to          11   the downstream customers that you would attempt to
    12   conversation.                                              12   learn when you would visit with your distributor
    13       Q So are there -- what information about               13   customers?
    14   their downstream customers do you believe would be         14       A I think I shared with you a few times
    15   relevant to learn in those meetings?                       15   now that that's not the main focus of what we do
    16       A Maybe who they do business with.                     16   business reviews and visit customers for. If it
    17       Q And why does that matter?                            17   came up, okay.
    18       A To see who they ship to, if possible.                18       Q Sir, can you answer the question
    19   Just picking up a few things when you're meeting           19   whether -- whether there was any other specific
    20   with them about that, so --                                20   information that you would attempt to collect?
    21       Q Why does it matter who they ship to?                 21       A I think I did.
    22       A You want to make sure that they ship to              22       Q Let's try and make this short and clear.
    23   accounts that are registered with the DEA.                 23   Other than DEA registration, was there anything
    24       Q Is that the only information about those             24   else specific about a downstream customer of a

   Golkow Litigation Services                                                              Page 93 (366 - 369)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 94 Confidentiality
                                                         of 117. PageID #: 213988
                                                                              Review
                                                  Page 370                                                        Page 372
     1   distributor client that you would attempt to learn    1           MR. TSAI: Object to the form.
     2   when you visited with your distributor clients?       2           THE WITNESS: I don't know others' sales
     3       A It wasn't a major focus or a main focus         3   numbers, others' sales volumes, but -- I don't
     4   versus --                                             4   know.
     5       Q Was there anything else that you                5           MR. LOESER: We can go off the record.
     6   would --                                              6           THE VIDEOGRAPHER: The time is 6:10
     7       A Let me finish -- you said to me early on        7   p m., and we're going off the record.
     8   let me finish, and then I -- you said, I'll let       8           (Pause in the proceedings.)
     9   you finish.                                           9           THE VIDEOGRAPHER: The time is 6:11
    10           So I'm sharing with you why we would go      10   p m., and we're back on the record.
    11   to visit with a customer.                            11           MR. LOESER: I have no further questions
    12       Q I understand why you would go visit.           12   at this time.
    13       A So -- can you let me finish?                   13           I do note for the record that
    14           So we understand, you review sales, we       14   Mallinckrodt continues to produce documents, and
    15   discuss pipeline, we discuss back order, we          15   it is not clear to us whether there will be
    16   discuss out of stocks, we discuss the marketplace.   16   additional productions relating to Mr. Borelli.
    17   And if who they ship to and sold to came up, yes,    17   If there are such productions, we reserve the
    18   that's great information.                            18   right to recall him to ask him questions about any
    19       Q So sometimes it came up, sometimes it          19   subsequently produced information.
    20   didn't.                                              20           MR. LOESER: Off the record.
    21       A Sometimes it came up, sometimes it             21           THE VIDEOGRAPHER: The time is 6:12 p m.
    22   didn't.                                              22   We're going off the record.
    23       Q And you have not described any specific        23           (Recess.)
    24   information other than a DEA registration that you   24           THE VIDEOGRAPHER: The time is 6:27

                                                  Page 371                                                      Page 373
     1   would learn, and is that because there is no other    1   p.m., and we're back on the record.
     2   information other than DEA registration that you      2              DIRECT EXAMINATION
     3   were seeking to learn about the downstream            3   BY MS. HERZFELD:
     4   customers?                                            4        Q Okay. Good evening, Mr. Borelli. How
     5       A You don't know what comes up at a               5   are you?
     6   business review and a business meeting.               6        A Good, thank you.
     7       Q Mr. Borelli, what's your understanding          7        Q Good. My name is Tricia Herzfeld, and
     8   of the risks of oxy?                                  8   I'm an attorney from Tennessee who's representing
     9       A The risks of oxy. If it's prescribed            9   the Tennessee plaintiffs in the Staubus and
    10   properly and used properly, there's not a risk.      10   Dunaway matters.
    11       Q And do you know if oxy is addictive?           11           MS. HERZFELD: I'd like to start out the
    12       A I believe it could be if it's used             12   deposition by lodging an objection to some pretty
    13   improperly. I believe it could be.                   13   rank violations of the Court's order for the
    14       Q And your understanding is based on             14   production of documents in anticipation of this
    15   training you received at Mallinckrodt?               15   document. According to the Court's order for the
    16       A I'm not sure if it's training that I           16   MDL case, which we are not a party to, we were
    17   received at Mallinckrodt.                            17   cross-noticed in this case, Mallinckrodt was to
    18       Q Did you receive any training at                18   produce Mr. Borelli, his complete and custodial
    19   Mallinckrodt on the risks of oxycodone?              19   file by November the 15th.
    20       A I don't remember all the training, so          20           On November the 23rd of this year, six
    21   I'm not sure.                                        21   days before his deposition, Mallinckrodt produced
    22       Q Mr. Borelli, did anyone at Mallinckrodt        22   to the Tennessee plaintiffs over 2,000 documents,
    23   sell more oxycodone than you during the time         23   sent to or from Mr. Borelli.
    24   period that you worked there?                        24           On the evening of November 27th, less

   Golkow Litigation Services                                                         Page 94 (370 - 373)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 95 Confidentiality
                                                         of 117. PageID #: 213989
                                                                              Review
                                                  Page 374                                                Page 376
     1   than 48 hours before his deposition, Mallinckrodt     1   March 4th of 2009; is that correct?
     2   again produced courtesy copies of MDL files that      2       A That was from someone sending me an
     3   contained Borelli custodial files and his             3   article, and if I read it, yes.
     4   personnel file.                                       4       Q Okay. That would be the e-mail from
     5          Additionally, Mallinckrodt was required        5   Ms. Polly -- Polly -- here we go -- previously
     6   to inform my clients whether Mr. Borelli had any      6   marked as Exhibit 23, the e-mail from Ms. Polly,
     7   personal knowledge related to my clients'             7   March of 2009.
     8   lawsuits. Instead, Mallinckrodt simply stated         8           Do you believe, sir, that you knew
     9   that Borelli had no Tennessee-specific knowledge.     9   anything about the oxycodone pipeline that went
    10          We believe that this prejudices us in         10   from Florida to Kentucky prior to receiving that
    11   our ability to go forward in the deposition today.   11   e-mail?
    12   We reserve all rights to depose Mr. Borelli in the   12           MR. TSAI: Objection. This is not
    13   future if we deem it to be necessary, and            13   Tennessee specific.
    14   specifically, if additional documents are            14           Go ahead.
    15   produced.                                            15           THE WITNESS: I'm not sure.
    16          My understanding is Mallinckrodt has not      16   BY MS. HERZFELD:
    17   made a full production in this Staubus or Dunaway    17       Q Okay. Do you know where Tennessee is
    18   case pursuant to pending discovery requests, so      18   located, sir?
    19   Tennessee-specific information has not yet been      19       A I -- I believe I do.
    20   provided.                                            20       Q Okay. Where is Tennessee located?
    21          With that being said, I would like to go      21       A In the southeast part of the country.
    22   forward, please.                                     22       Q Okay. And which states border it? Do
    23          I'm sure you have something to say.           23   you know?
    24          MR. TSAI: For the record, we completely       24       A I'm not sure.
                                                  Page 375                                                Page 377
     1   disagree with these characterizations and believe     1       Q Okay. Where is Tennessee in relation to
     2   the record will reflect that they are inaccurate,     2   Florida?
     3   and we reserve our rights accordingly.                3       A Northwest, I believe.
     4           MS. HERZFELD: So reserved.                    4       Q Okay. Do you know where Tennessee is in
     5   BY MS. HERZFELD:                                      5   relation to Kentucky?
     6       Q Okay. Mr. Borelli, I get two hours to           6       A South.
     7   depose you today, so I'm going to try to just get     7       Q Okay. Did you know you were having a
     8   right to it, all right?                               8   geography test today?
     9       A Certainly.                                      9       A I did not.
    10       Q Okay. So through the testimony that we         10       Q Do you know --
    11   had already earlier today, you testified that you    11       A Sorry.
    12   knew generally of the opioid epidemic before and     12       Q -- which states are north of Florida?
    13   during your time when you were employed at           13       A I think quite a few.
    14   Mallinckrodt; is that correct?                       14       Q Okay. And you traveled a lot for your
    15           MR. TSAI: Objection. Cumulative.             15   job; is that right?
    16           Go ahead.                                    16       A I do.
    17           THE WITNESS: Generally.                      17       Q Okay. And when you traveled, did you
    18   BY MS. HERZFELD:                                     18   typically drive or did you travel by plane?
    19       Q Is that a "yes"? Yes, sir?                     19       A It really depends where the customer is
    20       A Yes.                                           20   and where I am at the time.
    21       Q Yes. Okay, great.                              21       Q Okay. And have you ever driven on I-75?
    22       A Generally, yes.                                22       A I don't believe so.
    23       Q Okay. And you knew about the Florida to        23       Q Okay. So have you been to Florida?
    24   Kentucky pipeline for oxycodone as early as          24       A I have.

   Golkow Litigation Services                                                      Page 95 (374 - 377)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 96 Confidentiality
                                                         of 117. PageID #: 213990
                                                                              Review
                                                      Page 378                                                Page 380
     1       Q Okay. And you don't believe you've ever            1       Q Okay. And what is between Alabama and
     2   driven on I-75 in Florida.                               2   Kentucky?
     3       A So where does -- I'm not sure where it             3       A Tennessee.
     4   starts or -- where does it start in Florida?             4       Q Okay. And what is between Georgia and
     5       Q I'm asking, do you know if you have or             5   Kentucky?
     6   not?                                                     6       A Tennessee and North Carolina.
     7       A So I don't know.                                   7       Q Okay. Does North Carolina border
     8       Q Okay. Do you know which states I-75                8   Kentucky?
     9   goes through?                                            9       A It does not.
    10       A Not all. No, I don't. I'm sorry.                  10       Q Okay. So is there one state that is
    11       Q Do you know generally what area of the            11   between Georgia and Kentucky that touches them
    12   country I-75 is in?                                     12   both?
    13       A Only from what we're talking about                13       A Tennessee.
    14   today. So I'm not very -- I'm not very                  14       Q Okay. And if I told you that I-24 goes
    15   knowledgeable of Highway 75.                            15   from Florida through Georgia, through Tennessee,
    16       Q Okay. And so from what we talked about            16   through Kentucky, and through Ohio, would that
    17   today, what is your impression of where Highway 75      17   sound right to you?
    18   goes?                                                   18       A Is that a different --
    19           MR. TSAI: Object to the form.                   19         MR. TSAI: Object to the form.
    20   BY MS. HERZFELD:                                        20         THE WITNESS: Is that a different road?
    21       Q Is it in the --                                   21   BY MS. HERZFELD:
    22       A From --                                           22       Q I'm sorry. I-75.
    23       Q Go ahead, sir.                                    23       A Okay. So I don't know --
    24       A From Florida to -- and I'm not sure what          24         MR. TSAI: Same objection.
                                                    Page 379                                                  Page 381
     1   states it goes through.                                  1           Go ahead.
     2       Q Okay. I'll help you out a little bit               2           THE WITNESS: Sorry.
     3   here today.                                              3           Can you ask that again? I'm sorry.
     4       A Thank you.                                         4   BY MS. HERZFELD:
     5           MS. HERZFELD: What next exhibit are we           5       Q I sure will. And it was my fault. I
     6   on?                                                      6   said 24.
     7           THE REPORTER: 51.                                7           If I told you that I-75 went from
     8           MS. HERZFELD: 51. If we could mark               8   Florida through Georgia, through Tennessee,
     9   this as Exhibit 51.                                      9   through Kentucky, and then through Ohio, do you
    10           (Borelli Exhibit No. 51 was marked              10   know that to be true or false?
    11           for identification.)                            11       A I don't know that, but if you're saying
    12           MS. HERZFELD: Those of you following            12   it does, I'm going to take your word on it. But I
    13   along at home, it's a map of the United States.         13   don't know that.
    14           THE WITNESS: Thank you.                         14       Q Okay. So my next question is, if one
    15   BY MS. HERZFELD:                                        15   were to drive from Kentucky to Florida, would the
    16       Q Sir, take a minute to look at the map,            16   most direct route for them to be to go through
    17   and let's go through some of the geography here.        17   Tennessee?
    18           What are the two states that border             18       A Yeah, I imagine so.
    19   Florida?                                                19       Q And would the same be true if someone
    20       A Alabama and Georgia.                              20   was driving from Florida to Kentucky, the most
    21       Q Okay. And what is north of Alabama and            21   direct route would be through Tennessee; is that
    22   Georgia?                                                22   correct?
    23       A Tennessee, South Carolina and North               23           MR. TSAI: Object to the form.
    24   Carolina.                                               24           THE WITNESS: Could be.

   Golkow Litigation Services                                                          Page 96 (378 - 381)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 97 Confidentiality
                                                         of 117. PageID #: 213991
                                                                              Review
                                                     Page 382                                                 Page 384
     1   BY MS. HERZFELD:                                        1        Q Okay. And Mallinckrodt learned of it a
     2       Q Okay. And if one were to go to Ohio,              2   few days earlier; is that right?
     3   would the most direct route from Florida be             3        A It looks that way.
     4   Florida, Georgia, either North Carolina or              4        Q Okay. And in that e-mail you were
     5   Tennessee, Kentucky, Ohio?                              5   generally informed by a law enforcement officer in
     6          MR. TSAI: Object to the form.                    6   Tennessee that some folks were busted bringing in
     7   BY MS. HERZFELD:                                        7   some OxyContin pills from Florida and putting
     8       Q If you draw a straight line.                      8   those into the illegal drug market in Tennessee;
     9          MR. TSAI: Object to the form.                    9   is that correct?
    10          THE WITNESS: What was the question?             10           MR. TSAI: Objection to the form.
    11   BY MS. HERZFELD:                                       11           THE WITNESS: I was -- I was alerted by
    12       Q If you draw a straight line to go from           12   not a -- not a police officer, by Bill Ratliff.
    13   Florida to Ohio --                                     13   BY MS. HERZFELD:
    14       A Okay.                                            14        Q Bill Ratliff is your director of
    15       Q -- the most direct route, if you go as           15   security?
    16   the crow flies, would it be Florida, Georgia,          16        A Yes.
    17   Tennessee, maybe North Carolina, Kentucky, Ohio?       17        Q Okay. And he forwarded you an e-mail
    18          MR. TSAI: Object to the form.                   18   from a law enforcement officer in Tennessee; is
    19          THE WITNESS: I imagine so.                      19   that right?
    20   BY MS. HERZFELD:                                       20        A It looks that way.
    21       Q Okay. Thank you.                                 21        Q And that e-mail from the law enforcement
    22          And you learned about a Tennessee bust          22   officer in Tennessee talks about an oxycodone bust
    23   from an officer in Tennessee in July of 2009; is       23   in Tennessee with Mallinckrodt pills that had come
    24   that correct?                                          24   from Florida; is that right?
                                                    Page 383                                                  Page 385
     1      A     I learned --                                   1       A Yes.
     2           MR. TSAI: Object to the form.                   2       Q Okay. And they were pills that were
     3           Go ahead.                                       3   making their way from Florida to Tennessee to
     4           THE WITNESS: I learned about that -- I          4   enter into the illegal drug market there; is that
     5   don't know when that bust was, and I -- I don't         5   correct?
     6   know when I learned about it, but it came up            6            MR. TSAI: Object to the form.
     7   today.                                                  7            THE WITNESS: I --
     8   BY MS. HERZFELD:                                        8   BY MS. HERZFELD:
     9        Q Okay. I'm going to show you what's been          9       Q You can feel free to reread his
    10   previously marked as Exhibit 12. Take a look at        10   synopsis.
    11   that.                                                  11       A (Peruses document.) The products were
    12        A Okay.                                           12   found in a hotel.
    13        Q Go ahead and read through it and see if         13       Q Okay.
    14   it refreshes your recollection as to when you          14       A Is that what you mean?
    15   learned about the oxycodone bust in Tennessee.         15       Q They were found at a hotel, yes, sir.
    16        A (Peruses document.) So it says                  16   Keep reading.
    17   July 7th.                                              17       A (Peruses document.) I'm sorry, I don't
    18        Q Of what year, sir?                              18   see the word "diversion" in here.
    19        A 2009.                                           19       Q Okay. That's okay.
    20        Q 2009. Okay.                                     20            So look with me on the third page, I
    21        A You asked when -- I'm sorry, you asked          21   think it's the third page of the e-mail, I'm going
    22   when I learned of it. So -- so it looks like I         22   to -- I think your copy is a little bit different
    23   was first tied into this e-mail chain on the -- on     23   than mine. But the one that starts from Dwayne
    24   July 29th.                                             24   Collins to Bill Ratliff, Tuesday, July 2nd, 2009,

   Golkow Litigation Services                                                         Page 97 (382 - 385)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 98 Confidentiality
                                                         of 117. PageID #: 213992
                                                                              Review
                                                      Page 386                                                       Page 388
     1   at 12:22 p.m.                                              1       Q Okay. Were you ever trained on that
     2           Do you see where I'm talking about?                2   when you were at Mallinckrodt?
     3   Yours is double-sided so it may be different.              3       A HIDTA?
     4        A What day?                                           4       Q HIDTA.
     5        Q July 7th, 2009.                                     5       A Sorry.
     6        A 12:22.                                              6       Q High Intensity Drug Trafficking Area or
     7        Q 12:22. Do you see it?                               7   High Intensity Drug Trafficking Corridor.
     8        A I see it, yes.                                      8       A It -- I don't recognize that.
     9        Q Okay. And so this is from Dwayne                    9       Q Okay. And what was your position at
    10   Collins, and his address is at mymorristown.com;          10   Mallinckrodt?
    11   is that right?                                            11       A Sales -- territory manager.
    12        A Mm-hmm.                                            12       Q Territory manager. And was Tennessee in
    13        Q Is that a "yes"?                                   13   your territory?
    14        A Yes.                                               14       A There -- there were no -- I don't
    15        Q Okay, great. And do you know where                 15   believe that there were any accounts in Tennessee
    16   Morristown is?                                            16   that I called on. I don't think anywhere in
    17        A I do not.                                          17   Tennessee.
    18        Q Do you know if Morristown is in                    18       Q Okay. Okay. So then he goes on, if
    19   Tennessee?                                                19   you'll continue, that there's pharmaceutical sales
    20        A I do not.                                          20   of oxycodone. He's looking at that. They got him
    21        Q Okay. What is the subject of this                  21   looking at a couple of pain clinics in Florida
    22   e-mail?                                                   22   where doctors were prescribing an abundant amount
    23        A "Florida medicine coming into                      23   of oxycodone medication to numerous Tennesseans,
    24   Tennessee."                                               24   especially within the jurisdiction that he's

                                                        Page 387                                                    Page 389
     1       Q Okay. And so if we read through his                  1   assigned.
     2   e-mail, he says a little bit of background, that           2           Do you see that?
     3   he spent 17-and-a-half years with the Morristown           3       A I do.
     4   Police Department before going to the State of             4       Q Okay. And the jurisdiction that he's
     5   Tennessee and working with the Office of Homeland          5   assigned, do you know if that's the Appalachian
     6   Security, right?                                           6   region of East Tennessee?
     7       A Yes. Yes.                                            7       A I have no idea.
     8       Q Okay. And he spent four years in East                8       Q Okay. "While I was working to determine
     9   Tennessee, moved, and then came back to the                9   this and the impact of oxycodone drug dealing" --
    10   Morristown Police Department in 2007, right?              10   do you know who he means here by "oxycodone drug
    11       A Yes.                                                11   dealing"?
    12       Q Okay. Then in October 2008, it says he              12           Let me back up. Oxycodone can be sold
    13   was assigned to the newly opened HIDTA office here        13   legally; is that correct?
    14   in Morristown under the supervision of Special            14       A Yes.
    15   Agent Kevin Keithly out of the Johnson City               15       Q Okay. And it can be sold illegally; is
    16   office, which is the Knoxville division.                  16   that also correct?
    17           Do you see where I'm reading?                     17       A I --
    18       A I do.                                               18           MR. TSAI: Object to the form.
    19       Q Okay. Do you know what a HIDTA office               19           Go ahead.
    20   is?                                                       20           THE WITNESS: I guess so.
    21       A I do not. I'm sorry.                                21   BY MS. HERZFELD:
    22       Q Have you ever heard of the High                     22       Q Okay. It's a controlled substance. Is
    23   Intensity Drug Trafficking Area?                          23   that correct?
    24       A I'm sorry, I have not.                              24       A Yes.

   Golkow Litigation Services                                                             Page 98 (386 - 389)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1975-7
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 99 Confidentiality
                                                         of 117. PageID #: 213993
                                                                              Review
                                                  Page 390                                                 Page 392
     1       Q Okay. And if a controlled substance is          1   depicting, yes.
     2   sold to someone who doesn't have the appropriate      2   BY MS. HERZFELD:
     3   authority to take that controlled substance, that     3        Q Okay. And so you were given that
     4   would be an illegal sale; is that correct?            4   information in July 29th of 2009; is that right?
     5       A That -- that's a fair explanation, yes.         5        A Yes.
     6       Q Okay. And so, to your knowledge, there          6        Q Okay. And then eventually you learned
     7   is an illegal drug market for oxycodone being sold    7   that those pills in Morristown that they were
     8   without a prescription?                               8   talking about came from a doctor in Florida called
     9           MR. TSAI: Object to the form.                 9   Barry Schultz; is that right?
    10           THE WITNESS: Somewhat, yes.                  10          MR. TSAI: Object to the form. Vague as
    11   BY MS. HERZFELD:                                     11   to time.
    12       Q Okay. And this gentleman here is               12          THE WITNESS: I don't see where it says
    13   talking about oxycodone drug dealing. He's           13   that person's name.
    14   referring to the illegal drug market.                14   BY MS. HERZFELD:
    15       A Okay.                                          15        Q Okay. So what did you learn about where
    16       Q Yes, sir?                                      16   those pills were coming from?
    17       A Oh, he is.                                     17          MR. TSAI: Object. Vague as to time.
    18       Q Yes, sir. Okay. So he talks about              18   BY MS. HERZFELD:
    19   these three individuals that were coming up from     19        Q Okay, I'll back up. So back in 2009,
    20   Florida on a regular basis, right? Regular           20   when you get this e-mail, what investigation did
    21   amounts of oxycodone, et cetera, et cetera.          21   you do to find out where those pills were coming
    22           Do you see that?                             22   from?
    23       A I do.                                          23        A What investigation did I do?
    24       Q Okay. He began looking at these                24        Q Yes, sir.
                                                  Page 391                                                 Page 393
     1   individuals in April 2009, and then eventually he     1       A I'm not sure -- I'm not sure.
     2   manages to track that information back to Florida;    2       Q Okay. Well, somebody sent you an e-mail
     3   is that right?                                        3   that gives you information about Mallinckrodt
     4        A I believe so.                                  4   pills that are coming -- oxycodone pills that are
     5        Q Okay. During a conversation -- it looks        5   coming from Florida to Tennessee and entering the
     6   like there was a conversation -- they asked if        6   illegal drug market.
     7   they knew the quantity that they were possibly in     7           And so my question is, what did you do
     8   possession of, and he said he's not totally sure,     8   with this information?
     9   but I can say during their last day, they             9       A I'm not sure. Did I call a meeting with
    10   recovered several bottles near a motel that one of   10   an account or two of mine? I'm not quite sure.
    11   the individuals was staying in.                      11   So it looks like -- I'm not sure of the timing of
    12           Do you see that?                             12   did I have a meeting or set up a meeting down
    13        A I do.                                         13   there or -- it highlights a conference call,
    14        Q Okay. And he had seen as much as nine         14   but -- it looks like I responded back to Bill.
    15   bottles at one time but no more than 15, according   15       Q Okay. So let's back up.
    16   to the CIs. Is that right?                           16           If you read the e-mail that Bill sent
    17        A I see that.                                   17   back to Dwayne, Mr. Collins from Morristown,
    18        Q Okay. So I think my question before           18   Tennessee, it looks like Bill went and tracked
    19   was, in this e-mail, are they describing the --      19   down exactly where those pills came from; is that
    20   more of the pills coming from Florida entering the   20   right?
    21   illegal drug market in Tennessee?                    21       A Okay.
    22           MR. TSAI: Object to the form.                22       Q Do you see where I'm at? July 7, 2009,
    23           Go ahead.                                    23   at 16:19:11.
    24           THE WITNESS: That's what they're             24       A I'm sorry.

   Golkow Litigation Services                                                       Page 99 (390 - 393)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further100Confidentiality
                                                           of 117. PageID #: 213994
                                                                               Review
                                                  Page 394                                                 Page 396
     1      Q     That's okay.                                 1           MR. TSAI: Object to the form.
     2      A     At 16 --                                     2           Go ahead.
     3      Q     You want me to show you?                     3           THE WITNESS: I don't know who Barry
     4      A     Yeah. Please.                                4   Schultz is, other than what was discussed today.
     5      Q     If you give it to me, I'll show you.         5   BY MS. HERZFELD:
     6           Oh, that's because it's going on to a         6       Q Okay. So Barry Schultz wasn't somebody
     7   second page. Okay. It starts here and then            7   you were keeping an eye on for any reason?
     8   continues on over here. Okay?                         8       A Not specifically, no.
     9       A (Peruses document.) Okay.                       9       Q Okay. So looking at that document, you
    10       Q Okay. After reading that, does it look         10   knew that those drugs, those oxycodone pills had
    11   like Bill determined where those pills came from?    11   made it into the illegal drug market in Tennessee
    12       A Yes.                                           12   as of July on 2009, and that those oxycodone pills
    13       Q Okay. And where did they come from?            13   had come from Sunrise. You had that information,
    14       A From Florida.                                  14   yes, sir?
    15       Q From Florida. And where in Florida?            15       A Yes.
    16       A Sunrise, Florida.                              16       Q Okay. And yet you continued shipping
    17       Q Okay. And which distributor in Florida?        17   oxycodone to Sunrise; is that correct?
    18       A Sunrise Wholesale.                             18       A I believe so. I'm not sure when an
    19       Q And Sunrise Wholesale was one of your          19   audit was done with Sunrise. It may have been
    20   clients; is that right?                              20   right around this time then.
    21       A They were. I'm not sure if it was at           21       Q Okay. So you were still shipping -- do
    22   this time, but they were.                            22   you know if you were still shipping in September
    23       Q Okay. And then there was a further             23   of 2009?
    24   investigation of Sunrise Wholesale; is that right?   24       A I'm not sure.
                                                  Page 395                                                 Page 397
     1       A Yes.                                            1       Q Okay. Do you know if you were still
     2       Q Okay. And do you know if it was                 2   shipping in November of 2009?
     3   determined specifically where those drugs came        3       A I'm not sure.
     4   from Sunrise, who -- who Sunrise -- which doctor      4       Q Okay. Do you know that within six weeks
     5   prescribed those drugs at Sunrise, then filled the    5   of the Tennessee information that Mallinckrodt
     6   prescription for it?                                  6   shipped 2.1 million oxycodone tablets to Sunrise?
     7           MR. TSAI: Object to the form.                 7   Are you aware of that information?
     8           THE WITNESS: I don't see that in this         8          MR. TSAI: Object to the form.
     9   e-mail of -- of who prescribed --                     9          Go ahead.
    10   BY MS. HERZFELD:                                     10          THE WITNESS: I don't have any sales
    11       Q Okay.                                          11   reports in front of me, so I'm not sure. But --
    12       A -- or dispensed.                               12   so I'm not sure.
    13       Q Okay.                                          13   BY MS. HERZFELD:
    14       A Is it in here?                                 14       Q Okay. Do those numbers sound reasonable
    15       Q I -- I'm asking.                               15   for what your usual sales were for Sunrise?
    16       A Because I don't see it.                        16          MR. TSAI: Object to the form.
    17       Q Do you know eventually who they did            17          THE WITNESS: It's a long time ago, so
    18   trace those drugs to?                                18   I'm not sure what sales we had at what accounts;
    19           MR. TSAI: Objection. Vague as to time.       19   what sales I had at what accounts either.
    20           THE WITNESS: I'm not sure.                   20   BY MS. HERZFELD:
    21   BY MS. HERZFELD:                                     21       Q Okay. So we'll back up a little bit.
    22       Q Would you be surprised to hear it was          22          MS. HERZFELD: What number are we on?
    23   Dr. Barry Schultz?                                   23          THE REPORTER: 52.
    24       A I don't know Barry --                          24          MS. HERZFELD: 52. No. 52.

    Golkow Litigation Services                                                    Page 100 (394 - 397)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further101Confidentiality
                                                           of 117. PageID #: 213995
                                                                               Review
                                                  Page 398                                                 Page 400
     1          (Borelli Exhibit No. 52 was marked             1   sir?
     2          for identification.)                           2        A It looks to be.
     3          THE WITNESS: Thank you.                        3        Q Okay. And what is the date of the
     4   BY MS. HERZFELD:                                      4   e-mail?
     5       Q Have you seen this document before? Do          5        A September -- November 4th.
     6   you recognize it?                                     6        Q Okay. And what is on the second page?
     7       A I do not.                                       7        A A shipment report.
     8       Q Okay. Is this an e-mail that was sent           8        Q Yes, sir. And what does the shipment
     9   to you in September of 2009?                          9   report say?
    10       A It was.                                        10        A A shipment report by customer, Victor
    11       Q Okay. And is it attaching a shipment           11   Borelli, my name.
    12   report to Sunrise Wholesale?                         12        Q Yes, sir.
    13       A It is.                                         13        A It says the customer, ties to PO, it has
    14       Q And on the second page, it says:               14   an order number, it has an item number, it has an
    15   "Shipment report by customer, Victor Borelli." Is    15   item description, and it has the location and
    16   that you?                                            16   quantity.
    17       A It is.                                         17        Q Okay, sir. And what is the date?
    18       Q Did you create this document?                  18        A November 4th.
    19       A I -- I don't believe I did.                    19        Q November 4th of 2009?
    20       Q Okay. And does this document show that         20        A I'm sorry. Yes.
    21   you were -- Mallinckrodt was continuing to ship      21        Q Okay. And what is the order? What is
    22   oxycodone to Sunrise Wholesale in September of       22   it for, the shipment?
    23   2009?                                                23        A The items?
    24       A It highlights what was shipped. So I           24        Q Yes, sir.
                                                  Page 399                                                 Page 401
     1   don't know if that's shipped in September.            1       A Oxycodone 30 milligram tabs and
     2   This -- oh, there's a date, September 3rd. So I       2   oxycodone 15 milligram tabs.
     3   don't know if this shipped prior to September 3rd     3       Q Okay. Great. Thank you, sir.
     4   or not.                                               4          Do you know what the street value is of
     5       Q Okay.                                           5   2.1 million oxycodone tablets in 2009?
     6       A I'm going to -- if it shipped, it had to        6          MR. TSAI: Object to the form.
     7   ship prior to September 3rd. Excuse me.               7          THE WITNESS: I have no idea.
     8       Q So you believe it shipped on                    8   BY MS. HERZFELD:
     9   September 3rd?                                        9       Q Have you ever been to Tennessee, sir?
    10       A No. I said if these products shipped,          10       A I don't -- I'm not quite sure, so I
    11   and this is dated September 3rd, it would have had   11   don't believe so.
    12   to have shipped prior to that.                       12       Q Okay. Not Memphis or Nashville or
    13       Q Okay.                                          13   Knoxville?
    14       A I believe.                                     14       A I don't believe so.
    15       Q Okay.                                          15       Q You've never been to Tennessee for work?
    16           MS. HERZFELD: Okay. We'll make this          16       A I don't believe so.
    17   one the next exhibit.                                17       Q Do you have any friends that live in
    18           Sorry, I don't have a second page for        18   Tennessee?
    19   you guys. It didn't make it on my copy.              19       A I don't think so.
    20           (Borelli Exhibit No. 53 was marked           20       Q Are you married?
    21           for identification.)                         21       A I am not.
    22           THE WITNESS: Thank you.                      22       Q Have you been married?
    23   BY MS. HERZFELD:                                     23       A I have.
    24       Q Is this an e-mail that was sent to you,        24          MR. TSAI: Object to the form.

    Golkow Litigation Services                                                    Page 101 (398 - 401)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further102Confidentiality
                                                           of 117. PageID #: 213996
                                                                               Review
                                                 Page 402                                                  Page 404
     1          Go ahead.                                     1   recognized it, so I was saying I was shown it
     2          THE WITNESS: I'm sorry. Yes.                  2   before.
     3   BY MS. HERZFELD:                                     3       Q Yeah. Okay. And do you remember
     4        Q How many times?                               4   reading it around the time, 2010, or knowing that
     5          MR. TSAI: Object to the form. This is         5   Broward County had a pill mill problem?
     6   getting into personal and private information. It    6           MR. TSAI: Object to the form.
     7   has nothing to do with Tennessee or the claims in    7           THE WITNESS: I can't remember if I read
     8   this case.                                           8   this back in 2000 -- 2010.
     9          MS. HERZFELD: Noted.                          9   BY MS. HERZFELD:
    10   BY MS. HERZFELD:                                    10       Q Okay. What about this one that's been
    11        Q How many times have you been married,        11   marked as Exhibit No. 25? It looks like that was
    12   sir?                                                12   an article we've already talked about from an
    13        A Once.                                        13   e-mail that you received July 29th, 2009, called
    14        Q Okay. And from what years?                   14   "The prescription drug abuse epidemic." You
    15          MR. TSAI: Same objection.                    15   received and read that one, yes?
    16          THE WITNESS: 1994 to 2012, I believe.        16           MR. TSAI: Objection. This is now the
    17   2013. I'm not -- I should know that, I guess, but   17   fourth exhibit that is a duplicate exhibit that we
    18   sorry.                                              18   went through earlier today.
    19   BY MS. HERZFELD:                                    19           MS. HERZFELD: And I can ask him about
    20        Q It's okay. Do you have any children?         20   it.
    21        A I do.                                        21           MR. TSAI: Go ahead.
    22        Q How many?                                    22           THE WITNESS: What was the question, do
    23        A Two.                                         23   I remember receiving this?
    24        Q Okay. Boy/girl, girl/boy, girl/girl,         24   BY MS. HERZFELD:
                                                 Page 403                                                  Page 405
     1   boy/boy?                                             1        Q You received that information, yes, sir?
     2        A Two girls.                                    2        A This is ten -- almost ten years ago, so
     3        Q Two girls. Far apart in age?                  3   I don't remember receiving it.
     4        A Not so much.                                  4        Q It was sent to your e-mail account, yes,
     5        Q Okay. Are they minors now or adults?          5   sir?
     6        A Adults.                                       6        A Yes.
     7        Q Okay.                                         7        Q Okay. And you responded to the e-mail,
     8           MR. TSAI: Madam Court Reporter, can you      8   yes, sir?
     9   mark this for me. Thank you.                         9        A I did.
    10   BY MS. HERZFELD:                                    10        Q Okay. And then this one, I'm going to
    11        Q Okay. So we've gone over a lot of news       11   hand you Exhibit No. 26, dated November 2009,
    12   articles that you've been forwarded -- that you     12   forwarding an article called "Grand jury wants to
    13   were forwarded during your time at Mallinckrodt;    13   crack down on pill mills."
    14   is that right, today?                               14           You received that one and responded,
    15        A We went over a few.                          15   yes, sir?
    16        Q A few. So we have this first one that's      16           MR. TSAI: Again, this is now the fifth
    17   been marked as Exhibit 24, "Inside Broward          17   duplicate e-mail or exhibit --
    18   County's pill mills." We talked about that one.     18           MS. HERZFELD: There's going to be like
    19   Do you remember this one?                           19   ten, so you can have a standing objection.
    20        A Thank you.                                   20           THE WITNESS: Well, what was your
    21        Q Mm-hmm.                                      21   question?
    22        A I was shown this before.                     22   BY MS. HERZFELD:
    23        Q Yes, sir.                                    23        Q You received that article in your
    24        A Yeah, that's what -- you asked if I          24   e-mail?

    Golkow Litigation Services                                                   Page 102 (402 - 405)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further103Confidentiality
                                                           of 117. PageID #: 213997
                                                                               Review
                                                   Page 406                                                   Page 408
     1      A     I did.                                         1   at Mallinckrodt to keep the oxycodone from
     2      Q     And you responded to it? Yes, sir?             2   entering the illegal drug market in Tennessee, to
     3           MR. TSAI: Objection. Duplicative,               3   go from Florida to Tennessee?
     4   cumulative.                                             4          MR. TSAI: Object to the form.
     5           THE WITNESS: I did.                             5          Go ahead.
     6   BY MS. HERZFELD:                                        6          THE WITNESS: It -- it was not a -- that
     7       Q Okay. And I believe we've already                 7   was not one of my responsibilities versus others
     8   talked about these ones as well. Exhibit 16,            8   in the organization. My focus was to sell to my
     9   "Florida physician gets four years in prison for        9   customer base.
    10   operating a pill mill."                                10   BY MS. HERZFELD:
    11           If you will take a look at this one.           11       Q Okay. But you knew that pills were
    12   And it talks about a gentleman in Kentucky, does       12   going from Florida to Kentucky to Tennessee. You
    13   it not?                                                13   knew that information.
    14           MR. TSAI: Objection. Cumulative,               14       A From the articles you're showing and
    15   duplicative, repetitive.                               15   that were sent back then that I read through, if I
    16           Go ahead.                                      16   read them all in detail, yeah.
    17           THE WITNESS: This -- this talks about a        17       Q Okay. And so what did you personally do
    18   doctor in Florida.                                     18   to stop those oxycodone pills from going from
    19   BY MS. HERZFELD:                                       19   Florida through that pipeline through Tennessee
    20       Q Correct. But there's a connection to             20   into Kentucky and Ohio?
    21   Kentucky. Do you see it?                               21          MR. TSAI: Objection to form. Assumes
    22           MR. TSAI: Object to the form.                  22   facts not in evidence.
    23           Go ahead.                                      23          Go ahead.
    24           THE WITNESS: The part where it says            24          THE WITNESS: Well, what did I
                                                     Page 407                                                 Page 409
     1   "Kentuckians"?                                          1   personally do?
     2   BY MS. HERZFELD:                                        2   BY MS. HERZFELD:
     3       Q Yes, sir.                                         3       Q What did you do, yes, sir.
     4       A Yes, I see that.                                  4       A If I saw any articles, I would forward
     5       Q And do you think Kentuckians might have           5   them into our suspicious order monitoring team;
     6   to drive through Tennessee to get those pills in        6   if my suspicious order monitoring team asked me to
     7   Florida?                                                7   share with my customer base customers that we will
     8          MR. TSAI: Object to form.                        8   not honor chargebacks to. Those are just a few.
     9          THE WITNESS: That's one way to get down          9       Q Okay. And so what specifically having
    10   there.                                                 10   to do with Tennessee did you -- did you do that
    11   BY MS. HERZFELD:                                       11   for? Pass on those -- those requests for not
    12       Q Okay. Did you ever hear about two                12   honoring chargebacks, for example?
    13   brothers getting in trouble in Tennessee because       13          MR. TSAI: Objection to the form.
    14   they got hit by a train and they found a bunch of      14          Go ahead.
    15   oxycodone when those guys got hit by a train?          15          THE WITNESS: I'm not sure -- I'm not
    16          MR. TSAI: Object to the form.                   16   sure what you mean by specific to Tennessee.
    17          THE WITNESS: I do not.                          17   BY MS. HERZFELD:
    18   BY MS. HERZFELD:                                       18       Q I mean specific to Tennessee --
    19       Q 2009, you don't remember hearing                 19       A There were no customers -- I didn't sell
    20   anything about a train and oxycodone in Tennessee?     20   to any customers in Tennessee.
    21          MR. TSAI: Object to the form.                   21       Q Okay. And so -- but you had a lot of
    22          THE WITNESS: I do not.                          22   customers in Florida, right?
    23   BY MS. HERZFELD:                                       23       A Sunrise Wholesales was in Florida. The
    24       Q Okay. What did you do in your position           24   other customers, Harvard or -- I'm sorry,

    Golkow Litigation Services                                                      Page 103 (406 - 409)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further104Confidentiality
                                                           of 117. PageID #: 213998
                                                                               Review
                                                      Page 410                                                 Page 412
     1   KeySource or -- they're not in Florida.                  1   opioid addiction?
     2       Q Okay. So --                                        2       A Not specific.
     3       A So one customer in Florida.                        3       Q Okay. What about for diversion of
     4       Q Okay. So any of those other                        4   opioids, was there a specific region of the
     5   customers -- did you tell any of your customers,         5   country that you were concerned about for
     6   Hey, guys, be careful with Tennessee or when             6   diversion of opioids?
     7   you're, you know, picking up your own customers,         7       A I wasn't -- I'm not -- I wasn't involved
     8   you need to be careful about Tennessee? They seem        8   with the diversion process. Right. I think that
     9   to have a real problem there. Did you say                9   would be under compliance or a suspicious order
    10   anything like that?                                     10   monitoring team that would alert me of certain
    11          MR. TSAI: Objection. Lacks foundation.           11   areas. And I believe they did. And that's why we
    12          Go ahead.                                        12   conduct a -- audits to the accounts that they
    13          THE WITNESS: I'm not sure if I was               13   highlighted to me.
    14   specific to Tennessee specifically or North             14       Q Okay. And so when they were having you
    15   Carolina or West Virginia or California.                15   do audits of accounts that were highlighted to
    16   BY MS. HERZFELD:                                        16   you, do you know if any of those downstream
    17       Q Okay. So let me back up.                          17   customers went to Tennessee?
    18          When you were talking to your customers,         18       A Shipped --
    19   did you ever talk specifically about any region or      19       Q Yes, sir.
    20   any state that they should be more aware of, that       20       A -- to? No, I wouldn't know that.
    21   they should be more cautious of?                        21       Q But you could have known that; is that
    22       A It's a long time ago, so I don't quite            22   right?
    23   remember conversations I had with all my customers      23       A I believe -- using chargeback data, but
    24   throughout my tenure at Mallinckrodt.                   24   I wasn't -- I did not pull up chargeback data.
                                                      Page 411                                                 Page 413
     1       Q Okay. But do you remember any                      1   And I think from everything we saw today, every
     2   conversations having to do with any specific             2   time I was -- had chargeback data, it was asking
     3   states or regions with your -- with your                 3   someone to do it or someone was sending it to me
     4   customers, like, Hey, guys, be careful or treat          4   on the handful of times that I was shown it today.
     5   this one differently or we're going to make              5        Q Okay. Do you know what neonatal
     6   different -- you know, different arrangements or         6   abstinence syndrome is?
     7   look out more, you know, cautiously for                  7        A I'm sorry, I do not.
     8   Appalachia, or anything like that?                       8        Q Have you ever heard of any sort of an
     9           MR. TSAI: Objection to form.                     9   affliction or diagnosis for babies that are born
    10           THE WITNESS: Nothing comes to mind, but         10   dependent on opioids?
    11   I'm not sure if I did or didn't.                        11        A I'm sorry, I do not.
    12   BY MS. HERZFELD:                                        12        Q Did you know that there are babies that
    13       Q Okay. If you did, do you think you                13   are born dependent on opioids?
    14   would remember that?                                    14        A Not specifically, no.
    15           MR. TSAI: Object to the form.                   15        Q You haven't heard of drug-addicted
    16           THE WITNESS: I don't know. From                 16   babies from opioids?
    17   nine --                                                 17        A When you say that, I would think of
    18           MR. TSAI: No question pending.                  18   heroin personally, but I -- not specific to the --
    19           Go ahead.                                       19   the disease state you're talking about?
    20           THE WITNESS: Sorry. From nine years             20        Q Yes, sir.
    21   ago, I don't know.                                      21        A I'm not knowledgeable of that at all.
    22   BY MS. HERZFELD:                                        22        Q Okay. So you don't know that Tennessee
    23       Q Okay. Did you have a specific region of           23   is the number two state in the nation for babies
    24   the country that you were concerned about for           24   born dependent on opioids?

    Golkow Litigation Services                                                       Page 104 (410 - 413)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further105Confidentiality
                                                           of 117. PageID #: 213999
                                                                               Review
                                                 Page 414                                                      Page 416
     1           MR. TSAI: Object to the form.                 1   discuss that incident with anybody else or that
     2           THE WITNESS: And I wouldn't know who          2   inquiry from that gentleman in Morristown?
     3   the number one state is either. I'm sorry.            3       A I don't remember.
     4   BY MS. HERZFELD:                                      4       Q Okay. There's nothing else that comes
     5       Q Did you monitor how many deaths related         5   to mind as to your involvement with that inquiry
     6   to opioids there were state by state?                 6   from Morristown?
     7           MR. TSAI: Object to the form.                 7       A Not off the top of my head, no.
     8   BY MS. HERZFELD:                                      8       Q Okay. So other than the incident we've
     9       Q When you were at Mallinckrodt.                  9   discussed with the gentleman in Morristown, did
    10           MR. TSAI: Object to the form.                10   you ever communicate with any Tennessee agencies
    11           THE WITNESS: No.                             11   or law enforcement officials?
    12   BY MS. HERZFELD:                                     12       A I don't believe so.
    13       Q Okay. So you have no idea how many             13       Q Did you ever discuss Tennessee with any
    14   deaths were caused or related to opioids in the      14   Sunrise Wholesale employees?
    15   state of Tennessee during the time you were          15       A I don't believe so.
    16   employed by Mallinckrodt?                            16       Q Have you ever heard of a person named
    17           MR. TSAI: Object to the form.                17   Lynn Averill?
    18           THE WITNESS: I'm sorry. I do not.            18       A I don't believe I have.
    19   BY MS. HERZFELD:                                     19       Q I'm going to hand you what we're going
    20       Q Okay. Did you ever specifically discuss        20   to mark as Exhibit --
    21   Tennessee with anyone in your department?            21          THE REPORTER: 54.
    22       A It doesn't come to mind.                       22   BY MS. HERZFELD:
    23       Q Okay. Did you ever discuss opioid abuse        23       Q -- 54.
    24   in Tennessee with any of your distributor            24          (Borelli Exhibit No. 54 was marked

                                                 Page 415                                                     Page 417
     1   customers?                                            1           for identification.)
     2       A It doesn't come to mind.                        2           MS. HERZFELD: And here's for the rest
     3       Q Okay. And other than the documentation          3   of everybody.
     4   that's already been discussed today earlier, did      4           THE WITNESS: Thank you.
     5   you receive reports of any kind that included         5   BY MS. HERZFELD:
     6   information about Tennessee?                          6        Q I don't expect you to read this whole
     7       A Not that I remember.                            7   thing, but if you want to take a minute just to
     8       Q Were you ever present when opioid abuse         8   flip through it.
     9   or diversion issues in Tennessee were discussed by    9        A Okay. (Peruses document.)
    10   any other employees?                                 10        Q If you will turn with me to page 6.
    11       A It doesn't come -- it doesn't come to          11   It's the one that's marked "6 of 36." My
    12   mind.                                                12   apologies.
    13       Q Okay. We've talked about already the           13        A That's all right.
    14   e-mail and various communication you had with the    14           It's upside down.
    15   detective from -- or the special agent from          15        Q Yeah, mine is too.
    16   Morristown.                                          16        A That's all right.
    17           Did you have any other communication         17        Q Sorry about that.
    18   about that than what has already been discussed      18        A Not a problem.
    19   today?                                               19        Q Okay. Do you see it?
    20       A I don't believe so. I did not                  20        A I do.
    21   communicate with that officer, though. I think       21        Q Okay. And it says here, if you'll look
    22   that was through some -- through Bill Ratliff or     22   with me at -- the heading says "Real Care Medical
    23   Karen Harper.                                        23   Group, Dr. Lynn Averill." Do you see where it
    24       Q Okay. But about that incident, did you         24   says that?

    Golkow Litigation Services                                                     Page 105 (414 - 417)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further106Confidentiality
                                                           of 117. PageID #: 214000
                                                                               Review
                                                Page 418                                                    Page 420
     1           MR. TSAI: Objection to this exhibit and     1   Florida?
     2   to this line of questioning when he's already       2       A I don't believe I was.
     3   testified he's never heard of Lynn Averill.         3       Q And in this one specifically, it talks
     4           Go ahead.                                   4   about patients coming from Florida, traveling to
     5   BY MS. HERZFELD:                                    5   South Florida from other states, including
     6       Q Do you see where I'm looking, the             6   Kentucky, Tennessee, Ohio and South Carolina, to
     7   heading?                                            7   obtain prescribed controlled substances. The
     8       A I do.                                         8   patients then returned to their home states where
     9       Q Have you heard of Real Care Medical           9   the oxycodone pills were personally consumed or
    10   Group?                                             10   sold on the streets at a high profit. For
    11       A I have not.                                  11   example, a 30-milligram oxycodone pill can be
    12       Q Do you know if Real Care Medical Group       12   obtained from a pharmacy in South Florida for
    13   was a customer of Sunrise?                         13   approximately $1 to $5 per pill and sold in
    14       A I do not.                                    14   Tennessee for approximately $30 a pill.
    15       Q Okay. If you'll read with me on page 5       15          Did I read that correctly?
    16   of 36.                                             16          MR. TSAI: Object to the form.
    17       A Is this something that I should read         17          THE WITNESS: You read that correctly.
    18   before we --                                       18   BY MS. HERZFELD:
    19       Q Yeah, go ahead, you can read it. Page 5      19       Q Okay. And were you aware of that
    20   of 36, just one page ahead of where you were.      20   information before you read it here?
    21       A Okay.                                        21       A No.
    22       Q Paragraph (b) is where I'm looking at.       22       Q Do you think it describes that pipeline
    23       A (Peruses document.) Okay.                    23   we were talking about before going from Florida
    24       Q Okay. Take a look and just read              24   through Kentucky, Tennessee, Ohio? It kind of
                                                Page 419                                                      Page 421
     1   paragraph (b). Have you had a chance to read it?    1   sounds the same?
     2        A I did not yet.                               2          MR. TSAI: Objection to form. No
     3        Q Okay. Do that.                               3   foundation, calls for speculation, assumes facts.
     4        A Okay. (Peruses document.)                    4          MS. HERZFELD: And we don't need
     5           I don't know what "affiant" means.          5   speaking objections. Thanks, though.
     6        Q Okay. It's the person who's writing it.      6          MR. TSAI: These aren't speaking
     7   It's the author.                                    7   objections. I'm stating the grounds for the
     8        A (Peruses document.) Okay.                    8   objection.
     9        Q Okay. You read paragraph (b)?                9          Go ahead.
    10        A I did.                                      10          MS. HERZFELD: You can object to the
    11        Q Okay. So it says that there was an          11   form, and that's sufficient.
    12   investigation in 2010 by special agents with the   12          THE WITNESS: You mentioned these states
    13   DEA of certain pain clinics in South Florida; is   13   for that road. You didn't mention -- I don't know
    14   that right?                                        14   if you mentioned South Carolina or not, but that's
    15           MR. TSAI: Objection to the form. No        15   on here as well.
    16   foundation.                                        16   BY MS. HERZFELD:
    17   BY MS. HERZFELD:                                   17       Q Okay.
    18        Q Did I read it correctly?                    18       A So you mentioned those states before.
    19           MR. TSAI: Objection to the form.           19       Q Okay. And were you aware that this
    20           THE WITNESS: I believe that's what it      20   investigation for this woman, nine people died?
    21   says.                                              21       A I was not.
    22   BY MS. HERZFELD:                                   22       Q Okay. So if you will switch with me to
    23        Q Okay. And were you aware of those           23   the page that says 14 of 36.
    24   investigations of pain clinics throughout South    24       A Okay.

    Golkow Litigation Services                                                   Page 106 (418 - 421)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further107Confidentiality
                                                           of 117. PageID #: 214001
                                                                               Review
                                                      Page 422                                                 Page 424
     1       Q Okay. Do you see where it says                     1   BY MS. HERZFELD:
     2   "Background information regarding the deaths of          2       Q Sally Dykes, number 7, do you see that?
     3   nine patients"? Do you see that?                         3       A I do.
     4       A I do.                                              4       Q Okay. So Sally Dykes was a 44-year-old
     5       Q Okay. And then the first one, it says:             5   white female from Luttrell, Tennessee. Is that
     6   "Brian Moore was a 36-year-old white male from           6   right? That's what it says?
     7   East Bernstadt" -- in where?                             7       A That's what --
     8           MR. TSAI: Object to the form.                    8           MR. TSAI: Object to the form.
     9           MS. HERZFELD: I'm asking him to read             9           THE WITNESS: -- it says. Sorry.
    10   it.                                                     10   BY MS. HERZFELD:
    11           THE WITNESS: Laurel County.                     11       Q Okay. And according to this, Sally
    12   BY MS. HERZFELD:                                        12   Dykes is also dead; is that right?
    13       Q Laurel County where?                              13           MR. TSAI: Object to the form.
    14       A Kentucky.                                         14           THE WITNESS: I'm sorry.
    15       Q Okay. And if you go to the second --              15   BY MS. HERZFELD:
    16   the third individual, Kenneth Hammond, on page 16       16       Q The title of this topic is "Background
    17   of 36. One of the other deaths that's outlined in       17   information regarding the death of nine patients."
    18   this indictment. Where was that individual born,        18   Is that right?
    19   according to this -- this paragraph?                    19       A Okay. So she is number 7. Okay.
    20           MR. TSAI: Object to the form.                   20       Q Okay. So of the nine -- one, two,
    21           THE WITNESS: I don't know where he was          21   three, four, five -- five of those nine were from
    22   born.                                                   22   Kentucky or Tennessee according to this report; is
    23   BY MS. HERZFELD:                                        23   that right?
    24       Q Where is he from?                                 24           MR. TSAI: Object to the form.
                                                   Page 423                                                    Page 425
     1       A It says Knoxville, Tennessee.                      1           THE WITNESS: How many did you say?
     2       Q Okay. And then going to the fifth one,             2   BY MS. HERZFELD:
     3   "Tony Ray, a 40-year-old male, from" -- can you          3       Q Five. Five of nine. One from Kentucky
     4   read that for me, please?                                4   and four from Tennessee.
     5          MR. TSAI: Object to the form.                     5           MR. TSAI: Object to the form. Lacks
     6          THE WITNESS: New -- New Tazewell,                 6   foundation.
     7   Tennessee.                                               7           Go ahead.
     8   BY MS. HERZFELD:                                         8           THE WITNESS: Yes, five.
     9       Q Great. Then if you will flip to the                9   BY MS. HERZFELD:
    10   next page for me, please. Number 6, "Keith Konkol       10       Q Okay. If you will turn with me to the
    11   was a 37-year-old white male from" --                   11   very last page of this. Flip all the way to the
    12          MR. TSAI: Object to the form.                    12   back.
    13   BY MS. HERZFELD:                                        13           Go back one more. And one more. And
    14       Q Do you see that, 18 --                            14   one more. There.
    15       A Kingsport, Tennessee.                             15           Okay. So on this one it says page 1 of
    16       Q Kingsport, Tennessee. So Keith Konkol             16   2 at the end. It says: "In the Circuit Court for
    17   was a 37-year-old white male from Kingsport,            17   the Seventeenth Judicial Circuit, in and for
    18   Tennessee. And he traveled 843 miles with               18   Broward County, Florida."
    19   Jeremiah Fields to RCMG in Plantation, Florida,         19           Do you see where I'm looking at? I just
    20   and then he was dead.                                   20   want to make sure I'm identifying the right page.
    21          Okay. Number 7, Sally Dykes.                     21       A Yes.
    22          MR. TSAI: Objection to the testimony.            22       Q Okay. And this is an arrest warrant for
    23   There was no question there.                            23   Defendant Lynn Averill on -- for multiple charges
    24          But go ahead.                                    24   of manslaughter as well as racketeering.

    Golkow Litigation Services                                                       Page 107 (422 - 425)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further108Confidentiality
                                                           of 117. PageID #: 214002
                                                                               Review
                                                      Page 426                                                    Page 428
     1          Have you ever seen this before?                   1       A Did they work for -- no, they do not.
     2       A I have not.                                        2       Q Pill mill operators?
     3       Q Okay. And you didn't know who Dr. Lynn             3       A Oh, no.
     4   Averill was.                                             4       Q No? Okay.
     5       A No.                                                5       A No.
     6       Q Okay. And you hadn't heard of the pain             6       Q Do you know which distributors shipped
     7   clinic we talked about earlier?                          7   Mallinckrodt opioids to Tennessee?
     8       A What was the name of it?                           8       A I do not.
     9       Q I'll find it. It's on the upside down              9       Q Do you know who would know?
    10   page. Real Care Medical Group.                          10       A I would imagine the chargeback
    11       A I'm not familiar with them.                       11   department.
    12       Q Okay. And you don't know if they were             12       Q Okay.
    13   or were not a customer of Sunrise Medical?              13       A Is that what you mean? Okay.
    14       A I do not.                                         14       Q I'm asking you, who do you think would
    15          MR. TSAI: Daniel, may I ask how long             15   know? You worked there, so you would know better
    16   have we been going since the last break?                16   than I would who would know.
    17          THE VIDEOGRAPHER: One hour, one minute.          17       A I would think the chargeback department,
    18   BY MS. HERZFELD:                                        18   but I'm not sure.
    19       Q Do you know if anybody that you worked            19       Q Okay. Where would I find information
    20   with monitored news stories about people being          20   about which distributor shipped the greatest
    21   arrested for oxycodone distribution?                    21   number of Mallinckrodt opioids to Tennessee?
    22       A Specifically did that as a -- you mean            22       A Either the suspicious order monitoring
    23   did that for their -- as their job?                     23   team or chargeback team.
    24       Q Yes, sir.                                         24       Q Okay. And I think we kind of danced

                                                    Page 427                                                    Page 429
     1       A I don't -- I don't know.                           1   around this before, but maybe this is a clearer
     2       Q Did you, sir?                                      2   question.
     3       A Did I see articles? I did.                         3          Were distributors shipping to Tennessee
     4       Q The ones that were sent to you. But did            4   ever treated differently due to the severity of
     5   you make it a point to go and research and look to       5   the opioid abuse in Tennessee? Were they treated
     6   see if there were any news articles about illegal        6   differently in any way?
     7   oxycodone sales?                                         7          MR. TSAI: Object to the form.
     8       A I don't believe I did.                             8          THE WITNESS: I don't know the answer to
     9       Q Okay. Did you ever check the websites              9   that.
    10   of any Department of Justice or U.S. Attorneys'         10   BY MS. HERZFELD:
    11   office on locations to determine if people were         11       Q So to your knowledge, did you ever
    12   being indicted for oxycodone, illegal oxycodone         12   instruct anyone to treat differently distributors
    13   sales?                                                  13   that were shipping to Tennessee?
    14       A I don't believe I did.                            14       A I don't believe I -- I don't believe I
    15       Q Okay. Do you believe that you ever                15   did, but I only had a small number of customers
    16   visited the website or got any information from         16   versus the entire geography of the country.
    17   the U.S. Attorney's office in Tennessee for the         17       Q Did you ever hear of anyone else giving
    18   Eastern District about any ongoing investigations       18   an instruction like that?
    19   or arrests or convictions for oxycodone sales?          19       A Nothing comes to mind right now.
    20       A I don't believe I did.                            20       Q Okay. Did you discourage any of your
    21       Q Okay. Have you heard of Chris or Jeff             21   distributor customers from selling to pharmacies
    22   George?                                                 22   in Tennessee?
    23       A I don't -- no. Did they work for me?              23       A I don't remember conversations I had
    24       Q Those names don't ring a bell?                    24   from back then, so I don't know.

    Golkow Litigation Services                                                        Page 108 (426 - 429)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further109Confidentiality
                                                           of 117. PageID #: 214003
                                                                               Review
                                                    Page 430                                                   Page 432
     1       Q Okay. Do you know if you encouraged                1   monitoring or if they share with me, and I share
     2   them to sell to pharmacies in Tennessee?                 2   with my customers, then, yes, it would -- and
     3       A I don't think I gave direction on                  3   maybe it would affect a Tennessee -- the product
     4   customers to go after like that, so I don't think        4   that goes into Tennessee as well.
     5   I encouraged. But I -- you're talking 10 or 12           5       Q Okay. But other than the general stuff
     6   years ago.                                               6   that's already been talked about today, you didn't
     7       Q Okay. So you don't have any specific               7   make any specific efforts to reduce the number of
     8   knowledge of telling anyone one way or the other         8   Mallinckrodt opioids in Tennessee, specifically
     9   whether they should or should not want to sell to        9   for Tennessee, other than the broad stuff you've
    10   pharmacies in Tennessee.                                10   already talked about?
    11       A I believe that's correct.                         11       A I don't know how I would.
    12       Q Okay. Did you ever take population into           12       Q Okay. Did you ever compare the number
    13   account when evaluating a potential customer and        13   of Mallinckrodt opioids sent to Tennessee to those
    14   where they were shipping to?                            14   of other manufacturers?
    15       A Nothing comes to mind.                            15       A It doesn't come to mind, no.
    16       Q Okay. Did you take any affirmative                16       Q And do you know which Tennessee
    17   steps to send fewer Mallinckrodt opioids to             17   pharmacies received Mallinckrodt opioids?
    18   Tennessee?                                              18       A I do not.
    19           MR. TSAI: Object to the form.                   19       Q Okay. And do you know how I could find
    20           THE WITNESS: I don't know where my              20   that out?
    21   customers would ship product to. But did I take         21       A I would think you could find that out
    22   steps to safeguard our organization, I believe I        22   through chargebacks.
    23   did. I think there were -- not in this packet,          23       Q Okay.
    24   but I think from the packets earlier today, there       24       A The chargebacks department.
                                                      Page 431                                                 Page 433
     1   were a few -- quite a few callouts about being           1       Q Okay. Did you interact at all with
     2   careful and dig deeper into the customer                 2   pharmacies in Tennessee? Did you personally
     3   background.                                              3   interact at all with any Tennessee pharmacies?
     4   BY MS. HERZFELD:                                         4       A No, I did not.
     5       Q Okay, sir, but my question was, did you            5       Q Do you know if anybody from your team
     6   ever seek to send fewer Mallinckrodt opioids             6   did?
     7   specifically to Tennessee?                               7       A I can't speak for my team.
     8           MR. TSAI: Object to the form.                    8       Q Do you know --
     9           THE WITNESS: Well, I don't know whether          9       A I didn't have a team. There were -- you
    10   you count shipped to. But if I'm giving direction       10   mean -- you mean the other salespeople?
    11   or talking to the suspicious order monitoring           11       Q Yes, sir.
    12   team, I would think that that would be a yes to         12       A I can't speak for them.
    13   that.                                                   13       Q Okay. Did you ever hear of anybody
    14   BY MS. HERZFELD:                                        14   interacting with Tennessee pharmacies?
    15       Q Okay. So can you tell me what specific            15       A It doesn't come to mind.
    16   steps you took to reduce the number of                  16       Q Okay. Did Mallinckrodt maintain a list
    17   Mallinckrodt opioids in Tennessee specifically.         17   of problem pharmacies in Tennessee?
    18       A Well, I don't know where my customers             18       A I don't know the specifics of the list
    19   shipped to, so I don't know if Tennessee or             19   of where the -- where the customers that the --
    20   California was the final destination for the            20   the suspicious order monitoring team put out. I
    21   pharmacy.                                               21   don't know if they're Tennessee based or
    22       Q Okay.                                             22   California based or Minnesota based. I don't
    23       A So if I give a broad brush -- if I have           23   remember.
    24   a broad brush conversation with suspicious order        24       Q Okay. So you don't know anything

    Golkow Litigation Services                                                       Page 109 (430 - 433)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further110Confidentiality
                                                           of 117. PageID #: 214004
                                                                               Review
                                                  Page 434                                                     Page 436
     1   specific about Tennessee in that regard?              1   now.
     2        A No.                                            2       Q You could have received such a list.
     3        Q Okay. Do you know which Tennessee              3       A I may have. I don't know.
     4   pharmacies were on Mallinckrodt's chargeback          4       Q And it wouldn't -- it wouldn't have been
     5   restriction list?                                     5   weird for you to receive something like that?
     6        A Not off the top of my head from ten            6          MR. TSAI: Object to the form.
     7   years ago. I'm sorry, I do not.                       7          THE WITNESS: I don't know. I don't
     8        Q Okay. If I told you some of them, would        8   know.
     9   you know why they were put on the list?               9          MS. HERZFELD: Okay. Okay. If we could
    10        A A name may not ring a bell to me. I'm         10   mark the next one, Exhibit --
    11   sorry.                                               11          THE REPORTER: 55.
    12        Q Okay. So Boatwright Drug Company, for         12          MS. HERZFELD: -- 55.
    13   example, in Millington, do you know why that         13          (Borelli Exhibit No. 55 was marked
    14   pharmacy was put on the list?                        14          for identification.)
    15        A I didn't know they were on the list, but      15   BY MS. HERZFELD:
    16   if they're on the list, I don't know why.            16       Q Take a moment to read it from beginning
    17        Q Okay. Who would be the best person that       17   to end, please.
    18   would know that?                                     18       A (Peruses document.) Okay.
    19        A I would think perhaps the suspicious          19       Q Okay. And do you recognize this as an
    20   order monitoring team.                               20   e-mail chain sent between you and Steve Cochrane
    21        Q Okay. And are there documents I could         21   at KeySource Medical dated November 6th, 2009?
    22   go to to find the reasons? Is there a report or      22       A I recognize it, yes.
    23   something you would get that would say why this      23       Q Okay. And the e-mail that you sent to
    24   person has been put on the chargeback list?          24   Steve, you're talking about a retired DEA agent

                                                  Page 435                                                          Page 437
     1        A They would have that report. If there          1   that has a consulting company, yes?
     2   is a specific callout for a pharmacy, I'm going       2       A Yes.
     3   to -- I'm assuming that they would. It's not          3       Q Okay. And if you get to kind of the
     4   something --                                          4   last line of that first paragraph, it says: "Then
     5        Q Okay. Just trying to figure out where          5   you could approach Denny with as much information
     6   to look.                                              6   as possible when you are pitching for the Florida
     7        A It's not something that I would                7   oxycodone business again."
     8   generate.                                             8           Did I read that correctly?
     9        Q Okay.                                          9       A Yes.
    10        A Or have.                                      10       Q Okay. And who is Denny?
    11        Q Okay. Did you know anything about the         11       A I believe that was the president of
    12   top prescribers of Mallinckrodt opioids in           12   KeySource Medical, Denny Engel.
    13   Tennessee? Do you know who they are?                 13       Q Okay. And what did you mean by: "You
    14        A I do not.                                     14   could approach Denny with as much information as
    15        Q Okay. Did you receive a list of top           15   possible when you are pitching for the Florida
    16   prescribers of Mallinckrodt opioids in Tennessee     16   oxycodone business again"?
    17   at any point?                                        17       A I'm not quite sure of the context, but I
    18        A I don't remember receiving one, but I         18   don't -- I -- I can't speak to the context on this
    19   may have. But I don't remember ever receiving        19   one.
    20   one.                                                 20       Q Okay. Was KeySource out of the
    21        Q Would that be usual that you would            21   oxycodone business in Florida at some point?
    22   receive sometimes a list of the top prescribers in   22       A I don't remember the timing of it all.
    23   various jurisdictions?                               23   I don't remember the timing.
    24        A I'm not sure what "usual" means right         24       Q Okay. And then it looks like Steve's

    Golkow Litigation Services                                                       Page 110 (434 - 437)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further111Confidentiality
                                                           of 117. PageID #: 214005
                                                                               Review
                                                        Page 438                                                       Page 440
     1   response to you up there: "Victor, thanks for the          1   he means by this. That was his -- him -- him
     2   info. I'm liking Louis already."                           2   sending this to me.
     3           I'm assuming that has to do with the               3       Q So you don't know what he meant by that?
     4   fact that he is a Red Sox fan and doesn't like the         4       A That's right.
     5   Yankees?                                                   5       Q Okay.
     6       A I -- I guess so.                                     6           MS. HERZFELD: Okay. We will take a
     7       Q Okay.                                                7   break. I'll go through and see if I've got
     8       A Yes. Everybody hates the Yankees, I                  8   anything else.
     9   guess.                                                     9           THE VIDEOGRAPHER: The time is 7:45 p m.
    10       Q Okay. "At some point KeySource will                 10   We're going off the record.
    11   need to move forward and take advantage of some of        11           (Recess.)
    12   the," quote, "legitimate business that does exist         12           THE VIDEOGRAPHER: The time is 7:52 p m.
    13   in Florida since there is plenty of it. I will            13   We're back on the record.
    14   let Dave figure this one out. We don't call him           14   BY MS. HERZFELD:
    15   smart and sexy for nothing."                              15       Q Okay, Mr. Borelli, we're back on the
    16           Did I read that correctly?                        16   record. I've just got a couple more questions for
    17       A You did.                                            17   you.
    18       Q Okay. And do you know what he's                     18           Earlier when we were talking about
    19   referring to, the legitimate business in Florida?         19   Dr. Barry Schultz, you said you -- I'm
    20       A This is his e-mail to me.                           20   paraphrasing here, but you didn't -- didn't recall
    21       Q Yes, sir.                                           21   him.
    22       A So yeah, I know -- I'm just saying this             22       A He did not come to mind, yes.
    23   is his e-mail to me, so I can't speak for Steve           23           MS. HERZFELD: Okay. I'm going to mark
    24   Cochrane on that. I'm not sure -- I'm not sure            24   this as Exhibit 56.

                                                      Page 439                                                        Page 441
     1   what he means by those sentences.                          1          (Borelli Exhibit No. 56 was marked
     2       Q So you're talking about the Florida                  2          for identification.)
     3   oxycodone business when you e-mail him, right?             3   BY MS. HERZFELD:
     4       A I am.                                                4        Q You'll read it from the bottom up.
     5       Q Okay. And then he responds that he                   5        A (Peruses document.) Okay.
     6   could take advantage of some of the, quote,                6        Q Okay. You've had a chance to review it?
     7   legitimate business that does exist in Florida.            7        A Yes.
     8       A When I'm talking about the Florida                   8        Q Okay. And now that you had a chance to
     9   business, I'm -- really the guts of this -- really         9   review it, does that refresh your recollection at
    10   the only part of this e-mail is to refer him to a         10   all about being involved at all with investigating
    11   consultant that was a DEA agent, Louis Fisher,            11   Sunrise and dealing with Barry Schultz?
    12   over 30 years. So -- he is also a registered              12        A I -- I was not part -- I was in the
    13   pharmacist. I forgot that. So that's what I --            13   meeting of the audit.
    14   that's what I'm sending this to him for is to             14        Q Okay.
    15   perhaps use a professional -- use a person who            15        A And it looks like Barry Schultz was one
    16   vets out -- vets customers for wholesalers.               16   of five random audits -- random accounts that was
    17       Q Okay. And then when he talks to you                 17   pulled. I don't know if I pulled them or our
    18   about the business in Florida, he puts in quotes          18   suspicious order monitoring team. I'm not sure.
    19   "legitimate" right? The legitimate businesses.            19   It looks like one of five, yeah.
    20       A That's what he typed.                               20        Q Okay. And so you sent this initial
    21       Q So that would imply there's legitimate              21   e-mail, right? It's from you, Victor Borelli, to
    22   and illegitimate oxycodone business in Florida.           22   Karen Harper, copying John Adams, on August 18th,
    23   Isn't that right?                                         23   2009, at 9:57 p.m.; is that correct?
    24       A Not that I know of. I don't know what               24        A Yeah. Recapping the meeting, yeah.

    Golkow Litigation Services                                                           Page 111 (438 - 441)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further112Confidentiality
                                                           of 117. PageID #: 214006
                                                                               Review
                                                  Page 442                                                    Page 444
     1       Q Okay. And it says "Sunrise meeting,"            1   this one, on this specific instance, they -- he
     2   that's the subject, right?                            2   had an order in the system, they didn't ship in
     3       A Yes.                                            3   full, and then they stopped the order, closed the
     4       Q Okay. So you start out: "Hey, Karen --          4   -- closed down the order. I'm not quite sure what
     5   Hi, Karen, thanks for taking the time to come out     5   that means, "closed down the order," but maybe
     6   to visit with Sunrise Wholesalers, Inc."              6   didn't ship the balance.
     7           You're referring there to the audit           7   BY MS. HERZFELD:
     8   meeting?                                              8        Q Okay. And in your follow-up to that,
     9       A I believe so.                                   9   you say: "This may have been done due to the
    10       Q Okay. "I'll recap today's meeting by           10   'tiered system' of ordering that Carlos Veron has
    11   the end of the week, but I did want to give you      11   been referring to during today's meeting."
    12   the information that you were looking for from the   12           What's the tiered system?
    13   five targeted customers we reviewed during today's   13        A I don't quite remember. I'm not sure.
    14   audit/meeting."                                      14        Q All right. Okay.
    15           Do you see where it said that?               15        A He said it, right. Carlos Veron may
    16       A Yes.                                           16   have mentioned it, so I highlighted that, but I
    17       Q Okay. And it says "five targeted               17   don't remember what it was.
    18   customers," not five random customers; is that       18        Q Okay. Okay. And then No. 57. Oops,
    19   right?                                               19   let me give you the right one.
    20       A Yes. But I don't know how those                20           (Borelli Exhibit No. 57 was marked
    21   customers -- I don't remember how those customers    21           for identification.)
    22   were culled out.                                     22           THE WITNESS: Thank you.
    23       Q Okay. But, importantly, number 4 is            23   BY MS. HERZFELD:
    24   Dr. Barry Schultz; is that right?                    24        Q Okay. If you'll look at the bottom and
                                                  Page 443                                                     Page 445
     1       A Yes.                                            1   work your way up, it looks like an e-mail from you
     2       Q And you said there was a review of the          2   to Jim Rausch and Karen Harper dated June 9th,
     3   formal questionnaire filled out by Louis Fisher as    3   2011, at 8:34 p.m.
     4   well as the recent 222 forms with the orders          4           Did I read that correctly?
     5   attached. 4. Dr. Barry Schultz, during this           5       A Yes.
     6   audit in August of 2009. Is that right?               6       Q Okay. And who is Jim Rausch?
     7       A That's what it says.                            7       A I don't remember what Jim did with
     8       Q Okay. And then Karen responds to your           8   the -- the company. Custom -- customer service.
     9   e-mail and says: "Thanks for the recap. It was        9   I'm not -- I'm not quite sure.
    10   good to work with you," et cetera, et cetera, et     10       Q Okay. And Karen Harper, we know. We've
    11   cetera. Is that right?                               11   already talked about Jane Williams and Michael
    12       A Yes.                                           12   Gunning today, I believe; is that right?
    13       Q Okay. And so you did have -- you did           13       A Yes.
    14   review the ordering habits of Dr. Barry Schultz in   14       Q And the topic here is "KeySource
    15   2009, and continued -- and as well as other          15   Medical"; is that right?
    16   Sunrise targeted customers, and continued to ship    16       A Yes.
    17   to Sunrise after these audit findings; is that       17       Q Okay. If you'll flip with me to the
    18   correct?                                             18   charts on the second page, on the back page.
    19           MR. TSAI: Object to the form.                19   There you go.
    20           THE WITNESS: With the -- with the            20           So at the top here, and this is
    21   specific to number 4, Barry Schultz, it looks like   21   Mallinckrodt TI_0000561581, just so we're clear
    22   he ordered a certain amount, and they shipped him    22   because there's two charts.
    23   a different amount, and then stopped the order.      23           Does it have your name and information
    24           So I don't know if there were -- so on       24   at the top of this document?

    Golkow Litigation Services                                                     Page 112 (442 - 445)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further113Confidentiality
                                                           of 117. PageID #: 214007
                                                                               Review
                                                        Page 446                                                         Page 448
     1       A That -- that looks like my -- when I do                1   "X." And so that's one you're supposed to look
     2   e-mails.                                                     2   for to determine Tennessee.
     3       Q Okay.                                                  3            MR. TSAI: Object --
     4       A Oh, yeah. Okay.                                        4   BY MS. HERZFELD:
     5       Q Okay. And then look at the bottom here,                5        Q It's a little hard because it's in black
     6   underneath where it has your name, it says                   6   and white.
     7   "Oxycodone Distribution - KeySource"; is that                7            MR. TSAI: Object to the form, lacks
     8   right?                                                       8   foundation.
     9       A Yes.                                                   9            THE WITNESS: Yes.
    10       Q Okay. And so does this appear to be a                 10   BY MS. HERZFELD:
    11   chart of where KeySource is sending oxycodone from          11        Q Okay. And do you see that line that
    12   October 2007 through February of 2011?                      12   goes through for Tennessee being on the chart?
    13       A It doesn't look familiar, but -- it                   13   It's a little hard to see.
    14   looks -- it's hard --                                       14        A It's hard to see, so I'm not quite sure
    15       Q Is that what the chart says?                          15   which one Tennessee is, but there's a legend on
    16       A It's hard to tell, but, yeah, I believe               16   the right.
    17   so.                                                         17        Q Mm-hmm. So you would think Tennessee is
    18       Q Okay. And it's measuring a couple of                  18   included on this chart if it's on the legend.
    19   different states, right: Florida, Texas, Ohio,              19            MR. TSAI: Object to the form, lacks
    20   Kentucky, Tennessee and Georgia?                            20   foundation.
    21       A Yes.                                                  21            THE WITNESS: I would, but I don't see
    22       Q Okay. And before when we were talking,                22   it.
    23   you had said that you didn't think any of your              23   BY MS. HERZFELD:
    24   accounts were shipping to Tennessee. Do you                 24        Q If you hand it to me, I might be able to

                                                          Page 447                                                     Page 449
     1   remember we talked about that?                               1   help you out. Thank you.
     2        A I don't know -- I'm not sure if I said                2          If you look right here, and I know it's
     3   I -- did I say I was certain they didn't ship to             3   really hard because it's really faint, do you see
     4   Tennessee or I don't know if they shipped to                 4   those little Xs there, and there's a little X
     5   Tennessee? I don't know where my accounts shipped            5   there and a little X there (indicating). Do you
     6   to. I know where I shipped --                                6   see those lines? A little X there. It's the one
     7        Q Okay.                                                 7   with the X (indicating).
     8        A -- my product to, and I'm not certain of              8       A It's hard to see.
     9   where they ship it to.                                       9          MR. TSAI: Is there a question pending?
    10        Q Okay.                                                10   Go ahead.
    11        A And then I'm not certain of who they                 11          MS. HERZFELD: I just want him to take a
    12   dispense it to, those accounts to patients at all.          12   look at it.
    13        Q Okay. But this chart would seem to                   13   BY MS. HERZFELD:
    14   indicate that KeySource was shipping at least some          14       Q Okay. So the one with the little X, you
    15   oxycodone to Tennessee because it has its own line          15   see where I pointed it out, right? All of those
    16   here.                                                       16   are under 10 percent, those little parts that I
    17        A Okay.                                                17   pointed out to you.
    18        Q Do you see that?                                     18       A Okay.
    19           MR. TSAI: Objection. Lacks foundation.              19       Q Okay? So that would be the Tennessee
    20           THE WITNESS: So I do see that.                      20   line under -- under 10 percent.
    21   BY MS. HERZFELD:                                            21          MR. TSAI: Object to the form, lacks
    22        Q Okay. So you see -- if you look all the              22   foundation.
    23   way to the right to the key on this chart, right,           23   BY MS. HERZFELD:
    24   it has "Tennessee," and it has a line with like an          24       Q But then it looks here -- if you look at

    Golkow Litigation Services                                                             Page 113 (446 - 449)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further114Confidentiality
                                                           of 117. PageID #: 214008
                                                                               Review
                                                 Page 450                                                 Page 452
     1   the Florida, do you see the Florida line?            1   that -- that was concerning?
     2       A I do.                                          2           MR. TSAI: Object to the form.
     3       Q Okay. So it looks like the Florida line        3           THE WITNESS: Concerning -- I don't -- I
     4   jumps way up at some point; is that right?           4   don't know where they shipped product to.
     5          MR. TSAI: Object to the form, lacks           5   BY MS. HERZFELD:
     6   foundation.                                          6        Q So you were unaware of this?
     7          THE WITNESS: It does.                         7        A Well, I must have read this when I got
     8   BY MS. HERZFELD:                                     8   it, but I was unaware -- I don't know where they
     9       Q Okay. And what -- what year does it            9   shipped product to. There are 50 states.
    10   seem to make the -- the first big jump?             10        Q Okay. Do you think it's a little
    11          MR. TSAI: Object to the form.                11   lopsided that so much product for oxycodone was
    12          THE WITNESS: Latter part of 2009.            12   going to one state versus others?
    13   BY MS. HERZFELD:                                    13           MR. TSAI: Object to the form.
    14       Q Okay. And so it kind of stays under           14           THE WITNESS: If doctors are in -- so,
    15   10 percent generally, until you get to about        15   no, if doctors are in Florida writing for this
    16   February of 2009, and then it jumps up to just      16   product, the product's got to be in Florida to be
    17   under 20 percent in April of 2009; is that right?   17   distributed.
    18          MR. TSAI: Object to the form.                18   BY MS. HERZFELD:
    19          THE WITNESS: That's right.                   19        Q So there's just more doctors that write
    20   BY MS. HERZFELD:                                    20   more prescriptions in Florida for oxycodone?
    21       Q Okay. And then going from April of 2009       21           MR. TSAI: Object to the form.
    22   until you get to August of 2009, it really climbs   22           THE WITNESS: Nothing moves out of --
    23   up to somewhere between 80 and 90 percent,          23   out of a wholesaler's warehouse until a customer
    24   according to this chart; is that right?             24   calls for the order, their customer. Nothing
                                                 Page 451                                                 Page 453
     1          MR. TSAI: Object to the form, lacks           1   moves out of that customer, whether it be a
     2   foundation.                                          2   pharmacy or a clinic business, until a patient
     3          THE WITNESS: When? April --                   3   walks in with a prescription.
     4   BY MS. HERZFELD:                                     4   BY MS. HERZFELD:
     5       Q Between April 2009 and August of 2009.         5        Q Right. And --
     6       A Okay.                                          6        A That doesn't happen until it gets
     7       Q Do you see the Florida jump goes way up        7   written by a doctor. So, it looks like there are
     8   to almost 90 percent?                                8   more prescriptions in Florida.
     9       A I do.                                          9        Q By a lot. No? I mean if you look here,
    10       Q Okay. And then at some point, does it         10   if you look at Texas, Ohio, Kentucky, Tennessee
    11   get over 90 percent, KeySource's oxycodone          11   and Georgia, those are all hovering around
    12   distribution to the state of Florida?               12   10 percent. Maybe at one point, you know,
    13       A Okay.                                         13   Kentucky shoots up and is at 45 percent, but, you
    14       Q Do you see it get over 90 percent at          14   know, other than that Kentucky spike in those
    15   some point?                                         15   couple of years, everything else is hovering
    16       A I do.                                         16   between 20 and 10, even under 10 percent. Florida
    17       Q Okay. And when is that?                       17   is like way up, right, over 90 percent?
    18       A The middle of 2011 -- '10.                    18           MR. TSAI: Object to the form.
    19       Q Okay. And it kind of stays that way for       19   BY MS. HERZFELD:
    20   a while, right?                                     20        Q Do you know why?
    21       A Yep.                                          21        A I do not.
    22       Q Okay. So my question is, KeySource's --       22        Q Okay. And you could have had access to
    23   if 90 percent roughly, right, of KeySource's        23   this information about KeySource sending roughly
    24   oxycodone was going to Florida, is that something   24   90 percent of its oxycodone to Florida. You could

    Golkow Litigation Services                                                   Page 114 (450 - 453)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further115Confidentiality
                                                           of 117. PageID #: 214009
                                                                               Review
                                                  Page 454                                                  Page 456
     1   have had access to that information if you wanted     1           Okay. So you don't think that you have
     2   it, yes, sir?                                         2   contributed to the opioid crisis when you were
     3        A It's not something I dealt with ever,          3   doing your job for Mallinckrodt; is that right?
     4   that I was ever in the chargeback system or data.     4       A That is correct.
     5   So I would have to ask for that.                      5       Q Okay. And you acknowledge that there is
     6        Q Okay. But you could ask for it if you          6   an opioid crisis in this country.
     7   wanted it?                                            7       A I believe so.
     8        A I imagine so.                                  8       Q Okay. And so do you think that in doing
     9        Q Okay. Sir, do you feel a moral                 9   your job, it's possible you could contribute to
    10   obligation to not contribute to the opioid crisis?   10   the opioid crisis in this country when you were
    11           MR. TSAI: Object to the form.                11   working for Mallinckrodt?
    12           THE WITNESS: Do I feel a moral               12           MR. TSAI: Object to the form.
    13   obligation not to?                                   13           THE WITNESS: No, I said I didn't
    14   BY MS. HERZFELD:                                     14   consider me being part of that problem.
    15        Q Yes, sir.                                     15   BY MS. HERZFELD:
    16           MR. TSAI: Object to the form.                16       Q Okay. And morally, do you think you
    17           THE WITNESS: I'm not sure how to             17   have an obligation to try to prevent that problem?
    18   answer that. I assume --                             18       A So the answer is yes to that.
    19   BY MS. HERZFELD:                                     19       Q Okay. And so you feel like in your
    20        Q Let me ask it -- I'm going to ask it a        20   position at Mallinckrodt, when you were selling
    21   different way.                                       21   oxycodone specifically to distributors that were
    22        A Please. Please.                               22   distributing them to various places, including
    23        Q Do you feel that you, in doing your job,      23   Florida, you had an obligation to not contribute
    24   contributed to the opioid crisis in this country?    24   to the ongoing opioid crisis.
                                                  Page 455                                                  Page 457
     1       A I do not.                                       1       A Did you just do that again?
     2       Q Do you feel that you have a moral               2       Q I did.
     3   obligation to not contribute to the opioid crisis     3       A Asked a negative in there.
     4   in this country?                                      4       Q I don't know how else to ask it.
     5       A You just asked the same thing I didn't          5       A So I answered I do believe I have a
     6   understand the first time.                            6   moral obligation, and I answered I do believe I
     7       Q Mm-hmm.                                         7   did not contribute to the opioid epidemic.
     8       A So I don't understand -- you -- I just          8       Q Okay. And so how is it that you think
     9   answered it, didn't I?                                9   that --
    10       Q I asked if you thought you had                 10       A My -- my goal --
    11   contributed, and you said no.                        11       Q Mm-hmm.
    12       A Right.                                         12       A -- was to ship to customers of mine. I
    13       Q Do you think you have a moral obligation       13   did not control who those customers, my customers
    14   to not contribute to the opioid crisis?              14   or the country's customers shipped to.
    15       A I believe I have a moral obligation --         15       Q Mm-hmm.
    16       Q Is that a "yes"?                               16       A Nor did -- nor did those -- nor do I
    17       A Can you ask it again, please? It sounds        17   know who those customers then give the
    18   like there's a negative or --                        18   prescriptions to.
    19       Q There is -- there is a negative, okay?         19       Q Mm-hmm. But if you know now, just say
    20   So --                                                20   you do, that some of those customers of your
    21       A So can you not --                              21   customers were giving opioids out inappropriately,
    22       Q -- I'll try to ask it another way.             22   were dispensing without a medical need, that
    23       A Sorry.                                         23   they -- that those pills were ending up in an
    24       Q That's okay.                                   24   illegal drug market, those Mallinckrodt opioid

    Golkow Litigation Services                                                    Page 115 (454 - 457)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further116Confidentiality
                                                           of 117. PageID #: 214010
                                                                               Review
                                                 Page 458                                                   Page 460
     1   pills, and they were going from Mallinckrodt to,     1           THE WITNESS: That's you saying that. I
     2   let's say, Sunrise, okay, to let's say Barry         2   said I do believe I have a moral obligation, and I
     3   Schultz, and they end up on a street in Tennessee    3   believe I did take actions to make sure that my
     4   or wherever, do you think you had a role in that?    4   organization or even my accounts that I had
     5           MR. TSAI: Objection. Assumes facts,          5   managed throughout my career at -- at Mallinckrodt
     6   improper hypothetical.                               6   did not ship to the accounts that abused or to
     7           Go ahead.                                    7   patients that abused the -- the product.
     8           THE WITNESS: That's a big hypothetical.      8   BY MS. HERZFELD:
     9   That's a big reach. I don't believe I did. I         9       Q And that's what you talked about earlier
    10   shared with you that I had customers. From that     10   today, those are all the steps that -- that you
    11   point to who they shipped to, who they dispensed    11   took.
    12   to, from the doctor that writes it, it's a far      12       A We talked about a lot of things today.
    13   reach.                                              13       Q Are there any steps that you took in
    14   BY MS. HERZFELD:                                    14   that vein that you haven't talked to us about
    15        Q Okay. So your job was just to sell it.       15   today?
    16           MR. TSAI: Object to the form.               16       A You know, we talked about a lot of
    17           THE WITNESS: Not just to sell, but to       17   things today. So I apologize if I don't 'member
    18   be the liaison between my customer and my           18   them -- remember them all.
    19   organization, and then there were a lot of things   19       Q Okay. But as we sit here today, can you
    20   that go on as well.                                 20   think of any other steps that you took to stop the
    21   BY MS. HERZFELD:                                    21   opioid crisis, to not contribute to the opioid
    22        Q Okay. But your primary job was to sell       22   crisis other than what we've talked about today?
    23   oxycodone to your customers; is that right?         23           MR. TSAI: Objection. Repetitive,
    24           MR. TSAI: Object to the form.               24   duplicative.
                                                 Page 459                                                     Page 461
     1           THE WITNESS: No, not at all.                 1           THE WITNESS: I think I responded to
     2   BY MS. HERZFELD:                                     2   that a bunch of times today.
     3       Q Okay. To sell molecules, as you called         3   BY MS. HERZFELD:
     4   them, to your customers, that was your primary       4       Q Yeah, my question is, as you're sitting
     5   job.                                                 5   here with me, do you remember anything else that
     6       A All of our family of products, that's          6   we haven't asked you about?
     7   correct.                                             7           MR. TSAI: Same objection.
     8       Q Okay. So your primary job is to sell           8           THE WITNESS: Off the top of my head,
     9   your entire family of products, your molecules to    9   not right now.
    10   your customers. You were a salesman, that was       10           MS. HERZFELD: Okay. I don't think I
    11   your job.                                           11   have any other questions. Thanks.
    12       A That's correct.                               12           MR. TSAI: Can I get a time count from
    13       Q Okay. And one of those molecules, one         13   the last break.
    14   of those products that you had was oxycodone; is    14           THE VIDEOGRAPHER: This session was 20
    15   that right?                                         15   minutes.
    16       A That is correct.                              16           MR. TSAI: Okay. Off the record.
    17       Q Okay. And so part of your job -- at           17           THE VIDEOGRAPHER: The time is 8:13 p m.
    18   least part of your job was to sell oxycodone to     18   We're going off the record.
    19   your customers.                                     19           (Whereupon, the deposition of
    20       A That is correct.                              20           VICTOR BORELLI was adjourned at
    21       Q Okay. And so after that, you don't            21           8:13 p m.)
    22   think it's your responsibility on what happens to   22
    23   it?                                                 23
    24           MR. TSAI: Object to the form.               24


    Golkow Litigation Services                                                    Page 116 (458 - 461)
Case: Highly
      1:17-md-02804-DAP Doc #:-1975-7
               Confidential           Filed:to07/24/19
                                Subject         Further117Confidentiality
                                                           of 117. PageID #: 214011
                                                                               Review
                                                             Page 462                                                          Page 464
     1     CERTIFICATE OF CERTIFIED SHORTHAND REPORTER                   1              ------
     2      The undersigned Certified Shorthand Reporter                 2              ERRATA
     3 does hereby certify:                                              3              ------
     4      That the foregoing proceeding was taken before               4 PAGE LINE CHANGE
     5 me at the time and place therein set forth, at                    5 ____ ____ ________________________________________
     6 which time the witness was duly sworn; That the                   6 REASON: ________________________________________
     7 testimony of the witness and all objections made                  7 ____ ____ ________________________________________
     8 at the time of the examination were recorded                      8 REASON: ________________________________________
     9 stenographically by me and were thereafter                        9 ____ ____ ________________________________________
    10 transcribed, said transcript being a true and                    10 REASON: ________________________________________
    11 correct copy of my shorthand notes thereof; That                 11 ____ ____ ________________________________________
    12 the dismantling of the original transcript will                  12 REASON: ________________________________________
    13 void the reporter's certificate.                                 13 ____ ____ ________________________________________
    14      In witness thereof, I have subscribed my name               14 REASON: ________________________________________
    15 this date: December 3, 2018.                                     15 ____ ____ ________________________________________
    16                                                                  16 REASON: ________________________________________
    17              ________________________                            17 ____ ____ ________________________________________
    18              LESLIE A. TODD, CSR, RPR                            18 REASON: ________________________________________
    19              Certificate No. 5129                                19 ____ ____ ________________________________________
    20 (The foregoing certification of                                  20 REASON: ________________________________________
    21 this transcript does not apply to any                            21 ____ ____ ________________________________________
    22 reproduction of the same by any means,                           22 REASON: ________________________________________
    23 unless under the direct control and/or                           23 ____ ____ ________________________________________
    24 supervision of the certifying reporter.)                         24 REASON: ________________________________________

                                                             Page 463                                                          Page 465
     1            INSTRUCTIONS TO WITNESS                                1         ACKNOWLEDGMENT OF DEPONENT
     2       Please read your deposition over carefully and              2     I,___________________________, do hereby
     3   make any necessary corrections. You should state                3 certify that I have read the foregoing pages, and
     4   the reason in the appropriate space on the errata               4 that the same is a correct transcription of the
     5   sheet for any corrections that are made.                        5 answers given by me to the questions therein
     6   After doing so, please sign the errata sheet                    6 propounded, except for the corrections or changes
     7   and date it.                                                    7 in form or substance, if any, noted in the
     8       You are signing same subject to the changes                 8 attached Errata Sheet.
     9   you have noted on the errata sheet, which will be               9
    10   attached to your deposition. It is imperative                  10 __________________________________________________
    11   that you return the original errata sheet to the               11 VICTOR BORELLI                     DATE
    12   deposing attorney within thirty (30) days of                   12
    13   receipt of the deposition transcript by you. If                13
    14   you fail to do so, the deposition transcript may               14 Subscribed and sworn to
    15   be deemed to be accurate and may be used in court.             15 before me this
    16                                                                  16 ______day of_______________,20___.
    17                                                                  17 My commission expires:_______________
    18                                                                  18 _____________________________________
    19                                                                  19 Notary Public
    20                                                                  20
    21                                                                  21
    22                                                                  22
    23                                                                  23
    24                                                                  24


    Golkow Litigation Services                                                                  Page 117 (462 - 465)
